Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 1 of 268
                                                                                           1


  1                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
  2                           WEST PALM BEACH DIVISION
                             CASE NO. 9:18-cv-80176-BB
  3
       IRA KLEIMAN, as the personal representative
  4    of the Estate of David Kleiman, and W&K Info
       Defense Research, LLC,
  5
                   Plaintiffs,                                       November 3, 2021
  6                                                                  9:42 a.m.
                  vs.
  7
       CRAIG WRIGHT,
  8
                   Defendant.                                        Pages 1 THROUGH 193
  9

10                           TRANSCRIPT OF TRIAL DAY 3
                          BEFORE THE HONORABLE BETH BLOOM
11                         UNITED STATES DISTRICT JUDGE
                                 And a Jury of 10
12
       Appearances:
13
       FOR THE PLAINTIFF:      ROCHE FREEDMAN, LLP
14                             DEVIN FREEDMAN, ESQ.
                               KYLE ROCHE, ESQ.
15                             200 South Biscayne, Suite 5500
                               Miami, Florida 33131
16
                               BOIES SCHILLER & FLEXNER
17                             ANDREW BRENNER, ESQ.
                               STEPHEN N. ZACK, ESQ.
18                             100 Southeast 2nd Street, Suite 2800
                               Miami, Florida 33131
19

20     FOR THE DEFENDANT:      RIVERO MESTRE, LLP
                               ANDRES RIVERO, ESQ.
21                             JORGE MESTRE, ESQ.
                               AMANDA M. MCGOVERN, ESQ.
22                             MICHAEL A. FERNANDEZ, ESQ.
                               ZALMAN KASS, ESQ.
23                             2525 Ponce de Leon Boulevard, Suite 1000
                               Coral Gables, Florida 33134
24

25

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 2 of 268
                                                                             2


  1    Appearances continued:

  2    FOR JOHN DOE:           GLASER WEIL
       (Via Zoom)              PATRICIA L. GLASER, ESQ.
  3                            RICHARD BUCKNER, ESQ.
                               10250 Constellation Boulevard, 19th Floor
  4                            Los Angeles, California 90067

  5                            STEARNS WEAVER MILLER
                               DARRELL PAYNE, ESQ.
  6                            150 West Flagler Street, Suite 2200
                               Miami, Florida 33130
  7
       COURT REPORTER:         Yvette Hernandez
  8                            U.S. District Court
                               400 North Miami Avenue, Room 10-2
  9                            Miami, Florida 33128
                               yvette_hernandez@flsd.uscourts.gov
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 3 of 268
                                                                                            3


  1                                     I N       D     E     X

  2    Certificate.....................................                                    193

  3

  4                              W     I     T     N     E     S     S

  5    ON BEHALF OF THE PLAINTIFF:                                                        PAGE

  6    JAMIE WILSON
       (via video deposition)                                                               20
  7
       JIMMY NGUYEN
  8    (via video deposition)                                                          20 & 21

  9    IRA KLEIMAN
       DIRECT EXAMINATION BY MR. BRENNER                                                    24
10     CROSS-EXAMINATION BY MR. RIVERO                                                     149

11

12                                   E X H I B I T S
       EX. NO.:                                                              OFFERED   ADMITTED
13     Joint      2022                                                          32           32
       Plaintiffs' 863                                                          36           36
14     Plaintiffs' 867                                                          41           41
       Plaintiffs' 120                                                          45           45
15     Plaintiffs' 138                                                          51           51
       Plaintiffs' 862                                                          61           62
16     Plaintiffs' 156                                                          73           73
       Plaintiffs' 164                                                          85           85
17     Plaintiffs' 105                                                          88           88
       Plaintiffs' 509                                                          89           89
18     Plaintiffs' 709                                                          89           90
       Plaintiffs' 710                                                          90           90
19     Plaintiffs' 161                                                          94           94
       Plaintiffs' 564                                                         126          127
20     Plaintiffs' 731                                                         133          133
       Defendant's 285                                                         138          138
21     Plaintiffs' 133                                                         139          139
       Plaintiffs' 733                                                         143          144
22

23

24

25

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 4 of 268
                                                                                           4


  1         (Call to order of the Court, 9:42 a.m.)

  2         (Jury not present.)

  3               THE COURT:    Good morning to everyone.

  4               Go ahead and have a seat.

  5               MR. PAYNE:    Good morning, Your Honor.

  6               THE COURT:    Good morning to everyone.                    We're just

  7    waiting for the attorneys to get situated.

  8               MR. PAYNE:    Good morning, Your Honor.                    I think you're

  9    on mute for us.

10                THE COURT:    Oh, okay.            Sorry about that.         There we go.

11                All right.    Good morning.

12                Good morning, Ms. Glaser and Mr. Payne.                     We're just

13     waiting for counsel to get situated.                      We'll call the case so we

14     can get started.

15                MS. GLASER:    Not a problem.                  Thank you.

16                Your Honor, could you clarify if we are -- is this an

17     open Zoom hearing, so nothing said about our client --

18     everything said about our client during this hearing is going

19     to be publicly disclosed?

20                THE COURT:    Yes.       Ms. Glaser, the courtroom is open.

21                With regard to Zoom, you are the only two individuals

22     that are on Zoom.      Obviously, the attorneys and Mr. Freedman

23     and Mr. Rivero, along with the entire team, is here in the

24     courtroom.    And we'll go ahead and call the case and we can get

25     started.

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 5 of 268
                                                                                            5


  1               MS. GLASER:    Thank you, Your Honor.

  2               COURTROOM DEPUTY:          Calling Civil Case Number 18-80176,

  3    Ira Kleiman v. Craig Wright.

  4               Counsel, please state your appearances for the record,

  5    starting with Plaintiffs' counsel.

  6               MR. FREEDMAN:      Morning, Your Honor.                    Vel Freedman for

  7    the Plaintiffs.

  8               MR. ROCHE:    Kyle Roche for Plaintiffs.

  9               MR. BRENNER:     Good morning, Your Honor.                    Andrew

10     Brenner for the Plaintiffs.

11                MR. ZACK:    Steve Zack for the Plaintiffs.

12                THE COURT:    And I believe you have a member of your

13     team that is also here.

14                MR. BRENNER:     Oh.       Ms. Dorian Vela is here also who is

15     running the graphics.

16                THE COURT:    Good morning.

17                MR. RIVERO:    Good morning, Your Honor.                     Andres Rivero.

18     Also present for us is Mr. Amit Shah.

19                MS. MCGOVERN:      Good morning, Your Honor.                   Amanda

20     McGovern for Dr. Craig Wright.

21                MR. MESTRE:    Good morning, Your Honor.                     Jorge Mestre

22     on behalf of Dr. Wright.

23                MR. KASS:    Good morning.               Zalman Kass on behalf of

24     Dr. Wright.

25                MR. FERNANDEZ:       Good morning, Your Honor.                  Michael

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 6 of 268
                                                                                        6


  1    Fernandez on behalf of Dr. Wright.

  2               MR. RIVERO:    Judge, I introduced Mr. Shah.

  3               THE COURT:    All right.             And I believe Dr. Wright is

  4    also present with us.

  5               All right.    We are addressing this morning via Zoom

  6    for the attorneys for the non-party Docket Entry 759.                       I'm not

  7    certain -- I know yesterday, Mr. Rivero and Mr. Freedman, I did

  8    advise that the Court has received filed under seal Exhibits A

  9    and B.

10                I don't know if you had an opportunity to review them.

11     And perhaps there is no need to proceed further with any

12     argument if there was an agreement that perhaps was made last

13     night.

14                MR. FREEDMAN:      Not for Plaintiffs, Your Honor.                There

15     is still a resolution required.

16                THE COURT:    All right.

17                MS. MCGOVERN:      I'm sorry.               I didn't hear what

18     Mr. Freedman just said.

19                MR. FREEDMAN:      I said -- so the motion takes issue

20     with certain things that the Plaintiff disputes, redactions

21     that the movant wants.        And also there are redactions that

22     movant wants that the Defendant objects to.

23                MS. MCGOVERN:      Yes.

24                MR. FREEDMAN:      So for Plaintiffs, we have not agreed

25     to what movant wants.       I can't speak for you.

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 7 of 268
                                                                                             7


  1               MS. MCGOVERN:      Yes.        We are in the same position, Your

  2    Honor.

  3               THE COURT:    And perhaps, Mr. Freedman, if we can be

  4    specific, just by referring to the specific page and line, what

  5    the Plaintiff -- or Plaintiffs are not in agreement with.

  6               MR. FREEDMAN:      Sure, Your Honor.

  7               So if you take a look at Page 1 -- the lines are not

  8    on my sealed exhibit, but I'm looking at the one with

  9    highlights and red lines.

10                Do you see that one, Your Honor?

11                THE COURT:    Yes.

12                MR. FREEDMAN:      And so I'm in the second set of red

13     lines down from the top.

14                Ms. Glaser says:         "Thank you."                And then the words:

15     "1933."    And then the rest is redlined.

16                And the John Doe movant is seeking to redact the

17     balance of that line, Your Honor.

18                I can tell the Court why we can't agree to that.                      But

19     I don't know if you want to allow the movant to go first or --

20                THE COURT:    Is that the sole dispute, is with regard

21     to that address?

22                MR. FREEDMAN:      No.       There's another dispute in that

23     the John Doe movant also wants to redact out the date that that

24     address was first acquired -- or generated, rather.

25                And that would be Page 5 right at the top, that first

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 8 of 268
                                                                                              8


  1    redaction and highlight.          And the Plaintiffs object to that

  2    redaction as well.

  3               THE COURT:    Is it solely the date?

  4               MR. FREEDMAN:      Yes, Your Honor.

  5               THE COURT:    All right.             So nothing other than the date

  6    is objected to in terms of that you cannot agree to redact that

  7    portion.

  8               MR. FREEDMAN:      So the redaction starts on the second

  9    line and ends halfway through it.                   So we would object to that

10     full redaction, Your Honor.

11                THE COURT:    Any other issues?

12                MR. FREEDMAN:      I don't believe so, Your Honor.                   I

13     think that's it, but I'll do one more pass if you give me 10

14     seconds.

15          (Pause in proceedings.)

16                MR. FREEDMAN:      Yes, Your Honor.                    That's all for the

17     Plaintiffs.

18                THE COURT:    And Mr. Rivero, am I correct that the

19     Defendant is in agreement with the redactions?

20                MR. RIVERO:    Judge, Ms. McGovern's going to address

21     this.

22                THE COURT:    Oh, Ms. McGovern.                    Yes.

23                MS. MCGOVERN:      Your Honor, do you mind if I sit down

24     while I'm speaking with you?

25                THE COURT:    Not at all.

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 9 of 268
                                                                                          9


  1               MS. MCGOVERN:      Okay.         No disrespect.

  2               We agree with the Plaintiffs' objection to the

  3    redaction on Page 5.

  4               We also, however, object to the redaction on Page 4,

  5    Your Honor, which I can state that it's the highlight that

  6    begins:    "How did you obtain the Bitcoin that were in that

  7    address?"

  8               And the answer is:           "I bought them on Mt. Gox."

  9               We object to that redaction.                     We also object --

10                THE COURT:    I would request, Ms. McGovern, that --

11     right now, this document is under seal.

12                MS. MCGOVERN:      Oh, I apologize.

13                THE COURT:    So I've taken great pains during this

14     proceeding, and I would expect the professionals to take those

15     same precautions as well, that there is no need to refer to any

16     of the testimony, unless it's absolutely necessary.                      So we are

17     all looking at the same document.

18                MS. MCGOVERN:      You are absolutely right.                And I

19     apologize.    I was sort of trying to be helpful.                     But you're

20     right.

21                THE COURT:    That's not helpful.

22                MS. MCGOVERN:      I apologize, Your Honor.

23                Our objection -- just to refer to the pages, then --

24     is Page 4, Page 5, both redactions, Your Honor.                       And the --

25     that is it.

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 10 of 268
                                                                                            10


  1               THE COURT:    All right.

  2               Ms. Glaser or Mr. Payne?

  3               MS. GLASER:     Your Honor, I will try to be brief.                       I

  4     have huge respect for everybody's time and we are not players

  5     in this lawsuit as all.

  6               This lawsuit, however, has, for better or worse,

  7     gotten a tremendous amount of publicity.                          And in a highly

  8     publicized trial, people are going to wonder who is John Doe.

  9               Under these circumstances, in our view, it is

 10     imperative that as little as possible be disclosed about

 11     John Doe.    So I want to talk about several things that have

 12     been identified here, if I'm understanding correctly.

 13               John Doe's date of birth is not an issue.                        Everybody

 14     agrees that can be deleted.             I believe that's my understanding

 15     from what I've just heard from both sides.

 16               THE COURT:    That's correct.

 17               MS. GLASER:     So I'm going to skip that argument.

 18               The full Bitcoin address associated with John Doe.

 19     This is a fact that could be used to determine John Doe's

 20     identity.    While the Bitcoin address may be, as Plaintiffs have

 21     argued, famous, it has not been and should not be associated

 22     with John Doe.     The parties used a four-digit address, 1933, at

 23     deposition and can do so here.                It would not impair, from our

 24     vantage point at all, their presentations to do so and help

 25     protect John Doe.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 11 of 268
                                                                                             11


  1               Now, the date of creation of the 1933 address, this is

  2     another fact that, pieced together with others -- I'm not

  3     suggesting -- I'm not foolish enough to suggest that one little

  4     fact alone is significant, but the date of creation could be

  5     used to determine John Doe's address.

  6               The fact that John Doe knows the information -- I'm

  7     going to use as an example, without reference to anything

  8     else -- for example, in his depo, he said that could link him

  9     to that address, which makes a redaction of the full Bitcoin

 10     address even more imperative.

 11               Now, how John Doe obtained the Bitcoin that went into

 12     the Bitcoin address.      I think everybody's agreeing that the

 13     place of purchase is out.           Am I correct?                 So I won't bother to

 14     waste your time with that.

 15               THE COURT:    That is correct.

 16               MS. GLASER:     Great.

 17               The amount of Bitcoin in the -- at the Bitcoin address

 18     at any point in time.       I think everybody's agreeing that that's

 19     out.   Am I correct?

 20               THE COURT:    That's correct.

 21               MS. GLASER:     Okay.         Next.          Regulatory proceedings that

 22     may have involved -- may have -- John Doe.                            He was asked

 23     certain questions at a depo, presumably -- everything's fine --

 24     they're entitled to do this --

 25               THE COURT:    Ms. Glaser, I'm going to try to

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 12 of 268
                                                                                           12


  1     short-circuit this because I've heard from Mr. Freedman and

  2     I've heard from Ms. McGovern, and it appears the only issues

  3     that the parties have a concern with and believe that it should

  4     be disclosed as part of the testimony is the full address and

  5     the date of the acquisition.              Am I correct?

  6               MR. FREEDMAN:       Your Honor, yes.                    I noted -- I don't

  7     know how I missed this the first time, but the generation of

  8     the address, the date that the address was created, it is also

  9     mentioned right at the bottom of Page 1.                          It's not

 10     substantively different, but it's the same issue that

 11     Plaintiffs have taken.

 12               THE COURT:    But those are the two pieces of

 13     information, as I understand, that the parties wish to publicly

 14     disclose; is that correct?

 15               MR. FREEDMAN:       For the Plaintiffs, yes, Your Honor.

 16               THE COURT:    Is that correct, Ms. McGovern?

 17               MS. MCGOVERN:       Yes, it is, Your Honor.

 18               THE COURT:    All right.              So we don't need to go through

 19     the rest of the testimony.            The parties are in agreement with

 20     your proposed redactions.

 21               MS. GLASER:     Then I will shut up, except with

 22     respect --

 23               THE COURT:    Well, I don't want you to shut up.                      I just

 24     really want to somewhat compress the argument when it's not

 25     necessary.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 13 of 268
                                                                                            13


  1                MS. GLASER:    Last argument, then.

  2                When it was created.             When it was created is not in

  3     and of itself a disclosure of who John Doe is.                         It is a fact

  4     that, as far as we know, is completely irrelevant, especially

  5     in light of his other testimony that was given in his depo.                           We

  6     established it's his account.               He's never transferred it, et

  7     cetera.

  8                In our view, please leave that out.                        I urge the

  9     parties to agree to that because it is just clearly a piece of

 10     information that will be used against our guy.

 11                I have nothing further, Your Honor.                        I very much

 12     appreciate the time.

 13                THE COURT:    All right.

 14                Mr. Freedman?

 15                MR. FREEDMAN:      Your Honor, so starting with the first

 16     issue, which is the full Bitcoin address, first of all, I'd

 17     note, Your Honor, that it's called a public address for a

 18     reason.

 19                This address is publicly available on the blockchain.

 20     Not only is it publically available on the blockchain, but a

 21     simple Google search with the first numbers of this address

 22     will reveal the full address because it is a famous Bitcoin

 23     address.

 24                THE COURT:    So if it is so famous, and it's identified

 25     publicly as "1933," are there other Bitcoin addresses that are

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 14 of 268
                                                                                          14


  1     referenced as "1933"?

  2               MR. FREEDMAN:       There are some.                   But this is the most

  3     famous of them.

  4               THE COURT:    Right.          So if this is the most famous,

  5     then I'm just questioning why it can't be referred to as

  6     "1933" -- why all of the other numbers and sequence with regard

  7     to the public address need to be disclosed as part of the

  8     Plaintiffs' case.

  9               MR. FREEDMAN:       Because, Your Honor, the documents in

 10     the case that we intend to use during the case use the entire

 11     public address.

 12               THE COURT:    But if there is an agreement that the 1933

 13     is in and of itself exclusive and that there are not multiple

 14     1933 addresses, then what seems to be the issue if you're

 15     disclosing a document that has the full number, but it states

 16     "1933" and the parties agree that that "1933" is identified

 17     with regard to this full address, what seems to be the issue

 18     with curtailing it for purposes of this witness?

 19               MR. FREEDMAN:       Your Honor, for two reasons:                  One is

 20     that the exhibits in the case that we will be using in the case

 21     have the entire address, and the testimony should match the

 22     exhibits in the case.       The exhibits in the case don't reference

 23     just the 1933 address.        They reference the entire string of

 24     numbers and letters.

 25               THE COURT:    But those exhibits don't relate to this

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 15 of 268
                                                                                   15


  1     individual, correct?

  2               MR. FREEDMAN:       Your Honor --

  3               THE COURT:    Those exhibits are being presented through

  4     other witnesses, right?

  5               MR. FREEDMAN:       They are being presented through other

  6     witnesses.    But Your Honor, the purpose of John Doe's testimony

  7     is to prove that these documents are fraudulent and fake.

  8               And so if there's not a direct match, it weakens the

  9     Plaintiffs' case.     And that is why the -- John Doe's testimony

 10     is being offered, to show that documents -- by the way, Your

 11     Honor, which have been publicly filed on the docket -- I can

 12     direct the Court to those publicly filed pages -- are

 13     fraudulent documents and the effect of that is lost if the

 14     witness says:    "1933" and the address appears in full on the

 15     document.

 16               THE COURT:    Well, are the parties able to stipulate

 17     that the "1933" referenced by this John Doe is, in fact, the

 18     full address that is referenced on whatever document you're

 19     seeking to introduce and that would somewhat quell any concern

 20     on behalf of counsel for this individual?

 21               MR. FREEDMAN:       Your Honor, Plaintiffs would be willing

 22     to do that.

 23               MS. MCGOVERN:       Defense would be willing to do that.

 24               THE COURT:    All right.              Then that resolves that.

 25               Now we have the date.               Is the date critical?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 16 of 268
                                                                                  16


  1               MR. FREEDMAN:       Your Honor, it is, because --

  2               THE COURT:    Well, I certainly believe that with the

  3     address being curtailed that there can be no discernable way to

  4     somewhat associate the date of purchase by this John Doe with

  5     this address.

  6               So Ms. Glaser, would you agree that at this point the

  7     date is somewhat not an issue anymore?

  8               MS. GLASER:     Well, I would certainly -- Your Honor,

  9     I'm not going to stipulate to that because I have a very

 10     nervous client.     But I understand Your Honor's point.

 11               THE COURT:    All right.              So then I believe that we have

 12     an agreement, and that is that the parties will stipulate at

 13     the appropriate time -- and, Ms. Glaser, I'll have you work

 14     with Mr. Freedman and Ms. McGovern so you can submit a

 15     stipulation to the Court.           I'll be more than happy to read

 16     it -- that the full address is the same address as this

 17     witness, who references address number 1933.

 18               MR. FREEDMAN:       Your Honor, there's just one other

 19     housekeeping issue with regards to this, which is the jury's

 20     going to be read a deposition that identifies a John Doe.

 21               And I think there needs to be some kind of information

 22     given to the jury of why this person -- I think it can be as

 23     simple as:    "The Court has determined that for this witness's

 24     personal safety, his name is going to be anonymized."                 But I

 25     think some context has to be given.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 17 of 268
                                                                                            17


  1               THE COURT:    Let me have you work on -- I'm happy to

  2     say it to the jury, but I don't want to say anything that the

  3     parties have not agreed to.

  4               MS. GLASER:     Your Honor, just one question:                    May I

  5     inquire through you, Your Honor, when the parties expect -- so

  6     we know how quickly we have to work -- to use his testimony?

  7               THE COURT:    Mr. Freedman?

  8               MR. FREEDMAN:       Your Honor, I don't know at this point.

  9               THE COURT:    But will it be today?

 10               MR. FREEDMAN:       It will not be today.

 11               THE COURT:    All right.              So let's work on it tonight,

 12     so we can have something for the Court tomorrow.

 13               Is there anything further we need to address with

 14     regard to Docket Entry 759?

 15               MS. GLASER:     I have nothing further.                     Thank you.

 16               THE COURT:    Okay.         Then it's granted in part and

 17     denied in part for reasons stated on the record.

 18               Have a nice afternoon.

 19               MS. GLASER:     Thank you very much.

 20               MR. PAYNE:    Thank you very much, Your Honor.

 21               THE COURT:    All right.              It is 10:00.          We have all the

 22     jurors here.

 23               Are we ready to proceed on behalf of the Plaintiffs?

 24               MR. BRENNER:      Your Honor -- yes -- I just want to

 25     introduce Samantha Licata.            She's been here before, but she's

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 18 of 268
                                                                                           18


  1     an attorney in our office, and she's sitting here now.                         I

  2     wanted to --

  3               THE COURT:    All right.              Good morning.

  4               MR. RIVERO:     We're ready to proceed, Your Honor.

  5               MR. FREEDMAN:       We're otherwise ready, Your Honor.

  6               THE COURT:    All right.              And I know you stated that

  7     Mr. Kleiman is going to be testifying today.                          Is he going to be

  8     joining us this morning?

  9               MR. BRENNER:      Yeah.         Mr. Kleiman is on his way down.

 10     He lives up in Palm Beach Gardens, I think is the actual city.

 11     But -- so he -- I expect we're going to play two videos and

 12     then put Mr. Kleiman on -- two videos total are, I think, just

 13     about an hour 45.

 14               THE COURT:    All right.              I just want to make sure we

 15     don't have gaps in time.

 16               So the Plaintiffs are ready to proceed?

 17               MR. BRENNER:      Yes.

 18               THE COURT:    Okay, then.

 19               Let's bring in the jury.

 20          (Before the Jury, 10:01 a.m.)

 21               THE COURT:    Good morning, Members of the Jury.

 22     Everybody please be seated.

 23               It's good to see each of you.                       Thank you for being so

 24     prompt.   It's a beautiful day today.

 25               Let me state before we begin, that during our recesses

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 19 of 268
                                                                                         19


  1     and, of course, lunch, and as you come into the courthouse and

  2     leave the courthouse, you may see the attorneys and perhaps you

  3     see the parties to this action, and -- whether it's in the

  4     elevator or outside, and you may notice that they are not

  5     exchanging pleasantries.

  6               Please don't be offended.                    Please understand that they

  7     are under a direct court order not to have any contact with you

  8     either directly or indirectly.                So please understand that they

  9     are just complying with my order.                   All right?

 10               As I stated, I do want you to feel comfortable by

 11     bringing in beverages.        We will take a recess at approximately

 12     11:30.   And we are going to continue now with the Plaintiffs'

 13     case.

 14               But I want to make sure -- Mr. Barnett, I know there

 15     was a concern with the -- that you had expressed about making

 16     sure that you're hearing everything.                      So I would just emphasize

 17     to the attorneys just to speak directly into the microphone.

 18               Because you're able to hear me now, sir?

 19               JUROR NUMBER 6:         Yes, ma'am.

 20               THE COURT:    All right, then.                    All right.   Certainly.

 21               On behalf of the Plaintiffs.

 22               MR. FREEDMAN:       Good morning, Your Honor.

 23               On behalf of the Plaintiffs, we call Jamie Wilson, who

 24     will testify via video deposition taken on November 8th, 2019.

 25               THE COURT:    All right.              Thank you.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 20 of 268
                                                                                     20


  1          (Video played 10:03 a.m. - 10:49 a.m.)

  2               MR. FREEDMAN:       Your Honor, for Plaintiffs' next

  3     witness, we're ready to call it if the Court is.

  4               THE COURT:    All right.

  5               MR. FREEDMAN:       For Plaintiffs' next witness, we're

  6     going to call Mr. Jimmy Nguyen, who will testify via video

  7     deposition taken on April 30th, 2020 and May 26th, 2020.

  8               THE COURT:    Thank you.

  9               MR. FREEDMAN:       Your Honor, my co-counsel is pointing

 10     out that the video is a bit long.                   It's about an hour.   So if

 11     you want to take a break now or stop the video in the middle or

 12     do it at the end, that's fine.                But I just wanted to let the

 13     Court know.

 14               THE COURT:    Ladies and Gentlemen, does anybody need --

 15     in need of a comfort break, or are we ready to continue?

 16               Okay.    I think we're ready to continue.

 17               MR. FREEDMAN:       Thank you, Your Honor.

 18          (Video played, 10:49 a.m. - 11:23 a.m.)

 19               THE COURT:    Could we stop now?

 20               MR. FREEDMAN:       Yes, Your Honor.

 21               THE COURT:    All right.              Thank you.

 22               Ladies and Gentlemen, it might be an appropriate time

 23     to take a break.     Let's take a 20-minute recess and I'll see

 24     you back here at 11:45.

 25          (Jury not present, 11:23 a.m.)

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 21 of 268
                                                                                            21


  1               THE COURT:    I'll see you back here at 11:45.

  2               MR. FREEDMAN:       Thank you, Your Honor.

  3          (Recess from 11:23 a.m. to 11:43 a.m.)

  4               THE COURT:    Welcome back, everyone.                       Are we ready to

  5     continue?

  6               MR. BRENNER:      Your Honor, I just wanted to let you

  7     know that Mr. Kleiman is here in the courtroom and will be

  8     ready to go on the stand at the conclusion of the video.

  9               THE COURT:    All right.              Thank you.            And good morning.

 10               Scott, let me know if they're all ready to go, please.

 11          (Pause in proceedings.)

 12               THE COURT:    All right.              Let's bring in the jury.

 13          (Before the Jury, 11:43 a.m.)

 14               THE COURT:    All right.              Welcome back.           Please be

 15     seated and we'll continue with the testimony.

 16          (Video played 11:45 a.m. - 12:12 p.m.)

 17               MR. FREEDMAN:       Your Honor, that's all for Mr. Nguyen.

 18     And I'm going to hand it over to Mr. Brenner.

 19               THE COURT:    All right.              Thank you.

 20               MR. BRENNER:      Your Honor, at this time, Plaintiffs

 21     will call Ira Kleiman to the stand.

 22               THE COURT:    Certainly.

 23          (Pause in proceedings.)

 24               MR. BRENNER:      Can we just have a moment to set up,

 25     Your Honor?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 22 of 268
                                                                                              22


  1               THE COURT:    Yes, of course.

  2               MR. RIVERO:     Your Honor, there was a matter -- I

  3     didn't realize that we would have Mr. Kleiman so quickly --

  4     that I did need to ask Mr. Brenner about.                             If I could have one

  5     moment, Judge.

  6               THE COURT:    Yes.        To speak with Mr. Brenner?

  7               MR. RIVERO:     Yes, Judge.

  8               THE COURT:    Of course.

  9               MR. RIVERO:     Thank you.

 10          (Pause in proceedings.)

 11               MR. RIVERO:     Judge, I need to address this with the

 12     Court.   I didn't realize Mr. Kleiman would come up so suddenly.

 13               THE COURT:    All right.              What needs to be addressed?

 14               MR. RIVERO:     There was a matter that was raised by the

 15     Defense yesterday and I have a 403 motion to make.

 16               THE COURT:    All right.              Come forward.

 17          (At sidebar on the record.)

 18               THE COURT:    Okay.         I just recall I said that we could

 19     come in early.     You were communicated who the witnesses were.

 20     The fact that he's being called before lunch versus after

 21     lunch, what's the issue?

 22               MR. RIVERO:     Judge, very briefly, yesterday

 23     Mr. Brenner raised at the end of the day that he wanted to

 24     raise a question of Mr. Kleiman's medical condition to explain

 25     away his absence from trial.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 23 of 268
                                                                                            23


  1               I did forget this morning, Judge, to ask and last

  2     night to ask what was the condition.

  3               THE COURT:    What's the condition?

  4               MR. BRENNER:      I believe he's going to say that when he

  5     was 22 or 23 that he had a surgery; he had his colon removed.

  6     It makes it difficult for him to sit long periods of time.                          And

  7     I'm not going to ask any follow-up.

  8               MR. RIVERO:     Judge, the problem is removal of a colon

  9     is really something that would cause sympathy for this

 10     individual and I think that's a 403 problem.                          I don't really

 11     think it's appropriate.         It's not relevant to this case.

 12               THE COURT:    Well, I don't think it would have been

 13     relevant had you not pointed out in front of the jury that he

 14     was absent.

 15               So in fairness, the question as to why he may not have

 16     been here yesterday I think is appropriate.                           I don't think you

 17     should go into anything other than he has a medical condition

 18     that maybe affects him.         Because if, in fact, he has a

 19     condition that requires that he goes in and out of the

 20     courtroom other than our anticipated breaks, I need to know as

 21     well.

 22               MR. BRENNER:      The next question will be -- I'm just

 23     going to say:    "If you need a break at any time, just please

 24     signal and let us know."

 25               THE COURT:    That's appropriate.                       And then you move on.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 24 of 268
                                                                                        24


  1               MR. BRENNER:      And then I'm moving on.

  2          (End of discussion at sidebar.)

  3               THE COURT:    All right.              Ladies and Gentlemen, let me

  4     advise that from time to time I will need to discuss matters

  5     with the attorneys.     I apologize for that white noise.                 I know

  6     it is distracting, but it's just to ensure that we have a

  7     confidential conversation that is also placed on the record.

  8               All right.    At this point in time, Mr. Kleiman, I'm

  9     going to ask that you stand, raise your right hand to be placed

 10     under oath, sir.

 11                         IRA KLEIMAN, PLAINTIFF, SWORN

 12               COURTROOM DEPUTY:           Can you please say your name and

 13     spell it for the record.

 14               THE WITNESS:      Ira Kleiman.                I-R-A, K-L-E-I-M-A-N.

 15               COURTROOM DEPUTY:           Thank you.

 16               MR. BRENNER:      May it please the Court.

 17               THE COURT:    Yes.

 18                                DIRECT EXAMINATION

 19     BY MR. BRENNER:

 20     Q.   Good afternoon, Mr. Kleiman.

 21     A.   Good afternoon.

 22     Q.   Can you please introduce yourself to the jury?

 23     A.   My name is Ira Kleiman.

 24               MR. RIVERO:     Your Honor, we're having difficulty

 25     hearing Mr. Kleiman.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 25 of 268
                                                                                            25


  1               THE COURT:    Yes.         Thank you.              I am as well.

  2               MR. BRENNER:       Thank you.

  3               THE COURT:    Speak right into the microphone, sir.

  4               MR. BRENNER:       I'll start over, Judge.                   Thank you.

  5     BY MR. BRENNER:

  6     Q.   Mr. Kleiman, good afternoon.

  7     A.   Good afternoon.

  8     Q.   Can you please introduce yourself to the jury?

  9     A.   My name is Ira Kleiman.

 10     Q.   Sir, have you ever testified in a courtroom before?

 11     A.   No, I have not.

 12     Q.   Okay.   So just because there's some procedures you may not

 13     be familiar with, let me walk you through generally what's

 14     going to happen and some of the rules so we can make sure

 15     everyone's complying with the Court's orders.                          Okay?

 16     A.   Okay.

 17     Q.   This afternoon and after lunch, I'm going to ask you a

 18     series of questions.       Okay?

 19     A.   Okay.

 20     Q.   And then after I get done, I believe Mr. Rivero, one of

 21     Dr. Wright's lawyers, is going to have an opportunity to ask

 22     you questions.     Okay?

 23     A.   Uh-huh.

 24     Q.   And do you understand that you need to answer the questions

 25     that both I ask you and Mr. Rivero asks you under the same

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 26 of 268
                                                                                             26


  1     oath?

  2     A.   Yes.

  3     Q.   Okay.   And then when Mr. Rivero has concluded, I'll have an

  4     opportunity to maybe follow up briefly.                          Okay?

  5     A.   Okay.

  6     Q.   Now, there may be times, for example, when I'm asking you

  7     questions that Mr. Rivero may lodge a legal objection.                          Okay?

  8     A.   Okay.

  9     Q.   If he does, I'm going to ask for you to wait for the Court

 10     to rule.     Do you understand that?

 11     A.   Uh-huh.

 12     Q.   And the Court is probably going to say one of two things:

 13     Her Honor is either going to say:                    "Sustained," in which case,

 14     you should not answer the question that was asked, whether it

 15     be from myself or Mr. Rivero.                Do you understand that?

 16                 MR. RIVERO:    Judge, objection, Your Honor.

 17                 THE WITNESS:     Yes.

 18                 MR. RIVERO:    Objection, Your Honor.                      This is not

 19     testimony.     This is what this counsel should have instructed

 20     his client before he walked into the court.

 21                 THE COURT:    I agree.           Let's move forward to the

 22     testimony.

 23                 MR. BRENNER:     Okay.         Well, let me ask one more thing.

 24     BY MR. BRENNER:

 25     Q.   There is a screen in front of you.                        Do you see that?

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 27 of 268
                                                                                    27


  1     A.   Yes.

  2     Q.   Okay.    I'm going to ask you not to read anything off the

  3     screen until the Court admits something into evidence.                   Okay?

  4     A.   Okay.

  5     Q.   Now.    The -- are you aware -- you know the trial started on

  6     Monday, right?

  7     A.   Yes.

  8     Q.   Were you here in court on Monday morning?

  9     A.   Yes, I was.

 10     Q.   Okay.    And were you here at all yesterday?

 11     A.   No, I wasn't.

 12     Q.   Okay.    And what time did you get here today?

 13     A.   Around 10:00.

 14     Q.   Okay.    Can you explain to the jury why you have not been in

 15     the courtroom the whole time during the trial?

 16     A.   Yes.    When I was 23, I had a medical procedure where my

 17     colon was removed.       And it's difficult for me to sit for long

 18     periods of time.

 19     Q.   Okay.    And if you need a break at any time, just give a

 20     signal to either myself or the Court or Mr. Rivero during his

 21     questioning.     Okay?

 22     A.   Okay.

 23     Q.   Okay.    Let me switch topics on you and I want to talk to

 24     you briefly about who Dave Kleiman was.                          Okay?

 25     A.   Okay.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 28 of 268
                                                                                  28


  1     Q.   First of all, how were you related to -- do you call him

  2     Dave or did you call him Dave or David?

  3     A.   Dave.

  4     Q.   Dave.

  5          How were you related to Dave Kleiman?

  6     A.   He's my older brother.

  7     Q.   And did you have any other brothers or sisters?

  8     A.   We had one older brother named Leonard.

  9     Q.   Is Leonard still alive?

 10     A.   No, he's not.    He passed away in 2011.

 11     Q.   And your folks, what were their names?

 12     A.   Louis and Regina Kleiman.

 13     Q.   And Regina, is she still alive?

 14     A.   No.   She passed away in 2005.

 15     Q.   And Louis?

 16     A.   2016.

 17     Q.   Can you tell the jury where you grew up?

 18     A.   In South Florida.

 19     Q.   And your brother, Dave, did he get a high school degree?

 20     A.   Yes, he did.

 21     Q.   Can you tell the jury what Dave did after high school?

 22     A.   I believe he joined the Army.                  He was stationed in

 23     Schweinfurt, Germany for about three or four years.

 24     Q.   And just to -- I'm sorry.              Go ahead.

 25     A.   Yeah.   I believe he served as a helicopter technician.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 29 of 268
                                                                                    29


  1     Q.   And just to keep a general timeline, about what year did

  2     Dave go into the Army?

  3     A.   I think about 1986 or '87.

  4     Q.   And how long did he serve?

  5     A.   I think three years.

  6     Q.   And you said he was overseas.                  Do you know what he did in

  7     the Army?

  8     A.   I think he was a helicopter technician.

  9     Q.   Okay.   When Dave left the Army, what did he do next?

 10     A.   He returned home.      I think he started a company with a

 11     partner called Hackers, Inc.              They did computer programming,

 12     computer consulting, computer networking, computer sales.

 13     Q.   Okay.   So I'm struck by the name of the company.

 14          Were they hired to hack computers?

 15     A.   No.   These were good hackers.                 They were just out to help

 16     people with their computer problems.

 17     Q.   And how long was he in that business?

 18     A.   I'm not entirely sure.           Just a couple years, I think.

 19     Q.   And what did Dave do after he left that computer business?

 20     A.   I think his interest shifted to become a police officer for

 21     the Palm Beach Sheriff's Office.

 22     Q.   And did he, in fact, become a police officer with the --

 23     was it Palm Beach County Sheriff's Office?

 24     A.   Yes, he did.

 25     Q.   Did he, in fact, become an officer there?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 30 of 268
                                                                              30


  1     A.   Yes, he was.

  2     Q.   Are we in the early '90s, I think, by the timeline?

  3     A.   Yeah.   I think so, yes.

  4     Q.   Okay.   And what was his -- just generally, what was his job

  5     initially with the Palm Beach County Sheriff's Department?

  6     A.   I think he just did like road patrol.

  7     Q.   The jury has heard references to the fact that your brother

  8     was in a wheelchair and otherwise injured.

  9          Can you tell them what happened to your brother?

 10     A.   Yeah.   He was in an off-duty motorcycle accident.

 11     Q.   And about what year was that?

 12     A.   I think 1995.

 13     Q.   And what was -- not in any medical detail, but what was the

 14     result of that?     What were his -- his injuries?

 15     A.   He was paralyzed from the chest down.

 16     Q.   Did he remain that way until he passed away?

 17     A.   Yes, he did.

 18     Q.   And he passed away -- just to get our timeline, he passed

 19     away in what year?

 20     A.   April 26th, 2013.

 21     Q.   Okay.   Did he spend some time in the hospital or in --

 22     otherwise rehabbing after his motorcycle accident?

 23     A.   Yes, he did.

 24     Q.   And then what did he do after that?

 25     A.   After the hospital, I believe he returned to the Palm Beach

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 31 of 268
                                                                                31


  1     Sheriff's Office and he attained the rank of detective.

  2     Q.   Okay.

  3     A.   And I think he helped head up the computer forensics lab

  4     there.

  5     Q.   At the Palm Beach Sheriff's Department?

  6     A.   Yes.

  7     Q.   And again, not holding you to precise dates, about how long

  8     after he resumed his duties at the sheriff's department -- how

  9     long did he stay there?

 10     A.   I think maybe three or four more years.

 11     Q.   And then I think that takes us close to the end of the

 12     decade.

 13     A.   Uh-huh.

 14     Q.   Can you tell the jury what he did next -- what Dave did

 15     next?

 16     A.   He worked at various computer technology companies.              One I

 17     recall was called Security Doc where he helped develop some

 18     special encryption software.              I believe it was used by NASA and

 19     some other government agencies.

 20     Q.   Okay.    And did he stay at Security Doc until he passed or

 21     did he have other jobs?

 22     A.   No.    He went to some other type of computer networking-type

 23     jobs and then ultimately formed a partnership with two of his

 24     friends to create Computer Forensics, LLC.

 25     Q.   The jury heard yesterday -- yes, yesterday -- from a

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 32 of 268
                                                                                           32


  1     gentleman by the name of Patrick Paige.                          Is that -- do you know

  2     who that is?

  3     A.   Yes.    That was his partner at Computer Forensics, LLC.

  4     Q.   Okay.    Okay.   I want to shift gears a little bit and move

  5     on to another topic.       Okay?

  6     A.   Okay.

  7     Q.   The jury has been instructed by the Court or told by the

  8     Court that there are two Plaintiffs in the case.                         One is W&K

  9     Info Defense, which is, I think, is going to be referred to as

 10     "W&K" -- and the other is the estate of Dave Kleiman.

 11          What -- what is your connection to the estate of Dave

 12     Kleiman?

 13     A.   I'm the personal representative.

 14                 MR. BRENNER:     Your Honor, at this point, I'd like to

 15     publish to the jury Joint Exhibit 2022 and move it into

 16     evidence.

 17                 THE COURT:   All right.              It is a joint exhibit.         It's

 18     admitted into evidence.

 19          (Joint Exhibit 2022 received into evidence.)

 20                 THE COURT:   And you may publish.

 21                 MR. BRENNER:     Thank you, Your Honor.

 22     BY MR. BRENNER:

 23     Q.   Okay.   First of all, you can see okay?

 24     A.   Yes.

 25     Q.   Okay.   Great.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 33 of 268
                                                                                             33


  1          What is this document?

  2     A.   That appears to be my brother's will.

  3     Q.   Okay.

  4                 MR. BRENNER:     Dorian, if you could go to the fourth

  5     page of the document, which is actually the third page of the

  6     will.

  7     BY MR. BRENNER:

  8     Q.   And, Mr. Kleiman, to be clear and so the jury's clear,

  9     we'll have red boxes on these.                 Those red boxes are put there

 10     by me so we can direct our attention to it.                            They're not part

 11     of the actual document.

 12     A.   Okay.

 13     Q.   Okay.    You see the line there that says:                        "David Alan

 14     Kleiman" that has a signature on it?

 15     A.   Yes, I do.

 16     Q.   Do you recognize that signature?

 17     A.   Yes.    That's my brother's handwritten signature.

 18     Q.   And then the date of the will is what?

 19     A.   July 30, 2003.

 20     Q.   Okay.    As far as you know, was this the only will in

 21     existence at the time your brother passed?

 22     A.   Yes, it was.

 23     Q.   As far as you know, were there ever any changes made to

 24     this will after it was executed?

 25     A.   Not to my knowledge.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 34 of 268
                                                                                                34


  1     Q.    Okay.

  2                  MR. BRENNER:     Ms. Vela, if you could go to the third

  3     page of the second -- the second page of the will.                              One page

  4     up.

  5                  There you go.

  6     BY MR. BRENNER:

  7     Q.    Okay.    Let me ask you a couple questions about this page.

  8     In the middle there, the middle box, do you see that?

  9     A.    Yes.

 10     Q.    It says:    "I recognize that Joseph S. Karp is my attorney

 11     and ask him to draft this last will." Do you see that?

 12     A.    Yes, I do.

 13     Q.    Okay.    Who is Joseph Karp?

 14     A.    He's a lifelong friend of the family.                             My mother used to

 15     babysit him when he was a child.

 16     Q.    And is he -- was he the attorney that helped draft this

 17     will, as far as you know?

 18     A.    Yes, he was.

 19     Q.    And is he the attorney that represented the estate after

 20     your brother passed?

 21     A.    Yes.

 22                  MR. BRENNER:     If you could collapse that down, please,

 23     Ms. Vela.

 24                  Let's go to -- a little bit down there, it says:

 25     "9th."    The bottom block.

                                    Yvette Hernandez, Official Court Reporter
                                        400 North Miami Avenue, 10-2
                                             Miami, Florida 33128
                                                (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 35 of 268
                                                                               35


  1                 Thank you.

  2     BY MR. BRENNER:

  3     Q.   Okay.    So, Mr. Kleiman, can you just read the first

  4     sentence of that?

  5     A.   "I hereby nominate and appoint my brother and my mother,

  6     Ira Steven Kleiman and Regina Kleiman, or the survivor

  7     co-personal representatives of my estate."

  8     Q.   Okay.    Is it your understanding this was your brother's

  9     choice who would be the personal representatives of the estate?

 10     A.   Yes, it is.

 11     Q.   Okay.    Now, when your brother passes, is your mom -- your

 12     mom's no longer alive?

 13     A.   That is correct.

 14     Q.   Okay.    So since your brother's passing, have you been the

 15     sole personal representative of the estate?

 16     A.   Yes, I have.

 17     Q.   Okay.

 18                 MR. BRENNER:     You could take that down, please.

 19     BY MR. BRENNER:

 20     Q.   Did there come a time when a court appointed you as --

 21     formally appointed you as the personal representative of the

 22     estate?

 23     A.   Yes.    I believe when we opened probate, I think, in 2016.

 24     Q.   Okay.    So --

 25                 MR. BRENNER:     If you -- Ms. Vela, if you could publish

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 36 of 268
                                                                                          36


  1     to the witness and counsel only.

  2     BY MR. BRENNER:

  3     Q.   Just -- again, just because the jury is not -- it's not

  4     been admitted into evidence, can you describe --

  5               MR. BRENNER:      This is P863, Your Honor.

  6               THE COURT:    Thank you.

  7     BY MR. BRENNER:

  8     Q.   Can you tell the jury what this is?

  9     A.   It's the appointment of myself as personal representative

 10     of my brother's estate.

 11               MR. BRENNER:      Your Honor, at this time, the Plaintiffs

 12     would move P863 into evidence.

 13               MR. RIVERO:     Without objection, Your Honor.

 14               THE COURT:    I'm sorry.              Did you say:          "Without

 15     objection"?

 16               MR. RIVERO:     Yes.        Just a little hard with the mask.

 17               THE COURT:    Not a problem.

 18               MR. BRENNER:      I think he said:                    "Without objection."

 19               THE COURT:    Admitted into evidence.

 20          (Plaintiffs' Exhibit 863 received into evidence.)

 21               MR. BRENNER:      Could we have that published to the

 22     jury, please.

 23               It's 863, Your Honor.

 24               THE COURT:    Yes.

 25               MR. BRENNER:      Is that up?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 37 of 268
                                                                              37


  1               Yeah.    Thank you.

  2     BY MR. BRENNER:

  3     Q.   Mr. Kleiman, I want to focus on -- well, first of all, the

  4     whereas clause, can you read that to the jury?

  5     A.   "Whereas, Ira Steven Kleiman has been appointed personal

  6     representative of the estate of the decedent and has performed

  7     all sets prerequisite to issuance of letters of administration

  8     in the estate."

  9     Q.   Okay.   When you testified earlier that you understood a

 10     court had formalized the appointment, is this what you're

 11     talking about?

 12     A.   Yes, it is.

 13     Q.   Okay.

 14               MR. BRENNER:      So if you could collapse that down,

 15     Ms. Vela, and please bring up the second box.

 16     BY MR. BRENNER:

 17     Q.   The -- can you read starting with "now" through -- I guess

 18     it's the third-to-last line where it ends with "decedent"

 19     before the semicolon.

 20     A.   "Now, therefore, I, the undersigned circuit judge, declare

 21     Ira Steven Kleiman duly qualified under the laws of State of

 22     Florida to act as personal representative of the estate of

 23     David Alan Kleiman, deceased, with full power to administer the

 24     estate according to law, to ask, demand, sue for, recover, and

 25     receive the property of the decedent."

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 38 of 268
                                                                               38


  1     Q.   Okay.   What is your understanding of what the court order

  2     was empowering you to do?

  3     A.   Basically, to pursue assets owed to the estate.

  4     Q.   Okay.   And is the lawsuit here today brought pursuant to

  5     your authority granted here as personal representative?

  6     A.   Yes, it is.

  7     Q.   Okay.   And the bottom we have highlighted, that's just the

  8     judge's signature?

  9     A.   Yes.

 10     Q.   Okay.

 11                 MR. BRENNER:     You can take that down, please.

 12     BY MR. BRENNER:

 13     Q.   Now, although the Plaintiff here -- or one of the

 14     Plaintiffs; we'll put W&K to the side for just a moment --

 15     although one of the Plaintiffs here is the estate of Dave

 16     Kleiman and not yourself personally, do you, yourself, have a

 17     financial interest in the outcome of the litigation?

 18     A.   Yes, I do.

 19     Q.   Okay.

 20                 MR. BRENNER:     Ms. Vela, if we could bring back up

 21     JE22, which is already in evidence, and I want to highlight the

 22     fifth -- yes.

 23                 Thank you so much.

 24     BY MR. BRENNER:

 25     Q.   Mr. Kleiman, can you read that to the jury, please?

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 39 of 268
                                                                                          39


  1     A.   "I give and devise to my brother, Ira Steven Kleiman, all

  2     of the rest, residue, and remainder of my estate, of whatsoever

  3     kind and wheresoever situated, which I may own or have the

  4     right to dispose of at the time of my death, to be his

  5     absolutely and forever."

  6     Q.   So even as a lawyer, some of that language is a little

  7     hairy to me.

  8          What's your understanding of what your brother's will said

  9     in Paragraph 5 or the fifth -- the fifth clause?

 10     A.   It looks like he's leaving everything to me.

 11     Q.   Okay.   Okay.   We're going to switch topics.                    And we're

 12     going to talk about -- we're going to go through a lot of your

 13     communications with Craig Wright.                   Okay?

 14     A.   Okay.

 15     Q.   So let me ask some introductory questions.

 16          At the time -- well, at the time your brother passed away

 17     in 2013, in April of 2013, had you ever heard of Craig Wright?

 18     A.   No, I hadn't.

 19     Q.   At the time your brother passed away in 2013, had you ever

 20     heard that your brother had any involvement in the creation of

 21     Bitcoin?

 22     A.   No, I didn't.

 23     Q.   And at the time your brother passed away in 2013, had you

 24     ever heard that your brother had mined Bitcoin?

 25     A.   No, I didn't.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 40 of 268
                                                                               40


  1     Q.   At the time your brother passed away in 2013, had you ever

  2     heard that your brother had been involved in the development of

  3     intellectual property related to Bitcoin?

  4     A.   No.

  5     Q.   Did there come a time after 2013 that you became acquainted

  6     with or came in contact with Dr. -- with Craig Wright?

  7     A.   Yes.    Around February of 2014.

  8     Q.   And just so we're clear, when you communicated with Craig

  9     Wright, did you guys communicate with each other on a

 10     first-name basis?

 11     A.   I believe so.

 12     Q.   Okay.   So let's --

 13                 MR. BRENNER:     If you could bring up -- Ms. Vela, if

 14     you could bring up to the counsel and the witness P867.

 15                 Your Honor, 867.

 16     BY MR. BRENNER:

 17     Q.   And let me just ask you what -- you know, describe what

 18     this document is.

 19     A.   At the bottom there, I received a voice message from --

 20     Q.   Mr. Kleiman, without reading the document, just generally

 21     describe -- it's an email exchange from whom --

 22     A.   Oh, yes.   It appears to be an email from Patrick to myself.

 23     Q.   And one from you to him?

 24     A.   Yes.

 25     Q.   Okay.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 41 of 268
                                                                                            41


  1               MR. BRENNER:      Your Honor, at this time, we would move

  2     P867 into evidence.

  3               THE COURT:    Is there any objection?

  4               MR. RIVERO:     One moment, Your Honor.

  5          (Pause in proceedings.)

  6               MR. RIVERO:     Objection.              Hearsay.

  7               THE COURT:    And the purpose for its admission?

  8               MR. BRENNER:      The purpose of its admission is to show

  9     the -- Your Honor, the -- starting at the second block, that is

 10     a copy of an email that's already into evidence from Dr. Wright

 11     to Mr. Paige that was introduced yesterday.                           Just showing --

 12               THE COURT:    To give it context?

 13               MR. BRENNER:      Yeah --

 14               THE COURT:    Overruled.              I'll allow it.

 15               MR. BRENNER:      Okay.         Thank you.

 16          (Plaintiffs' Exhibit 867 received into evidence.)

 17               MR. BRENNER:      Can you bring that up, please.

 18               Thank you, Ms. Vela.

 19     BY MR. BRENNER:

 20     Q.   So you just said this -- this email -- well, first of all,

 21     we see this dex561@yahoo.com.               Who is that?

 22     A.   That's one of my email addresses.

 23     Q.   Okay.   And through these documents, will we see other

 24     emails for you?

 25     A.   Yes, you will.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 42 of 268
                                                                                               42


  1     Q.   Okay.   The email is to Patrick Paige.                            That's the computer

  2     forensics person we were just talking about?

  3     A.   That's correct.

  4     Q.   Okay.   And can you read that to the jury and just -- let me

  5     step back.

  6          The date of this is February 12, 2014?

  7     A.   Yes.

  8     Q.   Prior to receiving this email or the phone message from

  9     Mr. Paige, had you ever heard of Dr. Wright?

 10     A.   No, I didn't.

 11     Q.   Okay.   So can you tell the jury what's going on here?

 12     A.   I received a voice message from Patrick and I'm asking him

 13     what it's about.

 14     Q.   Okay.   And does he respond to your email?

 15     A.   Yes, he does.

 16     Q.   Okay.   So let's --

 17                 MR. BRENNER:     If you could just pull up -- yes.

 18                 Thank you, Ms. Vela.

 19     BY MR. BRENNER:

 20     Q.   Okay.   So he responds, it looks like, the next day,

 21     although it's 2:10 a.m.          You see that?

 22     A.   Yes, I do.

 23     Q.   Okay.   And first read the first line.

 24     A.   "I got an email from a friend of Dave that said -- see

 25     below -- I want to discuss this with you."

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 43 of 268
                                                                                             43


  1     Q.   And the rest of that email starting with:                          "I know both of

  2     you," is that written by Patrick or is he forwarding the "see

  3     below," the email from the friend?

  4     A.   Yeah.   He's forwarding a message sent from Dr. Wright.

  5     Q.   Okay.   And we're going to -- throughout the day, we may

  6     come back to the same document, but we'll focus on different

  7     parts of it as we talk about different subjects.

  8          Can you read starting with the email from Craig Wright,

  9     which -- this is P122.        Can you read the first two lines.

 10     A.   "I know both of you knew Dave and trusted him.                          Dave and I

 11     had a project in the US.          He ran it there.                    We kept what we did

 12     secret."

 13     Q.   Okay.   So let's focus on the "secret" part for a second.

 14          When you get this email forwarded from Patrick Paige, did

 15     you know that your brother had a project in the US with

 16     Dr. Wright?

 17     A.   No, I didn't.

 18     Q.   Okay.   And did you know that your brother was the one that

 19     was running that project in the United States?

 20     A.   No, I didn't.

 21     Q.   Okay.   The next line there says --

 22                MR. BRENNER:     If you could just highlight it, please.

 23     BY MR. BRENNER:

 24     Q.   The next line there says:              "The company he ran there mined

 25     Bitcoin." You see that?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 44 of 268
                                                                                44


  1     A.    Yes.

  2     Q.    Did you know prior to receiving this email that your

  3     brother was in a company with Dr. Wright to mine Bitcoin in the

  4     US?

  5     A.    No.

  6     Q.    And did you even know what the name of the company or

  7     anything about it was at this time?

  8     A.    No.

  9     Q.    Okay.   And we'll come back to this one later.

 10                  MR. BRENNER:     If you could take that down, Ms. Vela,

 11     please.

 12                  Thank you.

 13     BY MR. BRENNER:

 14     Q.    So I think Mr. Paige's email was February 13th.

 15           What did you do next?

 16     A.    I believe I reached out to Dr. Wright.

 17                  MR. BRENNER:     If we could bring up for the jury and

 18     the witness P120, Your Honor.

 19     BY MR. BRENNER:

 20     Q.    So I don't think you can control the scrolling of the

 21     document, so I'm going to ask Ms. Vela to just scroll through

 22     it, the first few pages quickly enough that you can identify

 23     what it is.     And you let us know when you've seen enough that

 24     you could recognize it.

 25     A.    Yeah, I recognize it.

                                    Yvette Hernandez, Official Court Reporter
                                        400 North Miami Avenue, 10-2
                                             Miami, Florida 33128
                                                (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 45 of 268
                                                                               45


  1     Q.   Okay.   Can you tell the jury what this document is, again,

  2     just describing it generally?

  3     A.   It's an email from Dr. Wright to myself.

  4     Q.   Is it -- in the document, is it one email or is it a chain

  5     of emails?

  6     A.   It's a chain of emails.

  7     Q.   And who are the parties to those emails?

  8     A.   Myself and Dr. Wright.

  9     Q.   Okay.

 10               MR. BRENNER:      At this time, Your Honor, we would move

 11     in -- P120 into evidence.

 12               THE COURT:    Is there any objection?

 13               MR. RIVERO:     No objection.

 14               THE COURT:    Admitted into evidence.

 15          (Plaintiffs' Exhibit 120 received into evidence.)

 16               MR. BRENNER:      Okay.         I want to start -- Ms. Vela, I'd

 17     like to start on Page 7 of the PDF, which ends in the Bates

 18     stamp 095.

 19               Thank you.

 20     BY MR. BRENNER:

 21     Q.   So let's go through this as it reads --

 22               MR. BRENNER:      No.       You could take that --

 23     BY MR. BRENNER:

 24     Q.   It starts with:    I am Dave's brother, Ira."

 25          Is this your first email to -- well, it starts with:             "Hi,

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 46 of 268
                                                                                             46


  1     Craig."     This is to Craig Wright?

  2     A.   Yes, it is.

  3     Q.   And the date was --

  4                 MR. BRENNER:     If we could just scroll up to the date

  5     in the previous page.

  6                 Well, no, it's on the bottom.                      It's on the bottom.

  7     BY MR. BRENNER:

  8     Q.   February 15th?

  9                 MR. BRENNER:     And can we just keep these both up for a

 10     second?

 11     BY MR. BRENNER:

 12     Q.   You see where your email to Dr. Wright is February 15th --

 13     A.   Yes.

 14     Q.   -- on the bottom?

 15          And if you look at the top, it says that -- he has an email

 16     that appears to be responding, but it's on February 14th.                        So

 17     before you wrote your email.

 18          How is it that Dr. Wright's email to you responding to your

 19     email is done the day before?

 20     A.   It has something to do with the time difference between

 21     Australia and the US.

 22     Q.   Okay.   Do you have any doubt -- as we go through this,

 23     we're going to see this same thing.                      I want to clear up any

 24     confusion.    Do you have any doubt, for example, that the two

 25     emails on the screen is yours -- on the right is your email to

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 47 of 268
                                                                                          47


  1     him, and his on the left is his response to you?

  2     A.   No doubt.

  3     Q.   Okay.   All right.

  4                 MR. BRENNER:     So let's just put up the one on the

  5     right, please, Ms. Vela.

  6     BY MR. BRENNER:

  7     Q.   Okay.   You introduce yourself.                    Is that the first line?

  8     A.   Yes.

  9     Q.   Okay.   And then the second line, could you read that to the

 10     jury and tell them what you meant?

 11     A.   "I heard via Patrick that you and my brother worked on some

 12     tech projects together.          If what he told me is true, I would be

 13     very impressed."

 14     Q.   What tech projects were you referring to?

 15     A.   I was referring to the development of Bitcoin.

 16                 MR. BRENNER:     Okay.         If we could take that down and go

 17     to the next highlighted section, Ms. Vela.

 18                 Thank you.

 19     BY MR. BRENNER:

 20     Q.   It says -- why don't you read the first line.

 21     A.   "Can I ask you if Dave played a part in writing the

 22     original PDF under the Asian alias?"

 23     Q.   Okay.   So let's talk about those two things because we have

 24     two terms in there.

 25          One is "the original PDF."                You're asking if Dave played a

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 48 of 268
                                                                                     48


  1     part in writing the original PDF.                    What are you talking about?

  2     A.   There was a document called the Bitcoin Whitepaper that the

  3     inventor of Bitcoin wrote and he used an alias called Satoshi

  4     Nakamoto.

  5     Q.   So you got one step ahead of me.

  6          The original PDF you're referring to -- and the jury's

  7     heard this already from other witnesses -- is the Bitcoin

  8     Whitepaper from -- I think it's Halloween 2008?

  9     A.   Yes.

 10     Q.   Okay.   And then the "Asian alias" reference, just could you

 11     say again what that is?

 12     A.   Satoshi Nakamoto.

 13     Q.   Okay.   And then why don't we just look at the last part of

 14     what you say.

 15     A.   "I just think it would be cool to know that Dave played a

 16     part in creating something so incredible."

 17     Q.   So if we look at the question you ask him, does Dr. Wright

 18     respond to this email and answer your question?

 19     A.   Yes.

 20     Q.   Okay.   So let's take a look at that.

 21                 MR. BRENNER:     Ms. Vela, it's the next email up.

 22     BY MR. BRENNER:

 23     Q.   Okay.   Again, we've talked about the time difference.

 24          So it says -- if we could look at the block, it says:                  "I

 25     cannot say much right now, but, yes, Dave was involved with

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 49 of 268
                                                                                    49


  1     that PDF."

  2          Is that an answer to your question or did you understand

  3     that to be an answer to your question about whether Dave was

  4     involved in --

  5     A.   Yes.    He was confirming that Dave was definitely involved

  6     in creating the Bitcoin Whitepaper.

  7     Q.   And the second thing -- well, the second thing that you

  8     referenced was the "Asian alias" and Dr. Wright writes:                  "He

  9     had the Vistomail account."

 10          First of all, who is the "he" that he is referring to, or

 11     that you understood?

 12     A.   Dave.

 13     Q.   And then Dr. Wright said:              "I had the GMX one."      Do you see

 14     that?

 15     A.   Right.

 16     Q.   What did you understand Dr. Wright was referring to when he

 17     talked about the Vistomail account and the GMX one?

 18     A.   I learned that Satoshi Nakamoto is known for using two

 19     different email addresses, and it appeared that Dave controlled

 20     one of them.

 21     Q.   Okay.    Was this the first time -- so this is -- depending

 22     if we use the Australian day or US day, this was basically

 23     within the first day of your communication with Dr. Wright?

 24     A.   Yes.

 25     Q.   Okay.    Was this the first time that Dr. Wright had

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 50 of 268
                                                                                    50


  1     confirmed to you that your brother had been, in fact, part of

  2     creating the Bitcoin Whitepaper?

  3                 MR. RIVERO:    Objection.              Judge, that assumes facts not

  4     in evidence and also leads.

  5                 THE COURT:    Let's -- the objection would be sustained.

  6                 Let's rephrase, please.

  7     BY MR. BRENNER:

  8     Q.   Okay.    Was this -- did you have other discussions with

  9     Dr. Wright, other emails with Dr. Wright where he discussed

 10     with you whether or not your brother was the co-creator of

 11     Bitcoin?

 12     A.   Yes.    We had many discussions like that.

 13     Q.   Is this the first one of them?

 14     A.   Yes, it is.

 15     Q.   Okay.

 16                 MR. BRENNER:     Ms. Vela, we could take that down,

 17     please.     Let's, again, for the witness and counsel, bring up

 18     P138.

 19                 And if you could, Ms. Vela, if you could just slowly

 20     scroll through the document enough that Mr. Kleiman will let us

 21     know if he's comfortable identifying what it is.

 22                 THE WITNESS:     Yes.        I recognize it.

 23     BY MR. BRENNER:

 24     Q.   Okay.    Can you -- again, without discussing the content in

 25     any detail, can you just tell the jury and the Court what this

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 51 of 268
                                                                                51


  1     document is?

  2     A.   It's another email exchange from Craig to myself.

  3     Q.   And what's the time frame?

  4     A.   Early 2014.

  5     Q.   After the ones we just looked at?

  6     A.   Yes.

  7     Q.   Okay.   And generally discussing the same type of subject

  8     matter we were just discussing?

  9     A.   Yes.

 10     Q.   Okay.

 11                 MR. BRENNER:     Your Honor, at this time, we would

 12     move -- Plaintiffs would move P138 into evidence.

 13                 MR. RIVERO:    No objection.

 14                 THE COURT:    Admitted into evidence.

 15          (Plaintiffs' Exhibit 138 received into evidence.)

 16                 MR. BRENNER:     Okay.         If we could publish that to the

 17     jury.

 18                 Okay.   So if you could go to -- go to the third page,

 19     please.

 20     BY MR. BRENNER:

 21     Q.   Okay.   So let's orient where we are.

 22          The -- look at that email, first of all, the

 23     craig@rcjbr.org.      Do you see that?

 24     A.   Yes.

 25     Q.   Do you recognize that email address?

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 52 of 268
                                                                                              52


  1     A.   Yeah.   We exchanged many communications and he used that

  2     email address.

  3     Q.   And the way the emails get printed sometimes, it doesn't

  4     show who this is to, but was this an email that you received

  5     from Craig Wright on or about March 7th, 2014?

  6     A.   Yes, it is.

  7     Q.   Okay.   Can you read the first highlighted block -- you know

  8     what?   Why don't you read the whole thing and then explain to

  9     the jury what you understood Dr. Wright was communicating.

 10     A.   "I had math skills and some coding that, frankly, was crud.

 11     Better than some, but, really, Dave could edit his way through

 12     hell and back.     I'm not a team player.                     I'm a terrible boss and

 13     slave driver, but with Dave, I was far more.                          Satoshi was a

 14     team.   Without the other part of that team, he died."

 15     Q.   What was your understanding of what Dr. Wright was

 16     communicating to you?

 17     A.   He was telling me that he contributed towards programming

 18     some of the development of Bitcoin as well as Dave by saying:

 19     "Dave could edit his way through hell and back."

 20     Q.   And the last -- oh, I'm sorry.                    Were you done with your

 21     answer?

 22     A.   Yes.

 23     Q.   Okay.   The last part said:              "Satoshi was a team.           Without

 24     the other part of that team, he died."

 25          What did you understand Dr. Wright was telling you?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 53 of 268
                                                                                       53


  1     A.    Basically, when my brother died, so did Satoshi.

  2     Q.    Okay.

  3                  MR. BRENNER:     Okay.         If we could go to the one that

  4     ends in 889, which I think is just one page up.

  5     BY MR. BRENNER:

  6     Q.    This email appears -- I guess it's the same day from

  7     Dr. Wright.     Had you had any exchange between these two emails?

  8     A.    Yes.

  9     Q.    Okay.   And I want to focus on what Dr. Wright is saying to

 10     you.    Okay?

 11     A.    Okay.

 12     Q.    First of all, he says:            "It is not" -- do you remember --

 13     and if you need to go back and look at the email, we can show

 14     it.    But do you remember what he was talking about with:                 "It

 15     is not, I'm far from humble"?

 16     A.    Yeah.   Basically he was saying that it wasn't all of, you

 17     know, Craig.     It was -- without Dave's participation, he

 18     couldn't have executed developing Bitcoin.

 19                  MR. RIVERO:    Objection.              Judge, I move to strike.

 20     This is speculating about the meaning, the intent of the other

 21     person.

 22                  THE COURT:    Why don't we show the exhibit that's in

 23     evidence.     I think there is -- is there an email that's before

 24     that that's part of this exhibit?

 25                  MR. BRENNER:     Sure.         We could do that.

                                    Yvette Hernandez, Official Court Reporter
                                        400 North Miami Avenue, 10-2
                                             Miami, Florida 33128
                                                (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 54 of 268
                                                                                              54


  1                 THE COURT:   The objection is sustained.

  2                 MR. BRENNER:     Let's go back.                  I guess it was in

  3     between the two we were just looking at.

  4                 I think it's the one that -- no.                           No.   No.

  5                 Go to 889, please.

  6                 Okay.   Go up.

  7                 All right.

  8     BY MR. BRENNER:

  9     Q.   So let's just track it through.

 10          We had the email in between, you write on the bottom

 11     there -- well, you know --

 12                 MR. BRENNER:     You know what?                  Let's go down so we can

 13     make sure we're not skipping one.

 14     BY MR. BRENNER:

 15     Q.   Okay.    So we had looked at the email that's on the board

 16     that said:     "I had math skills." You see that?

 17     A.   Yes.

 18     Q.   And now I want to --

 19                 MR. BRENNER:     Just to give context, let's show your

 20     response, which actually starts on the previous page.

 21     BY MR. BRENNER:

 22     Q.   On the bottom, you write:               "What the F?               I thought humility

 23     was not your strong suit." You see that on the bottom?

 24     A.   Yes.

 25     Q.   You write:     "I understand Dave may have helped you in many

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 55 of 268
                                                                                          55


  1     ways, but the idea was yours.                As we speak, journalists around

  2     the world are in a frenzy searching for the person who came up

  3     with the idea, not the team behind it.                         The crown is yours to

  4     claim if you ever choose to.               Satoshi lives and prospers."

  5          Was that your response to --

  6     A.   Yes, it was.

  7     Q.   What?

  8     A.   Yes.

  9     Q.   Okay.   And now if we go to the -- does that now give

 10     context to why you were -- why he's responding to the -- I

 11     guess you use "humility" and he used the word "humble"?

 12     A.   Correct.

 13     Q.   And he -- we read part of it.                   Can you read starting with

 14     the:   "I had an idea" part?

 15     A.   "I had an idea, but it would never have executed without

 16     Dave."

 17     Q.   Okay.   And the "it," what did you understand Dr. Wright was

 18     talking about when he said:              "It would have never executed

 19     without Dave"?

 20     A.   The development of Bitcoin as Satoshi Nakamoto.

 21     Q.   Okay.   Now, we've just looked at emails from February and

 22     March of 2014.

 23                 MR. BRENNER:     You can take that down, please.

 24     BY MR. BRENNER:

 25     Q.   And we'll go through some of these as we get through the

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 56 of 268
                                                                                          56


  1     examination.     But did you have more communications with

  2     Dr. Wright over the next 12 to 18 months?

  3     A.   Yes, I did.

  4     Q.   Did you have communications -- in addition to emails, did

  5     you also have verbal, whether it be by Skype or telephone

  6     conversations?

  7     A.   Yes, I did.

  8     Q.   Which were more frequent?

  9     A.   I believe we had a few more Skype conversations.

 10     Q.   Not between Skype and telephone, meaning between email and

 11     between verbal communication.

 12     A.   Oh.    Much more email communications.

 13     Q.   Okay.    That was your general form of communication,

 14     although there were some calls or Skypes?

 15     A.   Yes.

 16     Q.   Okay.    At any time over that 12- to 18-month period, did

 17     Dr. Wright say to you -- essentially change this part and say:

 18     "No.   Actually, Dave was not part of the team that formed

 19     Satoshi Nakamoto"?

 20                 MR. RIVERO:   Judge, objection.                     This is the Plaintiff

 21     in the case and his counsel is leading him.

 22                 THE COURT:    Sustained.

 23     BY MR. BRENNER:

 24     Q.   Okay.    Was there ever a time where a message different than

 25     what we just looked at regarding Satoshi Nakamoto -- was there

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 57 of 268
                                                                                         57


  1     ever a time, one way or the other, where Dr. Wright conveyed a

  2     different message?

  3     A.   No.   He never did.

  4     Q.   Okay.

  5                MR. BRENNER:     Your Honor, can I go into the next

  6     subject?     You want me to -- it's probably 20 minutes, the next

  7     subject.

  8                THE COURT:    Is this a good time?

  9                MR. BRENNER:     It would be a great time.

 10                THE COURT:    All right.

 11                Then, Ladies and Gentlemen, at this point in time, we

 12     will take a recess for lunch and I'll see you back here at

 13     2:00.   Have a pleasant lunch.

 14                MR. BRENNER:     Thank you, Your Honor.

 15          (Jury not present, 12:55 p.m.)

 16                THE COURT:    Anything we need to address?

 17                MR. BRENNER:     Not for the Plaintiffs, Your Honor.

 18                MR. RIVERO:    No, Your Honor.

 19                THE COURT:    All right.             See you back here at 2:00.

 20          (Recess from 12:55 to 2:00 p.m.)

 21          (Jury not present.)

 22                THE COURT:    All right.             Welcome back.         I hope everyone

 23     had a nice lunch.

 24                Is there anything we need to address before we bring

 25     the jury back?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 58 of 268
                                                                                       58


  1               MR. RIVERO:     Judge, one request.

  2               THE COURT:    All right.

  3               MR. RIVERO:     My friend and colleague, Andrew, is a

  4     very experienced lawyer.          But this is his client.             This is a

  5     really critical moment in the trial.                      And I would request that

  6     the Court require that testimony come from the witness and that

  7     he not be led to his answers.

  8               THE COURT:    Yes.        I sustained each of your objections

  9     on grounds of leading.

 10               MR. RIVERO:     No.       You have, Judge, but I don't want to

 11     interrupt constantly because it can look like I'm trying to

 12     hide something when -- I mean, Mr. Brenner is a very good and

 13     experienced lawyer.     And if the Court wants, I'll object each

 14     time, but I think --

 15               THE COURT:    Mr. Brenner, it's an elementary

 16     evidentiary point.     Could you stop leading the witness?

 17               MR. BRENNER:      I'm certainly not doing it on purpose

 18     and I will certainly to not to --

 19               THE COURT:    All right.              Let's make a concerted effort,

 20     and if you feel the need to object, then you may certainly do

 21     so.

 22               All right.    Let's bring in the jury.

 23           (Before the Jury, 1:59 p.m.)

 24               THE COURT:    All right.              Welcome back, Members of the

 25     Jury.   Please be seated.         I trust you had a pleasant lunch and

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 59 of 268
                                                                                        59


  1     ready to get back to work.

  2                 And we'll continue with the direct examination of

  3     Mr. Kleiman.

  4                 MR. BRENNER:     Thank you, Judge.

  5                 May I proceed?

  6                 THE COURT:   You may.

  7                        DIRECT EXAMINATION [CONTINUED]

  8     BY MR. BRENNER:

  9     Q.   Good afternoon, Mr. Kleiman.

 10     A.   Good afternoon.

 11     Q.   Follow up just really briefly on one thing I asked you

 12     about earlier.     I'd asked you what were your brother's injuries

 13     very generally and I think you said he was paralyzed from the

 14     chest down, right?

 15     A.   Correct.

 16     Q.   Okay.    Did he lose -- did he lose use of his arms or hands

 17     as a result of the motorcycle accident?

 18     A.   No, he did not.

 19     Q.   And did he have any -- trying to think -- any mental

 20     deficit?     Did he lose any of his brain power?

 21     A.   Absolutely not.

 22     Q.   Okay.    Switching topics, I want to talk to you about two

 23     things.     The ATO.   First of all, are you familiar with what the

 24     term "ATO" is?

 25     A.   Yes.    The Australian Tax Office.                    It's like our IRS.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 60 of 268
                                                                                          60


  1     Q.    Okay.   And then the other one -- we're also going to talk

  2     about, W&K, who is the other Plaintiff.                         Okay?

  3     A.    Okay.

  4     Q.    All right.

  5                MR. BRENNER:     Ms. Vela, if you would bring up for the

  6     witness P862.

  7     BY MR. BRENNER:

  8     Q.    Mr. Kleiman, again, I'm going to ask Ms. Vela to scroll

  9     through it enough to make sure that you're familiar with what

 10     the document is.

 11     A.    Okay.   I recognize it.

 12     Q.    Okay.   Again, without revealing the content of the

 13     document, can you please explain what P862 is?

 14     A.    It's an email from Andrew Miller at the ATO.

 15     Q.    And to whom?

 16     A.    To myself.

 17     Q.    And the date?

 18     A.    April 15, 2014.

 19     Q.    And again, just this subject matter, what is it pertaining

 20     to?

 21     A.    Yeah, they're sending me a list of questions to the

 22     executor of the estate.

 23     Q.    And what are the questions about?

 24                MR. RIVERO:    Objection, Judge.                     We have an objection

 25     to the exhibit.      So I don't think information from it should be

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 61 of 268
                                                                                  61


  1     published.    So it's hearsay.

  2               THE COURT:    Have you asked all of your foundational

  3     questions?

  4               MR. BRENNER:      Nope.         I have one -- I just did -- it's

  5     the one I just asked.

  6               THE COURT:    All right.              The objection is overruled at

  7     this point.

  8     BY MR. BRENNER:

  9     Q.   What is the -- again, without revealing the contents, what

 10     is the subject matter?

 11     A.   Questions related to the W&K Info Defense Research company.

 12               MR. BRENNER:      At this time, we would move Plaintiffs'

 13     862 into evidence.

 14               MR. RIVERO:     Judge, this is an out-of-court statement.

 15     Classic out-of-court statement.                 Hearsay.

 16               THE COURT:    Mr. Brenner, in response?

 17               MR. BRENNER:      Your Honor, would you like me to do it

 18     at sidebar or would you like me to --

 19               THE COURT:    Is it being offered for the truth?

 20               MR. BRENNER:      It is not being offered -- no, it's

 21     being offered -- no, I think the answer is --

 22               THE COURT:    What is the purpose this is being offered

 23     for, sir?

 24               MR. BRENNER:      It's being offered to show the questions

 25     that the ATO was asking Mr. Kleiman as the executor of the

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 62 of 268
                                                                                               62


  1     estate relating to the other Plaintiff in the case.

  2                 THE COURT:   The objection is overruled.

  3                 MR. BRENNER:     May I publish to the jury?

  4                 THE COURT:   You may.

  5                 It will be admitted as Plaintiffs' Exhibit 862 into

  6     evidence.

  7                 MR. BRENNER:     Thank you.

  8          (Plaintiffs' Exhibit 862 received into evidence.)

  9     BY MR. BRENNER:

 10     Q.   Mr. Kleiman, the first page is on the screen.                       Can you --

 11     let's go to the part in the box there.                         Do you see that?

 12     A.   Yes.

 13     Q.   Okay.    What was -- why don't you read it?

 14     A.   "The Australian Taxation Office is conducting third-party

 15     inquiries in relation to ongoing compliance activities.                           We

 16     would appreciate your assistance in responding to the attached

 17     request for information.

 18          "Your details have been provided to us by a former

 19     colleague of Mr. Kleiman.            We have also provided documents to

 20     you in your capacity as executor for the director of W&K Info

 21     Defense Research to assist you in answering our inquiries."

 22     Q.   Okay.    If we could focus on the sentence that says:                        "Your

 23     details have been provided to us by a former colleague of

 24     Mr. Kleiman"?

 25     A.   Yes.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 63 of 268
                                                                                           63


  1     Q.   After reviewing -- well, let me ask you this:                        The

  2     document, is it more than just this one page?

  3     A.   Yes, it is.

  4     Q.   Okay.    And we'll go through some of it.

  5          But did you -- upon your review of the whole document, when

  6     you received it, did you come to an understanding who the

  7     former colleague was of Mr. Kleiman who had, as it says,

  8     provided your details to the ATO?

  9     A.   Yes.    I believed it to be Dr. Wright.

 10     Q.   Okay.    And when it says:           "Your capacity as executor for

 11     the director of W&K Info Defense Research, LLC," do you see

 12     that?

 13     A.   Uh-huh.

 14     Q.   What is your understanding of why they were reaching out to

 15     you?

 16     A.   Because I am listed as the executor of the estate.

 17     Q.   Okay.    And the estate, when you say:                       "The estate," what is

 18     the estate?

 19     A.   My brother's estate.

 20     Q.   And the term "executor," I don't think we've seen that

 21     before.     What was your understanding of term "executor"?

 22     A.   Like the personal representative.

 23     Q.   Okay.    This references at the -- where it says:                      "We would

 24     appreciate your assistance in responding to the attached

 25     request for information," was there -- one of the attachments

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 64 of 268
                                                                                           64


  1     actually a request for information?

  2     A.   Yes.

  3     Q.   Okay.   So before we get to that, let me ask you just some

  4     questions.

  5          Prior to receiving this on April 15th, 2014, prior to that,

  6     had you yourself ever individually in your own capacity been a

  7     taxpayer in Australia?

  8     A.   No, I have not.

  9     Q.   Same question, same preface:                  Had you yourself prior to

 10     April 15th, 2014 -- had you yourself ever done business in

 11     Australia?

 12     A.   No.

 13     Q.   Same time frame, same foundation:                       Had you yourself ever

 14     had any dealings with the ATO?

 15     A.   No.    I have not.

 16     Q.   Now, same questions regarding the estate:                         Did you -- prior

 17     to receiving this letter, had the estate of Dave Kleiman made

 18     any sort of tax filings with the ATO?

 19     A.   No.    They did not.

 20     Q.   Okay.

 21                 MR. BRENNER:     So now let's go to the request for

 22     information which, I think, it's the last two pages of the

 23     document.

 24     BY MR. BRENNER:

 25     Q.   And can you confirm for me -- there was the email, there is

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 65 of 268
                                                                              65


  1     what we have up here.       What else was part of this packet from

  2     the ATO, just generally?

  3     A.    A list of questions about my brother's involvement with

  4     W&K.

  5     Q.    Right.    Bad question.

  6           Other than this document, which we'll go through, were

  7     there other documents included in the packet that you received

  8     from the ATO?

  9     A.    Oh, yes.

 10     Q.    Generally what were those?

 11     A.    Contracts.

 12     Q.    Between whom?

 13     A.    Between Craig and W&K.

 14     Q.    Okay.    Great.

 15           Okay.    So let's start off -- is this the request for

 16     information that was attached to the email that we just looked

 17     at?

 18     A.    Yes, it is.

 19     Q.    Did this all come as one, for lack of a better word, one

 20     big packet by email?

 21     A.    Yes.

 22     Q.    Okay.    You just referenced -- and we'll just get right to

 23     it.    You referenced that they had -- the ATO had asked you a

 24     series of questions.      Are these some of the questions on the

 25     first page?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 66 of 268
                                                                                     66


  1     A.   Yes, it is.

  2     Q.   Okay.

  3                 MR. BRENNER:     And if you could go to the next page,

  4     Ms. Vela.

  5                 The next page, please.

  6                 Thank you.   Great.

  7     BY MR. BRENNER:

  8     Q.   Were those -- at least on April 15th, 2014, were those all

  9     of the questions that the ATO had sent to you?

 10     A.   Yes.    I believe so.

 11     Q.   So I'm going to go through some of those with you -- you

 12     probably could guess it's the ones in the red boxes -- and just

 13     ask you when you got this letter on April 15th, 2014, what, if

 14     anything, you knew about the questions being asked, okay?

 15     A.   Okay.

 16     Q.   So the first question was:                "Are you aware of the legal

 17     actions taken by Dr. Craig Wright against W&K?"

 18          Were you aware at that time -- aware of any legal actions

 19     Dr. Craig Wright had taken against W&K?

 20     A.   No.    I was not.

 21     Q.   And just to orient the jury, this is April 2014.                  How long

 22     had you been in contact with Dr. Wright at this point?

 23     A.   Since the middle of February 2014.

 24     Q.   Okay.   So about two months.

 25          How would you describe the frequency or the amount of

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 67 of 268
                                                                              67


  1     contact you had had with Dr. Wright during those two months?

  2     A.   It was pretty frequent.

  3     Q.   Okay.   All right.

  4                MR. BRENNER:     If we could go to question number --

  5     let's see.    We're going to go to Question Number 5.

  6     BY MR. BRENNER:

  7     Q.   And I'll just read it and then ask you the same thing I

  8     just asked.    The ATO was asking you -- first of all, it says:

  9     "Did Mr. Kleiman receive?"            Are they talking about you or your

 10     brother?

 11     A.   My brother.

 12     Q.   Okay.   It said:    "Did Mr. Kleiman receive an" -- and I

 13     think that's -- the AU is Australian dollars -- "a $40 million

 14     bond from Dr. Craig Wright or another entity to fund the

 15     projects of W&K"?

 16          So by April 15th, 2014, were you aware of your brother

 17     receiving a $40 million Australian bond from Dr. Wright?

 18     A.   No.   I was not.

 19                MR. BRENNER:     Let's go to Number 6.

 20     BY MR. BRENNER:

 21     Q.   Number 6 asks:     "Was W&K" -- again W&K is whom?

 22     A.   The company Wright and Kleiman that was --

 23     Q.   Okay.   "Was W&K served with a statement of claim in the New

 24     South Wales Supreme Court or provided judgments in these

 25     cases?"

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 68 of 268
                                                                                        68


  1          As of April 15th, 2014, were you aware of any statement of

  2     claim or judgments in those cases?

  3     A.   No.   I was not.

  4     Q.   Okay.   Were -- okay.

  5                MR. BRENNER:     Let's go to Number 7.

  6                No.   Let's go to Number 8.                  I'm sorry.

  7     BY MR. BRENNER:

  8     Q.   You know what?     Since it was highlighted, I'll show

  9     Number 7.    Just so that -- Number 7, that address, whose

 10     address was that?

 11     A.   That's where my brother lived.

 12     Q.   Okay.

 13                MR. BRENNER:     Let's go to Number 8.

 14     BY MR. BRENNER:

 15     Q.   Okay.   I believe I'm pronouncing the name right, but I'll

 16     read this.    It said:    "Ms. Uyen Nguyen, born January 23rd --

 17     January 1993, in Saigon, Vietnam" -- and then it lists the

 18     California address -- "accepted the offer to be the resident

 19     director of W&K on January 7th, 2013.                       Did Mr. Kleiman" -- who

 20     is that Mr. Kleiman again?

 21     A.   My brother.

 22     Q.   Okay.   "Did Mr. Kleiman request that Ms. Nguyen become the

 23     director of W&K?"     Were you aware -- did you have any knowledge

 24     whether or not by -- on April 15th, 2014, prior to receiving

 25     this packet from the ATO, whether your brother had ever

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 69 of 268
                                                                                69


  1     requested that Ms. Nguyen become the director of W&K?

  2     A.   No.    I was not.

  3     Q.   Let me just ask you this:              By this time, did you know of a

  4     person named Uyen Nguyen?

  5     A.   Yes.    I believe we had a couple of communications.

  6     Q.   Had you ever met her?

  7     A.   No.

  8     Q.   And we'll get into this a little later.

  9          But what was the context of where you had, I think you

 10     said, a couple communications with Ms. Nguyen?

 11     A.   I believe she offered assistance to help look for potential

 12     Bitcoin located on my brother's drives.

 13     Q.   Okay.    What was your understanding when you got this letter

 14     of what Ms. Nguyen's relationship was with your brother, Dave

 15     Kleiman?

 16     A.   Can you repeat that?

 17     Q.   Sure.    When you get this letter on April 15th, 2014, based

 18     on your communications with Ms. Nguyen, what was your

 19     understanding of her relationship with your brother, Dave

 20     Kleiman?

 21     A.   Yeah.    I thought she was replacing my brother as director

 22     of W&K.

 23     Q.   Okay.    Bad question.

 24          What was your understanding, if any, of whether Ms. Nguyen

 25     knew your brother, was friends with your brother, things like

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 70 of 268
                                                                                             70


  1     that?

  2     A.   Yes.    I believe that she may have knew him.

  3     Q.   Okay.

  4                 MR. BRENNER:     The next one is Number 9.

  5     BY MR. BRENNER:

  6     Q.   It says:    "Are you aware of the settlement where the

  7     parties agreed that Dr. Craig Wright will accept the transfer

  8     of the intellectual property held by W&K in full satisfaction

  9     of the Australian dollar $56,788,715 judgment debt?"                          Do you

 10     see that?

 11     A.   Yes.

 12     Q.   Okay.    Prior to April 15, 2014, had Dr. Wright or anyone

 13     else ever told you that W&K owed Dr. Wright $56-plus million?

 14     A.   No.

 15     Q.   Prior to April 15th, 2014, had Dr. Wright told you that he

 16     had accepted the transfer of all -- excuse me -- not all --

 17     accepted the transfer of the intellectual property held by W&K?

 18     A.   No.

 19     Q.   Okay.

 20                 MR. BRENNER:     Let's go to the next one, which is

 21     Number 10.

 22     BY MR. BRENNER:

 23     Q.   So this one's addressed to you as opposed to talking about

 24     what your brother may or may not have known.                           It said:   "Did

 25     you agree to or instruct Ms. Nguyen to accept the settlement in

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 71 of 268
                                                                                               71


  1     these matters?"

  2          Did you ever, prior to April 15th, 2014 or after April

  3     15th, 2014 -- ever instruct Ms. Nguyen to accept the settlement

  4     that transferred the intellectual property of W&K?

  5     A.   No.    I didn't.

  6     Q.   Okay.   Thank you.

  7                 MR. BRENNER:     Take that down.

  8                 Okay.   Number 11.

  9     BY MR. BRENNER:

 10     Q.   It says:   "W&K was registered with the Florida Department

 11     of State on 14 February 2011 and was administratively dissolved

 12     on 28 September 2012."

 13          Did you -- again, asking you:                   Did you instruct Ms. Nguyen

 14     to reinstate W&K on March 28, 2014?

 15          So let me first ask you the question:                             Either before

 16     April 15, 2014, on April 15, 2014, after April 15, 2014, did

 17     you ever instruct Ms. Nguyen to reinstate W&K with the Florida

 18     Department of State?

 19     A.   No.    I didn't.

 20     Q.   Okay.   The March 28, 2014, that is in the -- that is while

 21     you're in communications with Dr. Wright, correct?

 22     A.   Yes.

 23     Q.   Did Dr. Wright tell you that during that period Ms. Nguyen

 24     had reinstated W&K with the Florida Department of State?

 25     A.   I don't believe so.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 72 of 268
                                                                                      72


  1     Q.    Okay.

  2                  MR. BRENNER:     Number 12.

  3     BY MR. BRENNER:

  4     Q.    You mentioned this before.                You said there were some

  5     attachments.     It said:       "Are you aware of the attached

  6     contracts," and there's two -- there's two reference numbers.

  7     Do you see that?

  8     A.    Yes.

  9     Q.    First of all, were those contracts attached to or part of

 10     this packet?

 11     A.    Yes, it was.

 12     Q.    Okay.   Prior to receiving this packet, did you have any

 13     information regarding those contracts, their existence, their

 14     terms, anything whatsoever?

 15     A.    No.    I didn't.

 16     Q.    Okay.   I think that's it for that.                       Yes.

 17                  MR. BRENNER:     Okay.         If you could bring up, please,

 18     for counsel and for the witness and the Court, Plaintiffs' 156.

 19     156.

 20     BY MR. BRENNER:

 21     Q.    And again, same procedure we went through before.                 I'm

 22     going to ask Ms. Vela to scroll through enough to where you are

 23     comfortable that you can describe generally what the document

 24     is.    And you'll just please let us know when you've done that.

 25     A.    Yes.    I recognize it.

                                    Yvette Hernandez, Official Court Reporter
                                        400 North Miami Avenue, 10-2
                                             Miami, Florida 33128
                                                (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 73 of 268
                                                                                            73


  1     Q.   Okay.   What is -- again, generally describing -- what are

  2     we looking at in P156?

  3     A.   It's another chain of emails between myself and Dr. Wright.

  4     Q.   Okay.   And what is it -- what is it about?

  5     A.   (No verbal response.)

  6                 MR. BRENNER:      You know what?                  Go to the beginning one.

  7     The oldest email, please.

  8     BY MR. BRENNER:

  9     Q.   What is the beginning of this email trail?                         What launches

 10     this email trail?

 11     A.   This is Dr. Wright reaching out to his Australian attorney

 12     named Andrew Sommer, asking him if he can assist me in

 13     answering the ATO questions.

 14     Q.   The ones that we just looked at?

 15     A.   Yes.

 16     Q.   Okay.

 17                 MR. BRENNER:      Your Honor, at this point, the

 18     Plaintiffs would move Plaintiffs' 156 into evidence.

 19                 THE COURT:     Any objection?

 20                 MR. RIVERO:     No objection, Your Honor.

 21                 THE COURT:     Admitted into evidence.

 22          (Plaintiffs' Exhibit 156 received into evidence.)

 23                 MR. BRENNER:      Okay.         Do you have up 882?           Is that

 24     what's on the screen now?

 25                 Yes.   Okay.

                                    Yvette Hernandez, Official Court Reporter
                                        400 North Miami Avenue, 10-2
                                             Miami, Florida 33128
                                                (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 74 of 268
                                                                                             74


  1     BY MR. BRENNER:

  2     Q.   You just said this is the first email in the trail.

  3     It's -- can you give the jury the date?

  4     A.   April 15, 2014.

  5     Q.   And is this the same day that you received the packet from

  6     the Australian Tax Office?

  7     A.   Yes, it is.

  8     Q.   When you received that packet, what was the first thing you

  9     did?

 10     A.   I reached out to Dr. Wright to ask him what I'm supposed to

 11     do with those questions.

 12     Q.   Okay.   And is that -- are we now caught up to the start of

 13     this email trail?

 14     A.   Yes.

 15     Q.   Okay.   So you said this already.                    It says:       "Ira, Andrew

 16     can help you if you want to" -- I'm sorry.                            "Andrew can help if

 17     you want to answer the questions."

 18          Just say it again who Andrew is.

 19     A.   Andrew Sommer was Craig's Australian attorney.

 20     Q.   Okay.   What in this email does Dr. Wright tell you about

 21     whether you have to and whether you should answer the questions

 22     from the ATO?

 23     A.   Yeah.   He says that -- that the Australian Tax Office can't

 24     force me to answer.

 25     Q.   Okay.   And then in the next paragraph, he says -- can you

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 75 of 268
                                                                                      75


  1     read from the beginning with "I"?

  2     A.   Yeah.   "I would appreciate if you do."

  3     Q.   And then it says:      "It does not stop everyone being against

  4     what Dave and I did.      Even the banks are starting to attack BTC

  5     now."

  6          First of all -- and then it has a website link.                  First of

  7     all, what was your understanding of BTC in that sentence that

  8     Craig was writing?

  9     A.   BTC is like the symbol for Bitcoin.

 10     Q.   Okay.   And then when Dr. Wright wrote to you on April 15,

 11     2014:   "It does not stop everyone being against what Dave and I

 12     did," what was your understanding of what he was talking --

 13     what was the thing he was talking about?

 14     A.   There was like a recurring theme about like a vendetta

 15     against -- everyone against what he and Dave were working on.

 16     Q.   And what was it that they were working on -- or had been

 17     working on?

 18     A.   The development of Bitcoin.

 19     Q.   Okay.   Okay.

 20               MR. BRENNER:      So I want to fast-forward in this chain

 21     to -- so this one's on April 15.                  I want to fast-forward to

 22     April 23rd, which is on the bottom of Page 10.

 23               No.   87 -- can you go to 878.

 24               Give me one -- can I have one minute, Your Honor?

 25               THE COURT:    Certainly.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 76 of 268
                                                                                  76


  1          (Pause in proceedings.)

  2                 MR. BRENNER:     Thank you.

  3                 Okay.   So actually, this one is starting in the middle

  4     of an email.    Can we at least start -- if you go to the page

  5     before so we can see who it's from and what the date is.

  6                 One page up.

  7                 There you go.

  8                 Very bottom.

  9     BY MR. BRENNER:

 10     Q.   Okay.   So April 23rd, 2014, clocktime2020@gmail.com.              Who

 11     is that?

 12     A.   It's one of my many email addresses.

 13     Q.   Okay.   This is an email you wrote to Craig Wright.               And we

 14     don't know the Australian versus US time, but sometime around

 15     April 23rd?

 16     A.   Yes.

 17                 MR. BRENNER:     I want to go to the next page.

 18     BY MR. BRENNER:

 19     Q.   And can you read to the jury the paragraph starting with

 20     "However."

 21     A.   "However, since receiving the documents from the ATO and

 22     spending more time reviewing them, I feel like there are

 23     questionable discrepancies in the contracts between you and

 24     W&K, such as Dave's signature, his resignation, transfer of all

 25     accountable value, Uyen's role of director BAA projects, et

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 77 of 268
                                                                                      77


  1     cetera.     No need to go into details."

  2     Q.   Okay.   Let's take this in small bites.

  3          When you say:    "Since receiving the documents from the

  4     ATO," what documents are you referring to?

  5     A.   The contracts.

  6     Q.   Okay.   The ones we just talked about from eight days

  7     before, from April 15th?

  8     A.   Yes.

  9     Q.   Okay.   You're eight days later.                   You say that -- you list

 10     some questionable discrepancies.                  I want to just go through

 11     them really quickly.

 12          You say one of the discrepancies is Dave's signature.                   Do

 13     you see that?

 14     A.   Yes.

 15     Q.   What were you talking about there?

 16     A.   The signature on the contract, it wasn't his handwritten

 17     signature.

 18     Q.   Okay.   The next thing you identify is his resignation.

 19     What were you referring to?

 20     A.   It looked like he was being replaced by Uyen, a young

 21     Vietnamese woman, and I took it as that he was resigning and

 22     she was replacing him.

 23     Q.   Okay.   And let me skip one because the next one says:

 24     "Uyen's role of director." Is that different than what you were

 25     saying with his resignation?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 78 of 268
                                                                                           78


  1     A.   No.

  2     Q.   Okay.   And so the one we skipped over says:                       "Transfer of

  3     all accountable value."          What were you -- why was that a

  4     questionable discrepancy that you were identifying for

  5     Dr. Wright?

  6     A.   Basically, it looked like all the value in W&K was being

  7     transferred back to Craig, the intellectual property, the

  8     software, hardware, everything --

  9     Q.   Okay.

 10     A.   -- and Bitcoin.

 11     Q.   Okay.   And then do you know what the reference to capital

 12     B, capital A, capital A projects is?

 13     A.   I believe that was like some type of government projects.

 14     Q.   Okay.   And then we have -- when you said:                        "I do believe we

 15     need to remedy the lopsided contractual exchange."                         What were

 16     you communicating to Dr. Wright?

 17     A.   I was trying to reach like a fair settlement, you know,

 18     just from my brief looking at the numbers.

 19     Q.   Okay.   Did Dr. Wright respond to this email?

 20     A.   Yes.

 21     Q.   Okay.

 22                 MR. BRENNER:     So let's go to the page that ends in

 23     878.

 24     BY MR. BRENNER:

 25     Q.   Okay.   So you could see it's a response to the one that we

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 79 of 268
                                                                                   79


  1     just went through.

  2                 MR. BRENNER:     Just keep it -- keep it the full one for

  3     a second, please.

  4     BY MR. BRENNER:

  5     Q.   Okay.   See on the bottom of that page, that's the one we

  6     had just gone through.

  7     A.   Yes.

  8     Q.   Okay.   Did you receive this response from Craig?

  9                 MR. BRENNER:     Go one page up so we can get the date,

 10     please.

 11     BY MR. BRENNER:

 12     Q.   If you look at the bottom, again, it appears he -- the date

 13     thing is before he even wrote it, but is this the response that

 14     Craig wrote to you?

 15     A.   Yes, it is.

 16     Q.   Okay.

 17                 MR. BRENNER:     If you could take that down, please.

 18                 Thank you.

 19     BY MR. BRENNER:

 20     Q.   Can you read to the jury the first paragraph of that email

 21     from Craig?

 22     A.   "I do not know what you have been told, but I think there

 23     is a need to go into detail.               Andrew is a tax partner with

 24     Clayton Utz.    I am happy for you to ask him anything.                This is

 25     permission for that.       I am sure he will give better truth than

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 80 of 268
                                                                               80


  1     that tax office, at least more of it without filtering things."

  2     Q.   So let's make sure we keep our record straight.

  3          The Andrew who is with Clayton Utz, is that the same or

  4     different person than Andrew Sommer you talked about before?

  5     A.   That is the same Andrew Sommer.

  6     Q.   Okay.   Great.

  7          And what was your understanding of what Craig was asking

  8     you to do or telling you here?

  9     A.   I think he was afraid that the ATO was feeding me false

 10     information and he thought that Andrew would give me the true

 11     facts.

 12     Q.   And Andrew was his lawyer?

 13     A.   Yes.

 14     Q.   Okay.   Did you respond to that email?

 15     A.   Yes.

 16     Q.   Okay.   So let's look at that.

 17                 MR. BRENNER:     I guess we need to go up one page.        We

 18     keep getting unlucky with the dates.

 19     BY MR. BRENNER:

 20     Q.   Do you respond on April 23rd?

 21     A.   Yes.

 22     Q.   And the response is to Craig Wright?

 23     A.   Yes.

 24     Q.   Okay.   So let's look at it.

 25          Read that to the jury, first of all.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 81 of 268
                                                                               81


  1     A.   "The information I have to work with is what you have told

  2     me and the documents from the ATO office."

  3     Q.   Okay.   Let me stop you.           Let me stop you there.

  4          Again, the documents from the ATO are the same or different

  5     than the ones we had looked at from April 15th?

  6     A.   They are the same.

  7     Q.   Can you read the next sentence?

  8     A.   "From those documents, it appears clear to see a systematic

  9     transfer of assets out of W&K back to you."

 10     Q.   And what did you mean by that?

 11     A.   All of the assets that were held inside W&K, such as

 12     Bitcoin, software, hardware.

 13     Q.   Okay.   And it says:       "Out of W&K back to you."

 14          What were -- where were the assets going?

 15     A.   They were going back to Dr. Wright.

 16     Q.   Okay.   And read the last -- the last two sentences, please.

 17     A.   "Up until April 15, I was a complete believer in what you

 18     were telling me.      But you never mentioned any of the actions

 19     you were taking against W&K prior to contacting us."

 20     Q.   Okay.   So the first sentence, was that a true statement,

 21     that up until April 15th -- so I guess it's two months, maybe

 22     two months and a day since your first contact with Dr. Craig

 23     Wright -- were you believing the things he was telling you?

 24     A.   Yes.    I was.

 25     Q.   Okay.   And then you say:            "You never mentioned any of the

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 82 of 268
                                                                                             82


  1     actions you were taking against W&K." Was that a true statement

  2     at the time?

  3     A.   Yes.    That was true.

  4     Q.   Okay.   Now, one of the issues you just talked about was the

  5     signature on the contract.

  6                 MR. BRENNER:     So I want to bring up first the Bates

  7     stamp of that document -- no, I'm sorry.                           First, bring up

  8     the -- excuse me -- Page 18 of P862, which I believe is in

  9     evidence, Your Honor.

 10                 COURTROOM DEPUTY:          It is in evidence?               I just want to

 11     make sure.

 12                 THE COURT:   It's in evidence.

 13                 MR. BRENNER:     Thank you.

 14     BY MR. BRENNER:

 15     Q.   Okay.   So because I'm not sure everyone's memorizing

 16     exhibit numbers, is this part of the packet of materials you

 17     received from the ATO?

 18     A.   Yes.

 19     Q.   You've referenced a couple times there were contracts in

 20     those materials.     Is this one of those contracts?

 21     A.   Yes, it is.

 22                 MR. BRENNER:     Let's go to the next page.

 23     BY MR. BRENNER:

 24     Q.   Okay.   So to date -- well, let's do this:                        The agreement is

 25     between whom?

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 83 of 268
                                                                               83


  1     A.   Between Dave Kleiman of W&K, Craig Wright of Craig Wright

  2     R&D, and W&K Info Defense.

  3     Q.   Okay.    And then the date of the agreement is what?

  4     A.   April 2nd, 2013.

  5     Q.   And Dave Kleiman passed away on what date?

  6     A.   April 26th, 2013.

  7     Q.   So this contract is dated three and a half weeks before his

  8     death?

  9     A.   Yes.

 10     Q.   Okay.

 11                 MR. BRENNER:     Let's look at the Bates that ends in

 12     27 -- look at Page 27 of the PDF.                    I'm sorry.

 13     BY MR. BRENNER:

 14     Q.   Okay.    Is that the signature page on the contract?

 15     A.   Yes, it is.

 16     Q.   Okay.    That signature, the one on top for Dave Kleiman, was

 17     that his signature?

 18     A.   No.    That's not his handwritten signature.

 19                 MR. BRENNER:     Your Honor, with the Court's permission,

 20     I'd like to just bring back up JE22, which is already in

 21     evidence.

 22                 THE COURT:   All right.              Certainly.

 23     BY MR. BRENNER:

 24     Q.   JE22, just to refresh your recollection, was the will.

 25          Is that -- the one on the left, JE22, is that Mr. -- your

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 84 of 268
                                                                                84


  1     brother's signature?

  2     A.   Yes, it is.

  3     Q.   Okay.

  4                 MR. BRENNER:     Okay.         You could take those down,

  5     please, Ms. Vela.

  6                 Thank you.

  7     BY MR. BRENNER:

  8     Q.   Now.    Did you raise this issue -- well, we looked at it in

  9     P156.   You raised the signature issue with Dr. Wright; is that

 10     true?

 11     A.   Yes.

 12     Q.   Were there more than one communication with him about the

 13     signature?

 14     A.   I believe so.

 15     Q.   And how did Dr. Wright explain to you that the contract

 16     that Dave is alleged to have signed shortly before his death --

 17     why that signature was different than the one that you

 18     recognized on his will?          How did he explain that to you?

 19     A.   He explained it to be a computer font.

 20     Q.   Okay.    Okay.   So --

 21                 MR. BRENNER:     Your Honor, at this time, can we bring

 22     up -- I'm going to talk to you a little bit about -- more about

 23     what W&K is.     Okay?

 24                 THE WITNESS:     Okay.

 25                 MR. BRENNER:     Could we bring out for the witness and

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 85 of 268
                                                                                           85


  1     counsel and the Court P164.

  2     BY MR. BRENNER:

  3     Q.   And I think it's just four pages.                       So I'm going to ask

  4     Ms. Vela to scroll through them and just make sure you're

  5     comfortable that you can describe what it is.

  6     A.   Yes.    I recognize it.

  7     Q.   What is the subject matter of the email?

  8     A.   It's a chronology of -- by Craig Wright.

  9                 MR. BRENNER:     Your Honor, at this point, the

 10     Plaintiffs would move P164 into evidence.

 11                 THE COURT:    Any objection?

 12                 MR. RIVERO:    No objection, Your Honor.

 13                 THE COURT:    Admitted into evidence.

 14          (Plaintiffs' Exhibit 164 received into evidence.)

 15                 MR. BRENNER:     Thank you.

 16                 Okay.   Ms. Vela, can you bring that up, please.

 17     BY MR. BRENNER:

 18     Q.   Okay.   First page, it's -- I think it's four pages total --

 19     who is the email from?

 20     A.   Craig Wright.

 21     Q.   And date?

 22     A.   April 26th, 2014.

 23     Q.   And to you, correct?

 24     A.   Yes.

 25     Q.   And what is the subject?

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 86 of 268
                                                                                          86


  1     A.   "Chronology of Craig Wright."

  2     Q.   And it lists an attachment that's called what?

  3     A.   "Chronology of Craig Wright."

  4     Q.   And what's the message that accompanied the attachment?

  5     A.   "And more reading."

  6     Q.   Okay.

  7               MR. BRENNER:      So let's go to the next page, which is

  8     the attachment.

  9     BY MR. BRENNER:

 10     Q.   Is this the chronology that you understood was prepared by

 11     Craig Wright and sent to you?

 12     A.   Yes, it is.

 13     Q.   Okay.    I want to focus on 2011 that talks about W&K.

 14     A.   Okay.

 15     Q.   Okay.    So, first of all, who is "CSW"?

 16     A.   Those are the initials for Craig Steven Wright.

 17     Q.   Right.    And then it says:            "Founds a company in USA with

 18     David Kleiman, a business associate from forensic and

 19     security-related IT areas.            Kleiman and Wright coauthored books

 20     on the subject and had a fairly longstanding relationship.                        The

 21     established was W&K Info Defense."

 22          What was your understanding from Dr. Wright as to who the

 23     founders were of W&K Info Defense Research?

 24               MR. RIVERO:     Objection, Judge.                     The document speaks

 25     for itself.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 87 of 268
                                                                              87


  1                THE COURT:   Sustained.

  2     BY MR. BRENNER:

  3     Q.   Okay.   Is there any reference in this document to -- in

  4     this part about W&K to Lynn Wright?

  5     A.   No.   There is not.

  6     Q.   Okay.   It then goes on -- well, why don't you read to the

  7     jury what it states was the purpose or why W&K was set up or

  8     founded.

  9     A.   "It was set up to further statistical and risk mitigating

 10     algorithms to develop some ideas around CBT learning

 11     methodologies.     CSW was by then lecturing regularly for Charles

 12     Sturt University and others and to mine Bitcoin."

 13     Q.   Was this the only time that Dr. Wright had told you that he

 14     and your brother mined Bitcoin?

 15     A.   No.

 16     Q.   Okay.

 17                MR. BRENNER:     Okay.         You could take that down,

 18     Ms. Vela.

 19     BY MR. BRENNER:

 20     Q.   Did there come a time where you -- where you sought to get

 21     your own -- on your own instead of from Dr. Wright, your own

 22     information about those court judgments that were referenced in

 23     the ATO letter to you?

 24     A.   Yes, I did.

 25     Q.   And how did you do that?             What did you undertake?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 88 of 268
                                                                               88


  1     A.   A few years after talking to Dr. Wright, I reached out to

  2     an Australian attorney to try to recover the court files from

  3     the Australia court system.

  4     Q.   And I'm going to -- did you -- did they -- did you receive

  5     files from the Australian courts from them?

  6     A.   Yes, they did.

  7               MR. BRENNER:      Okay.         If we could just show Mr. Kleiman

  8     first P105.

  9     BY MR. BRENNER:

 10     Q.   Is this one of the documents you received from -- through

 11     your counsel from the Australian court system regarding the two

 12     cases of Craig Stephen Wright v. W&K Info Defense Research?

 13     A.   Yes, it is.

 14               MR. BRENNER:      At this time, Your Honor, we would like

 15     to move P105 into evidence.

 16               MR. RIVERO:     No objection, Your Honor.

 17               THE COURT:    Admitted into evidence.

 18          (Plaintiffs' Exhibit 105 received into evidence.)

 19               MR. BRENNER:      Same -- can I bring up P109 [sic]

 20     please, again, just for Mr. Kleiman and the Court and counsel.

 21               Is that P509?

 22               Yes.

 23     BY MR. BRENNER

 24     Q.   Same question:    Are these documents you received that your

 25     lawyers obtained from the Australian courts.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 89 of 268
                                                                                         89


  1     A.   Yes, it is.

  2                 MR. BRENNER:     Your Honor, we'd like to move P509 into

  3     evidence.

  4                 MR. RIVERO:    Judge, I'm confused because I don't see

  5     the exhibit number on what I'm looking at right now.

  6                 Is this different from what we're just looking at?

  7                 THE COURT:    This is P509.                 Can you put that up on the

  8     screen?

  9                 MR. RIVERO:    One moment, Judge.

 10                 MR. BRENNER:     I can show him the hard copy, if it's

 11     easier.

 12                 MR. RIVERO:    No objection, Your Honor.

 13                 THE COURT:    Admitted into evidence.

 14          (Plaintiffs' Exhibit 509 received into evidence.)

 15     BY MR. BRENNER

 16     Q.   Same questions for P709.

 17     A.   Yes, it is.

 18                 MR. BRENNER:     P709 -- oh, that's P709.                  Just a little

 19     slow on my screen.

 20     BY MR. BRENNER:

 21     Q.   Again, same thing:        Are these documents that you received

 22     from the Australian Court Office regarding the case of Craig

 23     Steven Wright -- or cases of Craig Stephen Wright v. W&K?

 24     A.   Yes.

 25                 MR. BRENNER:     We would like to move --

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 90 of 268
                                                                                      90


  1                 MR. RIVERO:    Without objection, Your Honor.

  2                 THE COURT:    Admitted into evidence.

  3          (Plaintiffs' Exhibit 709 received into evidence.)

  4                 MR. BRENNER:     Okay.         And P710.

  5                 If you would, just bring that up.

  6     BY MR. BRENNER:

  7     Q.   Again, same questions:            Are these documents you received

  8     from the Australian courts from your lawyers or through your

  9     lawyers regarding the --

 10     A.   Yes.

 11     Q.   -- lawsuit of Craig Steven Wright v. W&K Info Defense

 12     Research, LLC?

 13     A.   Yes.

 14                 MR. BRENNER:     We would like to move P710 into

 15     evidence.

 16                 MR. RIVERO:    No objection, Your Honor.

 17                 THE COURT:    Admitted into evidence.

 18          (Plaintiffs' Exhibit 710 received into evidence.)

 19     BY MR. BRENNER:

 20     Q.   Okay.    I'm not going to make you talk about those.                I just

 21     wanted to get them into evidence.                    Let's move on to a new

 22     topic.

 23          Okay.    I want to talk about -- well, let me just ask you.

 24                 MR. BRENNER:     Let's bring up for the witness P164.

 25     And that's the -- we had just looked at -- it's in evidence.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 91 of 268
                                                                                           91


  1                 If I could republish it to the jury, Your Honor.

  2                 THE COURT:    You may.

  3                 MR. BRENNER:     Thank you.

  4     BY MR. BRENNER:

  5     Q.   So let's go -- so this is the chronology.                         You recall that,

  6     Mr. Kleiman?

  7     A.   Yes, I do.

  8     Q.   Okay.    Let's go to the same page we were looking at.                      You

  9     had already read that it said W&K was formed, in part, to mine

 10     Bitcoin.     Do you see where it says that in the -- about the

 11     fifth line or sixth line?

 12                 MR. BRENNER:     Can you highlight that?

 13                 No.   No.   Just the mining Bitcoin in the middle there.

 14                 THE WITNESS:     I see it.             And to mine Bitcoin.

 15     BY MR. BRENNER:

 16     Q.   Yeah.    Okay.

 17          And then if you look down, there's a reference to an amount

 18     of Bitcoin.       Do you see that?

 19     A.   Yes.

 20     Q.   Is that something -- is that a number that Dr. Wright had

 21     communicated to you here and other places regarding the amount

 22     of Bitcoin that had been mined by the pair?

 23     A.   Yes, he did.

 24     Q.   Okay.

 25                 MR. BRENNER:     If we could bring back up P867, which I

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 92 of 268
                                                                                           92


  1     believe is in evidence, Your Honor.

  2                 THE COURT:    It's in evidence.

  3                 MR. BRENNER:     Is it published to the jury?

  4                 THE COURT:    You may.

  5                 MR. BRENNER:     Okay.         Thank you.

  6     BY MR. BRENNER:

  7     Q.   This -- just to reorient you, this was the email that

  8     Patrick Paige -- the email from Dr. Wright that Patrick Paige

  9     had forwarded to you.

 10     A.   Yes.

 11     Q.   Back at your first -- even before you had contact with

 12     Dr. Wright.    Do you remember that?

 13     A.   Yes.

 14     Q.   And where it says:        "The company he ran there mined

 15     Bitcoin." Do you see that?

 16     A.   Yes, I do.

 17     Q.   Now, as of -- after receiving the CSW chronology, did you

 18     now understand -- did you have an understanding what -- the

 19     company that mined Bitcoin that Dr. Wright was referring to

 20     here?

 21                 MR. RIVERO:    Judge, objection.                     Calls for speculation.

 22                 THE COURT:    Overruled.             I'll allow that.

 23                 THE WITNESS:     Yes.

 24     BY MR. BRENNER:

 25     Q.   And what was that company?

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 93 of 268
                                                                                93


  1     A.   It appeared to be W&K.

  2     Q.   Okay.    And then it says:            "The amount DK mined is far too

  3     large to email."      Did you have an understanding of what that

  4     meant?

  5     A.   That those were the initials of my brother, Dave Kleiman.

  6     So it appeared that he mined a very large amount of Bitcoin.

  7     Q.   Okay.

  8                 MR. BRENNER:     Okay.         If we could bring up -- I believe

  9     it's for the counsel and the Court only and the witness --

 10     P161.

 11                 Yes.   I don't think we've introduced this yet.

 12                 Can you -- Ms. Vela, would you be kind enough to

 13     scroll through the document for Mr. Kleiman to at least allow

 14     him to be able to describe generally what it is for admission

 15     purposes.

 16                 THE WITNESS:     Yes.        I recognize it.

 17     BY MR. BRENNER:

 18     Q.   Okay.    What -- again, very generally, what is this

 19     document?

 20     A.   It's more email exchanges between Craig and myself.

 21     Q.   And what's the time frame?

 22     A.   April 24, 2014.

 23     Q.   And is the subject matter consistent with what we've been

 24     talking about?

 25     A.   Yes.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 94 of 268
                                                                                          94


  1               MR. BRENNER:      Okay.         Your Honor, at this point, the

  2     Plaintiffs would like to move into evidence P161.

  3               MR. RIVERO:     No objection.

  4               THE COURT:    Admitted into evidence.

  5          (Plaintiffs' Exhibit 161 received into evidence.)

  6               MR. BRENNER:      Okay.         I want to start on the very first

  7     page, but the bottom -- no.             No.       The bottom email.

  8               No.   One page up.          We're going to focus on the bottom

  9     email.

 10     BY MR. BRENNER:

 11     Q.   Okay.   You see the email there.                   Focusing on that one.

 12     This is "clocktime" again.            It says:            "I have a list of more

 13     questions."     What is this email?

 14     A.   I'm asking him more questions about the discrepancies.

 15     Q.   Okay.

 16               MR. BRENNER:      Let's go to the second page.

 17               There's three questions on the first page.

 18               No.   The second page.

 19               There you go.

 20               Thank you.

 21     BY MR. BRENNER:

 22     Q.   The second page is your Question 4 and 5.                        Do you see that?

 23     A.   Yes, I do.

 24     Q.   It says -- can you read Number 5 to the jury first?

 25     A.   "How many Bitcoins per month is the existing mining

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 95 of 268
                                                                               95


  1     operation generating?"

  2     Q.   And what were you referring to as the "existing mining

  3     operation"?

  4     A.   The mining operation being run by W&K.

  5     Q.   Okay.   And does Craig answer this question?

  6     A.   Yes.

  7     Q.   Okay.

  8                 MR. BRENNER:     So let's go, Ms. Vela, to the first

  9     email, which is Dr. Wright's response.

 10     BY MR. BRENNER:

 11     Q.   Again, shortly after you write it.

 12          What is his response to your question about the W&K mining

 13     operation?    What's his response to Number 5?

 14     A.   He says that he has stopped mining.

 15     Q.   And why does he say he's stopped mining?

 16     A.   "When Dave died, I lost the ability to access all of this.

 17     Then it is also not as cost-effective to mine now as it was."

 18          So it appears that when Dave died, he lost access to the

 19     Bitcoin mining equipment.

 20     Q.   Okay.   Now --

 21                 MR. BRENNER:     You can take that down, please.

 22                 Thank you.

 23     BY MR. BRENNER:

 24     Q.   Putting aside the mining, the joint mining of the Bitcoin

 25     we've just been through, did Dr. Wright ever express to you,

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 96 of 268
                                                                                   96


  1     whether in monetary terms or any other terms, his and your

  2     brother's investments into their business?

  3     A.   Yes, he did.

  4     Q.   Okay.

  5                 MR. BRENNER:     So if we could bring up P156 again,

  6     which is already in evidence, Your Honor -- at least I believe

  7     it is.

  8                 THE COURT:   It is.

  9                 MR. BRENNER:     Okay.

 10                 Okay.   And if you could go to -- Ms. Vela, if you

 11     could go to Page 13 of the document.

 12                 Okay.   Let's focus on the top email, please.              If you

 13     could highlight that -- the whole thing would be great.

 14                 Thank you.   Just let's scroll down to who it's from,

 15     too.

 16                 Can you just drop down one line so he can see the

 17     signature.

 18     BY MR. BRENNER:

 19     Q.   Okay.    Do you recognize this as an email from Dr. Wright to

 20     you?

 21     A.   Yes.

 22     Q.   And depending on the time zone, around April 15th at

 23     8:48 p.m.?

 24     A.   Yes.

 25     Q.   Okay.    Even -- it says:           "Hi, Andrew."

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 97 of 268
                                                                                             97


  1          But is this an email that came to you?

  2     A.   I think he's forwarding it to me.

  3     Q.   Okay.   And then it says -- on the second line, it says:

  4     "It is hostile everywhere right now.                       That stated, Dave and I

  5     have put far too much blood, sweat, and tears into this to

  6     allow it to fail." Do you see that?

  7     A.   Yes, I do.

  8     Q.   What was the "it" that Dr. Wright was referring to?                           Your

  9     understanding -- not your understanding.                           What was your

 10     understanding of what Dr. Wright was saying that he and Dave

 11     had put far too much blood, sweat, and tears into?

 12     A.   The development of Bitcoin.

 13     Q.   Okay.   Let's --

 14                 MR. BRENNER:     You can take that down, please.

 15                 Thank you.

 16     BY MR. BRENNER:

 17     Q.   Did there come a time where your relation -- your sort of

 18     rapport, your back-and-forth with Dr. Wright, started to sour?

 19     A.   Yes.

 20     Q.   Did there come a time where Dr. Wright put you in touch

 21     with his wife?

 22     A.   Yes.

 23     Q.   And I don't know -- I think it was said in opening.                           But

 24     can you remind the jury what was Dr. Wright's wife's name at

 25     the time?

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 98 of 268
                                                                                            98


  1     A.   I believe Ramona Watts.

  2     Q.   Okay.   The jury has heard about Lynn Wright as being

  3     Dr. Wright's wife.     Was that a prior wife of Dr. Wright?

  4     A.   Yes.

  5     Q.   Okay.   So when I asked you:                Were you put in touch with

  6     Dr. Wright's wife, which one are you talking about?

  7     A.   That was his second wife.

  8     Q.   Ramona?

  9     A.   Yes.

 10     Q.   Okay.   Ms. Watts.      Excuse me.

 11          And did she continue the type of communications that you

 12     had been having with Dr. Wright?

 13     A.   Yes, she did.

 14     Q.   And did you -- what was your understanding of whether she

 15     was authorized by Dr. Wright to have those communications with

 16     you?

 17     A.   Yes.    From what I understood --

 18                 MR. BRENNER:     Let's take a look at P218.

 19     BY MR. BRENNER:

 20     Q.   Do you recognize this document?

 21     A.   Yes, I do.

 22     Q.   And what -- again, without revealing the content, what is

 23     this document?

 24     A.   It appears to be an email to Dr. Wright.                          It's being

 25     forwarded -- no.     She's sending me an email, but she's

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 99 of 268
                                                                                           99


  1     forwarding it to Dr. Wright, too, I guess like have him review

  2     it before sending it to me.

  3               MR. BRENNER:      At this time, Your Honor, we would like

  4     to move P218 into evidence.

  5               MR. RIVERO:     Judge, this is hearsay.                     It's sought to

  6     be admitted for the truth of the matter asserted.

  7               MR. BRENNER:      Your Honor, may I respond from here or

  8     may I approach?

  9               I will represent that this -- objections to this

 10     exhibit have been ruled on in Ms. Watts' deposition.                        It's

 11     going to be admitted into evidence.                     We will be reading that

 12     deposition.

 13               So it's a piece of evidence that will be in evidence.

 14     It's just the timing that she's not here yet.                         So you've

 15     already ruled on these objections to this exhibit.

 16               THE COURT:    With regard to her testimony?

 17               MR. BRENNER:      Correct.

 18               MR. RIVERO:     Judge, the testimony was ruled on --

 19               THE COURT:    I agree.            The objection is sustained.

 20               MR. BRENNER:      Okay.         You could take that down.

 21     BY MR. BRENNER:

 22     Q.   Okay.   Let's switch topics.               Talk about a company name that

 23     the jury's at least heard briefly about in opening statements

 24     called Coin-Exch.     First of all, are you familiar with the name

 25     of a company called Coin-Exch.?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 100 of 268
                                                                              100


   1    A.    Yes, I am.

   2    Q.    What do you know -- what do you know about what Coin-Exch.

   3    is?

   4    A.    Well, I was told that my brother agreed to transfer his

   5    share of assets to -- into this Coin-Exch. and, in return, he

   6    would receive like 50 percent of Coin-Exch.

   7    Q.    Okay.   Whatever you know about -- you said you were told.

   8    You were told that by whom?

   9    A.    By Dr. Wright.

  10    Q.    Other than what you learned from Dr. Wright about

  11    Coin-Exch., do you know anything about Coin-Exch.?

  12    A.    No, I don't.

  13    Q.    Did you have --

  14               MR. BRENNER:     Well, let's take a look at P758 --

  15    again, for the Court and for the witness.

  16    BY MR. BRENNER:

  17    Q.    What is P758?

  18    A.    It appears to be an email from Andrew Miller at the ATO to

  19    myself.

  20               MR. BRENNER:     And if you could scroll to the end of

  21    that document.

  22    BY MR. BRENNER:

  23    Q.    What's your understanding of the last part of that

  24    document?

  25    A.    It appears to be share -- shares in --

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 101 of 268
                                                                                         101


   1                MR. RIVERO:    Judge, I don't believe this is in

   2    evidence.    I don't think it should be published until --

   3                THE COURT:    I don't believe it is being published.

   4    It's just shown to the witness.

   5                MR. RIVERO:    But Judge, he's about to comment about

   6    what the contents of the document are.

   7                THE COURT:    Without discussing the contents, just a

   8    general description to establish its relevance.

   9    BY MR. BRENNER:

  10    Q.   Yes.   Can you just -- I know.                  If you can try to describe

  11    generally what it is without revealing the contents.

  12    A.   It's --

  13                MR. BRENNER:     You know what?                  You started on the last

  14    page and it's a two-page document.

  15                There you go.

  16    BY MR. BRENNER:

  17    Q.   What does it purport to be?

  18    A.   Company details of the Coin-Exch.

  19    Q.   When it says the certification regarding the truth and

  20    completeness of it, who is the certifier?

  21    A.   Craig Steven Wright.

  22    Q.   And the date that it is signed?

  23    A.   April 24, 2014.

  24                MR. BRENNER:     At this point, Your Honor, we would like

  25    to move in P758 into evidence.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 102 of 268
                                                                                           102


   1               MR. RIVERO:    Your Honor, I believe P758 is both --

   2               THE COURT:    That reflects a different date.                     Is that

   3    P758?

   4               MR. BRENNER:     I'm sorry, Your Honor.                    I didn't hear

   5    what you said.

   6               THE COURT:    It's described as dated April 29th, 2014.

   7    Are we speaking of the same document?

   8               Yes, Mr. Rivero?

   9               MR. RIVERO:    Your Honor, I believe that the

  10    foundational questions have gone to the attachment to P578.

  11    That's why there's a date difference.

  12               Our objection is to the transmittal email, which is

  13    hearsay.    We do not have an objection to the attachment.                       So if

  14    it's split that way, we have no objection to the questions --

  15    foundation that were asked about the last two pages.

  16               THE COURT:    The attachment is part and parcel of the

  17    letter.    So let's focus on what is described as a letter or an

  18    email.    Which page is that?

  19               MR. BRENNER:     So if you go to the first page of the

  20    document, that's the April 29th date.

  21               THE COURT:    Okay.        And the objection is to the

  22    attachment, but not to the actual --

  23               MR. RIVERO:    No, Judge.              I'm sorry.          It's the other

  24    way around.     We don't have an objection and don't have a

  25    problem with the attachment.              It's the hearsay in this item,

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 103 of 268
                                                                                             103


   1    which is, again, for the truth of these matters asserted.

   2               THE COURT:    The objection is overruled.

   3               MR. BRENNER:     Okay.         If you could -- Ms. Vela, if you

   4    could publish P758.

   5               Oh, I'm sorry.       P758.         Thank you.              I asked the wrong

   6    person to publish.

   7               Thank you.

   8    BY MR. BRENNER:

   9    Q.   Andrew Miller.     Remind the jury who that is again.

  10    A.   He's from the Australian Tax Office.

  11    Q.   Is he the same person that had sent you the April 15th

  12    packet?

  13    A.   Yes, he is.

  14               MR. BRENNER:     Excuse me.

  15               Okay.   If you could go to the body, please, Ms. Vela.

  16    Actually, let's start from the top.

  17    BY MR. BRENNER:

  18    Q.   It starts off:     "Ira, I just thought I would contact you to

  19    see how you are going with our request for information."

  20         What is he talking about?

  21    A.   He's reaching out, I believe, about the questions that he

  22    sent me.

  23    Q.   Okay.   And then I'll skip the next paragraph -- well, why

  24    don't you read it so we're not skipping anything.

  25    A.   "With the documents we have provided, I trust the research

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 104 of 268
                                                                                         104


   1    requested of you is not too strenuous.                        If you have responses

   2    to all but a few of our questions, there is no issue in

   3    providing a partial response now and updating us with the

   4    additional responses at a later date."

   5    Q.   Okay.   And then the next -- the highlighted part.

   6    A.   "I have also attached a document, which has been lodged

   7    with the Australian Securities and Investment Commission, ASIC,

   8    recently by Craig Wright.           It suggests that you acquired 10 and

   9    a half million worth of shares in an Australian company,

  10    Coin-Exch. Property Limited.              Were you aware of this?           And if

  11    so, in what form did you pay the shared capital?"

  12    Q.   So had you bought $10 million worth of -- $10,500,000 worth

  13    of shares in Coin-Exch.?

  14               MR. RIVERO:    Judge, if I may.                    The problem with this

  15    communication by someone outside this courtroom, who is not

  16    going to appear as a witness, is they want to use it as though

  17    this statement were true.           And he's asking about the truth of

  18    the matter asserted.      I object on hearsay grounds.

  19               THE COURT:    Understood.              The objection is overruled.

  20    BY MR. BRENNER:

  21    Q.   Mr. Kleiman, let me ask the question again:                      Had you

  22    acquired on or before April 29, $10,500,000 worth of shares in

  23    Coin-Exch., PTY, LTD?

  24    A.   No, I didn't.

  25               MR. BRENNER:     If we could go to the attachment that's

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 105 of 268
                                                                                     105


   1    referenced in this email, which is the second-to-the-last page.

   2    BY MR. BRENNER:

   3    Q.   Again, we talked about this, but the jury hadn't seen this.

   4         This document -- could you tell the jury who -- what

   5    company this document -- first of all, what does it say on the

   6    top left?    Where is this filed?

   7    A.   In Australia.

   8    Q.   And it says -- as far as Lodgement Details, It said:                  Who

   9    should the Australian Securities and Investments Commission

  10    contact if they had any questions about the form?

  11    A.   Craig Steven Wright.

  12    Q.   And then it says:       "I certify that the information in this

  13    form is true and complete."              And who was giving that

  14    certification?

  15    A.   Craig Steven Wright.

  16    Q.   And the date of it is what?

  17    A.   April 24, 2014.

  18    Q.   Okay.

  19                MR. BRENNER:     If we can go to the next page.

  20    BY MR. BRENNER:

  21    Q.   Let's see -- yes.       So it identifies a date as the earliest

  22    date of the change in the ownership of the company.                    Do you see

  23    that?

  24    A.   Yes.

  25    Q.   March 30th.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 106 of 268
                                                                               106


   1    A.   2014, yes.

   2    Q.   Right.    They use the opposite convention with the day and

   3    the month?

   4    A.   Yes.

   5    Q.   And then it says -- it says -- who does it say is

   6    getting -- is purchasing the shares?

   7    A.   Myself.    Ira Kleiman.

   8    Q.   And it says that, again, the date of the purchase, the

   9    earliest date was the same date?

  10    A.   Yes.

  11    Q.   Okay.    And it says:       "Total dollar paid."

  12         What does that say?

  13    A.   10 and a half million.

  14    Q.   Okay.    Did you pay Craig Wright 10 and a half million

  15    dollars any time around March or April for shares in

  16    Coin-Exch.?

  17    A.   No, I didn't.

  18                MR. BRENNER:     If we could take a look at P156, which

  19    is already in evidence.

  20                If you could go to the bottom of the Bates that ends

  21    in 875.

  22    BY MR. BRENNER:

  23    Q.   Okay.    Let's -- again, date of the email, the bottom one

  24    there?

  25    A.   April 23rd, 2014.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 107 of 268
                                                                                             107


   1    Q.   Okay.   And then let's just read the email starting with the

   2    first paragraph.

   3    A.   "Craig, it is not about information that they fed me.                           It's

   4    about contracts that you signed and agreements that don't seem

   5    logical."

   6    Q.   What's that a reference to:                 "It's not about information

   7    that they fed me"?

   8    A.   Not about the information that the ATO sent me.

   9    Q.   And instead, what are you telling Craig you're relying on

  10    for your inquiries to him?

  11    A.   I'm relying on his word.

  12    Q.   Okay.

  13                MR. BRENNER:     And then let's go to the next page.

  14    BY MR. BRENNER:

  15    Q.   It says:    "I don't understand why Dave would make that

  16    agreement with you for a business divorce.                             Why would a

  17    successful partnership suddenly separate and leave one partner

  18    with everything of accountable value and the other, paren,

  19    Dave, with only a 10 percent in a future venture and an

  20    undisclosed amount of bitcoins?"                   Do you see that?

  21    A.   Yes.

  22    Q.   What was the successful partnership -- I'm sorry.                           Yes, it

  23    is -- when you say:      "Why would a successful partnership

  24    suddenly separate," what was the partnership you were talking

  25    about?

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 108 of 268
                                                                                                 108


   1    A.    The partnership was W&K and all the assets were leaving W&K

   2    and just -- it was just becoming W.

   3    Q.    And in the "10 percent in a future venture and an

   4    undisclosed amount of Bitcoins," what was the future venture

   5    that Dr. Wright had told you that the assets of W&K were going

   6    to?

   7                MR. RIVERO:    Objection.              Leading.            And also not --

   8    there's no foundation for that question.

   9                THE COURT:    Sustained.

  10                Rephrase, please.

  11    BY MR. BRENNER:

  12    Q.    What was your understanding of the future venture that --

  13    that you understood that the assets of W&K were supposedly

  14    going to?

  15    A.    That was the Coin-Exch. company.

  16    Q.    To this day, has the estate of Dave Kleiman ever received a

  17    penny of value from any alleged transfer, ownership of the W&K

  18    assets to Coin-Exch.?

  19    A.    No.   We have not.

  20    Q.    Okay.

  21                MR. BRENNER:     We're going to change topics.                      And Your

  22    Honor, the break time ideally is 3:30, correct?

  23                THE COURT:    That's right.

  24                MR. BRENNER:     Okay.         Thank you.              Let's see if we can

  25    wrap up by then.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 109 of 268
                                                                                       109


   1    BY MR. BRENNER:

   2    Q.   I want to focus now off of some of the emails for a while

   3    and talk about some of what you did following Dave's death in

   4    your role as personal representative.

   5    A.   Okay.

   6    Q.   Okay.   After Dave died in April of 2013, did you have

   7    occasion to go to his home?

   8    A.   Yes, I did.

   9    Q.   Okay.   Did you go to his home on more than one occasion

  10    following his death?

  11    A.   Yes.

  12    Q.   And did you do that in connection with what you understood

  13    to be your responsibilities as personal representative?

  14    A.   That's correct.

  15    Q.   Okay.   So let's talk about that.                    What was the first thing

  16    that -- sort of the first job you undertook with regard to the

  17    home?

  18    A.   I hired a cleaning crew to go over there and just clean his

  19    house up.    They removed -- I believe his like bed mattress had

  20    some bloodstains on it.

  21    Q.   Okay.   And when -- was it just a commercial cleaning crew?

  22    A.   Yes.

  23    Q.   Okay.   When they went, did you just sort of let them go in

  24    and do their thing?

  25    A.   Yes.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 110 of 268
                                                                                             110


   1    Q.   Okay.    And then they left after cleaning?

   2    A.   Correct.

   3    Q.   Okay.    And did you have an occasion, then, to go back to

   4    the home?

   5    A.   Yes.    I went back.

   6    Q.   Okay.    Is this -- how long after Dave's passing are these

   7    events happening?      Days?      Weeks?

   8    A.   Yeah, that was probably like a couple weeks after he passed

   9    away.

  10    Q.   Okay.    And when you went to the home, not on the cleaning

  11    service time, but another time, what did you go there for?

  12    A.   I guess to pick up some of his belongings.

  13    Q.   Okay.    And did you, in fact pick up belongings from

  14    Dave's -- was there one of those visits or more than one?

  15    A.   There was probably several.

  16    Q.   Okay.    And did you, in fact, take items from Dave's home?

  17    A.   Yes.

  18    Q.   Can you just -- generally speaking, what types of things

  19    did you take from Dave's home?

  20    A.   Like most of his computer equipment.                         I think like three

  21    laptops.     Some hard drives, thumb drives, books, certificates.

  22    Q.   Okay.    Anything else?

  23         So got computers, books, certificates.                           Anything else that

  24    you took?

  25    A.   I don't recall.

                                  Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 111 of 268
                                                                                          111


   1    Q.   And what did you do with them?                     Did you -- well, just tell

   2    me what did you do with them.

   3    A.   Yeah, I just brought them back to my house.

   4    Q.   Let's focus on the -- I think you said computers and

   5    computer devices.      Did I get that right?

   6    A.   Yes.

   7    Q.   Okay.   You said -- they were laptops?

   8    A.   Yeah.   Three laptops.

   9    Q.   Three laptops.      Okay.       What else that you call a computer

  10    device did you take?

  11    A.   Internal hard drives.           I believe there was one external

  12    hard drive and a bunch of small thumb drives.

  13    Q.   Okay.   When you took those, what did you do with them

  14    immediately?

  15    A.   I just brought them back to my house.

  16    Q.   Okay.

  17                MR. RIVERO:    Your Honor, I cannot hear Mr. --

  18                MR. BRENNER:     Oh, I'm sorry.                  Me or the witness?

  19                MR. RIVERO:    I can't hear the witness.

  20                THE COURT:    Do you want it read back?

  21                MR. RIVERO:    I would.            The last -- I couldn't hear the

  22    last two answers, Judge.

  23                THE COURT:    I think the last answer.

  24                MR. RIVERO:    Okay.         The last answer.

  25                THE COURT:    "I just brought them back to my house" was

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 112 of 268
                                                                              112


   1    the response.

   2                MR. RIVERO:   Oh.       Thank you very much.

   3    BY MR. BRENNER:

   4    Q.   Okay.    And how long did they -- were they in your home

   5    before you did anything with them?

   6    A.   Probably a number of months.

   7    Q.   Okay.    So you take them home, I guess it was sometime in

   8    May of 2013?

   9    A.   Yeah.    Something like that.

  10    Q.   Any -- when you took the devices -- I'm using the term too

  11    broadly.

  12         When you took the computers, the external hard drive, I

  13    think you called it an internal drive -- is that the -- one of

  14    the other things?

  15    A.   Yes.

  16    Q.   And you called thumb drives, right?

  17    A.   Right.

  18    Q.   When you took those from the home, did you have any

  19    suspicion, any reason to believe, any idea, any anything that

  20    they had anything of value related to Bitcoin on them?

  21    A.   No.

  22    Q.   Okay.    Now, we'll talk about this in more detail later.

  23    But did there come a time where you had communications with

  24    Dr. Wright about those devices?

  25    A.   Yes.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 113 of 268
                                                                                 113


   1    Q.   And what did Dr. Wright say was on those devices?

   2    A.   He believed that there could possibly be Bitcoin on the

   3    devices.

   4    Q.   And when Dr. Wright told you that, did he tell you that

   5    after a while after you had been communicating or right away?

   6    A.   It was shortly after we started communicating.

   7    Q.   And at the time he told you, did you believe him?

   8    A.   Yeah.   I had no reason not to believe him.

   9    Q.   Okay.   So sometime, I think you said, several months

  10    after -- after you've retrieved the devices, you start to do

  11    some things with them, right?               This is the first time you

  12    really touched them?

  13    A.   Yeah, correct.

  14    Q.   Until then, where are they sitting?

  15    A.   I think I stored them in my brother's backpack.

  16    Q.   Okay.   So it's probably easiest to do this by category so

  17    we can go through what was done with each of the categories of

  18    devices.     Okay?

  19    A.   Okay.

  20    Q.   So let's start with the laptops.

  21    A.   Uh-huh.

  22    Q.   The three laptops, what did you do, if anything, with those

  23    laptops?

  24    A.   I think around November of 2013 I inserted a couple of hard

  25    drives into those because they weren't containing any drives.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 114 of 268
                                                                                            114


   1    And I installed Windows operating systems onto those drives.

   2    Q.   So let me try to just unpack that a little bit.

   3         The computers themselves, did they contain any hard drives

   4    in them?

   5    A.   No.

   6    Q.   Okay.    No information on them?

   7    A.   Correct.

   8    Q.   All right.    So let's -- and do you still have those today?

   9    A.   Yes.

  10    Q.   Let's talk about --

  11                MR. BRENNER:     You know what?                  It would probably be

  12    easier if we could -- if we could bring up D425, and I think --

  13    Your Honor, I think this was admitted into evidence, but maybe

  14    just the second page.

  15                MR. RIVERO:    Judge, we have no objection to

  16    Defendant's 245 being in evidence.

  17                MR. BRENNER:     425.

  18                THE COURT:    It's 425.            All right.

  19                Are you seeking to introduce it at this time?

  20                MR. BRENNER:     I thought it already was, but if it's

  21    not, I am.

  22                MR. RIVERO:    By stipulation, Judge, we would also ask

  23    that it be admitted.

  24                THE COURT:    By agreement -- let me just make sure.                     It

  25    may already be into evidence.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 115 of 268
                                                                                          115


   1                Yes.   It's in evidence.

   2                MR. BRENNER:     May I publish to the jury, Your Honor?

   3    Is it in evidence?

   4                THE COURT:    Yes.       It's in evidence.

   5                MR. BRENNER:     Thank you.              So it's two pages, right,

   6    Ms. Vela?

   7    BY MR. BRENNER:

   8    Q.   Okay.   So let's talk about -- assuming this is Page 1.

   9    Let's talk about what's on Page 1.                      What are we looking at?

  10    A.   Those appear to be my brother's internal hard drives.

  11    Q.   Okay.   So when you were referring to the internal hard

  12    drives, these are what you were referring to?

  13    A.   Yes.

  14    Q.   And there's five here.            Are these the five that -- the only

  15    five that you took from your brother's apartment?                       Or house,

  16    excuse me.

  17                MR. RIVERO:    Objection.              Leading.

  18                THE COURT:    I'll allow it.

  19                Overruled.

  20                THE WITNESS:     As far as internal hard drives?

  21    BY MR. BRENNER:

  22    Q.   Yes.

  23    A.   Yes.    I believe so.

  24    Q.   Okay.   Let me clear up one thing.                      There was an external

  25    hard drive you referenced.             That's not pictured here, right?

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 116 of 268
                                                                                           116


   1    A.   Yes.

   2    Q.   What happened with that external hard drive?

   3    A.   I discarded that drive.             It never powered on.

   4    Q.   Okay.   And when did you do that, approximately?

   5    A.   It was probably the same time that I started to use the

   6    laptops.

   7    Q.   That's in -- I thought you said maybe Novemberish 2013?

   8    A.   Yeah, something like that.

   9    Q.   If I were to give you sort of a cut-off date, meaning did

  10    you do it before or after you were first contacted or had first

  11    contact with Dr. Wright, could you testify definitively that it

  12    was before you had contact with him?

  13    A.   Yes.    Definitely.

  14    Q.   All right.

  15                MR. BRENNER:     So now we're on to Page 1 of D425.

  16                No.   We could stay there, Ms. Vela.

  17    BY MR. BRENNER:

  18    Q.   Okay.   So first of all, who took this picture?

  19    A.   I took this picture.

  20                MR. RIVERO:    I'm sorry, Judge.                     I just want to make

  21    sure that's Defendant's 425.               My hearing may not be what --

  22                MR. BRENNER:     Yes.        D425.

  23                MR. RIVERO:    Okay.         Yes, I'm sorry, Judge.

  24                THE COURT:    Okay.

  25    BY MR. BRENNER

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 117 of 268
                                                                                           117


   1    Q.   Okay.   Now, there is handwriting on looks like all of them,

   2    right?

   3    A.   Yes.    It's my handwriting.

   4    Q.   Okay.   So all of that's your handwriting?

   5    A.   Yes.

   6    Q.   So as far as physically what we're looking at, would it

   7    have looked the same in what it was in Mr. Kleiman's home other

   8    than it would have had the handwriting on it?

   9    A.   That's correct.

  10    Q.   Okay.   Now, there's five of these.                      Can you tell the jury

  11    what, if anything, you did with these internal drives?

  12    A.   With -- two of them I formatted and you can see I put

  13    Windows 7 on one and Windows 8 on the other.

  14    Q.   Okay.   What about -- let's just go to the other three.

  15         Did you -- the one on the top left says:                         "Needs format."

  16    Did you format that one?

  17    A.   I don't believe so.        It's probably still blank.

  18    Q.   And then the one on the bottom left says -- is that "raw"

  19    or -- I don't know what that says.

  20    A.   Yeah, it appears to be -- I'm not sure what --

  21    Q.   You're not sure what that means?

  22    A.   Yeah.

  23    Q.   Okay.   Great.

  24         And then the bottom right says:                    "Empty."      What does that

  25    mean?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 118 of 268
                                                                                             118


   1    A.   Possibly also needed to be formatted.

   2    Q.   Okay.   And then one is -- you said is Windows 7 and Windows

   3    8.   What happens -- not what happens -- what causes you -- what

   4    caused you to format -- which, I guess, are the top right and

   5    top middle drives?

   6    A.   I think possibly at the time we were looking for a computer

   7    for my wife to use.

   8    Q.   Okay.

   9    A.   And so figured we'd just set up one of Dave's computers so

  10    she could use that.

  11    Q.   And then did you plug one or both of those drives in?

  12    A.   Yes.

  13    Q.   And what happened?

  14    A.   It loads up those operating systems, Windows 7 and

  15    Windows 8.

  16    Q.   Before you load the operating system, what --

  17    A.   Oh.    Yes, sorry.

  18    Q.   You were going to the end of the story.                           Let's start at the

  19    beginning.    You put them in and what happens?

  20    A.   It's -- a pop-up screen appears and it says that the drive

  21    needs to be formatted.

  22    Q.   Okay.   And you did that for both the top middle and top

  23    right?

  24    A.   Yes.

  25                MR. BRENNER:     Okay.         Let's go to the second page,

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 119 of 268
                                                                                            119


   1    Ms. Vela.

   2                Can we get just the -- okay.                    That's fine.   That's

   3    fine.

   4    BY MR. BRENNER:

   5    Q.   As I count, there is -- 1, 2, 3, 4, 5, 6, 7, 8 -- 9; is

   6    that right?

   7    A.   Yes.

   8    Q.   Okay.    First of all, were all those -- is that what you

   9    were referring to as the thumb drives?

  10    A.   Correct.

  11    Q.   Were all of these in Dave's home when you went there, let's

  12    just say, May of 2013?

  13    A.   Yes, they were.

  14    Q.   And you retrieved them?

  15    A.   Yes.

  16    Q.   Okay.    The -- again, who took this photograph?

  17    A.   I did.

  18    Q.   Who placed the ruler there?

  19    A.   I did.

  20    Q.   Okay.    Let's talk about the drives.

  21         Did you -- to your knowledge, did you -- what -- first of

  22    all, what's the first thing you did with the drives after they

  23    were sitting in a -- you told me they were sitting in a bag --

  24    I don't know what you said.             But after they were sitting for a

  25    period of time, what's the first thing you did with the drives?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 120 of 268
                                                                                          120


   1    A.   I probably just looked at them to see what was on them.

   2    Q.   Okay.   Did you ever start using those drives?

   3    A.   Yes.

   4    Q.   And what did you do with them?

   5    A.   I was just using them as my personal storage devices,

   6    putting my own files on them.

   7    Q.   Okay.

   8    A.   Photos, some work files.

   9    Q.   Okay.   Personal and professional things?

  10    A.   Yes.

  11    Q.   Okay.   Did you ever -- when you ever added something to

  12    them, added your own stuff, did you ever get any sort of

  13    message that said the drives are full and you can't add to

  14    them?

  15    A.   No.

  16    Q.   As it relates to your own stuff, did you ever add your own

  17    stuff on any of the drives and then delete your own stuff on

  18    any of the drives?

  19    A.   Yeah.   Probably.     Many times.

  20    Q.   Okay.   Do you have any memory of ever deleting any of the

  21    stuff that was on there from Dave's from the drives?

  22    A.   I don't believe so, no.

  23                MR. BRENNER:     Okay.         Okay.         We can take that down,

  24    please.

  25

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 121 of 268
                                                                                121


   1    BY MR. BRENNER:

   2    Q.   Let me ask you one other question I forgot.

   3         Did there come a time where -- the jury heard from Patrick

   4    Paige yesterday -- where he came to Dave's home after he

   5    passed?

   6    A.   Yes.

   7    Q.   And were you there or not there when that happened?

   8    A.   Yes.    I was with him.

   9    Q.   And what was your understanding of the purpose of Patrick's

  10    visit to the home?

  11    A.   He believed that there was some work-related drives and he

  12    wanted to collect them from Dave's home.

  13    Q.   Okay.   And work related, what was the work -- the company

  14    that Patrick was in?

  15    A.   Related to the Computer Forensics company that he was a

  16    partner with Dave in.

  17    Q.   And when he came to the home, did he find drives?

  18    A.   Yes.

  19    Q.   Had you not seen them when you were at the home before?

  20    A.   No, because they were stored in a large safe.

  21    Q.   Okay.   Did Patrick -- when Patrick came, was the safe

  22    opened or locked?

  23    A.   I believe it ended up being open.

  24    Q.   Okay.   It was not locked.             You thought it was, but it was

  25    not?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 122 of 268
                                                                                       122


   1    A.   Exactly.

   2    Q.   And did Patrick take those drives?

   3    A.   Yes.

   4    Q.   And what's your understanding -- Patrick came saying they

   5    were stuff for his work?

   6    A.   Correct.

   7    Q.   And he took them?

   8    A.   Yes.

   9    Q.   Okay.    By the way, you said you found the drives that were

  10    located on D425 -- you found those in the house.                      Were you ever

  11    told or do you know whether there were any drives physically on

  12    Dave's body when he died?

  13    A.   No.    I've never seen any photos of like drives on his body.

  14    Q.   Okay.    Now, did there come a time in this case where you

  15    turned -- the drives we were just looking at, that you turned

  16    those over to a third party?

  17    A.   To -- I believe only once this litigation started, to

  18    forensic experts.

  19    Q.   Now, did you turn them over to forensic experts that your

  20    lawyers hired, that Dr. Wright's lawyers hired, or each one

  21    hired?

  22    A.   Yes.    Each one.

  23    Q.   Okay.

  24    A.   It was submitted to each party.

  25    Q.   Okay.    Did you place any restrictions on what the -- those

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 123 of 268
                                                                                        123


   1    experts could do to inspect those drives?

   2    A.   No.    I did not.

   3    Q.   And then did those drives -- after each of the experts or

   4    sides of experts had a chance to inspect and review them, were

   5    they ultimately returned to you?

   6    A.   Yes.    They were given back to me.

   7    Q.   And what we're looking at -- what we did look at in 425 is

   8    what they looked like when they came back to you?

   9    A.   Yes.

  10    Q.   Okay.   Now, I don't know if you mentioned it -- I think you

  11    did, but were there also papers in Dave's home, whether they be

  12    work papers, any other type of papers that you took when you

  13    went to the home?

  14    A.   Yeah.   I possibly took some papers.

  15    Q.   Did you review them?          Well, did you keep them all?

  16    A.   No.    I discarded irrelevant things.

  17    Q.   Okay.   And in doing that, before discarding, did you review

  18    them to see if you believed they were of any -- any reason to

  19    keep post-Dave's death?

  20    A.   Yes.    Exactly.

  21    Q.   Okay.   Okay.   Let's go on to the next topic.                    I previewed

  22    it a little bit.

  23                THE COURT:   Just wonder if before going to the next

  24    topic, would this be a good time?

  25                MR. BRENNER:     Yeah.         Sure.         Sure.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 124 of 268
                                                                                           124


   1                THE COURT:    All right.

   2                Then, Ladies and Gentlemen, let's go ahead and take a

   3    20-minute recess.

   4         (Jury not present, 3:22 p.m.)

   5                THE COURT:    I'll see you back here in 20 minutes.

   6                MR. BRENNER:      Thank you.

   7         (Recess from 3:23 p.m. to 3:43 p.m.)

   8                THE COURT:    All right.             Welcome back.

   9                Mr. Kleiman, you want to come forward, sir?                     And do

  10    you mind seeing if our jurors are ready?

  11                Ready?

  12                Okay.    Great.

  13                Okay.    Let's bring in the jury.

  14                Thank you.

  15         (Before the Jury, 3:43 p.m.)

  16                THE COURT:    All right.             Welcome back.         Please be

  17    seated.     And we'll continue with the direct examination.

  18                         DIRECT EXAMINATION [CONTINUED]

  19    BY MR. BRENNER:

  20    Q.   Okay.    Mr. Kleiman, let's go on to a new topic, which we

  21    talked about briefly, but you -- you have your first contact

  22    with Dr. Wright in February 2014?

  23    A.   Yes.

  24    Q.   I think you testified -- is that the first time anyone

  25    suggests to you there may be something of value related to

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 125 of 268
                                                                               125


   1    Bitcoin on Dave's drives?

   2    A.   Yes, it is.

   3    Q.   In fact, other than Dr. Wright, has anyone ever suggested

   4    to you that there's anything of value on those drives related

   5    to Bitcoin?

   6    A.   No.

   7    Q.   Now, you told us that you believed Dr. Wright; is that

   8    correct?

   9    A.   That's correct.

  10    Q.   As you sit here today, do you believe there's anything of

  11    value related to Bitcoin or was anything of value ever related

  12    to Bitcoin on Dave's drives?

  13    A.   No, I don't.

  14    Q.   Now, did -- in your communications with Dr. Wright --

  15    again, regarding now the drives, did he ever say to you that he

  16    was going to provide you assistance in trying to do something

  17    with the drives to uncover what he said was on there?

  18    A.   He mentioned an associate of his, the young girl, Uyen

  19    Nguyen.

  20    Q.   And that's the Uyen Nguyen -- that's the -- we've seen her

  21    name a couple times.       She's the one on the ATO documents that

  22    became a director of W&K?

  23    A.   Yes.

  24    Q.   Okay.

  25                MR. BRENNER:     If we could bring up Tab 21.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 126 of 268
                                                                                          126


   1    BY MR. BRENNER:

   2    Q.   Again, without revealing the contents --

   3    A.   It's --

   4               MR. BRENNER:     I'm sorry.              It's P564.        I don't know if

   5    I identified it clearly.          P564.

   6    BY MR. BRENNER:

   7    Q.   Did -- is this -- is this an email exchange?

   8    A.   Yes, it is.

   9    Q.   And who is -- who are the emails between?

  10    A.   Between myself and Uyen.

  11    Q.   How did you get in touch -- the first email -- what's the

  12    date of the first email?

  13    A.   February 15, 2014.

  14    Q.   Okay.   And what is that as far as time-wise in relation to

  15    your first contact with Dr. Wright?

  16    A.   It was very shortly after.

  17    Q.   Okay.   Before this email that you have up, had you had

  18    any -- did you know anyone named Uyen Nguyen?

  19    A.   No, I didn't.

  20    Q.   Your introduction to Uyen Nguyen came from whom?

  21    A.   Dr. Wright.

  22    Q.   The contact information for Uyen Nguyen came from whom?

  23    A.   Dr. Wright.

  24               MR. BRENNER:     Your Honor, at this point, we'd like

  25    to --

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 127 of 268
                                                                                               127


   1    BY MR. BRENNER:

   2    Q.   The subject matter of this email chain -- what's -- again,

   3    generally what's it about?

   4    A.   I'm asking when --

   5               MR. RIVERO:    Objection.              Judge, I have an objection to

   6    this exhibit as hearsay, Judge.

   7               And if I may, this not only is being presented for the

   8    truth of the matters asserted by an out-of-court declarant,

   9    Uyen Nguyen, but also, Judge, has facial indications of

  10    something altered because the Court will note the difference in

  11    the heading --

  12               THE COURT:    Yeah.        The legal objection on grounds of

  13    hearsay is overruled.

  14               It will be admitted as Exhibit 564.

  15         (Plaintiffs' Exhibit 564 received into evidence.)

  16    BY MR. BRENNER:

  17    Q.   Can you --

  18               MR. BRENNER:     May I publish that to the jury?

  19    BY MR. BRENNER:

  20    Q.   So, again, can you orient the jury to -- there's a person

  21    there that says:     "UT NG."         It's the first email from Ira K to

  22    UT NG.

  23               MR. BRENNER:     No.       The bottom one.                 The first one.

  24    The first in time.

  25               Yes.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 128 of 268
                                                                                                128


   1    BY MR. BRENNER:

   2    Q.    Who is UT NG?

   3    A.    That would be Uyen Nguyen.

   4    Q.    Okay.   And who did you get her email contact information

   5    from?

   6    A.    Dr. Wright.

   7    Q.    And what had Dr. Wright told you -- had Dr. Wright asked

   8    you to reach out to her?

   9    A.    No.

  10    Q.    Okay.   Did he offer her assistance to you?

  11    A.    Yes.    He introduced her to me.

  12    Q.    Okay.   So tell me what you write here to Uyen Nguyen.

  13                 MR. BRENNER:     No.       The bottom email.                  Same one we're

  14    on.

  15    BY MR. BRENNER:

  16    Q.    First, read that to the jury, please.

  17    A.    "Can tell me how you knew my brother?                             Is there any insight

  18    you can give me to better understand how Dave was involved in

  19    all of this?"

  20    Q.    So why are you asking Uyen Nguyen if she knew your brother

  21    and if she can tell you more information about him?

  22    A.    Dr. Wright introduced her to me and suggested that she

  23    might be able to take a look at Dave's drives.

  24    Q.    Okay.   So let me -- the purpose of the introduction was

  25    his -- what was Dr. Wright telling you Uyen Nguyen may or may

                                    Yvette Hernandez, Official Court Reporter
                                        400 North Miami Avenue, 10-2
                                             Miami, Florida 33128
                                                (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 129 of 268
                                                                                           129


   1    not be able to do for you?

   2    A.   To examine Dave's drives possibly.

   3    Q.   Okay.   So did she respond to you?

   4    A.   Yes.

   5                MR. BRENNER:     Okay.         Let's go up to that.

   6    BY MR. BRENNER:

   7    Q.   Is this from Uyen Nguyen?

   8    A.   Yes, it is.

   9    Q.   Okay.   First thing she says is:                    "I had not met your

  10    brother Dave."     Do you see that?

  11    A.   Yes.

  12    Q.   Now, I asked -- I had asked you before if you believed your

  13    brother knew her, and you said you did.                          Does this refresh your

  14    recollection on that topic?

  15    A.   Yes.    She said she'd ever met Dave.

  16    Q.   Okay.   And then what does she say next?

  17    A.   She said she knew of Dave just as a computer forensic

  18    expert.

  19    Q.   Okay.

  20    A.   She'd never met him.

  21    Q.   And what does she do at the end there, the last two

  22    sentences?

  23    A.   "Please let me know anything I can help you.                        Ian, I'm in

  24    the States, so it will be easier."

  25    Q.   Is "Ian" a typo, you think?

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 130 of 268
                                                                                       130


   1    A.   Yeah.    She just misspelled my name.

   2    Q.   Did you then respond to Ms. Nguyen?

   3    A.   Yes.

   4                MR. BRENNER:     Okay.         Let's pull that up, please.

   5    BY MR. BRENNER:

   6    Q.   Is this what you were talking about, why Dr. Wright had put

   7    you in touch with her?

   8    A.   Correct.

   9    Q.   Okay.    Could you read that to the jury?

  10    A.   "Are you experienced with decrypting drives?                      Craig

  11    mentioned possibly sending someone here to help retrieve the

  12    cryptographic keys.      Would you be able to assist in this?"

  13    Q.   So Uyen Nguyen, the person that Dr. Wright put you in touch

  14    with to look at the drives, did she ever come see you?

  15    A.   No.

  16    Q.   Did she ever ask that you send her the drives?

  17    A.   No.

  18    Q.   Did she ever do anything whatsoever with regard to the

  19    drives?

  20    A.   No.

  21                MR. BRENNER:     Okay.         You can take that down, Dorian.

  22                Thank you.

  23                If we could bring up P138, please.

  24                And Your Honor, I think this is in evidence, but I

  25    want to make sure.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 131 of 268
                                                                                         131


   1                THE COURT:   It is in evidence.

   2                MR. BRENNER:     Okay.         This is already in.          If you can

   3    go to Page 6.

   4    BY MR. BRENNER:

   5    Q.   So this is an email -- I guess if we went back up one page,

   6    we'll see it somewhere around February 25th, 2014?

   7    A.   Uh-huh.

   8    Q.   Yes?

   9    A.   Yes.

  10    Q.   Can you read this email that -- this part, the part that's

  11    highlighted, the email you send to Craig?

  12    A.   "I should probably start trying to figure out how to access

  13    Dave's drives, but I'm still not sure who to trust them with.

  14    I think the only person would be you.                        So I was wondering if I

  15    could mail them to you.          Or do you have plans on visiting the

  16    States?     You are welcome to come stay with us and I could show

  17    you more of Dave's stuff."

  18    Q.   What are you offering Dr. Wright there?

  19    A.   I'm offering him the ability to examine Dave's drives as

  20    much as he would like.

  21    Q.   And did he ever take you up on that offer?

  22    A.   No, he didn't.

  23    Q.   Let's take a look --

  24                MR. BRENNER:     You could take that down, please,

  25    Dorian.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 132 of 268
                                                                               132


   1                Let's take a look at P156, which is also in evidence,

   2    and we're going to Page 11.              And just scroll up one page, so we

   3    can see who the email is from.

   4    BY MR. BRENNER:

   5    Q.   That's -- email April 23rd, from you to Craig?

   6    A.   Yes.

   7                MR. BRENNER:     You can go to the next page, please.       Go

   8    to the very bottom part.

   9    BY MR. BRENNER:

  10    Q.   This is now -- I think the last one we looked at was in

  11    February.    So this is almost exactly two months later, right?

  12    A.   Yes.

  13    Q.   Can you read to the jury what you're writing to Craig

  14    Wright in April of 2014 regarding the drives?

  15    A.   "And I would still welcome you to attempt to gaining access

  16    to Dave's drives.      If you are able to find his Bitcoin files, I

  17    would gladly give you half and invest Dave's other half into

  18    your new business."

  19    Q.   Okay.   Did he take you up on the offer that time?

  20    A.   No, he didn't.

  21    Q.   Did Dr. Wright ever take you up on your offer to take

  22    Dave's drives?

  23    A.   No, he didn't.

  24    Q.   Did Dr. Wright ever tell you that what was on Dave's drives

  25    he, himself, has his own backup to?

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 133 of 268
                                                                                            133


   1    A.   Yes, he did.

   2               MR. BRENNER:     Okay.         Let's take a look at P731,

   3    please.

   4    BY MR. BRENNER:

   5    Q.   Again, without revealing the contents, can you --

   6               MR. BRENNER:     No.       No.       I'm sorry.            I was talking to

   7    the witness.     I'm sorry.       My mistake.               I apologize.

   8               P731, Your Honor.

   9               Again, same routine:             Without revealing the contents,

  10    can you just scroll a couple pages until Mr. Kleiman can advise

  11    us that he's familiar with the document.

  12               THE WITNESS:     Yes.        I'm familiar with it.

  13    BY MR. BRENNER:

  14    Q.   And what -- is it an email exchange?

  15    A.   Yes, it is.

  16    Q.   And between whom and whom?

  17    A.   Between myself and Dr. Wright.

  18    Q.   Okay.

  19               MR. BRENNER:     At this time, the Plaintiffs would move

  20    P731 into evidence.

  21               MR. RIVERO:    No objection.

  22               THE COURT:    Admitted into evidence.

  23         (Plaintiffs' Exhibit 731 received into evidence.)

  24               MR. BRENNER:     Okay.         If we can go to Page 30 of the

  25    document.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 134 of 268
                                                                                               134


   1                Okay.    Scroll up to two pages for me, please.

   2    BY MR. BRENNER:

   3    Q.   This is a long email, but just so that everyone's on the

   4    same page, this is an email from Dr. Wright to you, correct?

   5    A.   Yes.

   6    Q.   And the date?

   7    A.   April 23rd, 2014.

   8                MR. BRENNER:     Okay.         Let's look at this issue of the

   9    backup files, which is two pages forward, please.

  10    BY MR. BRENNER:

  11    Q.   Okay.   Why don't you read to the jury what Dr. Wright is

  12    writing to you and your understanding of what he was telling

  13    you?

  14    A.   "I have files of Dave's that I cannot access now.                            These

  15    are TrueCrypt partitions.            We held backups for the other, but

  16    no passwords.       I cannot access these.                   If I cannot find a key

  17    or password on these, I do not believe that I can on yours.

  18    Dave was smarter than I was in some ways.                              He broke his wallets

  19    into many 50 bitcoin-sized addresses.                        I left several large

  20    addresses that are not easy to move without making the world

  21    notice."

  22    Q.   Now, whatever backup files Dr. Wright had, did you have any

  23    involvement with them, any formatting them, adding to them,

  24    storing them?       Did you ever have access to Dr. Wright's backup

  25    files?

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 135 of 268
                                                                                             135


   1    A.   No, I didn't.

   2                MR. BRENNER:     Okay.         We could take that down, please.

   3    BY MR. BRENNER:

   4    Q.   Okay.    I want to switch topics on you.                          You okay?

   5    A.   Yeah.

   6    Q.   Let's talk about --

   7                MR. BRENNER:     If we could bring up P120, Your Honor,

   8    which I believe is already in evidence.                          And we're going to go

   9    to Page 4.

  10                THE COURT:   It is in evidence.

  11                MR. BRENNER:     Yes.

  12                THE COURT:   Yes.

  13                MR. BRENNER:     Thank you.

  14    BY MR. BRENNER:

  15    Q.   Okay.    Mr. Kleiman, this is P120, which we looked at

  16    before.     It's -- just to identify it for the jury, it's

  17    February 15th, 2014, right at the beginning of your

  18    communications with Dr. Wright.

  19    A.   Yes.

  20    Q.   Okay.    And let me ask you this -- first of all, read to the

  21    jury the bottom part and then let me ask you a few questions.

  22    A.   "Can you tell me what that's all about?                           Sorry I have so

  23    many questions.     I still don't understand why Dave didn't cash

  24    in these Bitcoin if they were of any value.                            His house was in

  25    foreclosure and he certainly could have used the money."

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 136 of 268
                                                                                            136


   1    Q.   Okay.   Let's just get the facts out.

   2         Was Dave -- let's see the words you use.                          Was Dave's house

   3    in foreclosure before he died?

   4    A.   I believe it was.

   5    Q.   Okay.   You say:    "He certainly could have used the money."

   6         Was Dave having financial problems?

   7    A.   Yes.    That's my understanding.

   8    Q.   Okay.   And just -- at this point, is this in the time

   9    period where Dr. Wright has told you that the devices have

  10    Bitcoin and this is in the time period that you believed him?

  11    A.   Yes.

  12    Q.   Okay.   So what are you saying to Dr. Wright here?

  13    A.   I didn't understand.          If Dave had access to all these

  14    Bitcoins, why he didn't use some of them to pay some of his

  15    bills.

  16    Q.   And is this the only time that you sort of expressed

  17    that -- I don't know -- question, whatever, to Dr. Wright about

  18    this comparison, if he has Bitcoin sitting on these drives and

  19    he's living poor.      Is this something that came up in other

  20    emails?

  21    A.   Yes.    I believe so.

  22    Q.   Okay.   Let's just look at one more -- maybe it's the next

  23    page.    Let's see.

  24                MR. BRENNER:     Yeah.         One more back.              This is the rest

  25    of that email we were looking at.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 137 of 268
                                                                                          137


   1                One back.

   2                Go one more.

   3                No.   Other way.

   4                Other way, Ms. Vela, please.

   5                Thank you.

   6                There you go.

   7                No.

   8                There you go.

   9    BY MR. BRENNER:

  10    Q.   It's a later email in the trail.                      You say:    "Dave was hard

  11    up for money."     Do you see that?

  12    A.   Yes.    I see it.

  13    Q.   True statement, at least what you believed?

  14    A.   Yes.

  15    Q.   Yes?

  16    A.   Yes.

  17                MR. BRENNER:     Okay.         Let's look at Exhibit D285.

  18    BY MR. BRENNER:

  19    Q.   Did there ever come a time where -- first of all, had

  20    Dr. Wright ever discussed with you trusts -- foreign trusts?

  21    A.   Yes.    I believe there were a few email communications about

  22    trusts.

  23    Q.   And what did he say about Bitcoin and those trusts?

  24    A.   I don't recall.

  25    Q.   Okay.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 138 of 268
                                                                              138


   1               MR. BRENNER:     Let's see if we can refresh -- D285.

   2    BY MR. BRENNER:

   3    Q.   Can you identify what this is?

   4               MR. BRENNER:     Can you scroll a couple pages, so he

   5    can --

   6               THE WITNESS:     Yes.        I recognize it.

   7               MR. BRENNER:     Okay.         One moment, Your Honor.

   8         (Pause in proceedings.)

   9               MR. BRENNER:     Your Honor, at this time, we would move

  10    into evidence D285.

  11               THE COURT:    Is there any objection?

  12               MR. RIVERO:    No objection, Your Honor.

  13               THE COURT:    Admitted into evidence.

  14         (Plaintiffs' Exhibit 285 received into evidence.)

  15               MR. BRENNER:     And could you go to Page 2.

  16    BY MR. BRENNER:

  17    Q.   Email from Dr. Wright to you on February 15th, 2014?

  18    A.   Okay.

  19    Q.   What does he say to you about Dave's financial condition?

  20    A.   He says:    "The next thing for you to discover is that Dave

  21    may have been cash poor, but he was not poor."

  22    Q.   Did there ever come a time where Dr. Wright communicated to

  23    you about any agreements that he had with Mr. Kleiman about

  24    whether the two would sell any Bitcoin?

  25    A.   Yes, that they had an agreement not to sell any Bitcoin.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 139 of 268
                                                                                   139


   1    Q.   Okay.

   2                MR. BRENNER:     So let's look at P133, which I do not

   3    believe is in evidence yet, Your Honor.

   4    BY MR. BRENNER:

   5    Q.   Can you tell the jury what P133 is.

   6    A.   It's another email exchange between Dr. Wright and myself.

   7    Q.   Okay.   And just to be clear, is it -- are there other

   8    emails in there that he's forwarding you?

   9    A.   Yes.

  10    Q.   And what are those?

  11    A.   It appears to be emails between my brother and him.

  12    Q.   Okay.

  13                MR. BRENNER:     Your Honor, at this time, we would like

  14    to move in P133.

  15                MR. RIVERO:    Judge, no objection to this exchange

  16    between Kleiman and Wright.

  17                THE COURT:    All right.             Admitted into evidence.

  18         (Plaintiffs' Exhibit 133 received into evidence.)

  19                MR. BRENNER:     Okay.         Let's first just -- the bottom

  20    email, let's first put on the -- who it's from and when it is

  21    and what year.

  22    BY MR. BRENNER:

  23    Q.   Okay.   So this is an email from Craig Wright to

  24    dave@davekleiman.com.        Do you recognize that as your brother's

  25    email address?

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 140 of 268
                                                                                          140


   1    A.   Yes.

   2    Q.   And it's 2012, right?

   3    A.   Yes.

   4    Q.   Okay.

   5                MR. BRENNER:     And if we could just zoom back out and

   6    go to the very top.

   7    BY MR. BRENNER:

   8    Q.   Is this an email -- meaning the one that we were just

   9    looking at -- is it an email that Dr. Wright sent to you in

  10    2014?

  11    A.   Correct.

  12    Q.   So now if we could go down to the right, to:                      "Kleiman

  13    email."

  14         I'm going to ask you to read starting off with:                     "We do not

  15    touch the trust."      But I'm going to ask you to stop at -- to

  16    where -- at the point it starts getting a little profane.

  17    A.   "We do not touch the trusts, not yet, not even for this.

  18    One day, they will change the world.                       Not millions, not

  19    billions.    If I am right, they will be trillions and let them

  20    try" --

  21    Q.   Is that consistent with what Dr. Wright had communicated to

  22    you about his agreement with your brother not to touch their

  23    Bitcoin?

  24    A.   Yes, it is.

  25                MR. BRENNER:     You could take that down.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 141 of 268
                                                                               141


   1                Thank you.

   2    BY MR. BRENNER:

   3    Q.   Mr. Kleiman, you were here during the opening statements --

   4    were you here during the opening statements?

   5    A.   Yes, I was.

   6    Q.   And did you have an opportunity to hear the opening

   7    statement of your lawyer, Mr. Roche, and the opening statement

   8    of Dr. Wright's lawyer, Ms. McGovern?

   9    A.   Yes, I did.

  10    Q.   And were you here when Mrs. McGovern identified you as the

  11    driver or creator of this lawsuit?

  12    A.   Yes.

  13    Q.   Okay.   So I want to just go through a little bit of a

  14    timeline with you.       First of all, when your brother dies in

  15    April 2013, did you rush out and file a lawsuit against

  16    anybody?

  17    A.   No, I didn't.

  18    Q.   Okay.   When Craig Wright contacts you in 2014, and tells

  19    you that he and your brother were the co-creators of Bitcoin,

  20    do you rush to the courthouse and file a lawsuit?

  21    A.   No.

  22    Q.   Okay.   When Dr. Wright later tells you that he and your

  23    brother had mined Bitcoin together, do you rush to the

  24    courthouse and file a lawsuit?

  25                MR. RIVERO:    Objection.              Leading.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 142 of 268
                                                                                          142


   1               THE COURT:    Sustained.

   2    BY MR. BRENNER:

   3    Q.   Well, did you file a lawsuit in 2014 with the

   4    communications we just went through regarding the mining of the

   5    Bitcoin?

   6    A.   No.

   7    Q.   Did you file a lawsuit at any time during the

   8    communications that you had with Dr. Wright and later his

   9    wife -- did you file a lawsuit then?

  10    A.   No, I didn't.

  11    Q.   And did you -- when did you file this lawsuit?

  12    A.   I believe it was about four years after he first contacted

  13    me, in February 2018.

  14    Q.   And why did you file the lawsuit?

  15    A.   It was just the last resort.                 He just simply -- I tried

  16    everything I could to settle the situation out of court with

  17    him, but --

  18               MR. RIVERO:    Objection, Judge.                     Your Honor, I request

  19    that that be stricken from this record and I need an

  20    instruction on this.      Your Honor --

  21               THE COURT:    I don't believe any -- the timeline is

  22    being given by the witness.             At this point, it's proper.

  23               Overruled.

  24    BY MR. BRENNER:

  25    Q.   Did you finish your answer?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 143 of 268
                                                                                       143


   1    A.   Yes.

   2    Q.   Okay.

   3                MR. BRENNER:     Your Honor, I'd like to change topics.

   4    BY MR. BRENNER:

   5    Q.   The jury has heard and Mr. Rivero spent some time with

   6    Mr. Antonopoulos on Tuesday, I guess, regarding a conversation

   7    that took place between you and your brother in -- on

   8    Thanksgiving in 2009.        You recall that conversation?

   9    A.   Yes.

  10    Q.   And did you later recount that conversation and have an

  11    email exchange about it with Dr. Wright?

  12    A.   Yes, I did.

  13    Q.   Okay.

  14                MR. BRENNER:     If we could show to the witness and

  15    counsel and the Court P733.

  16    BY MR. BRENNER:

  17    Q.   And first -- again, same thing:                     Can you just identify what

  18    this is?     Who is it an email exchange between?

  19    A.   It's between myself and Dr. Wright.

  20    Q.   And what is the date of the -- at least the first two

  21    emails on the screen?

  22    A.   May 20th, 2014.

  23                MR. BRENNER:     Your Honor, at this time, we would like

  24    to move into evidence P733.

  25                MR. RIVERO:    Without objection, Your Honor.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 144 of 268
                                                                                    144


   1                THE COURT:   Admitted into evidence.

   2         (Plaintiffs' Exhibit 733 received into evidence.)

   3                MR. BRENNER:     Okay.         So let's start from -- if you

   4    could just start from the bottom email and block everything

   5    else out, if you would.

   6                Okay.   Great.

   7    BY MR. BRENNER:

   8    Q.   I'm just going to let you read this to the jury.                  This is

   9    an exchange with you and Dr. Wright?

  10    A.   Yes.

  11    Q.   Okay.   Can you read to the jury the first part of the

  12    screen and then we'll scroll to the next.

  13    A.   "I don't recall him ever saying the word 'Bitcoin' to me.

  14    But I do have a memory where I think he told me he was working

  15    on it.    We were visiting at my dad's house, I think, for

  16    Thanksgiving and I think it was the first time I believe he met

  17    my daughter, JiJi."

  18                MR. BRENNER:     You can go to the next page.

  19                You want it bigger?

  20                Okay.

  21    BY MR. BRENNER:

  22    Q.   The last two words were:              "We started" and now you're

  23    picking up at "talking about."

  24    A.   "We started talking about how successful Facebook had

  25    become and I asked him if he was working on anything

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 145 of 268
                                                                                           145


   1    interesting.     He told me he was making his own money.                      I was

   2    like, 'What, are you making counterfeit money?' And I thought

   3    maybe he was up to something fishy.

   4          "And then he said it was digital money and opened his

   5    wallet to show me something like a business card with a logo on

   6    it.    But he couldn't find it so I think he just scribbled it on

   7    the back of a card, the 'B' with lines through it.

   8          "He also said he was doing some work with a rich foreign

   9    guy.    I asked him, 'How rich is this guy?' He said something

  10    like, 'He's not super rich, but he owns some properties.'

  11          "Then he said some other stuff about the foreign guy that I

  12    don't remember.

  13          "I replied to him saying, 'Why don't you partner with this

  14    guy?    With your brains and his money, you guys could create the

  15    next big thing like Facebook.'

  16          "He gave me a blank look and was silent, which I thought

  17    was unusual for Dave to stop talking.                       Maybe he didn't want to

  18    directly come out and say you guys were already partners.

  19          "Anyway, that's the only time I can recall where he

  20    mentioned this stuff to me.             I was wondering if you were aware

  21    of any business cards ever being printed with the Bitcoin logo

  22    on it.    I never found any in his belongings.                        I wasn't sure if

  23    he was opening his wallet to show me a Bitcoin business card or

  24    if he just wanted to grab an existing card to draw the logo on

  25    the back of it."

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 146 of 268
                                                                                    146


   1    Q.   Okay.

   2               MR. BRENNER:     Don't.          Stay where you are, please.

   3               Thank you.

   4               No.   Stay where you were, please.

   5    BY MR. BRENNER:

   6    Q.   Okay.   So does Dr. Wright respond to this email?

   7    A.   Yes, he does.

   8    Q.   We're going to take it one at a time.

   9         Does he respond to the question or the issue you raise

  10    about whether he and Dave were partners?

  11    A.   Yes, he did.

  12    Q.   Okay.   So let's go to his response and look at the first

  13    part of his response.

  14               MR. BRENNER:     Blow that up, please.

  15    BY MR. BRENNER:

  16    Q.   What does he say about whether he and Dave were partners in

  17    this Bitcoin or digital money thing you were asking about?

  18               MR. RIVERO:    Objection.              The document speaks for

  19    itself, Judge.     That question leads to an answer.

  20               THE COURT:    Sustained.

  21    BY MR. BRENNER:

  22    Q.   What does Dr. Wright say in response to your email?

  23    A.   "We did partner."

  24    Q.   You also had mentioned that the properties -- about the

  25    farm.    And does he respond to that?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 147 of 268
                                                                                                147


   1    A.   Yes.

   2    Q.   You could read that to the jury.

   3    A.   "The properties were not magnificent, but I love them.                             In

   4    total, I had a few cattle ranches and farm up in

   5    Port Macquarie.     Wonderful beaches, but underdeveloped, unlike

   6    Florida.     In total, about 550 acres."

   7    Q.   And then does he respond to the part of your email about

   8    the Bitcoin logo?

   9    A.   Yes, he does.

  10    Q.   And what does he say?

  11    A.   "I will have to see what I can dig up.                           The old Bitcoin

  12    logo we did is no longer used.                I have a copy somewhere."

  13    Q.   And was your understanding -- when it said:                          "The Bitcoin

  14    logo we did," what was your understanding of who Dr. Wright was

  15    talking about?

  16    A.   (No verbal response.)

  17    Q.   Who is the "we" in "the Bitcoin logo we did"?                          What was

  18    your understanding?

  19                MR. RIVERO:   Objection.              Calls for speculation.

  20                THE COURT:    Sustained.

  21    BY MR. BRENNER:

  22    Q.   Did you have an understanding of what -- what did you

  23    take -- what was your understanding of what that sentence

  24    meant?

  25    A.   Yeah.   I understood it to mean the Bitcoin logo that Craig

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 148 of 268
                                                                                         148


   1    and Dave were working on.

   2    Q.   Is there -- and then the last sentence deals with the

   3    counterfeit issue.      Why don't we just read that in for

   4    completeness.

   5    A.   "Some of the issues we still face come from how people

   6    assume making money must be counterfeit or otherwise illegal."

   7                MR. BRENNER:     Let's --

   8    BY MR. BRENNER:

   9    Q.   Do you respond to that email?

  10    A.   Yes.

  11    Q.   What do you say?

  12    A.   "I think the logo he drew for me only had one line going

  13    through the B, not two."

  14    Q.   And then what does Dr. Wright do?                       Does he respond to your

  15    email?

  16    A.   He does.

  17                MR. BRENNER:     And can we blow that up?

  18    BY MR. BRENNER:

  19    Q.   And what does he say?

  20    A.   He sends me like a timeline of the different versions of

  21    Bitcoin logos that they were working on and the one at the

  22    bottom looks like the one that I described to him that my

  23    brother drew on the back of the business card.

  24                MR. BRENNER:     May I have a moment with counsel -- with

  25    my colleagues, Your Honor?

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 149 of 268
                                                                               149


   1                THE COURT:    Certainly.

   2         (Pause in proceedings.)

   3                MR. BRENNER:     Mr. Kleiman, I have no further questions

   4    at this time.     Please give the same responsiveness to

   5    Mr. Rivero.

   6                THE COURT:    Cross-examination.

   7                MR. RIVERO:    Thank you, Your Honor.

   8         (Pause in proceedings.)

   9                MR. RIVERO:    May it please the Court, counsel.

  10                                 CROSS-EXAMINATION

  11    BY MR. RIVERO:

  12    Q.   Mr. Kleiman, this is a chart -- you were here for opening;

  13    isn't that right?      You were here for opening, were you not,

  14    Mr. Kleiman?

  15    A.   Yes.

  16    Q.   This is the chart your counsel used during opening,

  17    correct?

  18    A.   Yes.

  19    Q.   You spoke a lot, sir, here on your direct examination about

  20    the period 2013 to 2018, did you not?

  21    A.   Yes.

  22    Q.   All right.    You spoke very little -- if I remember

  23    correctly, the only thing you commented on in the period

  24    between 2008 and April of 2013 is Thanksgiving Day 2009; isn't

  25    that right?

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 150 of 268
                                                                                            150


   1    A.   Yes.

   2    Q.   Okay.   And that was a -- that was November 26th, 2009,

   3    right?

   4    A.   Correct.

   5    Q.   Okay.   And you know that date because that's the last day

   6    you saw your brother in life, correct?

   7                MR. BRENNER:     Objection.              May we approach?

   8                MR. RIVERO:    Judge, I'll --

   9                THE COURT:    The objection is overruled at this point.

  10    BY MR. RIVERO:

  11    Q.   Sir?

  12    A.   I'm not exactly certain if that's the very last day.                         But

  13    that's the -- I guess the best memory of last seeing him.                          I

  14    may have seen him other times after that, but I just don't

  15    recall it.

  16    Q.   Sir, your testimony under oath and your best memory is that

  17    that was the last day you saw your brother in life, is it not?

  18                MR. BRENNER:     Same objection, Your Honor.

  19                THE WITNESS:     Like I said, I'm not certain that that

  20    was --

  21                THE COURT:    The objection is noted.                      It's overruled at

  22    this point.

  23                THE WITNESS:     I could have possibly seen him other

  24    days.

  25

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 151 of 268
                                                                                              151


   1    BY MR. RIVERO:

   2    Q.   I will return to that subject and show you your testimony,

   3    Mr. Kleiman, but I have another point to make at this time.

   4         Sir, you say that on that day your brother drew a symbol

   5    like this.    Like this one.           You just talked about it before the

   6    jury, right?

   7    A.   Yes.

   8    Q.   Okay.   I'm going to make it larger and make sure you agree

   9    with me.

  10                MR. BRENNER:     (Inaudible.)

  11                THE COURT:    I'm sorry.             We can't hear you.

  12                MR. BRENNER:     May I just move, so I can see?

  13                THE COURT:    Yes.       Of course.

  14                MR. BRENNER:     Where's the best place to go?

  15                THE COURT:    Well, it may be easier, Mr. Rivero, if you

  16    can just move it a little bit back, so all counsel can see the

  17    easel.

  18                MR. RIVERO:    I will.           And Judge, I'm not going to use

  19    it extensively, but I'll move it definitely --

  20                THE COURT:    But you are using it.                        So if you wouldn't

  21    mind.

  22                MR. RIVERO:    And in fact, Judge, just to be fair, I'll

  23    show Plaintiffs' counsel their chart from opening to make sure

  24    that they are able to remember what they wrote.

  25                MR. BRENNER:     Thank you, sir.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 152 of 268
                                                                                     152


   1                MR. RIVERO:    Yeah.

   2    BY MR. RIVERO:

   3    Q.   And so having shown that to Plaintiffs' counsel,

   4    Mr. Kleiman, can you still see it?

   5                THE COURT:    Well, you maybe want to turn it just a

   6    little bit.

   7                There we go.

   8                MR. RIVERO:    Well, Judge, I want you to see it.

   9                THE COURT:    And, Counsel, you're free to move over, so

  10    that you're able to see it.

  11    BY MR. RIVERO:

  12    Q.   I just to want to make sure you and I are on the same page.

  13         What your brother drew for you was something like -- I'm

  14    not very good -- but it was like this, right?

  15    A.   That's what I recall, yes.

  16    Q.   Yeah.   Okay.   We'll come back.                   When we talk about

  17    Thanksgiving Day 2009, we're going to talk about that.

  18         Now, Mr. Kleiman, you understand that you have brought a

  19    lawsuit making serious allegations against Dr. Craig Wright, do

  20    you not?

  21    A.   Yes.

  22    Q.   And you have alleged theft?

  23    A.   Yes.

  24    Q.   And you have alleged fraud?

  25    A.   Yes.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 153 of 268
                                                                                       153


   1    Q.   Do you understand that Dr. Wright is here in court in

   2    person, far from his home in London, England, to defend against

   3    your lawsuit?

   4    A.   Correct.

   5    Q.   Now, you, sir, claim that Dave Kleiman and Craig Wright had

   6    a 50/50 partnership to invent and mine Bitcoin; isn't that

   7    right?

   8    A.   Right.

   9    Q.   Mr. Kleiman, I want to talk with you about things you know

  10    about your brother, Dave Kleiman, from during his lifetime.                     Do

  11    you understand me?

  12    A.   Yes.

  13    Q.   In life, Dave Kleiman never mentioned the name Craig S.

  14    Wright to you; isn't that right?

  15    A.   That is correct.

  16    Q.   And in life, he never showed you any written business

  17    partnership agreement that he had with Dr. Craig Wright to

  18    invent or mine Bitcoin, did he?

  19    A.   That's correct.

  20    Q.   And he never said to you:              "I have a business partnership

  21    with Craig Wright to invent or mine Bitcoin."                         Right?

  22    A.   Right.

  23    Q.   And in fact, you have conceded under oath that you do not

  24    know any details of how any alleged business relationship was

  25    structured, if one existed.             Have you not conceded that under

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 154 of 268
                                                                               154


   1    oath?

   2    A.   Could you repeat that, please.

   3    Q.   In fact, you have said under oath that you do not know the

   4    details, if there were any, of how David Kleiman and Craig

   5    Wright structured any alleged business arrangement between

   6    them.    Have you not said that?

   7               MR. BRENNER:     Your Honor, this is improper form.         He

   8    should ask the question.          If he gets a different answer --

   9               THE COURT:    That's correct.                  Sustained.

  10               MR. RIVERO:    Okay.         I'll remove --

  11    BY MR. RIVERO:

  12    Q.   Isn't it true that you have said that you do not know the

  13    details?

  14    A.   I only know what Craig has told me.

  15    Q.   Okay.   So other than anything Craig Wright said to you, you

  16    don't know anything about any details of any business

  17    arrangement, right?

  18    A.   Correct.

  19    Q.   And Craig Wright -- and you just went through it with your

  20    counsel -- Craig Wright never gave you any writing that

  21    indicated a split of profits on a 50/50 basis, did he?

  22    A.   He told me from the beginning that they were 50/50

  23    partners.

  24    Q.   I see, sir.    What your testimony to the jury is, regardless

  25    of the paper we just saw that your counsel took you through

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 155 of 268
                                                                                      155


   1    every scrap of paper they wanted to, you're saying orally Craig

   2    Wright said that to you.          Is that your testimony?

   3    A.   No.   He emailed it to me.

   4    Q.   You're saying that we've seen an email where Craig Wright

   5    said there was a division 50/50 on the invention and mining of

   6    Bitcoin?

   7    A.   That they were 50/50 partners in W&K.

   8    Q.   Mr. Kleiman, I want to make sure I understand what you're

   9    saying.    Are you telling the jury that we have seen a document

  10    today like that?

  11    A.   You may not have seen it today.                    But I believe that I have

  12    possession of emails such as that.

  13    Q.   Okay, sir.    You believe you have in your possession an

  14    email where Dr. Craig Wright says there was a 50/50 deal.

  15    That's what you're saying?

  16    A.   Something similar.       I don't remember the exact details,

  17    but --

  18    Q.   Can you bring that to this courtroom tomorrow morning?

  19               MR. BRENNER:     Your Honor -- Your Honor, the witness

  20    must be allowed to finish his answer.

  21               THE COURT:    Let the witness finish his answer, please.

  22               Have you concluded your answer, Mr. Kleiman?

  23               THE WITNESS:     Yes.        I believe that I have seen email

  24    communications where there was a division of assets that they

  25    owned in W&K.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 156 of 268
                                                                                   156


   1    BY MR. RIVERO:

   2    Q.   Sir, listen to my question.                I'm talking about a

   3    partnership.     I don't know if you understand what I'm saying.

   4         You're saying there is a document where Dr. Craig S. Wright

   5    has described a 50/50 partnership between them and you have it

   6    in your possession?

   7    A.   I believe it's in the Australia court filings that Craig

   8    submitted when he sued W&K.             He listed he held 50 percent of

   9    the shares --

  10    Q.   That's not --

  11               MR. BRENNER:     Your Honor, the witness is in the middle

  12    of a sentence.

  13               THE COURT:    You may complete your answer, Mr. Kleiman.

  14               THE WITNESS:     Yeah.         Craig listed himself as owning 50

  15    percent of W&K and my brother as 50 percent in W&K.

  16    BY MR. RIVERO:

  17    Q.   Not a communication with you.                  You're talking about

  18    Australian court records?

  19    A.   Well, it's a document, yes.

  20    Q.   Okay.   All right.     Mr. Kleiman, that's the one document

  21    you're pointing to?

  22    A.   There's probably others, but that's the one that I can

  23    recall off the top of my head.

  24    Q.   Now, after David Kleiman's death, you were the person who

  25    took charge of his papers and his computer devices, right?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 157 of 268
                                                                              157


   1    A.   Correct.

   2    Q.   And you had the run of his house and his papers and

   3    devices, right?

   4    A.   Yes.

   5    Q.   And you found 15 devices, did you not?

   6    A.   Yes.

   7    Q.   And we'll talk about devices, but you disposed of one?

   8    A.   Correct.

   9    Q.   You gave two away to Patrick Paige and Carter Conrad?

  10    A.   I'm not exactly sure if it was two, but in that range.           It

  11    might have been three or four.                I don't know.

  12    Q.   A number of the others, sir, you -- and we've seen a number

  13    of the others.

  14                MR. RIVERO:   This is an exhibit already admitted into

  15    evidence, Your Honor.       And I will request the number.

  16                425.

  17                Actually, Mr. Kass, I'll just use this.

  18                Thank you.

  19    BY MR. RIVERO:

  20    Q.   A number of the others you have testified that -- well,

  21    these two you have testified you reformatted, right?

  22    A.   Yes.

  23    Q.   And then, sir, you also have these devices in your

  24    possession, right?

  25    A.   Yes.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 158 of 268
                                                                                          158


   1    Q.   And sir, you've used these devices?

   2    A.   Yes, I did.

   3    Q.   And you have looked in these devices?

   4    A.   What's that?

   5    Q.   You have looked in these devices?

   6    A.   Yes.    I've looked at those devices.

   7    Q.   And now -- and you also found his papers, right?

   8    A.   Could you repeat that, please.

   9    Q.   You also found David Kleiman's papers, right?

  10    A.   Yes.    I found different papers, yes.

  11    Q.   Whatever papers he had in his house, right?

  12    A.   Yes.

  13    Q.   And among all those papers, and all those devices, you

  14    found no copy of any written partnership agreement with David

  15    Kleiman and Craig Wright as to a partnership to invent or mine

  16    Bitcoin; isn't that right?

  17    A.   That is correct.     But from my understanding, I believe they

  18    had a verbal agreement.

  19    Q.   Okay.    Sir, but you didn't find anything.                      You certainly

  20    didn't find a writing that reflected a verbal agreement,

  21    either, did you?

  22    A.   No.    If it's a verbal agreement, they probably don't have

  23    it in writing.

  24    Q.   Sir, you didn't find a single email communication between

  25    the two of them talking about any verbal agreement or any

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 159 of 268
                                                                                              159


   1    details of a partnership, did you?

   2    A.   No.

   3    Q.   And in fact, sir, there were emails between David Kleiman

   4    and Craig Wright in life -- I'm not talking about after Dave

   5    was dead.     I'm talking when they were alive.                       These two men

   6    communicated by email, did they not?

   7    A.   I -- yeah, I believe so.

   8    Q.   Right.    And I assume that you had some of those?

   9    A.   No, I don't.    I didn't have complete access to my brother's

  10    email account.

  11    Q.   I see, sir.    But whatever access you had, you didn't find a

  12    single email, a single text, a single scrap of paper that

  13    either documented a written partnership agreement or reflected

  14    any existence or terms of a partnership agreement to invent or

  15    mine Bitcoin, did you?

  16    A.   From my understanding, this was a very secretive project.

  17               MR. RIVERO:    Judge, now I need the gentleman to

  18    answer.

  19               THE COURT:    Do you understand the question,

  20    Mr. Kleiman?

  21               THE WITNESS:     I do.

  22               THE COURT:    All right.             Why don't you go ahead and

  23    answer it, sir.

  24               MR. RIVERO:    It's a long question, sir, but I'll have

  25    it read back, if necessary.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 160 of 268
                                                                                               160


   1               THE WITNESS:     No, I understand the question.                       I'm

   2    trying to answer.      I believe -- what I'm saying is, from my

   3    understanding, being that it was a secretive project, they did

   4    not want information about these communications of the

   5    development of Bitcoin to ever come out.

   6               So if there were email communications, perhaps -- you

   7    know, Craig and my brother are security experts.                            They know how

   8    to hide, you know, their emails if they want to bury them.

   9    BY MR. RIVERO:

  10    Q.   Mr. Kleiman, that's a "no," isn't it?                            You didn't find any

  11    such thing?

  12    A.   Yeah.   No.   No.   I didn't find it, but I'm just supplying

  13    the reasoning why I didn't find any.

  14    Q.   You've supplying your speculation that's convenient to you

  15    about why it's a "no."        Isn't that right?

  16    A.   It just -- I'm just trying to explain my logic.

  17    Q.   I'm going to explore your logic, sir, but I do want you to

  18    answer my questions.

  19               MR. BRENNER:     Your Honor, I object to the commentary

  20    from counsel.

  21               THE COURT:    It's sustained.                  We don't need the

  22    comment.

  23    BY MR. RIVERO:

  24    Q.   Sir, you never found any statement anywhere between David

  25    Kleiman and Craig Wright that:                "We're 50/50 partners on

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 161 of 268
                                                                                    161


   1    Bitcoin"?

   2    A.   No.    No emails.

   3    Q.   You didn't find any emails between David Kleiman and Craig

   4    Wright discussing anything about Bitcoin; isn't that true?

   5    A.   Not in email form, no.

   6    Q.   Not in text form?

   7    A.   In text form --

   8    Q.   In text form.     You didn't find any -- I'm talking about

   9    David Kleiman's papers and communications.

  10    A.   No.    No.   I didn't find any.

  11    Q.   And you didn't find anything on a piece of paper; isn't

  12    that right?

  13    A.   That is right.

  14    Q.   Sir, you allege that Craig Wright stole Bitcoin from David

  15    Kleiman, don't you?

  16    A.   Yes.

  17    Q.   And what you specifically allege is that he --

  18    Paragraph 200 of your complaint, he breached -- among many

  19    other allegations, he breached fiduciary duties by stealing

  20    Bitcoin from David Kleiman; that specific, right?

  21    A.   Yes.

  22    Q.   Now, in life, David Kleiman never said anything to you

  23    about Craig Wright having stolen anything from him.                   Isn't that

  24    true?

  25    A.   He never mentioned Craig Wright to me.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 162 of 268
                                                                                  162


   1    Q.   And you do not know of any evidence that suggested that

   2    Craig Wright stole anything from David Kleiman while he was

   3    alive; isn't that right?

   4    A.   Could you repeat that, please.

   5    Q.   Yeah.   And you do not know of any evidence that suggests

   6    that Craig Wright stole anything from David Kleiman while he

   7    was alive; isn't that right?

   8    A.   While he was alive?        No -- yes.              That's correct.

   9    Q.   Now, you also cannot say that Craig Wright ever took David

  10    Kleiman's private keys?

  11    A.   I can't say that --

  12    Q.   That -- I said that backwards.

  13         You can't say that Craig Wright took David Kleiman's

  14    private keys, can you?

  15    A.   I have seen documents that appear that they shared access

  16    to private keys.

  17    Q.   Mr. Kleiman, let me go back to where I started.

  18         For the moment, talking about during David Kleiman's

  19    life -- but I do want to address the specific statement you

  20    made.    So let me repeat the question with that qualification

  21    that I'm trying to put into these questions.

  22         During the course of David Kleiman's life, you cannot say

  23    that Craig Wright ever took David Kleiman's private keys; isn't

  24    that right?

  25    A.   Not during his life.         No.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 163 of 268
                                                                                            163


   1    Q.   Sir, we were shown a document --

   2                MR. RIVERO:   And, Judge, may I have a moment to

   3    request the exhibit number?

   4                THE COURT:    Certainly.

   5         (Pause in proceedings.)

   6                MR. RIVERO:   I'll have to come back to it, Your Honor,

   7    because I can't locate the exhibit right now.                         But I will.   Let

   8    me move on.

   9    BY MR. RIVERO:

  10    Q.   You cannot show -- you cannot point to any documents at any

  11    time showing Bitcoin or any funds from Bitcoin being taken from

  12    any accounts ever; isn't that right?

  13    A.   Being taken from any accounts?

  14    Q.   Yes.

  15    A.   I don't think so.

  16    Q.   And when -- and you cannot identify any documents or

  17    testimony as evidence that Dr. Wright stole Bitcoin; isn't that

  18    right?

  19    A.   Yes.

  20    Q.   Now, sir, your Thanksgiving Day story, there is one very

  21    specific story you tell about an event between you and David

  22    Kleiman during his life.          And that's your story of the

  23    conversation you say you had with him on Thanksgiving Day 2009;

  24    isn't that right?

  25    A.   Yes.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 164 of 268
                                                                                          164


   1    Q.   Other than that, you have no testimony whatsoever to give

   2    during Dave's life about anything to do with Bitcoin; isn't

   3    that right?

   4    A.   Like I said, this was supposed to be a secretive project.

   5    So from my understanding, Dave withheld telling many people

   6    about it.    So I guess it would make sense that he didn't tell,

   7    you know, many people.        He told myself and he may have told a

   8    few of his friends.

   9    Q.   Mr. Kleiman, first of all, that's a "no."                        He didn't say

  10    anything to you during his life that had, in any way, shape, or

  11    form, anything to do with Bitcoin except November 26th, 2009;

  12    isn't that right?

  13    A.   That's the only recollection I have about Dave creating

  14    digital money, yes.

  15    Q.   And you volunteered just now that your belief is he was

  16    very secretive, so he only told you and a few friends.                        That's

  17    your testimony?

  18    A.   Yes.

  19    Q.   Okay.   We're going to get to that.                      We're going to get to

  20    that, but I want to stick to the moment about this story, about

  21    a conversation on November 26th, 2009 -- right?

  22    A.   Yes.

  23    Q.   And you know it was 2009 because it was the first time your

  24    brother met your daughter who was born that year?

  25    A.   Correct.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 165 of 268
                                                                                          165


   1    Q.   JiJi?

   2    A.   Yes.

   3    Q.   And what you say is that this conversation happened after

   4    the Thanksgiving dinner was over and your father and your wife

   5    had gone to wash dishes, correct?

   6    A.   Correct.

   7    Q.   And the only people in the room were baby JiJi?

   8    A.   Uh-huh.

   9    Q.   And you and David Kleiman?

  10    A.   Yes.

  11    Q.   All right.    So no one heard this -- no adult heard this

  12    except for you?

  13    A.   Yes.

  14    Q.   And the way that you say this conversation happened is that

  15    you say -- you said to your brother:                      "Why don't you create

  16    something like that kid Zuckerberg, who is doing so well?"

  17    A.   Right.

  18    Q.   And your brother responds -- this is Thanksgiving, right?

  19    A.   Yes.

  20    Q.   Okay.    Your brother responds:                "I'm doing something bigger.

  21    I'm inventing my own money"?

  22    A.   That's correct.

  23    Q.   And then he never says, though -- he never says the word

  24    "Bitcoin"?

  25    A.   No.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 166 of 268
                                                                                               166


   1    Q.   And what happens is -- well, this was a very brief

   2    conversation, right?

   3    A.   Yes, it was.

   4    Q.   And you say he was very vague?

   5    A.   Yes.

   6    Q.   And you never talked to David Kleiman about this again,

   7    right?

   8    A.   I don't believe so, no.

   9    Q.   He told you he was going to invent something bigger than

  10    Facebook, right?

  11    A.   That's what I recall, yes.

  12    Q.   Okay.   And you never raise it again with him during his

  13    life?

  14    A.   No.

  15    Q.   That day, he didn't say his work was highly confidential

  16    and that you needed to keep it secret, right?

  17    A.   That is true.

  18    Q.   And that day, in fact, he didn't say it was a secret at

  19    all, did he?

  20    A.   No.

  21    Q.   And that day, he didn't ask you to keep it to yourself or a

  22    secret, right?

  23    A.   Well, he never mentioned the word "Bitcoin," so yes.

  24    Q.   He never mentioned the word "Bitcoin."                           Okay.   Right.

  25         But let me ask you a question, sir:                        Assuming this was the

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 167 of 268
                                                                                       167


   1    symbol for Bitcoin that day -- assuming this were the symbol

   2    for Bitcoin that day, I assume the symbol for Bitcoin was not a

   3    secret?

   4    A.   Well, from my understanding, it might have been just the

   5    logo that they were working on.                 It might have -- it might have

   6    just been between Craig and Dave.                   You know, I don't know

   7    exactly who else they may have communicated it to.

   8    Q.   Sir, let's make sure that we understand what happened.

   9         During the conversation, what he said was -- what he did

  10    was he pulled out a business card, right?

  11    A.   Uh-huh.

  12    Q.   Pulled a business card out of his pocket, something like

  13    this, right?

  14    A.   Yes.

  15    Q.   And he took a pen and he -- why don't you --

  16                MR. RIVERO:   Your Honor, may I approach?

  17                THE COURT:    You may.

  18                MR. RIVERO:   Yeah.

  19    BY MR. RIVERO:

  20    Q.   Why don't you show us what your brother did when he pulled

  21    out a business card in front of you and he said:                      "I'm going to

  22    make something bigger than Facebook, which is like inventing

  23    money."

  24         What did he do?

  25    A.   He flipped the card over and he wrote the letter "B" and

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 168 of 268
                                                                                              168


   1    put the line through the center.

   2                MR. RIVERO:    Your Honor, may I approach again?

   3                THE COURT:    You may.

   4    BY MR. RIVERO:

   5    Q.   Sir, would you initial that?

   6                MR. BRENNER:     May I see it, Your Honor?

   7                THE COURT:    You want to come forward and see the

   8    drawing?

   9                MR. RIVERO:    Judge, I am going to publish it to the

  10    Plaintiff.

  11                MR. BRENNER:     Are you going to publish it on the

  12    screen?

  13                MR. RIVERO:    No.       I'm going to publish it to you.

  14         (Pause in proceedings.)

  15    BY MR. RIVERO:

  16    Q.   That's what he did?

  17    A.   Yes.

  18    Q.   Did that in front of you, right?

  19    A.   Yes.

  20    Q.   And he told you:      "This is the symbol for what we're

  21    doing"?

  22    A.   Actually, he didn't even say that.                        He just did it.   He

  23    just flipped --

  24    Q.   He just did it?

  25    A.   He just flipped the card over and drew that, yes.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 169 of 268
                                                                                            169


   1    Q.   He didn't say to keep this secret, did he?

   2    A.   What's that?

   3    Q.   He didn't say to keep this secret, did he?

   4    A.   No.    He didn't say to keep it secret.

   5    Q.   All right.    And what you're saying is he did this on

   6    November 26th, 2009, right?

   7    A.   Yes.

   8                MR. RIVERO:    And Judge, actually, what I'm going to

   9    request is I'm going to move the admission of the card.

  10                THE COURT:    I'm not allowing the card in. I don't know

  11    what else is on there.

  12                MR. RIVERO:    Okay.

  13                THE COURT:    It's consistent with what the jury is

  14    looking at.

  15                MR. RIVERO:    May I move the admission of this, Your

  16    Honor?

  17                THE COURT:    It's my understanding it's for

  18    demonstrative purposes.

  19                Is there any objection to admitting this page that's

  20    on the easel?

  21                MR. BRENNER:     Yes, Your Honor.                    A demonstrative.   It's

  22    fine.    It's not in evidence.

  23                THE COURT:    It's for demonstrative purposes.

  24                Let's continue.

  25

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 170 of 268
                                                                                          170


   1    BY MR. RIVERO:

   2    Q.   All right.    Now, sir, isn't it a fact that -- by the way,

   3    what did you do with the card?                Was it his card?

   4    A.   I believe it was his.          He didn't give it to me.              And I

   5    didn't find it in his belongings.

   6    Q.   Okay.   So he showed it to you?

   7    A.   It was 2009.    So ...

   8    Q.   Let me make sure I understand.

   9         It's your brother.       He shows you a card with this on it,

  10    but he didn't give it to you?

  11    A.   No.

  12    Q.   All right.    But he didn't tell you to keep it secret?

  13    A.   No.   He didn't tell me to keep it secret.

  14    Q.   Would it surprise you, sir, that this was not the logo for

  15    Bitcoin in 2008?

  16    A.   It might have not officially been.                       But like I said, in the

  17    past, he's asked me for help to create like logos for him.

  18    I've helped him build his websites.                     So at that time, I thought

  19    maybe he was asking me to -- "We're working on a logo.                       Check

  20    this out."

  21    Q.   Sir, my question is simply:                Would it surprise you to learn

  22    that this was not the logo for Bitcoin in 2008?

  23    A.   No.   That wouldn't surprise me.

  24    Q.   And I take it it would not surprise to you learn this was

  25    not the logo for 2009?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 171 of 268
                                                                                         171


   1    A.   No.    That wouldn't surprise me.

   2    Q.   All right.    Sir, do you know for a fact it was not the logo

   3    on November 26th, 2009?

   4    A.   I don't know.

   5    Q.   All right.    Now, the timeline your lawyer showed the

   6    jury --

   7                MR. RIVERO:   If I can ask Mr. Shah to bring up the

   8    first entry on the timeline demonstrative shown by the

   9    Plaintiffs in their opening statement.

  10    BY MR. RIVERO:

  11    Q.   -- established that Bitcoin was --

  12                MR. RIVERO:   Oh, I'm sorry, Mr. Shah.                    Take it down.

  13    I am remembering the wrong thing.

  14    BY MR. RIVERO:

  15    Q.   In your complaint, sir, you allege that Bitcoin was

  16    initiated on October 31st, 2008 by the release of a whitepaper

  17    by Satoshi Nakamoto; isn't that right?

  18    A.   Yes.

  19    Q.   And you also, I assume, know that your complaint alleges

  20    that besides the All Hallow's Eve release of the whitepaper in

  21    2008, that the blockchain went operational, according to your

  22    complaint, in early January of 2009.                      Are you aware of that?

  23    A.   No.    I'm not aware of that.

  24    Q.   Let me --

  25                MR. RIVERO:   Mr. Shah, would you put up the second

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 172 of 268
                                                                                          172


   1    amended complaint, which is -- thank you -- is Defendant's 404.

   2               Your Honor, this is in evidence.                           If I may?

   3               THE COURT:    All right.             Thank you.

   4               MR. RIVERO:    If I may publish.

   5    BY MR. RIVERO:

   6    Q.   Sir, let me show you what's Paragraph 30 --

   7               MR. RIVERO:    Mr. Shah, if you would, Paragraph 30 --

   8               MR. BRENNER:     Your Honor --

   9               THE COURT:    I'm sorry.             It's not yet in evidence.         Are

  10    you seeking to introduce it at this time?

  11               MR. RIVERO:    Yes, Your Honor.                    It is the second

  12    amended complaint.

  13               THE COURT:    Is there any objection?

  14               MR. BRENNER:     Your Honor, the non-verified complaint

  15    is hearsay.     I do object.

  16               MR. RIVERO:    Your Honor, it's an admission of a party

  17    opponent.    This is filed -- under the rules of the Court, it's

  18    filed -- it has to --

  19               THE COURT:    The objection is on grounds of hearsay to

  20    the complaint?

  21               MR. BRENNER:     Hearsay, yes.                 The objection is hearsay,

  22    Your Honor.

  23               THE COURT:    Ordinarily, the pleadings are not in

  24    evidence, but the parties have been using the complaint

  25    throughout the testimony.           So -- I don't know as an exhibit,

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 173 of 268
                                                                                  173


   1    but is there a portion of the amended complaint that you'd like

   2    to show the witness?

   3               MR. RIVERO:    Well, Judge, I definitely want to publish

   4    to -- this is -- these are the allegations of Plaintiff, Your

   5    Honor, which I would consider admissions of a party opponent.

   6               But in any event, Judge, it's Paragraph 30 that

   7    we're -- Paragraph 31 -- 30 and 31 that we're looking at.

   8               THE COURT:    Do you want to refer to that in your

   9    testimony?

  10               MR. RIVERO:    Yes, Your Honor.                    If I may.

  11               Thank you.

  12    BY MR. RIVERO:

  13    Q.   All right, sir.

  14               MR. RIVERO:    So just showing the jury, if we can --

  15               MR. BRENNER:     Your Honor, I think the proper procedure

  16    is to ask the witness if he's familiar with the allegation, if

  17    it's his statements, and then he can do it, but the complaint

  18    itself is hearsay.

  19               MR. RIVERO:    Mr. Shah, can you prepare F30?

  20               Your Honor, I just asked the witness and the witness

  21    just testified --

  22               THE COURT:    You may continue.

  23    BY MR. RIVERO:

  24    Q.   Sir, you just said that you knew your Paragraph 30

  25    allegation, that on Halloween Day 2008 a whitepaper was

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 174 of 268
                                                                                   174


   1    released by Satoshi Nakamoto.                And that's what you allege,

   2    right?

   3    A.   Yes.

   4    Q.   That's not controversial, right?

   5    A.   No.

   6    Q.   Neither is it controversial and you allege that on January

   7    3rd, 2009 the system went operational; isn't that right?

   8    A.   What was the date?

   9    Q.   It's January 3rd.       It's no later than January 3rd, 2009.

  10    A.   I think that's correct.

  11    Q.   Let me show you Paragraph 31.

  12         And there it is, less than three months later, the system

  13    outline became a reality.            On January 3, 2009, Satoshi mined

  14    the first 50 Bitcoin.        Are you aware that your expert witness

  15    yesterday testified to this non-controversial timeline?

  16    A.   I'm not aware of --

  17    Q.   Now, are you aware that by November 26th, 2009 -- you know

  18    your expert testified yesterday here in court?

  19    A.   Yes.

  20    Q.   All right.    And you -- are you aware that he testified that

  21    as many as 2.3 million Bitcoin, plus or minus up to 10 percent,

  22    had been mined by November 26th, 2009 based on a rough

  23    calculation?     Are you aware of that?

  24    A.   I wasn't aware of that.

  25    Q.   All right.    Okay.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 175 of 268
                                                                               175


   1         Sir, let me just -- let me just make sure that we're on the

   2    same page about your -- the personal knowledge that you do or

   3    don't have in that time period that your lawyers referred to

   4    2008 to 2013.     Right?

   5    A.   Yes.

   6    Q.   And, sir, I'll go to today, excluding whatever you've heard

   7    from Craig Wright.      Do you understand?

   8    A.   Uh-huh.

   9    Q.   Okay.   So other than anything you know from Craig Wright or

  10    the Thanksgiving story we've already heard about, isn't it the

  11    case that you have no personal knowledge about this case?

  12    A.   Yeah.   I don't have any personal knowledge.

  13    Q.   And -- but you allege that Dave and/or W&K owned a

  14    substantial amount of Bitcoin, right?

  15    A.   Yes.

  16    Q.   But you don't have any emails from Dave where he told you

  17    he had a substantial amount of Bitcoin?

  18    A.   Like I said, most of my communications came from

  19    Dr. Wright.

  20    Q.   You don't have any text messages from Dave that he had a

  21    substantial amount of Bitcoin?

  22    A.   No.

  23    Q.   You don't have any handwritten letters from Dave saying he

  24    had any Bitcoin?

  25    A.   No.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 176 of 268
                                                                                       176


   1    Q.   You have a will from Dave that does not refer to Bitcoin;

   2    isn't that right?

   3    A.   Yeah.    There's nothing mentioned specifically about Bitcoin

   4    in his will.

   5    Q.   Now, that will was done many years before, right?

   6    A.   Correct.

   7    Q.   But that will was never updated to reflect anything that

   8    your brother had come into at any time after January of 2009,

   9    was it?

  10    A.   Yeah.    I mean, Bitcoin didn't exist back then.

  11    Q.   That's right.     So that's why I'm asking the follow-up

  12    question.

  13    A.   Yes.

  14    Q.   The will was from a time before.                     Your brother did not do

  15    anything to update his will at any time after -- picking a

  16    random date -- January 3, 2009, right?

  17    A.   Correct.

  18    Q.   Your brother knew that he was not in good health?

  19    A.   He didn't really have those kind of discussions with me.

  20    I'm not exactly sure -- you know, he didn't mention

  21    specifically like what kind of health condition he was in.

  22    Q.   Your brother was hospitalized almost every day of the last

  23    two years of his life in the VA hospital here in Miami, was he

  24    not?

  25    A.   Yes.    But I'm just saying he didn't really discuss that

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 177 of 268
                                                                                                  177


   1    kind of stuff with me.

   2    Q.   You have no documents where Dave told you anything about --

   3    or told anybody anything about W&K -- W&K?

   4    A.   W&K?    No.

   5    Q.   You didn't find any documents in his house about W&K?

   6    A.   No, I didn't.

   7    Q.   You haven't spoken to any witnesses other than Dr. Wright

   8    who said anything that would indicate that David Kleiman had

   9    any substantial amount of Bitcoin?

  10    A.   I'm not exactly certain that's correct.

  11    Q.   Okay.

  12                MR. RIVERO:    Mr. Shah, can you play the -- Judge, I

  13    think this is really properly refreshing recollection because I

  14    think he said he's not sure he remembers.                              So I suppose, in

  15    fairness --

  16                THE COURT:    Do you have a copy of the deposition

  17    testimony to show him?

  18                MR. RIVERO:    Yeah.         I think I would just show him --

  19    if you could show Mr. Kleiman.

  20                MR. BRENNER:     What page and line?

  21                MR. RIVERO:    So what I'd like to do is show it to --

  22    and this is only for the purpose of refreshing recollection at

  23    this point, Your Honor.          Ira Kleiman 1, at Page 34, lines 15 to

  24    19 -- and this -- Liz -- yeah, 15 to 19, Mr. Brenner.                             And this

  25    would only be for counsel, the Court, and Mr. Kleiman.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 178 of 268
                                                                                               178


   1    BY MR. RIVERO:

   2    Q.   Does this refresh your recollection that you have not

   3    spoken to any witnesses that told you that Dave had a

   4    substantial amount of Bitcoin?

   5    A.   Yes.   I remember saying that at my deposition.                         But since

   6    then, it's been many years that I've had time to review other

   7    documents.    And I do remember speaking to one of Dave's friends

   8    who did mention to me something about Dave's involvement in

   9    Bitcoin.

  10    Q.   Mr. Kleiman, you were deposed in 2020.                           You understand

  11    that?

  12    A.   Oh, this one is from -- okay.

  13         Well, since that time, then, I've had time to review a lot

  14    of email communications.

  15    Q.   I'll get the date for you, Mr. Kleiman.

  16         (Pause in proceedings.)

  17    BY MR. RIVERO:

  18    Q.   All right.    So sir, let's just be clear.                        You remember that

  19    you were deposed on April 8th, 2019.                      '19.        Do you recall that?

  20    A.   Yes.

  21    Q.   All right.    And you were under oath at that time?

  22    A.   Yes.

  23    Q.   And you did testify that you had spoken to -- in response

  24    to the question:     "Have you spoken to any witnesses that told

  25    you that Dave had a substantial amount of Bitcoin," you

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 179 of 268
                                                                                       179


   1    testified "No."     Isn't that right?

   2    A.   Yeah.   That -- that would be incorrect, then.

   3    Q.   All right.    So sir, now, the person that you're referring

   4    to, did that person tell you something that they said that

   5    David Kleiman said to them?

   6    A.   Yes.

   7    Q.   A friend of David Kleiman has told you that David Kleiman

   8    told them he had a substantial amount of Bitcoin?

   9    A.   He didn't say it in those words.                      He said something

  10    different.    But I told this close friend of Dave's about my

  11    memory of the Facebook -- the Thanksgiving dinner, and this

  12    friend then told me that Dave said something very similar to

  13    him.

  14                MR. RIVERO:    Your Honor, may I have one moment?

  15                THE COURT:    Certainly.

  16         (Pause in proceedings.)

  17    BY MR. RIVERO:

  18    Q.   Did the friend tell you that the Bitcoin were on the

  19    encrypted drives?

  20    A.   No.

  21    Q.   You're saying that somebody else said that -- what -- did

  22    he turn a business card over and draw a "B" on it?

  23    A.   No.    No.   No.   I'd have to go look back at the email

  24    communication, but --

  25    Q.   Wait a minute, sir.         You're saying there were email

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 180 of 268
                                                                              180


   1    communications about this conversation?

   2    A.   It was first a telephone conversation, and then he followed

   3    it up with an email where he said that he -- based upon the

   4    discussions that he had with Dave, that he believed that Dave

   5    and Craig were the co-creators of Bitcoin.

   6    Q.   You're claiming you have an email in your possession to

   7    that --

   8    A.   Yes.   Exactly what I just said, yes.

   9    Q.   And have you -- well, are your counsel aware of that?

  10    A.   Yes, they are.

  11    Q.   And you have not produced that to the Defense in this case,

  12    have you?

  13    A.   I would certainly imagine that it's been produced to you.

  14    Q.   All right.    Mr. Kleiman, I'm going to have to look into

  15    this.    Fortunately, I get a chance to question you after I get

  16    some time to look at this claim.

  17         You do know that David Kleiman actually did have a real

  18    business, right?

  19    A.   Yes, he did.

  20    Q.   It was called Computer Forensics, LLC?

  21    A.   Yes.

  22    Q.   And he told you about that?

  23    A.   Yes.

  24    Q.   He told you the names of his partners?

  25    A.   Yes.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 181 of 268
                                                                              181


   1    Q.   Did he share with you, by any chance, that he had a written

   2    operating agreement in regard to that company?

   3    A.   Did he share what?

   4    Q.   Did he share with you, by any chance, that he had a written

   5    operating agreement for his company, Computer Forensics, LLC?

   6    Did he share that with you?

   7    A.   I don't remember.

   8    Q.   You don't remember.

   9         Did he tell you that he used the family lawyer Karp in

  10    relation to Computer Forensics, LLC?

  11    A.   I don't think Dave ever told me that, no.

  12    Q.   He didn't tell you.

  13         Did Dave tell you that he used Kuharcik, the accountant?

  14    You know Kuharcik?

  15    A.   Yes.   No.   He never told me that.

  16    Q.   He never told you.

  17         But you don't know that he used Kuharcik -- Mr. Kuharcik

  18    for the Computer Forensics, LLC company?

  19    A.   I know that now, but I'm saying Dave never personally told

  20    me that, no.

  21    Q.   Right.   But those would be the people that your family

  22    would go to, would be Mr. Karp and Mr. Kuharcik, right?

  23    A.   Yes.

  24    Q.   That's the -- Karp -- Mr. Karp was raised by your -- was

  25    your --

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 182 of 268
                                                                                              182


   1    A.   My mom was his babysitter.

   2    Q.   -- his babysitter?

   3    A.   Yes.

   4    Q.   And Mr. Kuharcik has done work for your family?

   5    A.   I don't know about -- I think just for Dave.

   6    Q.   But it wouldn't surprise you that he would use them for

   7    Computer Forensics?

   8    A.   No.    That wouldn't surprise me.

   9    Q.   Now, you're the executor and the administrator, right?

  10    A.   Yes.

  11    Q.   So you know something about that kind of work that -- I'm

  12    sorry.     I'm staying on Computer Forensics.                         I went off on

  13    another -- you knew the nature of the Computer Forensics

  14    business, right?

  15    A.   Yes.    They do computer forensics.

  16    Q.   Right.    David Kleiman -- it's in the name.                        And David

  17    Kleiman had mentioned that to you, right?

  18    A.   Yes.

  19    Q.   Okay.

  20    A.   And I helped create his website.

  21    Q.   Because you do web design work, right?

  22    A.   Yes.

  23    Q.   You're familiar with the computers?

  24    A.   Yes.

  25    Q.   You know how to reformat computers, right?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 183 of 268
                                                                                                183


   1    A.   Yes.

   2    Q.   You make your living from computers, right?

   3    A.   Yes.

   4    Q.   You're not a person -- a person who's ignorant about these

   5    matters, are you?

   6    A.   No.

   7    Q.   Now, Dave told you -- no.              But Dave certainly never told

   8    you that he had Bitcoin wallets, right?

   9    A.   No.    He never mentioned the word "Bitcoin" to me, no.

  10    Q.   And he didn't say he had any Bitcoin accounts?

  11    A.   No.

  12    Q.   Early on, you concluded there was no treasure to be had in

  13    David Kleiman's devices or in his estate.                             Do you remember

  14    telling your lawyer that?

  15    A.   Yes.

  16    Q.   Yeah.    Today, you say that David Kleiman created Bitcoin

  17    with Craig Wright.

  18    A.   From what Craig has told me, yes, that's what I believe.

  19    Q.   That's the only basis you have for that?

  20    A.   Yes.    Primarily from a plethora of documents from Craig,

  21    yes.

  22    Q.   But only from Craig?

  23    A.   Yes.

  24    Q.   And for the same reason, you believe he was part of Satoshi

  25    Nakamoto?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 184 of 268
                                                                                       184


   1    A.   Yes.

   2    Q.   And you say that working together on Bitcoin -- you say

   3    that David Kleiman and Craig Wright did research that led to

   4    the creation of intellectual property related to Bitcoin.

   5    That's what you allege?

   6    A.   Okay.

   7    Q.   So you've sworn to it, no?

   8    A.   I -- yes, I suppose so.

   9    Q.   Isn't it your view that Defendant has taken intellectual

  10    property belonging to the estate and W&K that was created by

  11    Dave and Craig's partnership through research David Kleiman

  12    conducted with Craig Wright that was not completed or published

  13    as of 2015?     That's what you believe?

  14    A.   According to Craig, yes.             He is in possession of software

  15    that is owed to the estate.

  16    Q.   Based on Craig.     But nearer to David Kleiman's death, you

  17    had a very hard time believing that Dave was involved in

  18    writing the whitepaper, didn't you?

  19    A.   Could you repeat that, please.

  20    Q.   Closer to the time of David's death, you had a very hard

  21    time believing that he could be involved in the writing of the

  22    whitepaper, did you not?

  23    A.   Around the time of his death?

  24    Q.   Closer to the time of his death.                     In other words, at that

  25    time, not long after the time of his death.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 185 of 268
                                                                              185


   1    A.   I don't remember what I was thinking about it at that time.

   2    Q.   Okay, sir.    Do you remember -- well, let me show you --

   3    isn't it a fact that you searched forum sites that your brother

   4    would post on, but couldn't find a single mention of Bitcoin

   5    attached to his name?

   6    A.   Yeah.   I did not -- but I did notice that he was a longtime

   7    member of the cryptography forum where the Bitcoin paper was

   8    released.

   9    Q.   As was Dr. Wright, correct?

  10    A.   That, I don't -- I don't know if he is a member of that

  11    forum.

  12    Q.   But you looked at all of the posts that he was associated

  13    with in the forum and you did not find any mention of "Bitcoin"

  14    attached to his name at all?

  15    A.   That's because Satoshi Nakamoto used two different email

  16    addresses.

  17               THE COURT:    Mr. Rivero, just let me know when it might

  18    be a good time for us to recess and adjourn for the evening.

  19               MR. RIVERO:    Your Honor, I think if I could just have

  20    a few more questions and find a natural spot.

  21               Thank you.

  22               THE COURT:    Yes.       Of course.

  23    BY MR. RIVERO:

  24    Q.   In fact, you never saw Dave, David Kleiman, program any

  25    software or figure out any insanely difficult math equations;

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 186 of 268
                                                                                         186


   1    isn't that right?

   2    A.   I don't recall seeing him do it.                     But I -- like I said

   3    earlier, he had started the Hackers, Inc. company many years

   4    ago and they did offer computer programming services.

   5    Q.   Right, sir.    But you're talking about the early 1990s?

   6    A.   Yes.

   7    Q.   So right now, that's 30 years ago, right?

   8    A.   Well, then, in 2001, he also worked for Security Doc, where

   9    he created encryption software that ended up being used at NASA

  10    and other government agencies.

  11    Q.   But isn't it true that you never saw David program any

  12    software?

  13    A.   Me personally?     No.     But --

  14    Q.   You never saw him figure out any insanely difficult math

  15    problems?

  16    A.   No.

  17    Q.   And leaving aside the Thanksgiving 2009 story, in life,

  18    David never said anything to you about Bitcoin?

  19    A.   He never said the word "Bitcoin," no.

  20    Q.   He never said anything about cryptocurrency?

  21    A.   He said:    "Digital money."

  22    Q.   He never said the name "Satoshi Nakamoto"?

  23    A.   No.

  24    Q.   He never said the name "Craig Wright"?

  25    A.   No.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 187 of 268
                                                                                         187


   1    Q.   He never said the name "W&K"?

   2    A.   No.

   3               MR. RIVERO:     Judge, I'm just going to go just a few

   4    more minutes.     My apologies to the jury, but I'm almost at a

   5    point to stop.

   6    BY MR. RIVERO:

   7    Q.   And sir, he never, ever, ever asked you to mine Bitcoin,

   8    did he?

   9    A.   He never asked me.        No, he didn't.

  10    Q.   No.   And he never, ever, gave you a friendly brotherly tip

  11    to buy Bitcoin when it was at pennies, did he?

  12    A.   No.

  13    Q.   But he did give you a friendly brotherly tip to buy Apple

  14    at a certain moment, didn't he?

  15    A.   Yeah.   We had lots of email exchanges about different

  16    stocks, yes.

  17    Q.   Do you remember -- what other stocks, sir; do you remember?

  18    A.   Probably Twitter, Facebook.                 I think one called JCOMP.

  19    Maybe Invidia.     Yeah.     I can't remember all of them.

  20    Q.   He routinely gave you -- he routinely gave you tips to buy

  21    those stocks, but he never said:                   "Hey, buy now when this is at

  22    pennies."    Isn't that right?

  23    A.   Well, if it was a secretive project, maybe he was afraid to

  24    mention the word "Bitcoin" at that time.

  25    Q.   Can you answer the question, sir?                       He never gave you that

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 188 of 268
                                                                                            188


   1    advice?

   2    A.    No.   He didn't.    He didn't.

   3                MR. RIVERO:    Your Honor, this is a good stopping

   4    point.

   5                THE COURT:    All right.

   6                Then Ladies and Gentlemen, at this point in time we

   7    are going to adjourn for the evening.                        Please remember, you're

   8    not to discuss this case with anyone nor permit anyone to speak

   9    with you.     Everything learned about the case is learned within

  10    the courtroom.

  11                We will have the same schedule tomorrow.                       That is, we

  12    will begin precisely at 10:00 a.m.                      I would ask that you make

  13    your way into the building, be ready to come into the courtroom

  14    at 10:00.     And we'll proceed till 5:00 p.m. tomorrow.

  15                Have a pleasant evening and I'll see you tomorrow

  16    morning.

  17          (Jury not present, 5:04 p.m.)

  18                THE COURT:    Thank you, Mr. Kleiman.                      You can go ahead

  19    and have a seat.

  20                Is there anything that we need to discuss at this

  21    time?

  22                MR. BRENNER:     Nothing from the Plaintiffs, Your Honor.

  23                MR. RIVERO:    Judge, there is one matter that I would

  24    like to raise now.       I'm not sure that I know how to react to

  25    it.   And I don't know if Mr. Kleiman should be present for

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 189 of 268
                                                                                              189


   1    discussion about discovery issues.

   2               But there's testimony concerning an email that --

   3               THE COURT:    Go ahead and have a seat.

   4               And Mr. Kleiman, you can go ahead and join counsel.

   5               Yes.   Mr. Kleiman did testify with regard to an email.

   6               And Mr. Brenner, what email is that, sir?                          Has that

   7    been provided in discovery?

   8               MR. BRENNER:     What I thought I heard him say, there's

   9    an -- you want to come sit down, Mr. Kleiman?

  10               MR. FREEDMAN:      Can we just have a minute to confer

  11    with Mr. Kleiman?

  12               MR. RIVERO:    Well, Judge, actually, I prefer to know

  13    what happened.

  14               THE COURT:    Which email is it?                     And was it provided in

  15    discovery?    I think that's a simple question.

  16               MR. BRENNER:     I honestly don't know exactly.                       There's

  17    an email.    I can guess, but I don't know.                           I thought he said --

  18    I thought what he said is:            "I'm in possession of an email from

  19    which one of Dave's friends" --

  20               MR. RIVERO:    Judge, I object.                    Look, I'd like to know

  21    what the truth is in this matter.                   And if he consults with

  22    counsel, I'm not sure we're going to get that.

  23               THE COURT:    All right.             Has that email been provided

  24    to the Defendant?

  25               MR. BRENNER:     Your Honor, it's impossible -- I can

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 190 of 268
                                                                                              190


   1    only -- you heard the testimony.                  I can't answer the question.

   2    I'll tell you what I think the email is.

   3               THE COURT:    Well -- but what you think the email is,

   4    was that one that was provided?

   5               MR. BRENNER:     Yes.        In fact, it was introduced

   6    today -- maybe yesterday.

   7               MR. RIVERO:    Can I get a number?                         Can I get a number?

   8               THE COURT:    Then let's reference the exhibit number so

   9    that we can address this once and for all.

  10               MR. BRENNER:     Okay.         So what is the email?                So it's --

  11    can I get a -- I'm going to get a number.

  12          (Pause in proceedings.)

  13               MR. BRENNER:     Can I put it up, Your Honor, if we find

  14    it?

  15               THE COURT:    Yes.       What exhibit number is it?

  16               MR. BRENNER:     It's 122, I believe, or 133.

  17          (Pause in proceedings.)

  18               MR. RIVERO:    Judge, and I'm sorry to -- if I can just

  19    say to the Court I apologize any time I forget about the mask,

  20    but it's so tiresome at this point.

  21               THE COURT:    Not a problem.

  22               And let me say that Exhibit 133 -- 135?

  23               MR. BRENNER:     No, Judge.              I'll get the number.           Let me

  24    pull it up.

  25               THE COURT:    Right.         Because it's not 133.                 And it's

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 191 of 268
                                                                                  191


   1    not 135.

   2               MR. BRENNER:     I'll get it, Judge.

   3               Pull up -- pull up -- it's either -- both 122 and 867.

   4               MR. ROCHE:    867.

   5         (Pause in proceedings.)

   6               THE COURT:    Ah, all right.

   7               MR. BRENNER:     Is it up, Your Honor?

   8               THE COURT:    That was Patrick Paige's email?

   9               MR. BRENNER:     Patrick Paige saying that --

  10               MR. RIVERO:    Could I see the --

  11               THE COURT:    All right.             It's --

  12               MS. MCGOVERN:      It's 2014.

  13               MR. RIVERO:    But Judge, this is -- well --

  14               THE COURT:    All right.             Here's what I would suggest,

  15    because there's no need to -- the testimony is the testimony.

  16               If, in fact, Mr. Brenner, that is the email that you

  17    believe that Mr. Kleiman is referring to, I would make sure

  18    that that is.     If there is something that is more recent then

  19    that one from Patrick Paige, then you're to provide it

  20    forthwith to Mr. Rivero.          And what we'll do is we'll plan on

  21    being here at 9:45 tomorrow morning to address any discovery

  22    issues.

  23               MR. BRENNER:     So I have permission to talk to the

  24    witness to find out what that was?

  25               MR. RIVERO:    I have no objection, Your Honor.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 192 of 268
                                                                                                192


   1               MR. BRENNER:     Yes.        Okay.          Yes.       I will do that.

   2               THE COURT:    Let's figure out what exhibit --

   3               MR. BRENNER:     Absolutely.                Absolutely.

   4               THE COURT:    -- he's referring to or what email.                        I

   5    don't know if it is an exhibit.

   6               MR. BRENNER:     Yep.

   7               MR. RIVERO:    Judge, I think this process is correct

   8    because if it's this email, then I have what I need to cross

   9    and it was produced.      That's fine.                 I'll get it.

  10               MR. BRENNER:     But I will find out.

  11               THE COURT:    Okay.        Is there anything else that we need

  12    to address this evening?

  13               MR. RIVERO:    No.       Thank you very much.

  14               THE COURT:    All right.             Take your time.          We do not

  15    have anything in the morning.               So you can certainly keep your

  16    items here and I'll see you at -- I'm going to see you at 9:45

  17    just in case.

  18               MR. BRENNER:     Yes.        Yes.

  19               Thank you, Judge.          Have a great night.

  20         (Proceedings adjourned at 5:09 p.m.)

  21

  22

  23

  24

  25

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 839 Entered on FLSD Docket 12/20/2021 Page 193 of 268
                                                                              193


   1    UNITED STATES OF AMERICA                  )

   2    ss:

   3    SOUTHERN DISTRICT OF FLORIDA              )

   4                             C E R T I F I C A T E

   5                I, Yvette Hernandez, Certified Shorthand Reporter in

   6    and for the United States District Court for the Southern

   7    District of Florida, do hereby certify that I was present at

   8    and reported in machine shorthand the proceedings had the 3rd

   9    day of November, 2021, in the above-mentioned court; and that

  10    the foregoing transcript is a true, correct, and complete

  11    transcript of my stenographic notes.

  12                I further certify that this transcript contains pages

  13    1 - 193.

  14                IN WITNESS WHEREOF, I have hereunto set my hand at

  15    Miami, Florida this 11th day of November, 2021.

  16

  17                            /s/Yvette Hernandez
                                Yvette Hernandez, CSR, RPR, CLR, CRR, RMR
  18                            400 North Miami Avenue, 10-2
                                Miami, Florida 33128
  19                            (305) 523-5698
                                yvette_hernandez@flsd.uscourts.gov
  20

  21

  22

  23

  24

  25

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
                               101/5
Case 9:18-cv-80176-BB Document 839     102/1
                                   Entered      102/9
                                           on FLSD         7/1 8/23Page
                                                   Docket 12/20/2021 9/11949/12
                                                                            of 268
   COURTROOM DEPUTY:          102/23 104/14               9/18 9/22 12/17
   [4] 5/2 24/12              108/7 111/17                15/23 191/12
   24/15 82/10                111/19 111/21               THE COURT: [224]
   JUROR NUMBER 6:            111/24 112/2                THE WITNESS: [16]
   [1] 19/19                  114/15 114/22               24/14 26/17 50/22
   MR. BRENNER: [240]         115/17 116/20               84/24 91/14 92/23
                              116/23 127/5                93/16 115/20
   MR. FERNANDEZ: [1]         133/21 138/12               133/12 138/6
    5/25                      139/15 141/25               150/19 150/23
   MR. FREEDMAN: [34]         142/18 143/25               155/23 156/14
    5/6 6/14 6/19             146/18 147/19               159/21 160/1
                              149/7 149/9 150/8
   6/24 7/6 7/12 7/22
                              151/18 151/22
                                                        $
   8/4 8/8 8/12 8/16                                    $10 [1] 104/12
   12/6 12/15 13/15           152/1 152/8 154/10
                              157/14 159/17             $10,500,000 [2]
   14/2 14/9 14/19                                       104/12 104/22
   15/2 15/5 15/21            159/24 163/2 163/6
                              167/16 167/18             $40 [2] 67/13
   16/1 16/18 17/8                                       67/17
   17/10 18/5 19/22           168/2 168/9 168/13
                              169/8 169/12              $56 [1] 70/13
   20/2 20/5 20/9                                       $56,788,715 [1]
   20/17 20/20 21/2           169/15 171/7
                              171/12 171/25              70/9
   21/17 189/10                                         $56-plus [1] 70/13
   MR. KASS: [1]              172/4 172/7 172/11
   5/23                       172/16 173/3              '
   MR. MESTRE: [1]            173/10 173/14             '19 [1] 178/19
   5/21                       173/19 177/12             '87 [1] 29/3
   MR. PAYNE: [3]             177/18 177/21             '90s [1] 30/2
   4/5 4/8 17/20              179/14 185/19             'B' [1] 145/7
   MR. RIVERO: [117]          187/3 188/3 188/23        'Bitcoin' [1]
   5/17 6/2 8/20 18/4         189/12 189/20              144/13
   22/2 22/7 22/9             190/7 190/18              'He's [1] 145/10
   22/11 22/14 22/22          191/10 191/13             'How [1] 145/9
   23/8 24/24 26/16           191/25 192/7              'What [1] 145/2
   26/18 36/13 36/16          192/13                    'Why [1] 145/13
   41/4 41/6 45/13            MR. ROCHE: [2]
   50/3 51/13 53/19           5/8 191/4                 /
   56/20 57/18 58/1           MR. ZACK: [1]             /s/Yvette [1]
   58/3 58/10 60/24           5/11                       193/17
   61/14 73/20 85/12          MS. GLASER: [12]
                              4/15 5/1 10/3             0
   86/24 88/16 89/4                                     095 [1]     45/18
   89/9 89/12 90/1            10/17 11/16 11/21
   90/16 92/21 94/3           12/21 13/1 16/8           1
   99/5 99/18 101/1           17/4 17/15 17/19
                                                        10 [10]     1/11 8/13
                              MS. MCGOVERN: [12]
                               5/19 6/17 6/23
  1 9:18-cv-80176-BB Document138
Case                              Entered3/15
                              839 [4]           3/20
                                          on FLSD Docket 1995         30/12
                                                                [1] Page
                                                         12/20/2021      195 of 268
  10... [8] 70/21             3/20 51/15                 19th [1]      2/3
   75/22 104/8 106/13        139 [2] 3/21 3/21           1:59 [1]      58/23
                             13th [1] 44/14
   106/14 107/19
                             14 [1] 71/11
                                                         2
   108/3 174/21                                          2.3 million [1]
  10-2 [2] 2/8               143 [1] 3/21
                             144 [1] 3/21                 174/21
   193/18                                                20 [4] 3/6 3/8
  100 [1] 1/18               149 [1] 3/10
                             14th [1] 46/16               57/6 124/5
  1000 [1] 1/23                                          20-minute [2]
  10250 [1] 2/3              15 [13] 60/18
                              70/12 71/16 71/16           20/23 124/3
  105 [2] 3/17 88/18                                     200 [2] 1/15
  10:00 [4] 17/21             71/16 74/4 75/10
                              75/21 81/17 126/13          161/18
   27/13 188/12                                          2001 [1] 186/8
   188/14                     157/5 177/23
                              177/24                     2003 [1] 33/19
  10:01 [1] 18/20                                        2005 [1] 28/14
  10:03 [1] 20/1             150 [1] 2/6
                             156 [5] 3/16 72/18          2008 [8] 48/8
  10:49 [2] 20/1                                          149/24 170/15
   20/18                      72/19 73/18 73/22
                             15th [20] 46/8               170/22 171/16
  11 [2] 71/8 132/2                                       171/21 173/25
  11:23 [3] 20/18             46/12 64/5 64/10
                              66/8 66/13 67/16            175/4
   20/25 21/3                                            2009 [21] 143/8
  11:30 [1] 19/12             68/1 68/24 69/17
                              70/15 71/2 71/3             149/24 150/2
  11:43 [2] 21/3                                          152/17 163/23
   21/13                      77/7 81/5 81/21
                              96/22 103/11                164/11 164/21
  11:45 [3] 20/24                                         164/23 169/6 170/7
   21/1 21/16                 135/17 138/17
                             161 [2] 3/19 94/5            170/25 171/3
  11th [1] 193/15                                         171/22 174/7 174/9
  12 [4] 42/6 56/2           164 [2] 3/16 85/14
                             18 [2] 56/2 82/8             174/13 174/17
   56/16 72/2                                             174/22 176/8
  120 [2] 3/14 45/15         18-80176 [1] 5/2
                             18-month [1] 56/16           176/16 186/17
  122 [2] 190/16                                         2011 [3] 28/10
   191/3                     19 [2] 177/24
                              177/24                      71/11 86/13
  126 [1] 3/19                                           2012 [2] 71/12
  127 [1] 3/19               193 [3] 1/8 3/2
                              193/13                      140/2
  12:12 [1] 21/16                                        2013 [19] 30/20
  12:55 [2] 57/15            1933 [14] 7/15
                              10/22 11/1 13/25            39/17 39/17 39/19
   57/20                                                  39/23 40/1 40/5
  13 [1] 96/11                14/1 14/6 14/12
                              14/14 14/16 14/16           68/19 83/4 83/6
  133 [7] 3/20 3/20                                       109/6 112/8 113/24
   3/21 139/18 190/16         14/23 15/14 15/17
                              16/17                       116/7 119/12
   190/22 190/25                                          141/15 149/20
  135 [2] 190/22             1986 [1] 29/3
                             1990s [1] 186/5              149/24 175/4
   191/1                                                 2014 [47] 40/7
                             1993 [1] 68/17
                              101/23
  2 9:18-cv-80176-BB Document 839
Case                                   105/17
                                  Entered on FLSD Docket 3:23
                                                         12/20/2021   124/7
                                                                [1] Page 196 of 268
  2014... [46] 42/6          245 [1] 114/16              3:30 [1] 108/22
   51/4 52/5 55/22           2525 [1] 1/23               3:43 [2] 124/7
   60/18 64/5 64/10          25th [1] 131/6               124/15
   66/8 66/13 66/21          26th [11] 20/7              3rd [4] 174/7
   66/23 67/16 68/1           30/20 83/6 85/22            174/9 174/9 193/8
                              150/2 164/11
   68/24 69/17 70/12
                              164/21 169/6 171/3
                                                         4
   70/15 71/2 71/3                                       400 [2] 2/8 193/18
   71/14 71/16 71/16          174/17 174/22
                             27 [2] 83/12 83/12          403 [2] 22/15
   71/16 71/20 74/4                                       23/10
   75/11 76/10 85/22         28 [3] 71/12 71/14
                              71/20                      404 [1] 172/1
   93/22 101/23 102/6                                    41 [2] 3/14 3/14
   105/17 106/1              2800 [1] 1/18
                             285 [2] 3/20                425 [5] 114/17
   106/25 124/22                                          114/18 116/21
   126/13 131/6               138/14
                             29 [1] 104/22                123/7 157/16
   132/14 134/7                                          45 [3] 3/14 3/14
   135/17 138/17             29th [2] 102/6
                              102/20                      18/13
   140/10 141/18
   142/3 143/22              2:00 [3] 57/13              5
   191/12                     57/19 57/20       50 [14] 100/6
  2015 [1] 184/13            2:10 [1] 42/21      134/19 153/6
  2016 [2] 28/16             2nd [2] 1/18 83/4   154/21 154/22
   35/23                     3                   155/5 155/7 155/14
  2018 [2] 142/13            30 [8] 33/19        156/5 156/8 156/14
   149/20                     133/24 172/6 172/7 156/15 160/25
  2019 [2] 19/24              173/6 173/7 173/24 174/14
   178/19                     186/7             50/50 [8] 153/6
  2020 [3] 20/7 20/7         305 [1] 193/19      154/21 154/22
   178/10                    30th [2] 20/7       155/5 155/7 155/14
  2021 [3] 1/5 193/9          105/25             156/5 160/25
   193/15                    31 [3] 173/7 173/7 509 [2] 3/17 89/14
  2022 [3] 3/13               174/11            51 [2] 3/15 3/15
   32/15 32/19               31st [1] 171/16    523-5698 [1]
  20th [1] 143/22            32 [2] 3/13 3/13    193/19
  21 [2] 3/8 125/25          33128 [2] 2/9      550 [1] 147/6
  22 [1] 23/5                 193/18            5500 [1] 1/15
  2200 [1] 2/6               33130 [1] 2/6      564 [3] 3/19
  23 [2] 23/5 27/16          33131 [2] 1/15      127/14 127/15
  23rd [8] 68/16              1/18              5698 [1] 193/19
   75/22 76/10 76/15         33134 [1] 1/23     5:00 [1] 188/14
   80/20 106/25 132/5        34 [1] 177/23      5:04 [1] 188/17
   134/7                     36 [2] 3/13 3/13   5:09 [1] 192/20
  24 [4] 3/9 93/22           3:22 [1] 124/4
Case                          192/16
  6 9:18-cv-80176-BB Document 839                         107/25 109/3
                                  Entered on FLSD Docket 12/20/2021 Page 197 of 268
  62 [1]     3/15            9th [1]      34/25           109/15 112/22
                                                          112/24 114/10
  7                          A                            115/8 115/9 117/14
  709 [2] 3/18 90/3 a.m [14] 1/6 4/1                      119/20 124/21
  710 [2] 3/18 90/18 18/20 20/1 20/1                      127/3 128/21 130/6
  73 [2] 3/16 3/16    20/18 20/18 20/25                   135/6 135/22
  731 [2] 3/20        21/3 21/3 21/13                     136/17 137/21
   133/23             21/16 42/21 188/12                  137/23 138/19
  733 [2] 3/21 144/2 ability [2] 95/16                    138/23 138/23
  759 [2] 6/6 17/14   131/19                              140/22 142/12
  7th [2] 52/5 68/19 able [9] 15/16                       143/11 144/23
                      19/18 93/14 128/23                  144/24 145/11
  8                   129/1 130/12                        146/10 146/16
  80176 [1] 5/2       132/16 151/24                       146/17 146/24
  85 [2] 3/16 3/16    152/10                              147/6 147/7 147/15
  862 [4] 3/15 61/13 about [162] 4/10                     149/19 151/5
   62/5 62/8          4/17 4/18 10/10                     152/16 152/17
  863 [3] 3/13 36/20 10/11 18/13 19/15                    153/9 153/10
   36/23              20/10 22/4 27/24                    154/16 156/2
  867 [5] 3/14 40/15 28/23 29/1 29/3                      156/17 157/7
   41/16 191/3 191/4  30/11 31/7 34/7                     158/25 159/4 160/4
  87 [1] 75/23        37/11 39/12 42/2                    160/15 161/4 161/8
  875 [1] 106/21      42/13 43/7 44/7                     161/23 162/18
  878 [2] 75/23       47/23 48/1 48/23                    163/21 164/2 164/6
   78/23              49/3 49/17 52/5                     164/13 164/20
  88 [2] 3/17 3/17    53/14 53/20 55/18                   164/20 166/6 175/2
  882 [1] 73/23       59/12 59/22 60/2                    175/10 175/11
  889 [2] 53/4 54/5   60/23 65/3 66/14                    176/3 177/2 177/3
  89 [3] 3/17 3/17    66/24 67/9 70/23                    177/5 178/8 179/10
   3/18               73/4 74/20 75/13                    180/1 180/22 182/5
  8:48 p.m [1] 96/23 75/14 77/6 77/15                     182/11 183/4 185/1
  8th [2] 19/24       80/4 82/4 84/12                     186/5 186/18
   178/19             84/22 84/22 86/13                   186/20 187/15
                      87/4 87/22 90/20                    188/9 189/1 190/19
  9                   90/23 91/10 93/24
          3/18 3/18                                      above [1] 193/9
  90 [3]              94/14 95/12 98/2                   above-mentioned [1]
   3/18               98/6 99/22 99/23                     193/9
  90067 [1] 2/4       100/2 100/7 100/10                 absence [1] 22/25
  94 [2] 3/19 3/19    100/11 101/5 101/5                 absent [1] 23/14
  9:18-cv-80176-BB    102/15 103/20                      absolutely [6]
   [1] 1/2            103/21 104/17                       9/16 9/18 39/5
  9:42 [2] 1/6 4/1    105/3 105/10 107/3                  59/21 192/3 192/3
  9:45 [2] 191/21     107/4 107/6 107/8                  accept [3] 70/7
Case                          54/20
  A 9:18-cv-80176-BB Document 839     56/18
                                  Entered      64/1
                                          on FLSD         37/7
                                                  Docket 12/20/2021 Page 198 of 268
  accept... [2]               76/3 103/16 157/17         administratively
   70/25 71/3                 168/22 169/8                [1] 71/11
  accepted [3] 68/18          180/17 189/12              administrator [1]
   70/16 70/17               add [2] 120/13               182/9
  access [11] 95/16           120/16                     admission [6] 41/7
   95/18 131/12              added [2] 120/11             41/8 93/14 169/9
   132/15 134/14              120/12                      169/15 172/16
   134/16 134/24             adding [1] 134/23           admissions [1]
   136/13 159/9              addition [1] 56/4            173/5
   159/11 162/15             additional [1]              admits [1] 27/3
  accident [3] 30/10          104/4                      admitted [24] 3/12
   30/22 59/17               address [48] 7/21            32/18 36/4 36/19
  accompanied [1]             7/24 8/20 9/7               45/14 51/14 62/5
   86/4                       10/18 10/20 10/22           73/21 85/13 88/17
  according [3]               11/1 11/5 11/9              89/13 90/2 90/17
   37/24 171/21               11/10 11/12 11/17           94/4 99/6 99/11
   184/14                     12/4 12/8 12/8              114/13 114/23
  account [4] 13/6            13/16 13/17 13/19           127/14 133/22
   49/9 49/17 159/10          13/21 13/22 13/23           138/13 139/17
  accountable [3]             14/7 14/11 14/17            144/1 157/14
   76/25 78/3 107/18          14/21 14/23 15/14          admitting [1]
  accountant [1]              15/18 16/3 16/5             169/19
   181/13                     16/16 16/16 16/17          adult [1] 165/11
  accounts [3]                17/13 22/11 51/25          advice [1] 188/1
   163/12 163/13              52/2 57/16 57/24           advise [3] 6/8
   183/10                     68/9 68/10 68/18            24/4 133/10
  acquainted [1]              139/25 162/19              affects [1] 23/18
   40/5                       190/9 191/21               afraid [2] 80/9
  acquired [3] 7/24           192/12                      187/23
   104/8 104/22              addressed [2]               after [43] 22/20
  acquisition [1]             22/13 70/23                 25/17 25/20 28/21
   12/5                      addresses [8]                29/19 30/22 30/24
  acres [1] 147/6             13/25 14/14 41/22           30/25 31/8 33/24
  act [1] 37/22               49/19 76/12 134/19          34/19 40/5 51/5
  action [1] 19/3             134/20 185/16               63/1 71/2 71/16
  actions [4] 66/17          addressing [1] 6/5           88/1 92/17 95/11
   66/18 81/18 82/1          adjourn [2] 185/18           109/6 110/1 110/6
  activities [1]              188/7                       110/8 113/5 113/5
   62/15                     adjourned [1]                113/6 113/10
  actual [3] 18/10            192/20                      113/10 116/10
   33/11 102/22              administer [1]               119/22 119/24
  actually [11] 33/5          37/23                       121/4 123/3 126/16
                             administration [1]           142/12 150/14
                              6/12Entered
  A 9:18-cv-80176-BB Document 839
Case                                7/5 on8/19           57/19 57/22
                                            FLSD Docket 12/20/2021       58/2
                                                                   Page 199 of 268
  after... [7]                12/19 14/12 16/12  58/19 58/22 58/24
   156/24 159/4 165/3         82/24 83/3 107/16  59/23 60/4 61/2
   176/8 176/15               114/24 138/25      61/6 65/19 66/8
   180/15 184/25              140/22 153/17      67/3 67/8 70/16
  afternoon [8]               158/14 158/18      70/16 72/9 75/6
   17/18 24/20 24/21          158/20 158/22      75/7 76/24 78/3
   25/6 25/7 25/17            158/25 159/13      78/6 80/25 81/11
   59/9 59/10                 159/14 181/2 181/5 83/22 86/15 95/16
  again [45] 31/7            agreements [2]      99/24 104/2 105/5
   36/3 45/1 48/11            107/4 138/23       108/1 114/8 114/18
   48/23 50/17 50/24         agrees [1] 10/14    116/14 116/18
   60/8 60/12 60/19          Ah [1] 191/6        117/1 117/4 119/8
   61/9 67/21 68/20          ahead [9] 4/4 4/24 119/8 119/11
   71/13 72/21 73/1           28/24 48/5 124/2   119/22 123/15
   74/18 79/12 81/4           159/22 188/18      124/1 124/8 124/16
   88/20 89/21 90/7           189/3 189/4        128/19 135/20
   93/18 94/12 95/11         Alan [2] 33/13      135/22 136/13
   96/5 98/22 100/15          37/23              137/19 139/17
   103/1 103/9 104/21        algorithms [1]      141/14 149/22
   105/3 106/8 106/23         87/10              151/16 156/20
   119/16 125/15             alias [4] 47/22     158/13 158/13
   126/2 127/2 127/20         48/3 48/10 49/8    159/22 164/9
   133/5 133/9 143/17        alive [7] 28/9      165/11 166/19
   166/6 166/12 168/2         28/13 35/12 159/5  169/5 170/2 170/12
  against [12] 13/10          162/3 162/7 162/8  171/2 171/5 171/20
   66/17 66/19 75/3          all [139] 4/11 6/3 172/3 173/13
   75/11 75/15 75/15          6/5 6/16 8/5 8/16  174/20 174/25
   81/19 82/1 141/15          8/25 9/17 10/1     178/18 178/21
   152/19 153/2               10/5 10/24 12/18   179/3 180/14
  agencies [2] 31/19          13/13 13/16 14/6   185/12 185/14
   186/10                     15/24 16/11 17/11  187/19 188/5
  ago [2] 186/4               17/21 17/21 18/3   189/23 190/9 191/6
   186/7                      18/6 18/14 19/9    191/11 191/14
  agree [10] 7/18             19/20 19/20 19/25  192/14
   8/6 9/2 13/9 14/16         20/4 20/21 21/9   allegation [2]
   16/6 26/21 70/25           21/10 21/12 21/14  173/16 173/25
   99/19 151/8                21/17 21/19 22/13 allegations [3]
  agreed [4] 6/24             22/16 24/3 24/8    152/19 161/19
   17/3 70/7 100/4            27/10 28/1 32/17   173/4
  agreeing [2] 11/12          32/23 37/3 37/7   allege [7] 161/14
   11/18                      39/1 41/20 47/3    161/17 171/15
  agreement [22]              49/10 51/22 53/12  174/1 174/6 175/13
                              53/16 54/7 57/10   184/5
                              5/19Entered on FLSD Docket answers
  A 9:18-cv-80176-BB Document 839
Case                                                     12/20/2021 [2]   58/7
                                                                    Page 200 of 268
  alleged [6] 84/16          amended [3] 172/1   111/22
   108/17 152/22              172/12 173/1      anticipated [1]
   152/24 153/24             AMERICA [1] 193/1   23/20
   154/5                     Amit [1] 5/18      Antonopoulos [1]
  alleges [1] 171/19         among [2] 158/13    143/6
  allow [6] 7/19              161/18            any [123] 6/11
   41/14 92/22 93/13         amount [16] 10/7    8/11 9/15 11/18
   97/6 115/18                11/17 66/25 91/17  15/19 19/7 23/7
  allowed [1] 155/20          91/21 93/2 93/6    23/23 27/19 28/7
  allowing [1]                107/20 108/4       30/13 33/23 39/20
   169/10                     175/14 175/17      41/3 45/12 46/22
  almost [3] 132/11           175/21 177/9 178/4 46/23 46/24 50/25
   176/22 187/4               178/25 179/8       53/7 56/16 59/19
  alone [1] 11/4             ANDRES [2] 1/20     59/19 59/20 64/14
  along [1] 4/23              5/17               64/18 66/18 68/1
  already [16] 38/21         ANDREW [18] 1/17    68/23 69/24 72/12
   41/10 48/7 74/15           5/9 58/3 60/14     73/19 81/18 81/25
   83/20 91/9 96/6            73/12 74/15 74/16  85/11 87/3 96/1
   99/15 106/19               74/18 74/19 79/23  105/10 106/15
   114/20 114/25              80/3 80/4 80/5     108/17 112/10
   131/2 135/8 145/18         80/10 80/12 96/25  112/18 112/19
   157/14 175/10              100/18 103/9       112/19 112/19
  also [30] 5/13             Angeles [1] 2/4     113/25 114/3
   5/14 5/18 6/4 6/21        anonymized [1]      120/12 120/17
   7/23 9/4 9/9 12/8          16/24              120/18 120/20
   24/7 50/4 56/5            another [10] 7/22   120/20 122/11
   60/1 62/19 95/17           11/2 32/5 51/2     122/13 122/25
   104/6 108/7 114/22         67/14 73/3 110/11  123/12 123/18
   118/1 123/11 127/9         139/6 151/3 182/13 123/18 126/18
   132/1 145/8 146/24        answer [27] 9/8     128/17 134/22
   157/23 158/7 158/9         25/24 26/14 48/18  134/23 135/24
   162/9 171/19 186/8         49/2 49/3 52/21    138/11 138/23
  altered [1] 127/10          61/21 74/17 74/21  138/24 138/25
  although [4] 38/13          74/24 95/5 111/23  142/7 142/21
   38/15 42/21 56/14          111/24 142/25      145/21 145/22
  am [14] 8/18 11/13          146/19 154/8       153/16 153/24
   11/19 12/5 25/1            155/20 155/21      153/24 154/4 154/5
   45/24 63/16 79/24          155/22 156/13      154/16 154/16
   79/25 100/1 114/21         159/18 159/23      154/20 158/14
   140/19 168/9               160/2 160/18       158/25 158/25
   171/13                     187/25 190/1       159/14 160/10
  AMANDA [2] 1/21            answering [2]       160/13 160/24
                              62/21 73/13        161/3 161/8 161/10
Case                          186/20
  A 9:18-cv-80176-BB Document 839      188/20
                                  Entered                 66/13 66/21
                                          on FLSD Docket 12/20/2021       67/16
                                                                    Page 201 of 268
  any... [34] 162/1           192/11 192/15      68/1 68/24 69/17
   162/5 163/10              Anyway [1] 145/19   70/12 70/15 71/2
   163/10 163/11             anywhere [1]        71/2 71/16 71/16
   163/12 163/13              160/24             71/16 74/4 75/10
   163/16 164/10             apartment [1]       75/21 75/22 76/10
   169/19 172/13              115/15             76/15 77/7 80/20
   173/6 175/12              apologies [1]       81/5 81/17 81/21
   175/16 175/20              187/4              83/4 83/6 85/22
   175/23 175/24             apologize [6] 9/12 93/22 96/22 101/23
   176/8 176/15 177/5         9/19 9/22 24/5     102/6 102/20
   177/7 177/9 178/3          133/7 190/19       103/11 104/22
   178/24 181/1 181/4        appear [3] 104/16   105/17 106/15
   183/10 185/13              115/10 162/15      106/25 109/6 132/5
   185/24 185/25             appearances [3]     132/14 134/7
   186/11 186/14              1/12 1/25 5/4      141/15 149/24
   190/19 191/21             appeared [3] 49/19 178/19
  anybody [3] 20/14           93/1 93/6         April 15 [1] 71/16
   141/16 177/3              appears [15] 12/2 April 23rd [2]
  anymore [1] 16/7            15/14 33/2 40/22   75/22 76/15
  anyone [6] 70/12            46/16 53/6 79/12  are [105] 4/16
   124/24 125/3               81/8 95/18 98/24   4/21 4/22 6/5 6/21
   126/18 188/8 188/8         100/18 100/25      7/1 7/5 7/7 9/16
  anything [49] 11/7          117/20 118/20      9/18 10/4 10/8
   17/2 17/13 23/17           139/11             12/12 12/19 13/25
   27/2 44/7 57/16           Apple [1] 187/13    13/25 14/2 14/13
   57/24 66/14 72/14         appoint [1] 35/5    15/3 15/5 15/7
   79/24 100/11              appointed [3]       15/12 15/16 17/23
   103/24 110/22              35/20 35/21 37/5   18/12 18/16 19/4
   110/23 112/5              appointment [2]     19/7 19/9 19/12
   112/19 112/20              36/9 37/10         20/15 21/4 27/5
   113/22 117/11             appreciate [4]      30/2 32/8 33/9
   125/4 125/10               13/12 62/16 63/24  45/7 48/1 51/21
   125/11 129/23              75/2               55/2 59/23 60/23
   130/18 144/25             approach [4] 99/8   65/24 66/16 67/9
   154/15 154/16              150/7 167/16 168/2 70/6 72/5 72/22
   158/19 161/4              appropriate [5]     73/1 74/12 75/4
   161/11 161/22              16/13 20/22 23/11  76/22 77/4 81/4
   161/23 162/2 162/6         23/16 23/25        81/6 86/16 88/24
   164/2 164/10              approximately [2]   89/21 90/7 98/6
   164/11 175/9 176/7         19/11 116/4        99/24 101/6 102/7
   176/15 177/2 177/3        April [51] 20/7     103/19 107/9 110/6
   177/8 186/18               30/20 39/17 60/18  113/14 114/19
                              64/5 64/10 66/8    115/9 115/12
                              35/20
  A 9:18-cv-80176-BB Document 839
Case                                  35/21
                                  Entered      36/9
                                          on FLSD         85/3 90/23
                                                  Docket 12/20/2021 Page 104/21
                                                                         202 of 268
  are... [35] 115/14          37/22 38/5 39/6             114/22 121/2
   118/4 120/13               43/7 45/21 46/22            130/16 135/20
   124/10 126/9               52/18 52/18 55/1            135/21 140/14
   128/20 130/10              55/20 55/25 59/17           140/15 154/8
   131/16 131/18              61/25 62/5 62/20            166/21 166/25
   132/16 134/15              63/7 63/10 63/16            171/7 173/16
   134/20 136/12              65/19 68/1 69/21            188/12
   139/7 139/10 145/2         70/23 76/24 77/21          asked [21] 11/22
   146/2 151/20               81/11 86/22 92/17           26/14 59/11 59/12
   151/24 152/12              95/2 95/17 95/17            61/2 61/5 65/23
   155/9 160/7 168/11         96/19 98/2 102/6            66/14 67/8 98/5
   171/22 172/9               102/17 104/16               102/15 103/5 128/7
   172/23 173/4               104/16 105/8 105/8          129/12 129/12
   174/14 174/17              105/21 109/4                144/25 145/9
   174/20 174/23              109/13 115/20               170/17 173/20
   180/9 180/10 183/5         115/20 117/6 117/6          187/7 187/9
   188/7                      119/5 119/9 120/5          asking [15] 26/6
  areas [1] 86/19             120/16 125/10               42/12 47/25 61/25
  argued [1] 10/21            126/14 126/14               67/8 71/13 73/12
  argument [4] 6/12           127/6 127/14                80/7 94/14 104/17
   10/17 12/24 13/1           129/17 131/19               127/4 128/20
  arms [1] 59/16              131/20 139/24               146/17 170/19
  Army [4] 28/22              141/10 155/12               176/11
   29/2 29/7 29/9             156/14 156/15              asks [2] 25/25
  around [11] 27/13           158/15 163/17               67/21
   40/7 55/1 76/14            172/25 174/21              asserted [4] 99/6
   87/10 96/22 102/24         174/21 184/13               103/1 104/18 127/8
   106/15 113/24              185/9                      assets [10] 38/3
   131/6 184/23              Asian [3] 47/22              81/9 81/11 81/14
  arrangement [2]             48/10 49/8                  100/5 108/1 108/5
   154/5 154/17              ASIC [1] 104/7               108/13 108/18
  as [104] 1/3 8/2           aside [2] 95/24              155/24
   9/15 10/5 10/10            186/17                     assist [3] 62/21
   10/10 10/20 11/7          ask [45] 22/4 23/1           73/12 130/12
   12/4 12/13 13/4            23/2 23/7 24/9             assistance [5]
   13/4 13/25 14/1            25/17 25/21 25/25           62/16 63/24 69/11
   14/5 14/7 16/16            26/9 26/23 27/2             125/16 128/10
   16/22 16/23 19/1           34/7 34/11 37/24           associate [3] 16/4
   19/10 23/15 23/20          39/15 40/17 44/21           86/18 125/18
   25/1 28/25 32/9            47/21 48/17 60/8           associated [3]
   33/20 33/20 33/23          63/1 64/3 66/13             10/18 10/21 185/12
   33/23 34/17 34/17          67/7 69/3 71/15            assume [4] 148/6
                              72/22 74/10 79/24           159/8 167/2 171/19
Case                          73/11
  A 9:18-cv-80176-BB Document 839     74/6
                                  Entered    74/19
                                          on FLSD         97/18 110/3
                                                  Docket 12/20/2021       110/5
                                                                    Page 203 of 268
  assumes [1] 50/3            74/23 76/14 88/2            111/3 111/15
  assuming [3] 115/8          88/5 88/11 88/25            111/20 111/25
   166/25 167/1               89/22 90/8 103/10           123/6 123/8 124/5
  ATO [25] 59/23              104/7 104/9 105/9           124/8 124/16 131/5
   59/24 60/14 61/25          156/18                      136/24 137/1 140/5
   63/8 64/14 64/18          authority [1] 38/5           145/7 145/25
   65/2 65/8 65/23           authorized [1]               148/23 151/16
   66/9 67/8 68/25            98/15                       152/16 159/25
   73/13 74/22 76/21         available [2]                162/17 163/6
   77/4 80/9 81/2             13/19 13/20                 176/10 179/23
   81/4 82/17 87/23          Avenue [2] 2/8              backpack [1]
   100/18 107/8               193/18                      113/15
   125/21                    aware [20] 27/5             backup [4] 132/25
  attached [8] 62/16          66/16 66/18 66/18           134/9 134/22
   63/24 65/16 72/5           67/16 68/1 68/23            134/24
   72/9 104/6 185/5           70/6 72/5 104/10           backups [1] 134/15
   185/14                     145/20 171/22              backwards [1]
  attachment [9]              171/23 174/14               162/12
   86/2 86/4 86/8             174/16 174/17              Bad [2] 65/5 69/23
   102/10 102/13              174/20 174/23              bag [1] 119/23
   102/16 102/22              174/24 180/9               balance [1] 7/17
   102/25 104/25             away [14] 22/25             banks [1] 75/4
  attachments [2]             28/10 28/14 30/16          Barnett [1] 19/14
   63/25 72/5                 30/18 30/19 39/16          based [4] 69/17
  attack [1] 75/4             39/19 39/23 40/1            174/22 180/3
  attained [1] 31/1           83/5 110/9 113/5            184/16
  attempt [1] 132/15          157/9                      basically [5] 38/3
                                                          49/22 53/1 53/16
  attention [1]              B                            78/6
   33/10                     BAA [1] 76/25
  attorney [7] 18/1                                      basis [3] 40/10
                             baby [1] 165/7               154/21 183/19
   34/10 34/16 34/19         babysit [1] 34/15
   73/11 74/19 88/2                                      Bates [4] 45/17
                             babysitter [2]               82/6 83/11 106/20
  attorneys [6] 4/7           182/1 182/2
   4/22 6/6 19/2                                         BB [1] 1/2
                             back [51] 20/24             be [115] 4/19 7/3
   19/17 24/5                 21/1 21/4 21/14
  AU [1] 67/13                                            7/25 9/19 10/3
                              38/20 42/5 43/6             10/10 10/14 10/19
  Australia [6]               44/9 52/12 52/19
   46/21 64/7 64/11                                       10/20 10/21 11/4
                              53/13 54/2 57/12            12/4 13/10 14/5
   88/3 105/7 156/7           57/19 57/22 57/25
  Australian [22]                                         14/7 14/14 14/17
                              58/24 59/1 78/7             14/20 15/21 15/23
   49/22 59/25 62/14          81/9 81/13 81/15
   67/13 67/17 70/9                                       16/3 16/15 16/20
                              83/20 91/25 92/11           16/21 16/22 16/24
                              18/24
  B 9:18-cv-80176-BB Document 839
Case                                                      76/5 77/7
                                  Entered on FLSD Docket 12/20/2021 Page79/13
                                                                         204 of 268
  be... [89] 16/25           became [3] 40/5              80/4 83/7 84/16
   17/9 17/10 18/7            125/22 174/13               92/11 99/2 104/22
   18/7 18/22 19/6           because [28] 12/1            112/5 116/10
   20/22 21/7 21/14           13/9 13/22 14/9             116/12 118/16
   22/13 23/22 24/9           16/1 16/9 19/18             121/19 123/17
   25/13 26/6 26/15           23/18 25/12 36/3            123/23 124/15
   32/9 33/2 33/8             47/23 58/11 63/16           126/17 129/12
   35/9 39/4 40/22            77/23 82/15 89/4            135/16 136/3 151/5
   46/16 47/12 48/15          113/25 121/20               176/5 176/14
   49/3 50/5 56/5             127/10 150/5 163/7         begin [2] 18/25
   57/9 58/7 58/25            164/23 177/13               188/12
   60/25 62/5 63/9            182/21 185/15              beginning [6] 73/6
   68/18 84/19 93/1           190/25 191/15               73/9 75/1 118/19
   93/12 93/14 96/13          192/8                       135/17 154/22
   98/24 99/6 99/11          Because you're [1]          begins [1] 9/6
   99/11 99/13 100/18         19/18                      behalf [8] 3/5
   100/25 101/2              become [6] 29/20             5/22 5/23 6/1
   101/17 109/13              29/22 29/25 68/22           15/20 17/23 19/21
   113/2 114/11               69/1 144/25                 19/23
   114/23 114/25             becoming [1] 108/2          behind [1] 55/3
   115/10 116/21             bed [1] 109/19              being [30] 15/3
   117/20 118/1              been [37] 10/12              15/5 15/10 16/3
   118/21 123/11              10/21 15/11 17/25           18/23 22/20 61/19
   123/24 124/16              23/12 23/16 27/14           61/20 61/21 61/22
   124/25 127/14              32/7 35/14 36/4             61/24 66/14 75/3
   128/3 128/23 129/1         37/5 40/2 50/1              75/11 77/20 78/6
   129/24 130/12              62/18 62/23 64/6            95/4 98/2 98/24
   131/14 139/7               66/22 75/16 79/22           101/3 114/16
   139/11 140/19              91/22 93/23 95/25           121/23 127/7
   142/19 148/6               98/12 99/10 104/6           142/22 145/21
   151/15 151/22              113/5 138/21                160/3 163/11
   155/20 164/4               157/11 167/4 167/6          163/13 186/9
   177/25 178/18              170/16 172/24               191/21
   179/2 181/21               174/22 178/6               belief [1] 164/15
   181/22 183/12              180/13 189/7               believe [70] 5/12
   184/21 185/18              189/23                      6/3 8/12 10/14
   188/13 188/25             before [43] 1/10             12/3 16/2 16/11
  BEACH [7] 1/2               17/25 18/20 18/25           23/4 25/20 28/22
   18/10 29/21 29/23          21/13 22/20 25/10           28/25 30/25 31/18
   30/5 30/25 31/5            26/20 37/19 46/17           35/23 40/11 44/16
  beaches [1] 147/5           46/19 53/23 57/24           56/9 66/10 68/15
  beautiful [1]               58/23 63/21 64/3            69/5 69/11 70/2
                              71/15 72/4 72/21            71/25 78/13 78/14
Case                          128/18
  B 9:18-cv-80176-BB Document 839                         91/22 92/15
                                  Entered on FLSD Docket 12/20/2021       92/19
                                                                    Page 205 of 268
  believe... [45]            between [33] 46/20 93/6 95/19 95/24
   82/8 84/14 92/1            53/7 54/3 54/10    97/12 112/20 113/2
   93/8 96/6 98/1             56/10 56/10 56/11  125/1 125/5 125/11
   101/1 101/3 102/1          65/12 65/13 73/3   125/12 132/16
   102/9 103/21               76/23 82/25 83/1   134/19 135/24
   109/19 111/11              93/20 126/9 126/10 136/10 136/18
   112/19 113/7 113/8         133/16 133/17      137/23 138/24
   115/23 117/17              139/6 139/11       138/25 140/23
   120/22 121/23              139/16 143/7       141/19 141/23
   122/17 125/10              143/18 143/19      142/5 145/21
   134/17 135/8 136/4         149/24 154/5 156/5 145/23 146/17
   136/21 137/21              158/24 159/3       147/8 147/11
   139/3 142/12               160/24 161/3       147/13 147/17
   142/21 144/16              163/21 167/6       147/25 148/21
   155/11 155/13             beverages [1]       153/6 153/18
   155/23 156/7               19/11              153/21 155/6
   158/17 159/7 160/2        big [2] 65/20       158/16 159/15
   166/8 170/4 183/18         145/15             160/5 161/1 161/4
   183/24 184/13             bigger [4] 144/19   161/14 161/20
   190/16 191/17              165/20 166/9       163/11 163/11
  believed [9] 63/9           167/22             163/17 164/2
   113/2 121/11              billions [1]        164/11 165/24
   123/18 125/7               140/19             166/23 166/24
   129/12 136/10             bills [1] 136/15    167/1 167/2 167/2
   137/13 180/4              birth [1] 10/13     170/15 170/22
  believer [1] 81/17         Biscayne [1] 1/15   171/11 171/15
  believing [3]              bit [9] 20/10 32/4 174/14 174/21
   81/23 184/17               34/24 84/22 114/2  175/14 175/17
   184/21                     123/22 141/13      175/21 175/24
  belonging [1]               151/16 152/6       176/1 176/3 176/10
   184/10                    bitcoin [127] 9/6   177/9 178/4 178/9
  belongings [4]              10/18 10/20 11/9   178/25 179/8
   110/12 110/13              11/11 11/12 11/17  179/18 180/5 183/8
   145/22 170/5               11/17 13/16 13/22  183/9 183/10
  below [2] 42/25             13/25 39/21 39/24  183/16 184/2 184/4
   43/3                       40/3 43/25 44/3    185/4 185/7 185/13
  besides [1] 171/20          47/15 48/2 48/3    186/18 186/19
  best [3] 150/13             48/7 49/6 50/2     187/7 187/11
   150/16 151/14              50/11 52/18 53/18  187/24
  BETH [1] 1/10               55/20 69/12 75/9  bitcoin-sized [1]
  better [5] 10/6             75/18 78/10 81/12  134/19
   52/11 65/19 79/25          87/12 87/14 91/10 bitcoins [4] 94/25
                              91/13 91/14 91/18  107/20 108/4
                              127/23
  B 9:18-cv-80176-BB Document 839
Case                                   128/13
                                  Entered on FLSD Docket broadly
                                                         12/20/2021 [1]   112/11
                                                                    Page 206 of 268
  bitcoins... [1]             132/8 135/21               broke [1] 134/18
   136/14                     139/19 144/4               brother [69] 28/6
  bites [1] 77/2              148/22                      28/8 28/19 30/7
  blank [2] 117/17           bought [2] 9/8               30/9 33/21 34/20
   145/16                     104/12                      35/5 35/11 39/1
  block [5] 34/25            Boulevard [2] 1/23           39/16 39/19 39/20
   41/9 48/24 52/7            2/3                         39/23 39/24 40/1
   144/4                     box [3] 34/8 37/15           40/2 43/15 43/18
  blockchain [3]              62/11                       44/3 45/24 47/11
   13/19 13/20 171/21        boxes [3] 33/9               50/1 50/10 53/1
  blood [2] 97/5              33/9 66/12                  67/10 67/11 67/16
   97/11                     brain [1] 59/20              68/11 68/21 68/25
  bloodstains [1]            brains [1] 145/14            69/14 69/19 69/21
   109/20                    breached [2]                 69/25 69/25 70/24
  BLOOM [1] 1/10              161/18 161/19               87/14 93/5 100/4
  blow [2] 146/14            break [6] 20/11              128/17 128/20
   148/17                     20/15 20/23 23/23           129/10 129/13
  board [1] 54/15             27/19 108/22                139/11 140/22
  body [3] 103/15            breaks [1] 23/20             141/14 141/19
   122/12 122/13             BRENNER [13] 1/17            141/23 143/7
  BOIES [1] 1/16              3/9 5/10 21/18              148/23 150/6
  bond [2] 67/14              22/4 22/6 22/23             150/17 151/4
   67/17                      58/12 58/15 61/16           152/13 153/10
  books [3] 86/19             177/24 189/6                156/15 160/7
   110/21 110/23              191/16                      164/24 165/15
  born [2] 68/16             brief [3] 10/3               165/18 165/20
   164/24                     78/18 166/1                 167/20 170/9 176/8
  boss [1] 52/12             briefly [6] 22/22            176/14 176/18
  both [10] 9/24              26/4 27/24 59/11            176/22 185/3
   10/15 25/25 43/1           99/23 124/21               brother's [17]
   43/10 46/9 102/1          bring [32] 18/19             33/2 33/17 35/8
   118/11 118/22              21/12 37/15 38/20           35/14 36/10 39/8
   191/3                      40/13 40/14 41/17           59/12 63/19 65/3
  bother [1] 11/13            44/17 50/17 57/24           69/12 84/1 96/2
  bottom [28] 12/9            58/22 60/5 72/17            113/15 115/10
   34/25 38/7 40/19           82/6 82/7 83/20             115/15 139/24
   46/6 46/6 46/14            84/21 84/25 85/16           159/9
   54/10 54/22 54/23          88/19 90/5 90/24           brotherly [2]
   75/22 76/8 79/5            91/25 93/8 96/5             187/10 187/13
   79/12 94/7 94/7            114/12 124/13              brothers [1] 28/7
   94/8 106/20 106/23         125/25 130/23              brought [5] 38/4
   117/18 117/24              135/7 155/18 171/7          111/3 111/15
                             bringing [1] 19/11           111/25 152/18
                              121/17
  B 9:18-cv-80176-BB Document 839
Case                                   121/21
                                  Entered                 135/22 138/1
                                          on FLSD Docket 12/20/2021 Page 207138/3
                                                                             of 268
  BTC [3] 75/4 75/7   122/4 123/8 126/20                  138/4 138/5 139/5
   75/9               126/22 136/19                       143/17 144/11
  BUCKNER [1] 2/3     175/18                              144/18 145/19
  build [1] 170/18   can [146] 4/14                       147/11 148/17
  building [1]        4/24 7/3 7/18 9/5                   151/12 151/16
   188/13             10/14 10/23 15/11                   151/16 152/4
  bunch [1] 111/12    16/3 16/14 16/22                    155/18 156/22
  bury [1] 160/8      17/12 21/24 24/12                   162/14 171/7
  business [22]       24/22 25/8 25/14                    173/14 173/17
   29/17 29/19 64/10  27/14 28/17 28/21                   173/19 177/12
   86/18 96/2 107/16  30/9 31/14 32/23                    187/25 188/18
   132/18 145/5       33/10 35/3 36/4                     189/4 189/10
   145/21 145/23      36/8 37/4 37/17                     189/17 189/25
   148/23 153/16      38/11 38/25 41/17                   190/7 190/7 190/9
   153/20 153/24      42/4 42/11 43/8                     190/11 190/13
   154/5 154/16       43/9 44/20 44/22                    190/18 192/15
   167/10 167/12      45/1 46/9 47/21                    can't [12] 6/25
   167/21 179/22      50/24 50/25 52/7                    7/18 14/5 74/23
   180/18 182/14      53/13 54/12 55/13                   111/19 120/13
  buy [4] 187/11      55/23 57/5 58/11                    151/11 162/11
   187/13 187/20      60/13 62/10 64/25                   162/13 163/7
   187/21             69/16 72/23 73/12                   187/19 190/1
                      74/3 74/16 74/16                   cannot [11] 8/6
  C                   74/25 75/23 75/24                   48/25 111/17
  calculation [1]     76/4 76/5 76/19                     134/14 134/16
   174/23             79/9 79/20 81/7                     134/16 162/9
  California [2] 2/4 84/21 85/5 85/16                     162/22 163/10
   68/18              88/19 89/7 89/10                    163/10 163/16
  call [10] 4/1 4/13 91/12 93/12 94/24                   capacity [3] 62/20
   4/24 19/23 20/3    95/21 96/16 96/16                   63/10 64/6
   20/6 21/21 28/1    97/14 97/24 101/10                 capital [4] 78/11
   28/2 111/9         101/10 105/19                       78/12 78/12 104/11
  called [13] 13/17   108/24 110/18                      card [16] 145/5
   22/20 29/11 31/17  113/17 117/10                       145/7 145/23
   48/2 48/3 86/2     117/12 119/2                        145/24 148/23
   99/24 99/25 112/13 120/23 127/17                       167/10 167/12
   112/16 180/20      127/20 128/17                       167/21 167/25
   187/18             128/18 128/21                       168/25 169/9
  Calling [1] 5/2     129/23 130/21                       169/10 170/3 170/3
  calls [3] 56/14     131/2 131/10 132/3                  170/9 179/22
   92/21 147/19       132/7 132/13 133/5                 cards [1] 145/21
  came [12] 40/6      133/10 133/10                      Carter [1] 157/9
   55/2 97/1 121/4    133/24 134/17                      case [26] 1/2 4/13
Case                          101/19
  C 9:18-cv-80176-BB Document 839      105/14
                                  Entered                 39/9
                                          on FLSD Docket 12/20/2021 Page 208 of 268
  case... [24] 4/24          Certified [1]               Clayton [2] 79/24
   5/2 14/8 14/10             193/5                       80/3
   14/10 14/20 14/20         certifier [1]               clean [1] 109/18
   14/22 14/22 15/9           101/20                     cleaning [4]
   19/13 23/11 26/13         certify [3] 105/12           109/18 109/21
   32/8 56/21 62/1            193/7 193/12                110/1 110/10
   89/22 122/14              cetera [2] 13/7             clear [8] 33/8
   175/11 175/11              77/1                        33/8 40/8 46/23
   180/11 188/8 188/9        chain [5] 45/4               81/8 115/24 139/7
   192/17                     45/6 73/3 75/20             178/18
  cases [4] 67/25             127/2                      clearly [2] 13/9
   68/2 88/12 89/23          chance [4] 123/4             126/5
  cash [2] 135/23             180/15 181/1 181/4         client [5] 4/17
   138/21                    change [5] 56/17             4/18 16/10 26/20
  categories [1]              105/22 108/21               58/4
   113/17                     140/18 143/3               clocktime [1]
  category [1]               changes [1] 33/23            94/12
   113/16                    charge [1] 156/25           clocktime2020 [1]
  cattle [1] 147/4           Charles [1] 87/11            76/10
  caught [1] 74/12           chart [3] 149/12            close [2] 31/11
  cause [1] 23/9              149/16 151/23               179/10
  caused [1] 118/4           Check [1] 170/19            Closer [2] 184/20
  causes [1] 118/3           chest [2] 30/15              184/24
  CBT [1] 87/10               59/14                      CLR [1] 193/17
  center [1] 168/1           child [1] 34/15             co [5] 20/9 35/7
  certain [7] 6/7            choice [1] 35/9              50/10 141/19 180/5
   6/20 11/23 150/12         choose [1] 55/4             co-counsel [1]
   150/19 177/10             chronology [6]               20/9
   187/14                     85/8 86/1 86/3             co-creator [1]
  certainly [18]              86/10 91/5 92/17            50/10
   16/2 16/8 19/20           circuit [2] 12/1            co-creators [2]
   21/22 58/17 58/18          37/20                       141/19 180/5
   58/20 75/25 83/22         circumstances [1]           co-personal [1]
   135/25 136/5 149/1         10/9                        35/7
   158/19 163/4              city [1] 18/10              coauthored [1]
   179/15 180/13             Civil [1] 5/2                86/19
   183/7 192/15              claim [5] 55/4              coding [1] 52/10
  Certificate [1]             67/23 68/2 153/5           Coin [14] 99/24
   3/2                        180/16                      99/25 100/2 100/5
  certificates [2]           claiming [1] 180/6           100/6 100/11
   110/21 110/23             clarify [1] 4/16             100/11 101/18
  certification [2]          Classic [1] 61/15            104/10 104/13
                             clause [2] 37/4              104/23 106/16
Case                          109/21
  C 9:18-cv-80176-BB Document 839                         172/1 172/12
                                  Entered on FLSD Docket 12/20/2021 Page 209 of 268
  Coin... [2] 108/15         Commission [2]               172/14 172/20
   108/18                     104/7 105/9                 172/24 173/1
  Coin-Exch [14]             communicate [1]              173/17
   99/24 99/25 100/2          40/9                       complete [5] 81/17
   100/5 100/6 100/11        communicated [7]             105/13 156/13
   100/11 101/18              22/19 40/8 91/21            159/9 193/10
   104/10 104/13              138/22 140/21              completed [1]
   104/23 106/16              159/6 167/7                 184/12
   108/15 108/18             communicating [5]           completely [1]
  collapse [2] 34/22          52/9 52/16 78/16            13/4
   37/14                      113/5 113/6                completeness [2]
  colleague [4] 58/3         communication [8]            101/20 148/4
   62/19 62/23 63/7           49/23 56/11 56/13          compliance [1]
  colleagues [1]              84/12 104/15                62/15
   148/25                     156/17 158/24              complying [2] 19/9
  collect [1] 121/12          179/24                      25/15
  colon [3] 23/5             communications [24]         compress [1] 12/24
   23/8 27/17                  39/13 52/1 56/1           computer [29]
  come [31] 19/1              56/4 56/12 69/5             29/11 29/12 29/12
   22/12 22/16 22/19          69/10 69/18 71/21           29/12 29/16 29/19
   35/20 40/5 43/6            98/11 98/15 112/23          31/3 31/16 31/22
   44/9 58/6 63/6             125/14 135/18               31/24 32/3 42/1
   65/19 87/20 97/17          137/21 142/4 142/8          84/19 110/20 111/5
   97/20 112/23 121/3         155/24 160/4 160/6          111/9 118/6 121/15
   122/14 124/9               161/9 175/18                129/17 156/25
   130/14 131/16              178/14 180/1                180/20 181/5
   137/19 138/22             companies [1]                181/10 181/18
   145/18 148/5               31/16                       182/7 182/12
   152/16 160/5 163/6        company [24] 29/10           182/13 182/15
   168/7 176/8 188/13         29/13 43/24 44/3            186/4
   189/9                      44/6 61/11 67/22           computers [9]
  comfort [1] 20/15           86/17 92/14 92/19           29/14 110/23 111/4
  comfortable [4]             92/25 99/22 99/25           112/12 114/3 118/9
   19/10 50/21 72/23          101/18 104/9 105/5          182/23 182/25
   85/5                       105/22 108/15               183/2
  comment [2] 101/5           121/13 121/15              conceded [2]
   160/22                     181/2 181/5 181/18          153/23 153/25
  commentary [1]              186/3                      concern [3] 12/3
   160/19                    comparison [1]               15/19 19/15
  commented [1]               136/18                     concerning [1]
   149/23                    complaint [11]               189/2
  commercial [1]              161/18 171/15              concerted [1]
                              171/19 171/22               58/19
                              126/15
  C 9:18-cv-80176-BB Document 839
Case                                   126/22
                                  Entered on FLSD Docket convenient
                                                         12/20/2021 Page[1]
                                                                         210 of 268
  concluded [3] 26/3          128/4                       160/14
   155/22 183/12             contacted [2]               convention [1]
  conclusion [1]              116/10 142/12               106/2
   21/8                      contacting [1]              conversation [12]
  condition [7]               81/19                       24/7 143/6 143/8
   22/24 23/2 23/3           contacts [1]                 143/10 163/23
   23/17 23/19 138/19         141/18                      164/21 165/3
   176/21                    contain [1] 114/3            165/14 166/2 167/9
  conducted [1]              containing [1]               180/1 180/2
   184/12                     113/25                     conversations [2]
  conducting [1]             contains [1]                 56/6 56/9
   62/14                      193/12                     conveyed [1] 57/1
  confer [1] 189/10          content [3] 50/24           cool [1] 48/15
  confidential [2]            60/12 98/22                copy [5] 41/10
   24/7 166/15               contents [7] 61/9            89/10 147/12
  confirm [1] 64/25           101/6 101/7 101/11          158/14 177/16
  confirmed [1] 50/1          126/2 133/5 133/9          Coral [1] 1/23
  confirming [1]             context [5] 16/25           correct [53] 8/18
   49/5                       41/12 54/19 55/10           10/16 11/13 11/15
  confused [1] 89/4           69/9                        11/19 11/20 12/5
  confusion [1]              continue [10]                12/14 12/16 15/1
   46/24                      19/12 20/15 20/16           35/13 42/3 55/12
  connection [2]              21/5 21/15 59/2             59/15 71/21 85/23
   32/11 109/12               98/11 124/17                99/17 108/22
  Conrad [1] 157/9            169/24 173/22               109/14 110/2
  consider [1] 173/5         continued [3] 2/1            113/13 114/7 117/9
  consistent [3]              59/7 124/18                 119/10 122/6 125/8
   93/23 140/21              contract [5] 77/16           125/9 130/8 134/4
   169/13                     82/5 83/7 83/14             140/11 149/17
  constantly [1]              84/15                       150/4 150/6 153/4
   58/11                     contracts [9]                153/15 153/19
  Constellation [1]           65/11 72/6 72/9             154/9 154/18 157/1
   2/3                        72/13 76/23 77/5            157/8 158/17 162/8
  consulting [1]              82/19 82/20 107/4           164/25 165/5 165/6
   29/12                     contractual [1]              165/22 174/10
  consults [1]                78/15                       176/6 176/17
   189/21                    contributed [1]              177/10 185/9 192/7
  contact [14] 19/7           52/17                       193/10
   40/6 66/22 67/1           control [1] 44/20           correctly [2]
   81/22 92/11 103/18        controlled [1]               10/12 149/23
   105/10 116/11              49/19                      cost [1] 95/17
   116/12 124/21             controversial [3]           cost-effective [1]
                              174/4 174/6 174/15          95/17
                              26/19
  C 9:18-cv-80176-BB Document 839
Case                                  36/1
                                  Entered    40/14
                                          on FLSD         83/19 Page 211 of 268
                                                  Docket 12/20/2021
  could [100] 4/16           50/17 56/21 72/18        courthouse [4]
   10/19 11/4 11/8           85/1 88/11 88/20          19/1 19/2 141/20
   20/19 22/4 22/18          93/9 143/15 148/24        141/24
   33/4 34/2 34/22           149/9 149/16             courtroom [10]
   35/18 35/25 36/21         151/16 151/23             4/20 4/24 21/7
   37/14 38/20 40/13         152/3 152/9 154/20        23/20 25/10 27/15
   40/14 42/17 43/22         154/25 160/20             104/15 155/18
   44/10 44/17 44/24         177/25 180/9 189/4        188/10 188/13
   45/22 46/4 47/9           189/22                   courts [3] 88/5
   47/16 48/10 48/24        count [1] 119/5            88/25 90/8
   50/16 50/19 50/19        counterfeit [3]           craig [98] 1/7 5/3
   51/16 51/18 52/11         145/2 148/3 148/6         5/20 39/13 39/17
   52/19 53/3 53/25         County [2] 29/23           40/6 40/8 43/8
   58/16 62/22 66/3          30/5                      46/1 46/1 51/2
   66/12 67/4 72/17         couple [10] 29/18          51/23 52/5 53/17
   78/25 79/17 84/4          34/7 69/5 69/10           65/13 66/17 66/19
   84/25 87/17 88/7          82/19 110/8 113/24        67/14 70/7 75/8
   91/1 91/25 93/8           125/21 133/10             76/13 78/7 79/8
   96/5 96/10 96/11          138/4                     79/14 79/21 80/7
   96/13 99/20 100/20       course [6] 19/1            80/22 81/22 83/1
   103/3 103/4 103/15        22/1 22/8 151/13          83/1 85/8 85/20
   104/25 105/4              162/22 185/22             86/1 86/3 86/11
   106/18 106/20            court [56] 1/1 2/7         86/16 88/12 89/22
   113/2 114/12              2/8 4/1 6/8 7/18          89/23 90/11 93/20
   114/12 116/11             15/12 16/15 16/23         95/5 101/21 104/8
   116/16 118/10             17/12 19/7 20/3           105/11 105/15
   123/1 125/25 130/9        20/13 22/12 24/16         106/14 107/3 107/9
   130/23 131/15             26/9 26/12 26/20          130/10 131/11
   131/16 131/24             27/3 27/8 27/20           132/5 132/13
   135/2 135/7 135/25        32/7 32/8 35/20           139/23 141/18
   136/5 138/15 140/5        37/10 38/1 50/25          147/25 152/19
   140/12 140/25             58/6 58/13 61/14          153/5 153/13
   142/16 143/14             61/15 67/24 72/18         153/17 153/21
   144/4 145/14 147/2        85/1 87/22 88/2           154/4 154/14
   150/23 154/2 158/8        88/3 88/11 88/20          154/15 154/19
   162/4 177/19              89/22 93/9 100/15         154/20 155/1 155/4
   184/19 184/21             127/8 127/10              155/14 156/4 156/7
   185/19 191/10             142/16 143/15             156/14 158/15
  couldn't [4] 53/18         149/9 153/1 156/7         159/4 160/7 160/25
   111/21 145/6 185/4        156/18 172/17             161/3 161/14
  counsel [30] 4/13          174/18 177/25             161/23 161/25
   5/4 5/5 15/20 20/9        190/19 193/6 193/9        162/2 162/6 162/9
                            Court's [2] 25/15          162/13 162/23
  C 9:18-cv-80176-BB DocumentCSW
Case                              Entered86/15
                              839 [3]                     29/19 31/14
                                          on FLSD Docket 12/20/2021       32/10
                                                                    Page 212 of 268
  craig... [13]               87/11 92/17                 32/11 38/15 42/24
   167/6 175/7 175/9         curtailed [1] 16/3           43/10 43/10 47/21
   180/5 183/17              curtailing [1]               47/25 48/15 48/25
   183/18 183/20              14/18                       49/3 49/5 49/12
   183/22 184/3              cut [1] 116/9                49/19 52/11 52/13
   184/12 184/14             cut-off [1] 116/9            52/18 52/19 54/25
   184/16 186/24             cv [1] 1/2                   55/16 55/19 56/18
                                                          64/17 69/14 69/19
  Craig's [2] 74/19          D                            75/4 75/11 75/15
   184/11                    D285 [3] 137/17
  create [5] 31/24                                        83/1 83/5 83/16
                              138/1 138/10                84/16 93/5 95/16
   145/14 165/15             D425 [4] 114/12
   170/17 182/20                                          95/18 97/4 97/10
                              116/15 116/22               107/15 107/19
  created [6] 12/8            122/10
   13/2 13/2 183/16                                       108/16 109/6
                             dad's [1] 144/15             121/16 128/18
   184/10 186/9              DARRELL [1] 2/5
  creating [4] 48/16                                      129/10 129/15
                             date [45] 7/23 8/3           129/17 134/18
   49/6 50/2 164/13           8/5 10/13 11/1
  creation [4] 11/1                                       135/23 136/2 136/6
                              11/4 12/5 12/8              136/13 137/10
   11/4 39/20 184/4           15/25 15/25 16/4
  creator [2] 50/10                                       138/20 139/24
                              16/7 33/18 42/6             145/17 146/10
   141/11                     46/3 46/4 60/17
  creators [2]                                            146/16 148/1 153/5
                              74/3 76/5 79/9              153/10 153/13
   141/19 180/5               79/12 82/24 83/3
  crew [2] 109/18                                         159/4 164/5 164/13
                              83/5 85/21 101/22           167/6 175/13
   109/21                     102/2 102/11
  critical [2] 15/25                                      175/16 175/20
                              102/20 104/4                175/23 176/1 177/2
   58/5                       105/16 105/21
  cross [4] 3/10                                          178/3 178/25
                              105/22 106/8 106/9          179/12 180/4 180/4
   149/6 149/10 192/8         106/9 106/23 116/9
  CROSS-EXAMINATION                                       181/11 181/13
                              126/12 134/6                181/19 182/5 183/7
   [3] 3/10 149/6             143/20 150/5 174/8
   149/10                                                 183/7 184/11
                              176/16 178/15               184/17 185/24
  crown [1] 55/3             dated [2] 83/7
  CRR [1] 193/17                                         Dave's [36] 45/24
                              102/6                       53/17 76/24 77/12
  crud [1] 52/10             dates [2] 31/7
  cryptocurrency [1]                                      109/3 110/6 110/14
                              80/18                       110/16 110/19
   186/20                    daughter [2]
  cryptographic [1]                                       118/9 119/11
                              144/17 164/24               120/21 121/4
   130/12                    dave [97] 27/24
  cryptography [1]                                        121/12 122/12
                              28/2 28/2 28/3              123/11 123/19
   185/7                      28/4 28/5 28/19
  CSR [1] 193/17                                          125/1 125/12
                              28/21 29/2 29/9             128/23 129/2
                              193/9
  D 9:18-cv-80176-BB Document 839
Case                                  193/15
                                  Entered on FLSD Docket deleted
                                                         12/20/2021 [1]   10/14
                                                                    Page 213 of 268
  Dave's... [15]             days [4] 77/6 77/9          deleting [1]
   131/13 131/17              110/7 150/24                120/20
   131/19 132/16             de [1] 1/23                 demand [1] 37/24
   132/17 132/22             dead [1] 159/5              demonstrative [4]
   132/24 134/14             deal [1] 155/14              169/18 169/21
   136/2 138/19 164/2        dealings [1] 64/14           169/23 171/8
   178/7 178/8 179/10        deals [1] 148/2             denied [1] 17/17
   189/19                    death [12] 39/4             department [6]
  davekleiman.com [1]         83/8 84/16 109/3            30/5 31/5 31/8
    139/24                    109/10 123/19               71/10 71/18 71/24
  David [41] 1/4              156/24 184/16              depending [2]
   28/2 33/13 37/23           184/20 184/23               49/21 96/22
   86/18 154/4 156/24         184/24 184/25              depo [3] 11/8
   158/9 158/14 159/3        debt [1] 70/9                11/23 13/5
   160/24 161/3 161/9        decade [1] 31/12            deposed [2] 178/10
   161/14 161/20             deceased [1] 37/23           178/19
   161/22 162/2 162/6        decedent [3] 37/6           deposition [10]
   162/9 162/13               37/18 37/25                 3/6 3/8 10/23
   162/18 162/22             declarant [1]                16/20 19/24 20/7
   162/23 163/21              127/8                       99/10 99/12 177/16
   165/9 166/6 177/8         declare [1] 37/20            178/5
   179/5 179/7 179/7         decrypting [1]              describe [8] 36/4
   180/17 182/16              130/10                      40/17 40/21 66/25
   182/16 183/13             defend [1] 153/2             72/23 85/5 93/14
   183/16 184/3              Defendant [6] 1/8            101/10
   184/11 184/16              1/20 6/22 8/19             described [4]
   185/24 186/11              184/9 189/24                102/6 102/17
   186/18                    Defendant's [4]              148/22 156/5
  David's [1] 184/20          3/20 114/16 116/21         describing [2]
  day [32] 1/10               172/1                       45/2 73/1
   18/24 22/23 42/20         Defense [13] 1/4            description [1]
   43/5 46/19 49/22           15/23 22/15 32/9            101/8
   49/22 49/23 53/6           61/11 62/21 63/11          design [1] 182/21
   74/5 81/22 106/2           83/2 86/21 86/23           detail [4] 30/13
   108/16 140/18              88/12 90/11 180/11          50/25 79/23 112/22
   149/24 150/5              deficit [1] 59/20           details [12] 62/18
   150/12 150/17             definitely [4]               62/23 63/8 77/1
   151/4 152/17               49/5 116/13 151/19          101/18 105/8
   163/20 163/23              173/3                       153/24 154/4
   166/15 166/18             definitively [1]             154/13 154/16
   166/21 167/1 167/2         116/11                      155/16 159/1
   173/25 176/22             degree [1] 28/19            detective [1] 31/1
                             delete [1] 120/17           determine [2]
                              166/15
  D 9:18-cv-80176-BB Document 839
Case                                   166/18
                                  Entered on FLSD Docket directly    [3]21419/8
                                                         12/20/2021 Page    of 268
  determine... [2]            166/21 168/22              19/17 145/18
   10/19 11/5                 169/1 169/3 169/4         director [9] 62/20
  determined [1]              170/4 170/5 170/10         63/11 68/19 68/23
   16/23                      170/12 170/13              69/1 69/21 76/25
  develop [2] 31/17           176/10 176/19              77/24 125/22
   87/10                      176/20 176/25             discarded [2]
  developing [1]              177/5 177/6 179/9          116/3 123/16
   53/18                      181/12 183/10             discarding [1]
  development [7]             184/18 187/9               123/17
   40/2 47/15 52/18           187/14 188/2 188/2        discernable [1]
   55/20 75/18 97/12         died [8] 52/14              16/3
   160/5                      52/24 53/1 95/16          disclose [1] 12/14
  device [1] 111/10           95/18 109/6 122/12        disclosed [4] 4/19
  devices [20] 111/5          136/3                      10/10 12/4 14/7
   112/10 112/24             dies [1] 141/14            disclosing [1]
   113/1 113/3 113/10        difference [4]              14/15
   113/18 120/5 136/9         46/20 48/23 102/11        disclosure [1]
   156/25 157/3 157/5         127/10                     13/3
   157/7 157/23 158/1        different [18]             discover [1]
   158/3 158/5 158/6          12/10 43/6 43/7            138/20
   158/13 183/13              49/19 56/24 57/2          discovery [4]
  DEVIN [1] 1/14              77/24 80/4 81/4            189/1 189/7 189/15
  devise [1] 39/1             84/17 89/6 102/2           191/21
  dex561 [1] 41/21            148/20 154/8              discrepancies [4]
  did [255]                   158/10 179/10              76/23 77/10 77/12
  didn't [65] 6/17            185/15 187/15              94/14
   22/3 22/12 39/22          difficult [4] 23/6         discrepancy [1]
   39/25 42/10 43/17          27/17 185/25               78/4
   43/20 71/5 71/19           186/14                    discuss [5] 24/4
   72/15 102/4 104/24        difficulty [1]              42/25 176/25 188/8
   106/17 126/19              24/24                      188/20
   131/22 132/20             dig [1] 147/11             discussed [2] 50/9
   132/23 135/1              digit [1] 10/22             137/20
   135/23 136/13             digital [4] 145/4          discussing [5]
   136/14 141/17              146/17 164/14              50/24 51/7 51/8
   142/10 145/17              186/21                     101/7 161/4
   158/19 158/20             dinner [2] 165/4           discussion [2]
   158/24 159/9               179/11                     24/2 189/1
   159/11 160/10             direct [11] 3/9            discussions [4]
   160/12 160/13              15/8 15/12 19/7            50/8 50/12 176/19
   161/3 161/8 161/10         24/18 33/10 59/2           180/4
   161/11 164/6 164/9         59/7 124/17 124/18        dishes [1] 165/5
                              149/19                    dispose [1] 39/4
                              109/12
  D 9:18-cv-80176-BB Document 839
Case                                   109/24
                                  Entered                 51/1 60/10
                                          on FLSD Docket 12/20/2021 Page 60/13
                                                                         215 of 268
  disposed [1] 157/7 111/1 111/2 111/13                   63/2 63/5 64/23
  dispute [2] 7/20    111/20 113/10                       65/6 72/23 82/7
   7/22               113/16 113/22                       86/24 87/3 93/13
  disputes [1] 6/20   114/8 116/4 116/10                  93/19 96/11 98/20
  disrespect [1] 9/1 120/4 120/20                         98/23 100/21
  dissolved [1]       122/11 123/1 124/9                  100/24 101/6
   71/11              125/10 125/16                       101/14 102/7
  distracting [1]     129/1 129/10                        102/20 104/6 105/4
   24/6               129/21 130/18                       105/5 133/11
  DISTRICT [7] 1/1    131/15 134/17                       133/25 146/18
   1/1 1/11 2/8 193/3 137/11 139/2                        155/9 156/4 156/19
   193/6 193/7        139/24 140/14                       156/20 163/1
  division [3] 1/2    140/17 141/20                      documented [1]
   155/5 155/24       141/23 144/14                       159/13
  divorce [1] 107/16 148/9 148/11                        documents [26]
  DK [1] 93/2         148/14 152/19                       14/9 15/7 15/10
  do [150] 7/10 8/13 153/1 153/10                         15/13 41/23 62/19
   8/23 10/23 10/24   153/23 154/3                        65/7 76/21 77/3
   11/24 15/22 15/23  154/12 159/19                       77/4 81/2 81/4
   19/10 20/12 25/24  159/21 160/17                       81/8 88/10 88/24
   26/10 26/15 26/25  162/1 162/5 162/19                  89/21 90/7 103/25
   28/1 29/6 29/9     164/2 164/11                        125/21 162/15
   29/19 30/24 32/1   167/24 170/3 171/2                  163/10 163/16
   33/15 33/16 34/8   172/15 173/8                        177/2 177/5 178/7
   34/11 34/12 38/2   173/17 175/2 175/7                  183/20
   38/16 38/18 42/22  176/14 177/16                      DOE [15] 2/2 7/16
   44/15 46/20 46/22  177/21 178/7                        7/23 10/8 10/11
   46/24 49/13 51/23  178/19 180/17                       10/18 10/22 10/25
   51/25 53/12 53/14  182/15 182/21                       11/6 11/11 11/22
   53/25 58/20 61/17  183/13 185/2 186/2                  13/3 15/17 16/4
   62/11 63/11 70/9   187/17 187/17                       16/20
   72/7 73/23 74/11   191/20 192/1                       Doe's [5] 10/13
   75/2 77/12 78/11   192/14 193/7                        10/19 11/5 15/6
   78/14 79/22 80/8  Doc [3] 31/17                        15/9
   80/20 82/24 87/25  31/20 186/8                        does [35] 20/14
   91/7 91/10 91/18  docket [3] 6/6                       26/9 42/14 42/15
   92/12 92/15 92/16  15/11 17/14                         48/17 55/9 74/20
   94/22 94/23 96/19 document [49] 9/11                   75/3 75/11 95/5
   97/6 97/7 98/20    9/17 14/15 15/15                    95/15 101/17 105/5
   98/21 100/2 100/2  15/18 33/1 33/5                     106/5 106/12
   100/11 102/13      33/11 40/18 40/20                   117/24 129/13
   105/22 107/20      43/6 44/21 45/1                     129/16 129/21
                      45/4 48/2 50/20                     138/19 146/6 146/7
                              160/21
  D 9:18-cv-80176-BB Document 839
Case                                   161/15
                                  Entered                 50/9 52/9
                                          on FLSD Docket 12/20/2021 Page52/15
                                                                         216 of 268
  does... [13] 146/9          163/15 165/15               52/25 53/7 53/9
   146/16 146/22              166/8 167/6 167/15          55/17 56/2 56/17
   146/25 147/7 147/9         167/20 169/10               57/1 63/9 66/17
   147/10 148/14              171/4 172/25 175/3          66/19 66/22 67/1
   148/14 148/16              175/12 175/16               67/14 67/17 70/7
   148/19 176/1 178/2         175/20 175/23               70/12 70/13 70/15
  doesn't [1] 52/3            181/7 181/8 181/11          71/21 71/23 73/3
  doing [6] 58/17             181/17 182/5 185/1          73/11 74/10 74/20
   123/17 145/8               185/10 185/10               75/10 78/5 78/16
   165/16 165/20              186/2 188/25                78/19 81/15 81/22
   168/21                     189/16 189/17               84/9 84/15 86/22
  dollar [2] 70/9             192/5                       87/13 87/21 88/1
   106/11                    done [8] 25/20               91/20 92/8 92/12
  dollars [2] 67/13           46/19 52/20 64/10           92/19 95/9 95/25
   106/15                     72/24 113/17 176/5          96/19 97/8 97/10
  don't [94] 6/10             182/4                       97/18 97/20 97/24
   7/19 8/12 12/6            Dorian [4] 5/14              98/3 98/3 98/6
   12/18 12/23 14/22          33/4 130/21 131/25          98/12 98/15 98/24
   14/25 17/2 17/8           doubt [3] 46/22              100/9 100/10 108/5
   18/15 19/6 23/10           46/24 47/2                  112/24 113/1 113/4
   23/12 23/16 44/20         down [33] 7/13               116/11 122/20
   47/20 48/13 52/8           8/23 18/9 30/15             125/7 125/14
   53/22 58/10 60/25          34/22 34/24 35/18           126/15 126/21
   62/13 63/20 71/25          37/14 38/11 44/10           126/23 128/6 128/7
   76/14 87/6 89/4            47/16 50/16 54/12           128/7 128/22
   93/11 97/23 100/12         55/23 59/14 71/7            128/25 130/6
   101/1 101/2 101/3          79/17 84/4 87/17            130/13 131/18
   102/24 102/24              91/17 95/21 96/14           132/21 132/24
   103/24 107/4               96/16 97/14 99/20           133/17 134/4
   107/15 110/25              120/23 130/21               134/11 134/22
   117/17 117/19              131/24 135/2                134/24 135/18
   119/24 120/22              140/12 140/25               136/9 136/12
   123/10 125/13              171/12 189/9                136/17 137/20
   126/4 134/11              Dr [5] 6/1 40/6              138/17 138/22
   135/23 136/17              99/1 124/22 125/3           139/6 140/9 140/21
   137/24 142/21             Dr. [136] 5/20               141/8 141/22 142/8
   144/13 145/12              5/22 5/24 6/3               143/11 143/19
   145/13 146/2 148/3         25/21 41/10 42/9            144/9 146/6 146/22
   150/14 154/16              43/4 43/16 44/3             147/14 148/14
   155/16 156/3               44/16 45/3 45/8             152/19 153/1
   157/11 158/22              46/12 46/18 48/17           153/17 155/14
   159/9 159/22               49/8 49/13 49/16            156/4 163/17
                              49/23 49/25 50/9            175/19 177/7 185/9
Case                          138/17
  D 9:18-cv-80176-BB Document 839      138/22
                                  Entered                 125/15 125/17
                                          on FLSD Docket 12/20/2021 Page 217 of 268
  Dr. Craig [10]              139/6 140/9 140/21          128/23 129/2
   5/20 66/17 66/19           141/22 142/8                130/10 130/14
   67/14 70/7 81/22           143/11 143/19               130/16 130/19
   152/19 153/17              144/9 146/6 146/22          131/13 131/19
   155/14 156/4               147/14 148/14               132/14 132/16
  Dr. Wright [117]            153/1 163/17                132/22 132/24
   5/22 5/24 6/3              175/19 177/7 185/9          136/18 179/19
   41/10 42/9 43/4           Dr. Wright's [9]            drop [1] 96/16
   43/16 44/3 44/16           25/21 46/18 95/9           duly [1] 37/21
   45/3 45/8 46/12            97/24 98/3 98/6            during [21] 4/18
   48/17 49/8 49/13           122/20 134/24               9/13 14/10 18/25
   49/16 49/23 49/25          141/8                       27/15 27/20 67/1
   50/9 50/9 52/9            draft [2] 34/11              71/23 141/3 141/4
   52/15 52/25 53/7           34/16                       142/7 149/16
   53/9 55/17 56/2           draw [2] 145/24              153/10 162/18
   56/17 57/1 63/9            179/22                      162/22 162/25
   66/22 67/1 67/17          drawing [1] 168/8            163/22 164/2
   70/12 70/13 70/15         drew [5] 148/12              164/10 166/12
   71/21 71/23 73/3           148/23 151/4                167/9
   73/11 74/10 74/20          152/13 168/25              duties [2] 31/8
   75/10 78/5 78/16          drive [7] 111/12             161/19
   78/19 81/15 84/9           112/12 112/13              duty [1] 30/10
                              115/25 116/2 116/3
   84/15 86/22 87/13
                              118/20
                                                         E
   87/21 88/1 91/20                                      each [9] 18/23
   92/8 92/12 92/19          driver [2] 52/13
                              141/11                      40/9 58/8 58/13
   95/25 96/19 97/8                                       113/17 122/20
   97/10 97/18 97/20         drives [53] 69/12
                              110/21 110/21               122/22 122/24
   98/3 98/12 98/15                                       123/3
   98/24 100/9 100/10         111/11 111/12
                              112/16 113/25              earlier [3] 37/9
   108/5 112/24 113/1                                     59/12 186/3
   113/4 116/11 125/7         113/25 114/1 114/3
                              115/10 115/12              earliest [2]
   125/14 126/15                                          105/21 106/9
   126/21 126/23              115/20 117/11
                              118/5 118/11 119/9         early [6] 22/19
   128/6 128/7 128/7                                      30/2 51/4 171/22
   128/22 128/25              119/20 119/22
                              119/25 120/2                183/12 186/5
   130/6 130/13                                          easel [2] 151/17
   131/18 132/21              120/13 120/17
                              120/18 120/21               169/20
   132/24 133/17                                         easier [4] 89/11
   134/4 134/11               121/11 121/17
                              122/2 122/9 122/11          114/12 129/24
   134/22 135/18                                          151/15
   136/9 136/12               122/13 122/15
                              123/1 123/3 125/1          easiest [1] 113/16
   136/17 137/20                                         easy [1] 134/20
                              125/4 125/12
                              94/13
  E 9:18-cv-80176-BB Document 839
Case                                  95/9
                                  Entered    96/12
                                          on FLSD Docket empowering
                                                         12/20/2021 Page[1]
                                                                         218 of 268
  edit [2] 52/11      96/19 97/1 98/24                    38/2
   52/19              98/25 100/18                       Empty [1] 117/24
  effect [1] 15/13    102/12 102/18                      encrypted [1]
  effective [1]       105/1 106/23 107/1                  179/19
   95/17              126/7 126/11                       encryption [2]
  effort [1] 58/19    126/12 126/17                       31/18 186/9
  eight [2] 77/6      127/2 127/21 128/4                 end [7] 20/12
   77/9               128/13 131/5                        22/23 24/2 31/11
  either [7] 19/8     131/10 131/11                       100/20 118/18
   26/13 27/20 71/15  132/3 132/5 133/14                  129/21
   158/21 159/13      134/3 134/4 136/25                 ended [2] 121/23
   191/3              137/10 137/21                       186/9
  elementary [1]      138/17 139/6                       ends [7] 8/9 37/18
   58/15              139/20 139/23                       45/17 53/4 78/22
  elevator [1] 19/4   139/25 140/8 140/9                  83/11 106/20
  else [11] 11/8      140/13 143/11                      England [1] 153/2
   65/1 70/13 110/22  143/18 144/4 146/6                 enough [7] 11/3
   110/23 111/9 144/5 146/22 147/7 148/9                  44/22 44/23 50/20
   167/7 169/11       148/15 155/4                        60/9 72/22 93/12
   179/21 192/11      155/14 155/23                      ensure [1] 24/6
  email [142] 40/21   158/24 159/6                       entire [4] 4/23
   40/22 41/10 41/20  159/10 159/12                       14/10 14/21 14/23
   41/22 42/1 42/8    160/6 161/5 178/14                 entirely [1] 29/18
   42/14 42/24 43/1   179/23 179/25                      entitled [1] 11/24
   43/3 43/8 43/14    180/3 180/6 185/15                 entity [1] 67/14
   44/2 44/14 45/3    187/15 189/2 189/5                 entry [3] 6/6
   45/4 45/25 46/12   189/6 189/14                        17/14 171/8
   46/15 46/17 46/18  189/17 189/18                      equations [1]
   46/19 46/25 48/18  189/23 190/2 190/3                  185/25
   48/21 49/19 51/2   190/10 191/8                       equipment [2]
   51/22 51/25 52/2   191/16 192/4 192/8                  95/19 110/20
   52/4 53/6 53/13   emailed [1] 155/3                   especially [1]
   53/23 54/10 54/15 emails [23] 41/24                    13/4
   56/10 56/12 60/14  45/5 45/6 45/7                     ESQ [12] 1/14 1/14
   64/25 65/16 65/20  46/25 50/9 52/3                     1/17 1/17 1/20
   73/7 73/9 73/10    53/7 55/21 56/4                     1/21 1/21 1/22
   74/2 74/13 74/20   73/3 109/2 126/9                    1/22 2/2 2/3 2/5
   76/4 76/12 76/13   136/20 139/8                       essentially [1]
   78/19 79/20 80/14  139/11 143/21                       56/17
   85/7 85/19 92/7    155/12 159/3 160/8                 establish [1]
   92/8 93/3 93/20    161/2 161/3 175/16                  101/8
   94/7 94/9 94/11   emphasize [1]                       established [3]
                      19/16                               13/6 86/21 171/11
Case                          160/5
  E 9:18-cv-80176-BB Document 839     162/9
                                  Entered      162/23
                                          on FLSD         115/1 115/3
                                                  Docket 12/20/2021       115/4
                                                                    Page 219 of 268
  estate [29] 1/4             163/12 181/11               127/15 130/24
   32/10 32/11 34/19          187/7 187/7 187/10          131/1 132/1 133/20
   35/7 35/9 35/15           every [2] 155/1              133/22 133/23
   35/22 36/10 37/6           176/22                      135/8 135/10
   37/8 37/22 37/24          Everybody [2]                138/10 138/13
   38/3 38/15 39/2            10/13 18/22                 138/14 139/3
   60/22 62/1 63/16          everybody's [3]              139/17 139/18
   63/17 63/17 63/18          10/4 11/12 11/18            143/24 144/1 144/2
   63/19 64/16 64/17         everyone [7] 4/3             157/15 162/1 162/5
   108/16 183/13              4/6 21/4 57/22              163/17 169/22
   184/10 184/15              75/3 75/11 75/15            172/2 172/9 172/24
  et [2] 13/6 76/25          everyone's [3]              evidentiary [1]
  Eve [1] 171/20              25/15 82/15 134/3           58/16
  even [9] 11/10             everything [8]              EX [1] 3/12
   39/6 44/6 75/4             4/18 19/16 39/10           exact [1] 155/16
   79/13 92/11 96/25          78/8 107/18 142/16         exactly [10] 122/1
   140/17 168/22              144/4 188/9                 123/20 132/11
  evening [4] 185/18         everything's [1]             150/12 157/10
   188/7 188/15               11/23                       167/7 176/20
   192/12                    everywhere [1]               177/10 180/8
  event [2] 163/21            97/4                        189/16
   173/6                     evidence [91] 27/3          examination [11]
  events [1] 110/7            32/16 32/18 32/19           3/9 3/10 24/18
  ever [52] 25/10             36/4 36/12 36/19            56/1 59/2 59/7
   33/23 39/17 39/19          36/20 38/21 41/2            124/17 124/18
   39/24 40/1 42/9            41/10 41/16 45/11           149/6 149/10
   55/4 56/24 57/1            45/14 45/15 50/4            149/19
   64/6 64/10 64/13           51/12 51/14 51/15          examine [2] 129/2
   68/25 69/6 70/13           53/23 61/13 62/6            131/19
   71/2 71/3 71/17            62/8 73/18 73/21           example [4] 11/7
   95/25 108/16 120/2         73/22 82/9 82/10            11/8 26/6 46/24
   120/11 120/11              82/12 83/21 85/10          except [3] 12/21
   120/12 120/16              85/13 85/14 88/15           164/11 165/12
   120/20 122/10              88/17 88/18 89/3           Exch [14] 99/24
   125/3 125/11               89/13 89/14 90/2            99/25 100/2 100/5
   125/15 129/15              90/3 90/15 90/17            100/6 100/11
   130/14 130/16              90/18 90/21 90/25           100/11 101/18
   130/18 131/21              92/1 92/2 94/2              104/10 104/13
   132/21 132/24              94/4 94/5 96/6              104/23 106/16
   134/24 137/19              99/4 99/11 99/13            108/15 108/18
   137/20 138/22              99/13 101/2 101/25         exchange [11]
   144/13 145/21              106/19 114/13               40/21 51/2 53/7
                              114/16 114/25               78/15 126/7 133/14
  E 9:18-cv-80176-BB Documentexisted
Case                                   [1]
                              839 Entered      153/25
                                          on FLSD         110/16 125/3
                                                  Docket 12/20/2021 Page 220 of 268
  exchange... [5]            existence [3]                151/22 153/23
   139/6 139/15               33/21 72/13 159/14          154/3 159/3 166/18
   143/11 143/18             existing [3] 94/25           170/2 171/2 185/3
   144/9                      95/2 145/24                 185/24 190/5
  exchanged [1] 52/1         expect [3] 9/14              191/16
  exchanges [2]               17/5 18/11                 fact pick [1]
   93/20 187/15              experienced [3]              110/13
  exchanging [1]              58/4 58/13 130/10          facts [3] 50/3
   19/5                      expert [3] 129/18            80/11 136/1
  excluding [1]               174/14 174/18              fail [1] 97/6
   175/6                     experts [6] 122/18          fair [2] 78/17
  exclusive [1]               122/19 123/1 123/3          151/22
   14/13                      123/4 160/7                fairly [1] 86/20
  excuse [5] 70/16           explain [7] 22/24           fairness [2] 23/15
   82/8 98/10 103/14          27/14 52/8 60/13            177/15
   115/16                     84/15 84/18 160/16         fake [1] 15/7
  executed [4] 33/24         explained [1]               false [1] 80/9
   53/18 55/15 55/18          84/19                      familiar [8] 25/13
  executor [8] 60/22         explore [1] 160/17           59/23 60/9 99/24
   61/25 62/20 63/10         express [1] 95/25            133/11 133/12
   63/16 63/20 63/21         expressed [2]                173/16 182/23
   182/9                      19/15 136/16               family [4] 34/14
  exhibit [41] 7/8           extensively [1]              181/9 181/21 182/4
   32/15 32/17 32/19          151/19                     famous [5] 10/21
   36/20 41/16 45/15         external [4]                 13/22 13/24 14/3
   51/15 53/22 53/24          111/11 112/12               14/4
   60/25 62/5 62/8            115/24 116/2               far [14] 13/4
                                                          33/20 33/23 34/17
   73/22 82/16 85/14         F                            52/13 53/15 93/2
   88/18 89/5 89/14          F30 [1] 173/19
   90/3 90/18 94/5                                        97/5 97/11 105/8
                             face [1] 148/5               115/20 117/6
   99/10 99/15 127/6         Facebook [5]
   127/14 127/15                                          126/14 153/2
                              144/24 166/10              farm [2] 146/25
   133/23 137/17              167/22 179/11
   138/14 139/18                                          147/4
                              187/18                     fast [2] 75/20
   144/2 157/14 163/3        Facebook.' [1]
   163/7 172/25 190/8                                     75/21
                              145/15                     fast-forward [2]
   190/15 190/22             facial [1] 127/9
   192/2 192/5                                            75/20 75/21
                             fact [26] 10/19             father [1] 165/4
  exhibits [6] 6/8            11/2 11/4 11/6
   14/20 14/22 14/22                                     February [16] 40/7
                              13/3 15/17 22/20            42/6 44/14 46/8
   14/25 15/3                 23/18 29/22 29/25
  exist [1] 176/10                                        46/12 46/16 55/21
                              30/7 50/1 110/13            66/23 71/11 124/22
Case                          185/25
  F 9:18-cv-80176-BB Document 839      186/14
                                  Entered                 49/23 49/25
                                          on FLSD Docket 12/20/2021       50/13
                                                                    Page 221 of 268
  February... [6]             192/2                       51/22 52/7 53/12
   126/13 131/6              figured [1] 118/9            59/23 62/10 65/25
   132/11 135/17             file [8] 141/15              66/16 67/8 71/15
   138/17 142/13              141/20 141/24               72/9 74/2 74/8
  February 12 [1]             142/3 142/7 142/9           75/6 75/6 79/20
   42/6                       142/11 142/14               80/25 81/20 81/22
  February 13th [1]          filed [6] 6/8                82/6 82/7 85/18
   44/14                      15/11 15/12 105/6           86/15 88/8 92/11
  February 14th [1]           172/17 172/18               94/6 94/17 94/24
   46/16                     files [9] 88/2               95/8 99/24 102/19
  February 15 [1]             88/5 120/6 120/8            105/5 107/2 109/15
   126/13                     132/16 134/9                109/16 113/11
  February 15th [4]           134/14 134/22               116/10 116/10
   46/8 46/12 135/17          134/25                      116/18 119/8
   138/17                    filings [2] 64/18            119/21 119/22
  February 2011 [1]           156/7                       119/25 124/21
   71/11                     filtering [1] 80/1           124/24 126/11
  February 2014 [2]          financial [3]                126/12 126/15
   66/23 124/22               38/17 136/6 138/19          127/21 127/23
  February 2018 [1]          find [23] 121/17             127/24 128/16
   142/13                     132/16 134/16               129/9 135/20
  February and [1]            145/6 158/19                137/19 139/19
   55/21                      158/20 158/24               139/20 141/14
  February of [1]             159/11 160/10               142/12 143/17
   40/7                       160/12 160/13               143/20 144/11
  fed [2] 107/3               161/3 161/8 161/10          144/16 146/12
   107/7                      161/11 170/5 177/5          164/9 164/23 171/8
  feeding [1] 80/9            185/4 185/13                174/14 180/2
  feel [3] 19/10              185/20 190/13              first-name [1]
   58/20 76/22                191/24 192/10               40/10
  FERNANDEZ [2] 1/22         fine [6] 11/23              fishy [1] 145/3
   6/1                        20/12 119/2 119/3          five [4] 115/14
  few [11] 44/22              169/22 192/9                115/14 115/15
   56/9 88/1 104/2           finish [3] 142/25            117/10
   135/21 137/21              155/20 155/21              Flagler [1] 2/6
   147/4 164/8 164/16        first [93] 7/19             FLEXNER [1] 1/16
   185/20 187/3               7/24 7/25 12/7             flipped [3] 167/25
  fiduciary [1]               13/15 13/16 13/21           168/23 168/25
   161/19                     28/1 32/23 35/3            Floor [1] 2/3
  fifth [4] 38/22             37/3 40/10 41/20           FLORIDA [16] 1/1
   39/9 39/9 91/11            42/23 42/23 43/9            1/15 1/18 1/23 2/6
  figure [4] 131/12           44/22 45/25 47/7            2/9 28/18 37/22
                              47/20 49/10 49/21           71/10 71/17 71/24
  F 9:18-cv-80176-BB Documentform
Case                               [10] on56/13
                              839 Entered  FLSD Docket founded
                                                       12/20/2021 [1]   87/8
                                                                  Page 222 of 268
  FLORIDA... [5]              104/11 105/10             founders [1] 86/23
   147/6 193/3 193/7          105/13 154/7 161/5        Founds [1] 86/17
   193/15 193/18              161/6 161/7 161/8         four [7] 10/22
  flsd.uscourts.gov           164/11                     28/23 31/10 85/3
   [2] 2/9 193/19            formalized [1]              85/18 142/12
  focus [11] 37/3             37/10                      157/11
   43/6 43/13 53/9           formally [1] 35/21         four-digit [1]
   62/22 86/13 94/8          format [3] 117/15           10/22
   96/12 102/17 109/2         117/16 118/4              fourth [1] 33/4
   111/4                     formatted [3]              frame [3] 51/3
  Focusing [1] 94/11          117/12 118/1               64/13 93/21
  folks [1] 28/11             118/21                    frankly [1] 52/10
  follow [4] 23/7            formatting [1]             fraud [1] 152/24
   26/4 59/11 176/11          134/23                    fraudulent [2]
  follow-up [2] 23/7         formed [3] 31/23            15/7 15/13
   176/11                     56/18 91/9                free [1] 152/9
  followed [1] 180/2         former [3] 62/18           FREEDMAN [11] 1/13
  following [2]               62/23 63/7                 1/14 4/22 5/6 6/7
   109/3 109/10              forth [1] 97/18             6/18 7/3 12/1
  font [1] 84/19             forthwith [1]               13/14 16/14 17/7
  foolish [1] 11/3            191/20                    frenzy [1] 55/2
  force [1] 74/24            Fortunately [1]            frequency [1]
  foreclosure [2]             180/15                     66/25
   135/25 136/3              forum [4] 185/3            frequent [2] 56/8
  foregoing [1]               185/7 185/11               67/2
   193/10                     185/13                    friend [8] 34/14
  foreign [3] 137/20         forward [7] 22/16           42/24 43/3 58/3
   145/8 145/11               26/21 75/20 75/21          179/7 179/10
  forensic [4] 86/18          124/9 134/9 168/7          179/12 179/18
   122/18 122/19             forwarded [3]              friendly [2]
   129/17                     43/14 92/9 98/25           187/10 187/13
  forensics [13]             forwarding [5]             friends [6] 31/24
   31/3 31/24 32/3            43/2 43/4 97/2             69/25 164/8 164/16
   42/2 121/15 180/20         99/1 139/8                 178/7 189/19
   181/5 181/10              found [9] 122/9            front [4] 23/13
   181/18 182/7               122/10 145/22              26/25 167/21
   182/12 182/13              157/5 158/7 158/9          168/18
   182/15                     158/10 158/14             full [15] 8/10
  forever [1] 39/5            160/24                     10/18 11/9 12/4
  forget [2] 23/1            foundation [3]              13/16 13/22 14/15
   190/19                     64/13 102/15 108/8         14/17 15/14 15/18
  forgot [1] 121/2           foundational [2]            16/16 37/23 70/8
                              61/2 102/10                79/2 120/13
                              69/8Entered
  F 9:18-cv-80176-BB Document 839
Case                                69/17    79/9Docket 12/20/2021
                                          on FLSD        55/9 55/25Page 57/5
                                                                        223 of 268
  fund [1] 67/14      87/20 90/21 111/5  62/11 63/4 64/21
  funds [1] 163/11    119/2 120/12       65/6 66/3 66/11
  further [7] 6/11    126/11 128/4 136/1 67/4 67/5 67/19
   13/11 17/13 17/15  164/19 164/19      68/5 68/6 68/13
   87/9 149/3 193/12  178/15 180/15      70/20 73/6 75/23
  future [4] 107/19   180/15 189/22      76/4 76/7 76/17
   108/3 108/4 108/12 190/7 190/7 190/11 77/1 77/10 78/22
                      190/11 190/23      79/9 79/23 80/17
  G                   191/2 192/9        82/22 86/7 91/5
  Gables [1] 1/23    gets [1] 154/8      91/8 94/16 94/19
  gaining [1] 132/15 getting [3] 80/18   95/8 96/10 96/11
  gaps [1] 18/15      106/6 140/16       101/15 102/19
  Gardens [1] 18/10 girl [1] 125/18      103/15 104/25
  gave [7] 145/16    give [18] 8/13      105/19 106/20
   154/20 157/9       27/19 39/1 41/12   107/13 109/7 109/9
   187/10 187/20      54/19 55/9 74/3    109/18 109/23
   187/20 187/25      75/24 79/25 80/10  110/3 110/11
  gears [1] 32/4      116/9 128/18       113/17 117/14
  general [3] 29/1    132/17 149/4 164/1 118/25 123/21
   56/13 101/8        170/4 170/10       124/2 124/20 129/5
  generally [15]      187/13             131/3 132/7 132/7
   25/13 30/4 40/20  given [5] 13/5      133/24 135/8 137/2
   45/2 51/7 59/13    16/22 16/25 123/6  137/6 137/8 138/15
   65/2 65/10 72/23   142/22             140/6 140/12
   73/1 93/14 93/18  giving [1] 105/13   141/13 144/18
   101/11 110/18     gladly [1] 132/17   146/12 151/14
   127/3             GLASER [9] 2/2 2/2 152/7 159/22
  generated [1] 7/24 4/12 4/20 7/14      162/17 175/6
  generating [1]      10/2 11/25 16/6    179/23 181/22
   95/1               16/13              187/3 188/18 189/3
  generation [1]     gmail.com [1]       189/4
   12/7               76/10             goes [2] 23/19
  gentleman [2] 32/1 GMX [2] 49/13       87/6
   159/17             49/17             going [81] 4/18
  Gentlemen [6]      go [107] 4/4 4/10   8/20 10/8 10/17
   20/14 20/22 24/3   4/24 7/19 12/18    11/7 11/25 16/9
   57/11 124/2 188/6  21/8 21/10 23/17   16/20 16/24 18/7
  Germany [1] 28/23   28/24 29/2 33/4    18/7 18/11 19/12
  get [38] 4/7 4/13   34/2 34/5 34/24    20/6 21/18 23/4
   4/14 4/24 25/20    39/12 45/21 46/22  23/7 23/23 24/9
   27/12 28/19 30/18  47/16 51/18 51/18  25/14 25/17 25/21
   43/14 52/3 55/25   53/3 53/13 54/2    26/9 26/12 26/13
   59/1 64/3 65/22    54/5 54/6 54/12    27/2 32/9 39/11
  G 9:18-cv-80176-BB Documentgrab
Case                               [1] on
                              839 Entered 145/24         64/10 64/13
                                            FLSD Docket 12/20/2021       64/14
                                                                   Page 224 of 268
  going... [53]              granted [2] 17/16           64/17 65/23 65/23
   39/12 39/12 42/11          38/5                       66/9 66/19 66/22
   43/5 44/21 46/23          graphics [1] 5/15           67/1 67/1 68/25
   60/1 60/8 66/11           great [12] 9/13             69/5 69/6 69/9
   67/5 72/22 81/14           11/16 32/25 57/9           70/12 70/15 70/16
   81/15 84/22 85/3           65/14 66/6 80/6            71/24 75/16 79/6
   88/4 90/20 94/8            96/13 117/23               81/5 86/20 87/13
   99/11 103/19               124/12 144/6               90/25 91/9 91/20
   104/16 108/5               192/19                     91/22 92/9 92/11
   108/14 108/21             grew [1] 28/17              97/11 98/12 103/11
   118/18 123/23             grounds [4] 58/9            104/12 104/21
   125/16 132/2 135/8         104/18 127/12              105/10 108/5
   140/14 140/15              172/19                     109/19 112/20
   144/8 146/8 148/12        guess [16] 37/17            112/23 113/5 113/8
   151/8 151/18               53/6 54/2 55/11            116/10 116/12
   152/17 160/17              66/12 80/17 81/21          117/8 121/19 123/4
   164/19 164/19              99/1 110/12 112/7          126/17 126/17
   166/9 167/21 168/9         118/4 131/5 143/6          128/7 128/7 129/9
   168/11 168/13              150/13 164/6               129/12 130/6
   169/8 169/9 180/14         189/17                     134/22 136/13
   187/3 188/7 189/22        guy [5] 13/10               137/19 138/23
   190/11 192/16              145/9 145/9 145/11         138/25 140/21
  gone [3] 79/6               145/14                     141/23 142/8
   102/10 165/5              guys [3] 40/9               144/24 146/24
  good [32] 4/3 4/5           145/14 145/18              147/4 148/12 153/5
                                                         153/17 157/2
   4/6 4/8 4/11 4/12         H                           158/11 158/18
   5/9 5/16 5/17 5/19        hack [1] 29/14
   5/21 5/23 5/25                                        159/8 159/11
                             hackers [3] 29/11           163/23 164/10
   18/3 18/21 18/23           29/15 186/3
   19/22 21/9 24/20                                      165/5 174/22
                             had [137] 6/10              175/17 175/20
   24/21 25/6 25/7            19/15 23/5 23/5
   29/15 57/8 58/12                                      175/24 176/8 177/8
                              23/13 27/16 28/8           178/3 178/6 178/13
   59/9 59/10 123/24          37/10 39/17 39/19
   152/14 176/18                                         178/23 178/25
                              39/20 39/23 39/24          179/8 180/4 181/1
   185/18 188/3               40/1 40/2 42/9
  Google [1] 13/21                                       181/4 182/17 183/8
                              43/11 43/15 49/9           183/10 183/12
  got [5] 42/24 48/5          49/13 49/25 50/1
   66/13 69/13 110/23                                    184/17 184/20
                              50/12 52/10 53/7           186/3 187/15 193/8
  gotten [1] 10/7             53/7 54/10 54/15
  government [3]                                        hadn't [2] 39/18
                              54/16 55/14 55/15          105/3
   31/19 78/13 186/10         56/9 57/23 58/25
  Gox [1] 9/8                                           hairy [1] 39/7
                              63/7 64/6 64/9            half [6] 83/7
                              26/3Entered
  H 9:18-cv-80176-BB Document 839
Case                                30/7on32/7          190/1 Page 225 of 268
                                           FLSD Docket 12/20/2021
  half... [5] 104/9         33/14 37/5 37/6          hearing [5] 4/17
   106/13 106/14            46/15 46/20 75/6          4/18 19/16 24/25
   132/17 132/17            95/14 98/2 104/6          116/21
  halfway [1] 8/9           108/16 125/3 127/9       hearsay [14] 41/6
  Hallow's [1]              132/25 136/9              61/1 61/15 99/5
   171/20                   136/18 143/5              102/13 102/25
  Halloween [2] 48/8        154/14 156/5              104/18 127/6
   173/25                   172/18 179/7 182/4        127/13 172/15
  hand [3] 21/18            183/18 184/9 189/6        172/19 172/21
   24/9 193/14              189/23                    172/21 173/18
  hands [1] 59/16          have [201]                held [5] 70/8
  handwriting [4]          haven't [1] 177/7          70/17 81/11 134/15
   117/1 117/3 117/4       having [5] 24/24           156/8
   117/8                    98/12 136/6 152/3        helicopter [2]
  handwritten [4]           161/23                    28/25 29/8
   33/17 77/16 83/18       he [355]                  hell [2] 52/12
   175/23                  he's [23] 13/6             52/19
  happen [1] 25/14          22/20 23/4 28/6          help [8] 10/24
  happened [8] 30/9         28/10 34/14 39/10         29/15 69/11 74/16
   116/2 118/13 121/7       43/4 50/21 55/10          74/16 129/23
   165/3 165/14 167/8       95/15 97/2 101/5          130/11 170/17
   189/13                   103/10 103/21            helped [6] 31/3
  happening [1]             104/17 133/11             31/17 34/16 54/25
   110/7                    136/19 139/8              170/18 182/20
  happens [4] 118/3         170/17 173/16            helpful [2] 9/19
   118/3 118/19 166/1       177/14 192/4              9/21
  happy [3] 16/15          head [2] 31/3             her [13] 26/13
   17/1 79/24               156/23                    69/6 69/19 99/16
  hard [16] 36/16          heading [1] 127/11         125/20 128/4 128/8
   89/10 110/21            health [2] 176/18          128/10 128/11
   111/11 111/12            176/21                    128/22 129/13
   112/12 113/24           hear [8] 6/17              130/7 130/16
   114/3 115/10             19/18 102/4 111/17       here [46] 4/23
   115/11 115/20            111/19 111/21             5/13 5/14 10/12
   115/25 116/2             141/6 151/11              10/23 17/22 17/25
   137/10 184/17           heard [22] 10/15           18/1 20/24 21/1
   184/20                   12/1 12/2 30/7            21/7 23/16 27/8
  hardware [2] 78/8         31/25 39/17 39/20         27/10 27/12 38/4
   81/12                    39/24 40/2 42/9           38/5 38/13 38/15
  has [36] 6/8 10/6         47/11 48/7 98/2           42/11 57/12 57/19
   10/21 14/15 16/23        99/23 121/3 143/5         65/1 80/8 91/21
   16/25 23/17 23/18        165/11 165/11             92/20 99/7 99/14
                            175/6 175/10 189/8        115/14 115/25
Case                          131/19
  H 9:18-cv-80176-BB Document 839      136/10
                                  Entered                 146/13 153/2
                                          on FLSD Docket 12/20/2021 Page 226 of 268
  here... [16] 124/5 139/11 142/17                        153/10 155/20
   125/10 128/12      144/13 144/25                       155/21 156/25
   130/11 136/12      145/9 145/13                        156/25 157/2 157/2
   141/3 141/4 141/10 148/22 150/13                       158/7 158/11
   149/12 149/13      150/14 150/23                       162/25 163/22
   149/19 153/1       161/23 163/23                       164/8 164/10
   174/18 176/23      166/12 170/17                       166/12 166/15
   191/21 192/16      170/18 177/17                       167/12 170/3 170/4
  Here's [1] 191/14   177/18 179/13                       170/5 170/18
  hereby [2] 35/5     186/2 186/14 189/8                  173/17 176/4
   193/7             himself [2] 132/25                   176/15 176/23
  hereunto [1]        156/14                              177/5 180/24 181/5
   193/14            hired [5] 29/14                      182/1 182/2 182/20
  hernandez [6] 2/7   109/18 122/20                       183/13 184/23
   2/9 193/5 193/17   122/20 122/21                       184/24 184/25
   193/17 193/19     his [110] 11/8                       185/5 185/14
  Hey [1] 187/21      13/5 13/5 13/6                     holding [1] 31/7
  Hi [2] 45/25 96/25 16/24 17/6 18/9                     home [21] 29/10
  hide [2] 58/12      22/25 23/5 26/20                    109/7 109/9 109/17
   160/8              27/20 29/20 30/4                    110/4 110/10
  high [2] 28/19      30/4 30/14 30/14                    110/16 110/19
   28/21              30/22 31/8 31/23                    112/4 112/7 112/18
  highlight [6] 8/1   32/3 39/4 47/1                      117/7 119/11 121/4
   9/5 38/21 43/22    47/1 52/11 52/19                    121/10 121/12
   91/12 96/13        56/21 58/4 58/7                     121/17 121/19
  highlighted [6]     59/16 59/20 73/11                   123/11 123/13
   38/7 47/17 52/7    76/24 77/16 77/18                   153/2
   68/8 104/5 131/11  77/25 80/12 83/7                   honestly [1]
  highlights [1] 7/9 83/17 83/18 84/16                    189/16
  highly [2] 10/7     84/18 95/12 95/13                  Honor [155] 4/5
   166/15             96/1 97/21 98/7                     4/8 4/16 5/1 5/6
  him [53] 11/8 23/6 100/4 107/11 109/7                   5/9 5/17 5/19 5/21
   23/18 28/1 28/2    109/9 109/10                        5/25 6/14 7/2 7/6
   34/11 34/15 40/23  109/18 109/19                       7/10 7/17 8/4 8/10
   42/12 43/10 47/1   110/12 110/20                       8/12 8/16 8/23 9/5
   48/17 56/21 70/2   122/5 122/13                        9/22 9/24 10/3
   73/12 74/10 77/22  125/18 128/25                       12/6 12/15 12/17
   79/24 84/12 89/10  132/16 132/25                       13/11 13/15 13/17
   93/14 94/14 99/1   134/18 135/24                       14/9 14/19 15/2
   107/10 113/7 113/8 136/14 140/22                       15/6 15/11 15/21
   116/12 121/8       142/8 145/1 145/4                   16/1 16/8 16/18
   128/21 129/20      145/14 145/22                       17/4 17/5 17/8
                      145/23 146/12                       17/20 17/24 18/4
Case                          189/25
  H 9:18-cv-80176-BB Document 839      190/13
                                  Entered on FLSD Docket I
                                                         12/20/2021 Page 227 of 268
  Honor... [110]              191/7 191/25      I'd [9] 13/16
   18/5 19/22 20/2           Honor's [1] 16/10   32/14 45/16 59/12
   20/9 20/17 20/20          HONORABLE [1] 1/10 83/20 143/3 177/21
   21/2 21/6 21/17           hope [1] 57/22      179/23 189/20
   21/20 21/25 22/2          hospital [3] 30/21 I'll [32] 8/13
   24/24 26/13 26/16          30/25 176/23       16/13 16/15 20/23
   26/18 32/14 32/21         hospitalized [1]    21/1 25/4 26/3
   36/5 36/11 36/13           176/22             41/14 57/12 58/13
   36/23 40/15 41/1          hostile [1] 97/4    67/7 68/8 68/15
   41/4 41/9 44/18           hour [2] 18/13      92/22 103/23
   45/10 51/11 57/5           20/10              115/18 124/5 150/8
   57/14 57/17 57/18         house [12] 109/19   151/19 151/22
   61/17 73/17 73/20          111/3 111/15       154/10 157/17
   75/24 82/9 83/19           111/25 115/15      159/24 163/6 175/6
   84/21 85/9 85/12           122/10 135/24      178/15 188/15
   88/14 88/16 89/2           136/2 144/15 157/2 190/2 190/23 191/2
   89/12 90/1 90/16           158/11 177/5       192/9 192/16
   91/1 92/1 94/1            housekeeping [1]   I'm [119] 6/6 6/17
   96/6 99/3 99/7             16/19              7/8 7/12 8/24
   101/24 102/1 102/4        how [31] 9/6 11/11 10/12 10/17 11/2
   102/9 108/22               12/7 17/6 28/1     11/3 11/6 11/25
   111/17 114/13              28/5 29/4 29/17    14/5 16/9 17/1
   115/2 126/24               31/7 31/8 46/18    21/18 23/7 23/22
   130/24 133/8 135/7         66/21 66/25 84/15  24/1 24/8 25/17
   138/7 138/9 138/12         84/18 87/25 94/25  26/6 26/9 27/2
   139/3 139/13               103/19 110/6 112/4 28/24 29/13 29/18
   142/18 142/20              126/11 128/17      32/13 36/14 42/12
   143/3 143/23               128/18 131/12      44/21 52/12 52/12
   143/25 148/25              144/24 148/5       52/20 53/15 58/11
   149/7 150/18 154/7         153/24 154/4 160/7 58/17 60/8 66/11
   155/19 155/19              182/25 188/24      68/6 68/15 72/21
   156/11 157/15             however [4] 9/4     74/10 74/16 82/7
   160/19 163/6               10/6 76/20 76/21   82/15 83/12 84/22
   167/16 168/2 168/6        huge [1] 10/4       85/3 88/4 89/4
   169/16 169/21             huh [9] 25/23       89/5 90/20 94/14
   172/2 172/8 172/11         26/11 31/13 63/13  102/4 102/23 103/5
   172/14 172/16              113/21 131/7 165/8 107/11 107/22
   172/22 173/5               167/11 175/8       111/18 112/10
   173/10 173/15             humble [2] 53/15    116/20 116/23
   173/20 177/23              55/11              117/20 126/4 127/4
   179/14 185/19             humility [2] 54/22 129/23 131/13
   188/3 188/22               55/11              131/19 133/6 133/7
                              143/17
  I 9:18-cv-80176-BB Document 839
Case                                   163/16
                                  Entered                 11/6 12/13
                                          on FLSD Docket 12/20/2021 Page 13/10
                                                                         228 of 268
  I'm... [49] 133/12         identifying [2]              16/21 60/25 62/17
   140/14 140/15              50/21 78/4                  63/25 64/1 64/22
   144/8 150/12              identity [1] 10/20           65/16 72/13 80/10
   150/19 151/8              ignorant [1] 183/4           81/1 87/22 103/19
   151/11 151/18             illegal [1] 148/6            105/12 107/3 107/6
   152/13 156/2 156/3        imagine [1] 180/13           107/8 114/6 126/22
   157/10 159/4 159/5        immediately [1]              128/4 128/21 160/4
   160/1 160/2 160/12         111/14                     information which
   160/16 160/17             impair [1] 10/23             [1] 64/22
   161/8 162/21              imperative [2]              initial [1] 168/5
   165/20 165/21              10/10 11/10                initially [1] 30/5
   167/21 168/13             impossible [1]              initials [2] 86/16
   169/8 169/9 169/10         189/25                      93/5
   171/12 171/23             impressed [1]               initiated [1]
   172/9 174/16               47/13                       171/16
   176/11 176/20             improper [1] 154/7          injured [1] 30/8
   176/25 177/10             Inaudible [1]               injuries [2] 30/14
   180/14 181/19              151/10                      59/12
   182/11 182/12             Inc [2] 29/11               inquire [1] 17/5
   187/3 187/4 188/24         186/3                      inquiries [3]
   189/18 189/22             included [1] 65/7            62/15 62/21 107/10
   190/11 190/18             incorrect [1]               insanely [2]
   192/16                     179/2                       185/25 186/14
  I've [9] 9/13              incredible [1]              inserted [1]
   10/15 12/1 12/2            48/16                       113/24
   122/13 158/6              indicate [1] 177/8          inside [1] 81/11
   170/18 178/6              indicated [1]               insight [1] 128/17
   178/13                     154/21                     inspect [2] 123/1
  I-R-A [1] 24/14            indications [1]              123/4
  Ian [2] 129/23              127/9                      installed [1]
   129/25                    indirectly [1]               114/1
  idea [5] 55/1 55/3          19/8                       instead [2] 87/21
   55/14 55/15 112/19        individual [3]               107/9
  ideally [1] 108/22          15/1 15/20 23/10           instruct [4] 70/25
  ideas [1] 87/10            individually [1]             71/3 71/13 71/17
  identified [5]              64/6                       instructed [2]
   10/12 13/24 14/16         individuals [1]              26/19 32/7
   126/5 141/10               4/21                       instruction [1]
  identifies [2]             Info [10] 1/4 32/9           142/20
   16/20 105/21               61/11 62/20 63/11          intellectual [7]
  identify [6] 44/22          83/2 86/21 86/23            40/3 70/8 70/17
   77/18 135/16 138/3         88/12 90/11                 71/4 78/7 184/4
                             information [24]             184/9
  I 9:18-cv-80176-BB Documentinvolvement
Case                          839 Entered on FLSD        23/11 23/11
                                             [4] Docket 12/20/2021       24/6
                                                                   Page 229 of 268
  intend [1] 14/10            39/20 65/3 134/23           27/17 32/17 36/3
  intent [1] 53/20            178/8                       36/9 36/23 37/18
  interest [2] 29/20         IRA [18] 1/3 3/9             40/21 42/13 42/21
   38/17                      5/3 21/21 24/11             45/3 45/6 46/6
  interesting [1]             24/14 24/23 25/9            46/6 46/16 48/8
   145/1                      35/6 37/5 37/21             48/21 51/2 53/6
  internal [6]                39/1 45/24 74/15            54/4 57/6 58/15
   111/11 112/13              103/18 106/7                59/25 60/14 61/1
   115/10 115/11              127/21 177/23               61/4 61/20 61/24
   115/20 117/11             irrelevant [2]               64/22 66/12 73/3
  interrupt [1]               13/4 123/16                 74/3 76/5 76/12
   58/11                     IRS [1] 59/25                78/25 81/21 82/12
  introduce [7]              is [496]                     85/3 85/8 85/18
   15/19 17/25 24/22         isn't [30] 149/13            85/18 89/10 90/25
   25/8 47/7 114/19           149/24 153/6                92/2 93/9 93/20
   172/10                     153/14 154/12               96/14 98/24 99/5
  introduced [6] 6/2          158/16 160/10               99/10 99/13 99/14
   41/11 93/11 128/11         160/15 161/4                101/4 101/12
   128/22 190/5               161/11 161/23               101/14 102/6
  introduction [2]            162/3 162/7 162/23          102/14 102/23
   126/20 128/24              163/12 163/17               102/25 107/3 107/6
  introductory [1]            163/24 164/2                113/16 114/18
   39/15                      164/12 170/2                114/20 115/1 115/4
  invent [6] 153/6            171/17 174/7                115/5 117/3 117/17
   153/18 153/21              175/10 176/2 179/1          118/20 126/3 126/4
   158/15 159/14              184/9 185/3 186/1           127/21 135/16
   166/9                      186/11 187/22               135/16 136/22
  inventing [2]              issuance [1] 37/7            137/10 139/6
   165/21 167/22             issue [15] 6/19              139/20 140/2
  invention [1]               10/13 12/10 13/16           142/22 143/19
   155/5                      14/14 14/17 16/7            150/21 156/7
  inventor [1] 48/3           16/19 22/21 84/8            156/19 158/22
  invest [1] 132/17           84/9 104/2 134/8            159/24 160/15
  Investment [1]              146/9 148/3                 160/21 169/13
   104/7                     issues [6] 8/11              169/17 169/17
  investments [2]             12/2 82/4 148/5             169/21 169/22
   96/2 105/9                 189/1 191/22                169/23 170/9 172/9
  Invidia [1] 187/19         it [421]                     172/16 172/17
  involved [8] 11/22         it's [131] 9/5               173/6 173/17 174/9
   40/2 48/25 49/4            9/16 12/9 12/10             174/9 178/6 180/13
   49/5 128/18 184/17         12/24 13/6 13/17            182/16 189/25
   184/21                     13/24 17/16 18/23           190/10 190/16
                              18/24 19/3 20/10            190/20 190/25
                              32/15
  I 9:18-cv-80176-BB Document 839
Case                                  32/17
                                  Entered      32/19
                                          on FLSD         24/22 25/8
                                                  Docket 12/20/2021 Page 27/14
                                                                         230 of 268
  it's... [5] 190/25          95/24                       28/17 28/21 30/7
   191/3 191/11              JORGE [2] 1/21               31/14 31/25 32/7
   191/12 192/8               5/21                        32/15 36/3 36/8
  item [1] 102/25            Joseph [2] 34/10             36/22 37/4 38/25
  items [2] 110/16            34/13                       42/4 42/11 44/17
   192/16                    journalists [1]              45/1 47/10 50/25
  its [3] 41/7 41/8           55/1                        51/17 52/9 57/15
   101/8                     judge [62] 1/11              57/21 57/25 58/22
  itself [5] 13/3             6/2 8/20 22/5 22/7          58/23 58/25 62/3
   14/13 86/25 146/19         22/11 22/22 23/1            66/21 74/3 76/19
   173/18                     23/8 25/4 26/16             79/20 80/25 87/7
                              37/20 50/3 53/19            91/1 92/3 94/24
  J                           56/20 58/1 58/10            97/24 98/2 103/9
  JAMIE [2] 3/6               59/4 60/24 61/14            105/3 105/4 115/2
   19/23                      86/24 89/4 89/9             117/10 121/3 124/4
  January [10] 68/16          92/21 99/5 99/18            124/13 124/15
   68/17 68/19 171/22         101/1 101/5 102/23          127/18 127/20
   174/6 174/9 174/9          104/14 111/22               128/16 130/9
   174/13 176/8               114/15 114/22               132/13 134/11
   176/16                     116/20 116/23               135/16 135/21
  JCOMP [1] 187/18            127/5 127/6 127/9           139/5 143/5 144/8
  JE22 [4] 38/21              139/15 142/18               144/11 147/2 151/6
   83/20 83/24 83/25          146/19 150/8                154/24 155/9
  JiJi [3] 144/17             151/18 151/22               169/13 171/6
   165/1 165/7                152/8 159/17 163/2          173/14 187/4
  JIMMY [2] 3/7 20/6          168/9 169/8 173/3           188/17
  job [2] 30/4                173/6 177/12 187/3         jury's [4] 16/19
   109/16                     188/23 189/12               33/8 48/6 99/23
  jobs [2] 31/21              189/20 190/18              just [201]
   31/23                      190/23 191/2               just -- at [1]
  JOHN [20] 2/2 7/16          191/13 192/7                136/8
   7/23 10/8 10/11            192/19
                             judge's [1] 38/8
                                                         K
   10/13 10/18 10/19
   10/22 10/25 11/5          judgment [1] 70/9           Karp [6] 34/10
   11/6 11/11 11/22          judgments [3]                34/13 181/9 181/22
   13/3 15/6 15/9             67/24 68/2 87/22            181/24 181/24
   15/17 16/4 16/20          July [1] 33/19              KASS [3] 1/22 5/23
  John Doe [2] 10/8          jurors [2] 17/22             157/17
   10/11                      124/10                     keep [16] 29/1
  join [1] 189/4             jury [82] 1/11 4/2           46/9 79/2 79/2
  joined [1] 28/22            16/22 17/2 18/19            80/2 80/18 123/15
  joining [1] 18/8            18/20 18/21 20/25           123/19 166/16
  joint [5] 3/13              21/12 21/13 23/13           166/21 169/1 169/3
Case                          152/18
  K 9:18-cv-80176-BB Document 839      153/5
                                  Entered       153/9
                                          on FLSD         44/23 48/15
                                                  Docket 12/20/2021       50/21
                                                                    Page 231 of 268
  keep... [4] 169/4   153/10 153/13                       52/7 53/17 54/11
   170/12 170/13      154/4 155/8 155/22                  54/12 68/8 69/3
   192/15             156/13 156/20                       72/24 73/6 76/14
  kept [1] 43/11      158/15 159/3                        78/11 78/17 79/22
  key [1] 134/16      159/20 160/10                       97/23 100/2 100/2
  keys [5] 130/12     160/25 161/3                        100/7 100/11
   162/10 162/14      161/15 161/20                       101/10 101/13
   162/16 162/23      161/22 162/2 162/6                  114/11 117/19
  kid [1] 165/16      162/17 163/22                       119/24 122/11
  kind [7] 16/21      164/9 165/9 166/6                   123/10 126/4
   39/3 93/12 176/19  177/8 177/19                        126/18 129/23
   176/21 177/1       177/23 177/25                       136/17 150/5 153/9
   182/11             178/10 178/15                       153/24 154/3
  KLEIMAN [131] 1/3   179/5 179/7 179/7                   154/12 154/14
   1/4 3/9 5/3 18/7   180/14 180/17                       154/16 156/3
   18/9 18/12 21/7    182/16 182/17                       157/11 160/7 160/7
   21/21 22/3 22/12   183/16 184/3                        160/8 162/1 162/5
   24/8 24/11 24/14   184/11 185/24                       164/7 164/23 167/6
   24/20 24/23 24/25  188/18 188/25                       167/6 169/10 171/2
   25/6 25/9 27/24    189/4 189/5 189/9                   171/4 171/19
   28/5 28/12 32/10   189/11 191/17                       172/25 174/17
   32/12 33/8 33/14  Kleiman's [12]                       175/9 176/20
   35/3 35/6 35/6     22/24 117/7 156/24                  180/17 181/14
   37/3 37/5 37/21    158/9 161/9 162/10                  181/17 181/19
   37/23 38/16 38/25  162/13 162/18                       182/5 182/11
   39/1 40/20 50/20   162/22 162/23                       182/25 185/10
   59/3 59/9 60/8     183/13 184/16                       185/17 188/24
   61/25 62/10 62/19 knew [11] 43/10                      188/25 189/12
   62/24 63/7 64/17   66/14 69/25 70/2                    189/16 189/17
   67/9 67/12 67/22   128/17 128/20                       189/20 192/5
   68/19 68/20 68/22  129/13 129/17                      knowledge [6]
   69/15 69/20 83/1   173/24 176/18                       33/25 68/23 119/21
   83/5 83/16 86/18   182/13                              175/2 175/11
   86/19 88/7 88/20  know [101] 6/7                       175/12
   91/6 93/5 93/13    6/10 7/19 12/7                     known [2] 49/18
   104/21 106/7       13/4 17/6 17/8                      70/24
   108/16 124/9       18/6 19/14 20/13                   knows [1] 11/6
   124/20 133/10      21/7 21/10 23/20                   Kuharcik [6]
   135/15 138/23      23/24 24/5 27/5                     181/13 181/14
   139/16 140/12      29/6 32/1 33/20                     181/17 181/17
   141/3 149/3 149/12 33/23 34/17 40/17                   181/22 182/4
   149/14 151/3 152/4 43/1 43/10 43/15                   KYLE [2] 1/14 5/8
                      43/18 44/2 44/6
                              58/4Entered
  L 9:18-cv-80176-BB Document 839
Case                                58/13    80/12
                                          on FLSD         63/1 64/3
                                                  Docket 12/20/2021 Page69/3
                                                                         232 of 268
  lack [1] 65/19              141/7 141/8 171/5  71/15 72/24 77/23
  Ladies [6] 20/14            181/9 183/14       81/3 81/3 90/23
   20/22 24/3 57/11          lawyers [7] 25/21   104/21 109/23
   124/2 188/6                88/25 90/8 90/9    114/2 114/24
  language [1] 39/6           122/20 122/20      115/24 121/2
  laptops [8] 110/21          175/3              128/24 129/23
   111/7 111/8 111/9         leading [6] 56/21   135/20 135/21
   113/20 113/22              58/9 58/16 108/7   140/19 144/8
   113/23 116/6               115/17 141/25      155/21 162/17
  large [4] 93/3             leads [2] 50/4      162/20 163/7
   93/6 121/20 134/19         146/19             166/25 170/8
  larger [1] 151/8           learn [2] 170/21    171/24 172/6
  last [29] 6/12              170/24             174/11 175/1 175/1
   13/1 23/1 34/11           learned [4] 49/18   185/2 185/17
   37/18 48/13 52/20          100/10 188/9 188/9 190/22 190/23
   52/23 64/22 81/16         learning [1] 87/10 let's [100] 17/11
   81/16 100/23              least [8] 66/8      18/19 20/23 21/12
   101/13 102/15              76/4 80/1 93/13    26/21 34/24 40/12
   105/1 111/21               96/6 99/23 137/13  42/16 43/13 45/21
   111/22 111/23              143/20             47/4 47/23 48/20
   111/24 129/21             leave [3] 13/8      50/5 50/6 50/17
   132/10 142/15              19/2 107/17        51/21 54/2 54/9
   144/22 148/2 150/5        leaving [3] 39/10   54/12 54/19 58/19
   150/12 150/13              108/1 186/17       58/22 62/11 64/21
   150/17 176/22             lecturing [1]       65/15 67/5 67/19
  later [12] 44/9             87/11              68/5 68/6 68/13
   69/8 77/9 104/4           led [2] 58/7 184/3 70/20 77/2 78/22
   112/22 132/11             left [9] 29/9       80/2 80/16 80/24
   137/10 141/22              29/19 47/1 83/25   82/22 82/24 83/11
   142/8 143/10 174/9         105/6 110/1 117/15 86/7 90/21 90/24
   174/12                     117/18 134/19      91/5 91/8 94/16
  launches [1] 73/9          legal [4] 26/7      95/8 96/12 96/14
  law [1] 37/24               66/16 66/18 127/12 97/13 98/18 99/22
  laws [1] 37/21             Leon [1] 1/23       100/14 102/17
  lawsuit [15] 10/5          Leonard [2] 28/8    103/16 105/21
   10/6 38/4 90/11            28/9               106/23 107/1
   141/11 141/15             less [1] 174/12     107/13 108/24
   141/20 141/24             let [52] 17/1       109/15 111/4
   142/3 142/7 142/9          18/25 20/12 21/6   113/20 114/8
   142/11 142/14              21/10 23/24 24/3   114/10 115/8 115/9
   152/19 153/3               25/13 26/23 27/23  117/14 118/18
  lawyer [9] 39/6             34/7 39/15 40/17   118/25 119/11
                              42/4 44/23 50/20   119/20 123/21
Case                          109/19
  L 9:18-cv-80176-BB Document 839      110/8
                                  Entered                 141/13 149/22
                                          on FLSD Docket 12/20/2021 Page 233 of 268
  let's... [27]               110/20 110/20               151/16 152/6
   124/2 124/13               112/9 116/8 117/1          lived [1] 68/11
   124/20 129/5 130/4         122/13 123/8               lives [2] 18/10
   131/23 132/1 133/2         126/24 131/20               55/4
   134/8 135/6 136/1          139/13 143/3               living [2] 136/19
   136/2 136/22               143/23 145/2 145/5          183/2
   136/23 137/17              145/10 145/15              Liz [1] 177/24
   138/1 139/2 139/19         148/20 148/22              LLC [9] 1/4 31/24
   139/20 144/3               150/19 151/5 151/5          32/3 63/11 90/12
   146/12 148/7 167/8         152/13 152/14               180/20 181/5
   169/24 178/18              155/10 164/4                181/10 181/18
   190/8 192/2                165/16 167/12              LLP [2] 1/13 1/20
  letter [8] 64/17            167/22 170/16              load [1] 118/16
   66/13 69/13 69/17          170/17 173/1               loads [1] 118/14
   87/23 102/17               175/18 176/21              locate [1] 163/7
   102/17 167/25              177/21 186/2               located [2] 69/12
  letters [3] 14/24           188/24 189/20               122/10
   37/7 175/23               Limited [1] 104/10          locked [2] 121/22
  Licata [1] 17/25           line [18] 7/4 7/17           121/24
  life [15] 150/6             8/9 33/13 37/18            lodge [1] 26/7
   150/17 153/13              42/23 43/21 43/24          lodged [1] 104/6
   153/16 159/4               47/7 47/9 47/20            Lodgement [1]
   161/22 162/19              91/11 91/11 96/16           105/8
   162/22 162/25              97/3 148/12 168/1          logic [2] 160/16
   163/22 164/2               177/20                      160/17
   164/10 166/13             lines [6] 7/7 7/9           logical [1] 107/5
   176/23 186/17              7/13 43/9 145/7            logo [15] 145/5
  lifelong [1] 34/14          177/23                      145/21 145/24
  lifetime [1]               link [2] 11/8 75/6           147/8 147/12
   153/10                    list [4] 60/21               147/14 147/17
  light [1] 13/5              65/3 77/9 94/12             147/25 148/12
  like [69] 30/6             listed [3] 63/16             167/5 170/14
   32/14 39/10 42/20          156/8 156/14                170/19 170/22
   45/17 50/12 58/11         listen [1] 156/2             170/25 171/2
   59/25 61/17 61/18         lists [2] 68/17             logos [2] 148/21
   63/22 69/25 75/9           86/2                        170/17
   75/14 75/14 76/22         litigation [2]              London [1] 153/2
   77/20 78/6 78/13           38/17 122/17               long [13] 20/10
   78/17 83/20 88/14         little [16] 10/10            23/6 27/17 29/4
   89/2 89/25 90/14           11/3 32/4 34/24             29/17 31/7 31/9
   94/2 99/1 99/3             36/16 39/6 69/8             66/21 110/6 112/4
   100/6 101/24               84/22 89/18 114/2           134/3 159/24
                              123/22 140/16               184/25
Case                          95/16
  L 9:18-cv-80176-BB Document 839     95/18
                                  Entered                 134/19 135/23
                                          on FLSD Docket 12/20/2021 Page 234 of 268
  longer [2] 35/12           lot [3] 39/12                161/18 164/5 164/7
   147/12                     149/19 178/13               174/21 176/5 178/6
  longstanding [1]           lots [1] 187/15              186/3
   86/20                     Louis [2] 28/12             March [6] 52/5
  longtime [1] 185/6          28/15                       55/22 71/14 71/20
  look [35] 7/7              love [1] 147/3               105/25 106/15
   46/15 48/13 48/17         LTD [1] 104/23              mask [2] 36/16
   48/20 48/24 51/22         lunch [8] 19/1               190/19
   53/13 58/11 69/11          22/20 22/21 25/17          match [2] 14/21
   79/12 80/16 80/24          57/12 57/13 57/23           15/8
   83/11 83/12 91/17          58/25                      materials [2]
   98/18 100/14              Lynn [2] 87/4 98/2           82/16 82/20
                                                         math [4] 52/10
   106/18 123/7              M                            54/16 185/25
   128/23 130/14             ma'am [1] 19/19
   131/23 132/1 133/2                                     186/14
                             machine [1] 193/8           matter [12] 22/2
   134/8 136/22              Macquarie [1]
   137/17 139/2                                           22/14 51/8 60/19
                              147/5                       61/10 85/7 93/23
   145/16 146/12             made [4] 6/12
   179/23 180/14                                          99/6 104/18 127/2
                              33/23 64/17 162/20          188/23 189/21
   180/16 189/20             magnificent [1]
  looked [20] 51/5                                       matters [5] 24/4
                              147/3                       71/1 103/1 127/8
   54/15 55/21 56/25         mail [1] 131/15
   65/16 73/14 77/20                                      183/5
                             make [29] 18/14             mattress [1]
   78/6 81/5 84/8             19/14 22/15 25/14
   90/25 117/7 120/1                                      109/19
                              54/13 58/19 60/9           may [63] 10/20
   123/8 132/10               80/2 82/11 85/4
   135/15 158/3 158/5                                     11/22 11/22 17/4
                              90/20 107/15                19/2 19/4 20/7
   158/6 185/12               114/24 116/20
  looking [17] 7/8                                        23/15 24/16 25/12
                              130/25 151/3 151/8          26/6 26/7 32/20
   9/17 54/3 73/2             151/8 151/23
   78/18 89/5 89/6                                        39/3 43/5 54/25
                              152/12 155/8 164/6          58/20 59/5 59/6
   91/8 115/9 117/6           167/8 167/22 170/8
   118/6 122/15 123/7                                     62/3 62/4 70/2
                              175/1 183/2 188/12          70/24 70/24 91/2
   136/25 140/9               191/17
   169/14 173/7                                           92/4 99/7 99/8
                             makes [2] 11/9               104/14 112/8
  looks [4] 39/10             23/6
   42/20 117/1 148/22                                     114/25 115/2
                             making [6] 19/15             116/21 119/12
  lopsided [1] 78/15          134/20 145/1 145/2
  Los [1] 2/4                                             124/25 127/7
                              148/6 152/19                127/18 128/25
  lose [3] 59/16             many [15] 50/12
   59/16 59/20                                            128/25 138/21
                              52/1 54/25 76/12            143/22 148/24
  lost [3] 15/13              94/25 120/19                149/9 150/7 150/14
Case                          103/22
  M 9:18-cv-80176-BB Document 839      104/21
                                  Entered                 185/7 185/10
                                          on FLSD Docket 12/20/2021 Page 235 of 268
  may... [18] 151/12          107/3 107/7 107/8          Members [2] 18/21
   151/15 155/11              111/2 111/18 114/2          58/24
   156/13 163/2 164/7         114/24 115/16              memorizing [1]
   167/7 167/16               115/24 119/23               82/15
   167/17 168/2 168/3         121/2 123/6 128/11         memory [5] 120/20
   168/6 169/15 172/2         128/12 128/17               144/14 150/13
   172/4 173/10               128/18 128/22               150/16 179/11
   173/22 179/14              128/24 129/23              men [1] 159/5
  May 20th [1]                134/1 135/20               mental [1] 59/19
   143/22                     135/21 135/22              mention [5] 176/20
  May 26th [1] 20/7           142/13 144/13               178/8 185/4 185/13
  May of [2] 112/8            144/14 145/1 145/5          187/24
   119/12                     145/16 145/20              mentioned [17]
  maybe [14] 23/18            145/23 148/12               12/9 72/4 81/18
   26/4 31/10 81/21           148/20 151/9                81/25 123/10
   114/13 116/7               153/11 154/14               125/18 130/11
   136/22 145/3               154/22 155/3                145/20 146/24
   145/17 152/5               161/25 162/17               153/13 161/25
   170/19 187/19              162/20 163/8                166/23 166/24
   187/23 190/6               166/25 170/4 170/8          176/3 182/17 183/9
  MCGOVERN [9] 1/21           170/13 170/17               193/9
   5/20 8/22 9/10             170/19 170/23              message [8] 40/19
   12/2 12/16 16/14           171/1 171/24 172/6          42/8 42/12 43/4
   141/8 141/10               174/11 175/1 175/1          56/24 57/2 86/4
  McGovern's [1]              176/19 177/1 178/8          120/13
   8/20                       179/12 181/11              messages [1]
  me [120] 8/13 17/1          181/15 181/20               175/20
   18/25 19/18 21/10          182/8 183/9 183/18         MESTRE [3] 1/20
   24/3 25/13 26/23           185/2 185/17                1/21 5/21
   27/17 27/23 33/10          186/13 187/9               met [6] 69/6 129/9
   34/7 39/7 39/10            190/22 190/23               129/15 129/20
   39/15 40/17 42/4          me one [1] 75/24             144/16 164/24
   47/12 48/5 52/17          mean [5] 58/12              methodologies [1]
   57/6 60/21 61/17           81/10 117/25                87/11
   61/18 63/1 64/3            147/25 176/10              Miami [9] 1/15
   64/25 69/3 70/16          meaning [4] 53/20            1/18 2/6 2/8 2/9
   71/15 73/12 74/24          56/10 116/9 140/8           176/23 193/15
   75/24 77/23 80/9          means [1] 117/21             193/18 193/18
   80/10 81/2 81/3           meant [3] 47/10             MICHAEL [2] 1/22
   81/3 81/18 82/8            93/4 147/24                 5/25
   90/23 97/2 98/10          medical [4] 22/24           microphone [2]
   98/25 99/2 103/14          23/17 27/16 30/13           19/17 25/3
                             member [3] 5/12             middle [9] 20/11
  M 9:18-cv-80176-BB Documentmistake
Case                                   [1]
                              839 Entered      133/7
                                          on FLSD         5/23 5/25
                                                  Docket 12/20/2021 Page6/5  18/3
                                                                         236 of 268
  middle... [8] 34/8         mitigating [1]               18/8 18/21 19/22
   34/8 66/23 76/3            87/9                        21/9 23/1 27/8
   91/13 118/5 118/22        mom [2] 35/11                155/18 188/16
   156/11                     182/1                       191/21 192/15
  might [8] 20/22            mom's [1] 35/12             most [4] 14/2 14/4
   128/23 157/11             moment [13] 21/24            110/20 175/18
   167/4 167/5 167/5          22/5 38/14 41/4            mother [2] 34/14
   170/16 185/17              58/5 89/9 138/7             35/5
  MILLER [4] 2/5              148/24 162/18              motion [2] 6/19
   60/14 100/18 103/9         163/2 164/20                22/15
  million [8] 67/13           179/14 187/14              motorcycle [3]
   67/17 70/13 104/9         Monday [2] 27/6              30/10 30/22 59/17
   104/12 106/13              27/8                       movant [6] 6/21
   106/14 174/21             monetary [1] 96/1            6/22 6/25 7/16
  millions [1]               money [13] 135/25            7/19 7/23
   140/18                     136/5 137/11 145/1         move [33] 23/25
  mind [3] 8/23               145/2 145/4 145/14          26/21 32/4 32/15
   124/10 151/21              146/17 148/6                36/12 41/1 45/10
  mine [11] 44/3              164/14 165/21               51/12 51/12 53/19
   87/12 91/9 91/14           167/23 186/21               61/12 73/18 85/10
   95/17 153/6 153/18        month [3] 56/16              88/15 89/2 89/25
   153/21 158/15              94/25 106/3                 90/14 90/21 94/2
   159/15 187/7              months [9] 56/2              99/4 101/25 133/19
  mined [11] 39/24            66/24 67/1 81/21            134/20 138/9
   43/24 87/14 91/22          81/22 112/6 113/9           139/14 143/24
   92/14 92/19 93/2           132/11 174/12               151/12 151/16
   93/6 141/23 174/13        more [30] 8/13               151/19 152/9 163/8
   174/22                     11/10 16/15 26/23           169/9 169/15
  mining [12] 91/13           31/10 52/13 56/1           moving [1] 24/1
   94/25 95/2 95/4            56/8 56/9 56/12            MR [13] 3/9 3/10
   95/12 95/14 95/15          63/2 76/22 80/1             21/7 26/15 50/20
   95/19 95/24 95/24          84/12 84/22 86/5            60/8 83/25 111/17
   142/4 155/5                93/20 94/12 94/14           124/20 171/12
  minus [1] 174/21            109/9 110/14                171/25 172/7
  minute [5] 20/23            112/22 128/21               189/11
   75/24 124/3 179/25         131/17 136/22              Mr. [117] 4/12
   189/10                     136/24 137/2                4/22 4/23 5/18 6/2
  minutes [3] 57/6            185/20 187/4                6/7 6/7 6/18 7/3
   124/5 187/4                191/18                      8/18 10/2 12/1
  missed [1] 12/7            morning [26] 4/3             13/14 16/14 17/7
  misspelled [1]              4/5 4/6 4/8 4/11            18/7 18/9 18/12
   130/1                      4/12 5/6 5/9 5/16           19/14 20/6 21/17
                              5/17 5/19 5/21              21/18 22/3 22/4
  M 9:18-cv-80176-BB DocumentMr.
Case                          839 Brenner    [10]Docket Mr.
                                  Entered on FLSD             Nguyen
                                                        12/20/2021 Page[1]
                                                                        237 of 268
  Mr.... [93] 22/6            21/18 22/4 22/6            21/17
   22/12 22/23 22/24          22/23 58/12 58/15         Mr. Paige [2]
   24/8 24/20 24/25           61/16 177/24 189/6         41/11 42/9
   25/6 25/20 25/25           191/16                    Mr. Paige's [1]
   26/3 26/7 27/20           Mr. Freedman [8]            44/14
   33/8 35/3 37/3             4/22 6/7 6/18 7/3         Mr. Payne [2] 4/12
   38/25 40/20 41/11          12/1 13/14 16/14           10/2
   42/9 44/14 58/12           17/7                      Mr. Rivero [14]
   58/15 59/3 59/9           Mr. Jimmy [1] 20/6          4/23 6/7 8/18
   61/16 61/25 62/10         Mr. Karp [2]                25/20 25/25 26/3
   62/19 62/24 63/7           181/22 181/24              26/7 27/20 102/8
   67/9 67/12 68/19          Mr. Kass [1]                143/5 149/5 151/15
   68/20 68/22 88/7           157/17                     185/17 191/20
   88/20 91/6 93/13          Mr. Kleiman [62]           Mr. Roche [1]
   102/8 104/21 117/7         18/7 18/9 18/12            141/7
   124/9 133/10               22/3 22/12 24/8           Mr. Shah [4] 6/2
   135/15 138/23              24/20 24/25 25/6           171/7 173/19
   141/3 141/7 143/5          33/8 35/3 37/3             177/12
   143/6 149/3 149/5          38/25 40/20 59/3          Mrs. [1] 141/10
   149/12 149/14              59/9 61/25 62/10          Mrs. McGovern [1]
   151/3 151/15 152/4         62/19 62/24 63/7           141/10
   152/18 153/9 155/8         67/9 67/12 68/19          Ms [2] 41/18 103/3
   155/22 156/13              68/20 68/22 88/7          Ms. [61] 4/12 4/20
   156/20 157/17              88/20 91/6 93/13           5/14 7/14 8/20
   159/20 160/10              104/21 124/9               8/22 9/10 10/2
   162/17 164/9 171/7         133/10 135/15              11/25 12/2 12/16
   173/19 177/12              138/23 141/3 149/3         16/6 16/13 16/14
   177/19 177/24              149/12 149/14              34/2 34/23 35/25
   177/25 178/10              151/3 152/4 152/18         37/15 38/20 40/13
   178/15 180/14              153/9 155/8 155/22         42/18 44/10 44/21
   181/17 181/22              156/13 156/20              45/16 47/5 47/17
   181/22 181/24              159/20 160/10              48/21 50/16 50/19
   182/4 185/17               162/17 164/9               60/5 60/8 66/4
   188/18 188/25              177/19 177/25              68/16 68/22 69/1
   189/4 189/5 189/6          178/10 178/15              69/10 69/14 69/18
   189/9 191/16               180/14 188/18              69/24 70/25 71/3
   191/17 191/20              188/25 189/4 189/5         71/13 71/17 71/23
  Mr. Amit [1] 5/18           189/9 191/17               72/22 84/5 85/4
  Mr. Antonopoulos           Mr. Kleiman's [2]           85/16 87/18 93/12
   [1] 143/6                  22/24 117/7                95/8 96/10 98/10
  Mr. Barnett [1]            Mr. Kuharcik [3]            99/10 103/15 115/6
   19/14                      181/17 181/22              116/16 119/1 130/2
                              182/4                      137/4 141/8
Case                          155/20
  M 9:18-cv-80176-BB Document 839                         174/1 183/25
                                  Entered on FLSD Docket 12/20/2021 Page 238 of 268
  Ms. Dorian [1]             mute [1] 4/9         185/15 186/22
   5/14                      my [77] 7/8 10/14   name [21] 16/24
  Ms. Glaser [7]              19/9 20/9 24/23     24/12 24/23 25/9
   4/12 4/20 7/14             25/9 27/16 28/6     29/13 32/1 40/10
   10/2 11/25 16/6            33/2 33/17 33/25    44/6 68/15 97/24
   16/13                      34/10 34/14 35/5    99/22 99/24 125/21
  Ms. McGovern [6]            35/5 35/7 36/10     130/1 153/13
   8/22 9/10 12/2             39/1 39/2 39/4      182/16 185/5
   12/16 16/14 141/8          41/22 47/11 53/1    185/14 186/22
  Ms. McGovern's [1]          58/3 63/19 65/3     186/24 187/1
   8/20                       67/11 68/11 68/21  named [4] 28/8
  Ms. Nguyen [11]             69/12 69/21 76/12   69/4 73/12 126/18
   68/22 69/1 69/10           78/18 89/19 93/5   names [2] 28/11
   69/18 69/24 70/25          100/4 111/3 111/15  180/24
   71/3 71/13 71/17           111/25 113/15      NASA [2] 31/18
   71/23 130/2                115/10 116/21       186/9
  Ms. Nguyen's [1]            117/3 118/7 120/5  natural [1] 185/20
   69/14                      120/6 128/17 130/1 nature [1] 182/13
  Ms. Uyen [1] 68/16          133/7 136/7 139/11 nearer [1] 184/16
  Ms. Vela [31] 34/2          144/15 144/17      necessary [3] 9/16
   34/23 35/25 37/15          148/22 148/25       12/25 159/25
   38/20 40/13 42/18          156/2 156/15       need [29] 6/11
   44/10 44/21 45/16          156/23 158/17       9/15 12/18 14/7
   47/5 47/17 48/21           159/9 159/16 160/2  17/13 20/14 20/15
   50/16 50/19 60/5           160/7 160/16        22/4 22/11 23/20
   60/8 66/4 72/22            160/18 164/5        23/23 24/4 25/24
   84/5 85/4 85/16            165/21 167/4        27/19 53/13 57/16
   87/18 93/12 95/8           169/17 170/21       57/24 58/20 77/1
   96/10 103/15 115/6         175/18 178/5        78/15 79/23 80/17
   116/16 119/1 137/4         179/10 182/1 187/4  142/19 159/17
  Ms. Watts [1]               193/11 193/14       160/21 188/20
   98/10                     myself [17] 26/15    191/15 192/8
  Ms. Watts' [1]              27/20 36/9 40/22    192/11
   99/10                      45/3 45/8 51/2     needed [2] 118/1
  Mt [1] 9/8                  60/16 73/3 93/20    166/16
  much [11] 13/11             100/19 106/7       needs [4] 16/21
   17/19 17/20 38/23          126/10 133/17       22/13 117/15
   48/25 56/12 97/5           139/6 143/19 164/7  118/21
                                                 Neither [1] 174/6
   97/11 112/2 131/20        N                   nervous [1] 16/10
   192/13                    Nakamoto [11] 48/4 networking [2]
  multiple [1] 14/13          48/12 49/18 55/20
  must [2] 148/6                                  29/12 31/22
                              56/19 56/25 171/17 networking-type [1]
                                                   31/22
                              20/6Entered
  N 9:18-cv-80176-BB Document 839
Case                                21/17    68/16
                                          on FLSD         113/8 114/5
                                                  Docket 12/20/2021       114/6
                                                                    Page 239 of 268
  never [43] 13/6             68/22 69/1 69/4             114/15 116/16
   55/15 55/18 57/3           69/10 69/18 69/24           120/15 120/22
   81/18 81/25 116/3          70/25 71/3 71/13            121/20 122/13
   122/13 129/20              71/17 71/23 125/19          123/2 123/16 125/6
   145/22 153/13              125/20 126/18               125/13 126/19
   153/16 153/20              126/20 126/22               127/23 128/9
   154/20 160/24              127/9 128/3 128/12          128/13 130/15
   161/22 161/25              128/20 128/25               130/17 130/20
   165/23 165/23              129/7 130/2 130/13          131/22 132/20
   166/6 166/12              Nguyen's [1] 69/14           132/23 133/6 133/6
   166/23 166/24             nice [2] 17/18               133/21 134/16
   176/7 181/15               57/23                       135/1 137/3 137/7
   181/16 181/19             night [3] 6/13               138/12 139/15
   183/7 183/9 185/24         23/2 192/19                 141/17 141/21
   186/11 186/14             no [193] 1/2 3/12            142/6 142/10 146/4
   186/18 186/19              6/11 7/22 9/1 9/15          147/12 147/16
   186/20 186/22              16/3 25/11 27/11            149/3 155/3 158/14
   186/24 187/1 187/7         28/10 28/14 29/15           158/22 159/2 159/9
   187/9 187/10               31/22 35/12 39/18           160/1 160/10
   187/21 187/25              39/22 39/25 40/4            160/12 160/12
  new [4] 67/23               42/10 43/17 43/20           160/15 161/2 161/2
   90/21 124/20               44/5 44/8 45/13             161/5 161/10
   132/18                     45/22 46/6 47/2             161/10 162/8
  next [40] 11/21             51/13 54/4 54/4             162/25 164/1 164/9
   20/2 20/5 23/22            54/4 56/18 57/3             165/11 165/11
   29/9 31/14 31/15           57/18 58/10 59/18           165/25 166/8
   42/20 43/21 43/24          61/20 61/21 64/8            166/14 166/20
   44/15 47/17 48/21          64/12 64/15 64/19           168/13 169/4
   56/2 57/5 57/6             66/20 67/18 68/3            170/11 170/13
   66/3 66/5 70/4             68/6 69/2 69/7              170/23 171/1
   70/20 74/25 76/17          70/14 70/18 71/5            171/23 174/5 174/9
   77/18 77/23 81/7           71/19 72/15 73/5            175/11 175/22
   82/22 86/7 103/23          73/20 75/23 77/1            175/25 177/2 177/4
   104/5 105/19               78/1 82/7 83/18             177/6 179/1 179/20
   107/13 123/21              85/12 87/5 87/15            179/23 179/23
   123/23 129/16              88/16 89/12 90/16           179/23 181/11
   132/7 136/22               91/13 91/13 94/3            181/15 181/20
   138/20 144/12              94/7 94/7 94/8              182/8 183/6 183/7
   144/18 145/15              94/18 98/25 100/12          183/9 183/9 183/11
  NG [3] 127/21               102/14 102/23               183/12 184/7
   127/22 128/2               104/2 104/24                186/13 186/16
  NGUYEN [28] 3/7             106/17 108/8                186/19 186/23
                              108/19 112/21               186/25 187/2 187/9
                              64/16
  N 9:18-cv-80176-BB Document 839
Case                                  64/21
                                  Entered      73/24
                                          on FLSD         8/9 9/4 Page
                                                  Docket 12/20/2021 9/9240
                                                                        9/9of 268
  no... [7] 187/10            74/12 75/5 82/4     58/13 58/20 104/18
   187/12 188/2               84/8 89/5 92/17     160/19 172/15
   190/23 191/15              92/18 95/17 95/20   189/20
   191/25 192/13              97/4 104/3 109/2   objected [1] 8/6
  noise [1] 24/5              112/22 116/15      objection [65] 9/2
  nominate [1] 35/5           117/1 117/10        9/23 26/7 26/16
  non [3] 6/6 172/14          122/14 122/19       26/18 36/13 36/15
   174/15                     123/10 125/7        36/18 41/3 41/6
  non-controversial           125/14 125/15       45/12 45/13 50/3
   [1] 174/15                 129/12 132/10       50/5 51/13 53/19
  non-party [1] 6/6           134/14 134/22       54/1 56/20 60/24
  non-verified [1]            140/12 144/22       60/24 61/6 62/2
   172/14                     152/18 153/5        73/19 73/20 85/11
  Nope [1] 61/4               156/24 158/7        85/12 86/24 88/16
  North [2] 2/8               159/17 161/22       89/12 90/1 90/16
   193/18                     162/9 163/7 163/20  92/21 94/3 99/19
  not [194]                   164/15 170/2 171/5  102/12 102/13
  note [2] 13/17              174/17 176/5 179/3  102/14 102/21
   127/10                     181/19 182/9 183/7  102/24 103/2
  noted [2] 12/6              186/7 187/21        104/19 108/7
   150/21                     188/24              114/15 115/17
  notes [1] 193/11           number [32] 5/2      127/5 127/5 127/12
  nothing [6] 4/17            14/15 16/17 67/4    133/21 138/11
   8/5 13/11 17/15            67/5 67/19 67/21    138/12 139/15
   176/3 188/22               68/5 68/6 68/9      141/25 142/18
  notice [3] 19/4             68/9 68/13 70/4     143/25 146/18
   134/21 185/6               70/21 71/8 72/2     147/19 150/7 150/9
  November [12] 1/5           89/5 91/20 94/24    150/18 150/21
   19/24 113/24 150/2         95/13 112/6 157/12  169/19 172/13
   164/11 164/21              157/12 157/15       172/19 172/21
   169/6 171/3 174/17         157/20 163/3 190/7  191/25
   174/22 193/9               190/7 190/8 190/11 objections [3]
   193/15                     190/15 190/23       58/8 99/9 99/15
  Novemberish [1]            Number 7 [1] 68/9   objects [1] 6/22
   116/7                     numbers [6] 13/21   obtain [1] 9/6
  now [72] 9/11 11/1          14/6 14/24 72/6    obtained [2] 11/11
   11/11 15/25 18/1           78/18 82/16         88/25
                                                 Obviously [1] 4/22
   19/12 19/18 20/11         O                   occasion [3] 109/7
   20/19 26/6 27/5           oath [7] 24/10
   35/11 37/17 37/20                              109/9 110/3
                              26/1 150/16 153/23 October [1] 171/16
   38/13 48/25 54/18          154/1 154/3 178/21 off [9] 27/2 30/10
   55/9 55/9 55/21           object [11] 8/1      65/15 103/18 109/2
                              34/3Entered
  O 9:18-cv-80176-BB Document 839
Case                                38/13    38/15
                                          on FLSD         75/21 Page 241 of 268
                                                  Docket 12/20/2021
  off... [4] 116/9           40/23 41/4 41/22         ones [5] 51/5
   140/14 156/23             43/18 44/9 45/4           66/12 73/14 77/6
   182/12                    47/4 47/25 48/5           81/5
  off-duty [1] 30/10         49/13 49/17 49/20        ongoing [1] 62/15
  offended [1] 19/6          50/13 53/3 53/4          only [25] 4/21
  offer [6] 68/18            54/4 54/13 57/1           12/2 13/20 33/20
   128/10 131/21             58/1 59/11 60/1           36/1 87/13 93/9
   132/19 132/21             61/4 61/5 63/2            107/19 115/14
   186/4                     63/25 65/19 65/19         122/17 127/7
  offered [8] 3/12           70/4 70/20 73/6           131/14 136/16
   15/10 61/19 61/20         75/24 75/24 76/3          145/19 148/12
   61/21 61/22 61/24         76/6 76/12 77/12          149/23 154/14
   69/11                     77/23 77/23 78/2          164/13 164/16
  offering [2]               78/25 79/2 79/5           165/7 177/22
   131/18 131/19             79/9 80/17 82/4           177/25 183/19
  office [12] 18/1           82/20 83/16 83/25         183/22 190/1
   29/21 29/23 31/1          84/12 84/17 88/10        open [3] 4/17 4/20
   59/25 62/14 74/6          89/9 94/8 94/11           121/23
   74/23 80/1 81/2           96/16 98/6 106/23        opened [3] 35/23
   89/22 103/10              107/17 109/9              121/22 145/4
  officer [3] 29/20          110/14 110/14            opening [12] 97/23
   29/22 29/25               111/11 112/13             99/23 141/3 141/4
  officially [1]             115/24 117/13             141/6 141/7 145/23
   170/16                    117/15 117/16             149/12 149/13
  oh [15] 4/10 5/14          117/18 118/2 118/9        149/16 151/23
   8/22 9/12 40/22           118/11 121/2              171/9
   52/20 56/12 65/9          122/20 122/22            operating [5]
   89/18 103/5 111/18        125/21 127/23             114/1 118/14
   112/2 118/17              127/23 128/13             118/16 181/2 181/5
   171/12 178/12             131/5 132/2 132/10       operation [4] 95/1
  okay [420]                 136/22 136/24             95/3 95/4 95/13
  old [1] 147/11             137/1 137/2 138/7        operational [2]
  older [2] 28/6             140/8 140/18 146/8        171/21 174/7
   28/8                      148/12 148/21            opponent [2]
  oldest [1] 73/7            148/22 151/5              172/17 173/5
  once [2] 122/17            153/25 156/20            opportunity [4]
   190/9                     156/22 157/7              6/10 25/21 26/4
  one [124] 7/8 7/10         163/20 165/11             141/6
   8/13 11/3 14/19           178/7 178/12             opposed [1] 70/23
   16/18 17/4 22/4           179/14 187/18            opposite [1] 106/2
   25/20 26/12 26/23         188/23 189/19            orally [1] 155/1
   28/8 31/16 32/8           190/4 191/19             order [4] 4/1 19/7
                            one's [2] 70/23            19/9 38/1
                              80/2Entered
  O 9:18-cv-80176-BB Document 839
Case                                102/12     103/19
                                          on FLSD         175/13 Page 242 of 268
                                                  Docket 12/20/2021
  orders [1] 25/15           104/2 124/10              ownership [2]
  Ordinarily [1]            out [38] 7/23               105/22 108/17
   172/23                    11/13 11/19 13/8          owning [1] 156/14
  orient [3] 51/21           20/10 23/13 23/19         owns [1] 145/10
                             29/15 44/16 61/14
   66/21 127/20
                             61/15 63/14 73/11
                                                       P
  original [4] 47/22                                   p.m [12] 21/16
   47/25 48/1 48/6           74/10 81/9 81/13
                             84/25 88/1 103/21          57/15 57/20 58/23
  other [59] 8/5                                        96/23 124/4 124/7
   8/11 13/5 13/25           127/8 128/8 131/12
                             136/1 140/5 141/15         124/7 124/15
   14/6 15/4 15/5                                       188/14 188/17
   16/18 23/17 23/20         142/16 144/5
                             145/18 160/5               192/20
   28/7 31/19 31/21                                    P105 [2] 88/8
   31/22 32/10 40/9          167/10 167/12
                             167/21 170/20              88/15
   41/23 48/7 50/8                                     P109 [1] 88/19
   50/9 52/14 52/24          185/25 186/14
                             191/24 192/2              P120 [4] 44/18
   53/20 57/1 60/1                                      45/11 135/7 135/15
   60/2 62/1 65/6            192/10
                            outcome [1] 38/17          P122 [1] 43/9
   65/7 91/21 96/1                                     P133 [3] 139/2
   100/10 102/23            outline [1] 174/13
                            outside [2] 19/4            139/5 139/14
   107/18 112/14                                       P138 [3] 50/18
   117/7 117/13              104/15
                            over [13] 21/18             51/12 130/23
   117/14 121/2                                        P156 [5] 73/2 84/9
   123/12 125/3              25/4 56/2 56/16
                             78/2 109/18 122/16         96/5 106/18 132/1
   132/17 134/15                                       P161 [2] 93/10
   136/19 137/3 137/4        122/19 152/9 165/4
                             167/25 168/25              94/2
   139/7 145/11                                        P164 [3] 85/1
   150/14 150/23             179/22
                            overruled [11]              85/10 90/24
   154/15 161/19                                       P218 [2] 98/18
   164/1 175/9 177/7         41/14 61/6 62/2
                             92/22 103/2 104/19         99/4
   178/6 184/24                                        P509 [3] 88/21
   186/10 187/17             115/19 127/13
                             142/23 150/9               89/2 89/7
  others [6] 11/2                                      P564 [2] 126/4
   87/12 156/22              150/21
                            overseas [1] 29/6           126/5
   157/12 157/13                                       P578 [1] 102/10
   157/20                   owed [3] 38/3
                             70/13 184/15              P709 [3] 89/16
  otherwise [4] 18/5                                    89/18 89/18
   30/8 30/22 148/6         own [13] 39/3 64/6
                             87/21 87/21 87/21         P710 [2] 90/4
  our [19] 4/17 4/18                                    90/14
   9/23 10/9 10/23           120/6 120/12
                             120/16 120/16             P731 [3] 133/2
   13/8 13/10 18/1                                      133/8 133/20
   18/25 23/20 30/18         120/17 132/25
                             145/1 165/21              P733 [2] 143/15
   33/10 59/25 62/21                                    143/24
                            owned [2] 155/25
  P 9:18-cv-80176-BB Documentpages
Case                                [14]on FLSD
                              839 Entered              50/1 52/14
                                           1/8 Docket 12/20/2021 Page 52/23
                                                                      243 of 268
  P758 [7] 100/14            9/23 15/12 44/22           52/24 53/24 55/13
   100/17 101/25             64/22 85/3 85/18           55/14 56/17 56/18
   102/1 102/3 103/4         102/15 115/5               62/11 65/1 72/9
   103/5                     133/10 134/1 134/9         82/16 87/4 91/9
  P862 [3] 60/6              138/4 193/12               100/23 102/16
   60/13 82/8               paid [1] 106/11             104/5 131/10
  P863 [2] 36/5             Paige [11] 32/1             131/10 132/8
   36/12                     41/11 42/1 42/9            135/21 144/11
  P867 [3] 40/14             43/14 92/8 92/8            146/13 147/7
   41/2 91/25                121/4 157/9 191/9          183/24
  packet [10] 65/1           191/19                    partial [1] 104/3
   65/7 65/20 68/25         Paige's [2] 44/14          participation [1]
   72/10 72/12 74/5          191/8                      53/17
   74/8 82/16 103/12        pains [1] 9/13             parties [14] 10/22
  page [75] 3/5 7/4         pair [1] 91/22              12/3 12/13 12/19
   7/7 7/25 9/3 9/4         PALM [7] 1/2 18/10          13/9 14/16 15/16
   9/24 9/24 12/9            29/21 29/23 30/5           16/12 17/3 17/5
   33/5 33/5 34/3            30/25 31/5                 19/3 45/7 70/7
   34/3 34/3 34/7           paper [5] 154/25            172/24
   45/17 46/5 51/18          155/1 159/12              partitions [1]
   53/4 54/20 62/10          161/11 185/7               134/15
   63/2 65/25 66/3          papers [12] 123/11         partner [7] 29/11
   66/5 75/22 76/4           123/12 123/12              32/3 79/23 107/17
   76/6 76/17 78/22          123/14 156/25              121/16 145/13
   79/5 79/9 80/17           157/2 158/7 158/9          146/23
   82/8 82/22 83/12          158/10 158/11             partners [7]
   83/14 85/18 86/7          158/13 161/9               145/18 146/10
   91/8 94/7 94/8           paragraph [13]              146/16 154/23
   94/16 94/17 94/18         39/9 74/25 76/19           155/7 160/25
   94/22 96/11 101/14        79/20 103/23 107/2         180/24
   101/14 102/18             161/18 172/6 172/7        partnership [17]
   102/19 105/1              173/6 173/7 173/24         31/23 107/17
   105/19 107/13             174/11                     107/22 107/23
   114/14 115/8 115/9       Paragraph 200 [1]           107/24 108/1 153/6
   116/15 118/25             161/18                     153/17 153/20
   131/3 131/5 132/2        paralyzed [2]               156/3 156/5 158/14
   132/2 132/7 133/24        30/15 59/13                158/15 159/1
   134/4 135/9 136/23       parcel [1] 102/16           159/13 159/14
   138/15 144/18            paren [1] 107/18            184/11
   152/12 169/19            part [36] 12/4             parts [1] 43/7
   175/2 177/20              14/7 17/16 17/17          party [6] 6/6
   177/23                    33/10 43/13 47/21          62/14 122/16
                             48/1 48/13 48/16           122/24 172/16
  P 9:18-cv-80176-BB Documentpen
Case                              Entered167/15
                              839 [1]                     60/19 Page 244 of 268
                                          on FLSD Docket 12/20/2021
  party... [1] 173/5        pennies [2] 187/11        phone [1] 42/8
  pass [1] 8/13              187/22                   photograph [1]
  passed [15] 28/10         penny [1] 108/17           119/16
   28/14 30/16 30/18        people [7] 10/8           photos [2] 120/8
   30/18 31/20 33/21         29/16 148/5 164/5         122/13
   34/20 39/16 39/19         164/7 165/7 181/21       physically [2]
   39/23 40/1 83/5          per [1] 94/25              117/6 122/11
   110/8 121/5              percent [7] 100/6         pick [2] 110/12
  passes [1] 35/11           107/19 108/3 156/8        110/13
  passing [2] 35/14          156/15 156/15            picking [2] 144/23
   110/6                     174/21                    176/15
  password [1]              performed [1] 37/6        picture [2] 116/18
   134/17                   perhaps [5] 6/11           116/19
  passwords [1]              6/12 7/3 19/2            pictured [1]
   134/16                    160/6                     115/25
  past [1] 170/17           period [8] 56/16          piece [3] 13/9
  PATRICIA [1] 2/2           71/23 119/25 136/9        99/13 161/11
  Patrick [19] 32/1          136/10 149/20            pieced [1] 11/2
   40/22 42/1 42/12          149/23 175/3             pieces [1] 12/12
   43/2 43/14 47/11         periods [2] 23/6          place [4] 11/13
   92/8 92/8 121/3           27/18                     122/25 143/7
   121/14 121/21            permission [3]             151/14
   121/21 122/2 122/4        79/25 83/19 191/23       placed [3] 24/7
   157/9 191/8 191/9        permit [1] 188/8           24/9 119/18
   191/19                   person [17] 16/22         places [1] 91/21
  Patrick's [1]              42/2 53/21 55/2          PLAINTIFF [11]
   121/9                     69/4 80/4 103/6           1/13 3/5 6/20 7/5
  patrol [1] 30/6            103/11 127/20             24/11 38/13 56/20
  Pause [16] 8/15            130/13 131/14             60/2 62/1 168/10
   21/11 21/23 22/10         153/2 156/24 179/3        173/4
   41/5 76/1 138/8           179/4 183/4 183/4        Plaintiffs [31]
   149/2 149/8 163/5        personal [19] 1/3          1/5 5/7 5/8 5/10
   168/14 178/16             16/24 32/13 35/7          5/11 6/14 6/24 7/5
   179/16 190/12             35/9 35/15 35/21          8/1 8/17 10/20
   190/17 191/5              36/9 37/5 37/22           12/11 12/15 15/21
  pay [3] 104/11             38/5 63/22 109/4          17/23 18/16 19/21
   106/14 136/14             109/13 120/5 120/9        19/23 21/20 32/8
  PAYNE [3] 2/5 4/12         175/2 175/11              36/11 38/14 38/15
   10/2                      175/12                    51/12 57/17 73/18
  PDF [7] 45/17             personally [3]             85/10 94/2 133/19
   47/22 47/25 48/1          38/16 181/19              171/9 188/22
   48/6 49/1 83/12           186/13                   Plaintiffs' [46]
                            pertaining [1]             3/13 3/14 3/14
                              72/17
  P 9:18-cv-80176-BB Document 839
Case                                  72/24
                                  Entered      73/7
                                          on FLSD Docket Port   Macquarie
                                                         12/20/2021          [1]
                                                                    Page 245 of 268
  Plaintiffs'... [43]         79/3 79/10 79/17            147/5
    3/15 3/15 3/16            81/16 84/5 85/16           portion [2] 8/7
   3/16 3/17 3/17             88/20 95/21 96/12           173/1
   3/18 3/18 3/19             97/14 103/15               position [1] 7/1
   3/19 3/20 3/21             108/10 120/24              possession [7]
   3/21 5/5 9/2 14/8          124/16 128/16               155/12 155/13
   15/9 19/12 20/2            129/23 130/4                156/6 157/24 180/6
   20/5 36/20 41/16           130/23 131/24               184/14 189/18
   45/15 51/15 61/12          132/7 133/3 134/1          possible [1] 10/10
   62/5 62/8 72/18            134/9 135/2 137/4          possibly [7] 113/2
   73/18 73/22 85/14          146/2 146/4 146/14          118/1 118/6 123/14
   88/18 89/14 90/3           149/4 149/9 154/2           129/2 130/11
   90/18 94/5 127/15          155/21 158/8 162/4          150/23
   133/23 138/14              184/19 188/7               post [2] 123/19
   139/18 144/2              plethora [1]                 185/4
   151/23 152/3               183/20                     post-Dave's [1]
  plan [1] 191/20            plug [1] 118/11              123/19
  plans [1] 131/15           plus [2] 70/13              posts [1] 185/12
  play [2] 18/11              174/21                     potential [1]
   177/12                    pocket [1] 167/12            69/11
  played [6] 20/1            point [28] 10/24            power [2] 37/23
   20/18 21/16 47/21          11/18 16/6 16/10            59/20
   47/25 48/15                17/8 24/8 32/14            powered [1] 116/3
  player [1] 52/12            57/11 58/16 61/7           precautions [1]
  players [1] 10/4            66/22 73/17 85/9            9/15
  pleadings [1]               94/1 101/24 126/24         precise [1] 31/7
   172/23                     136/8 140/16               precisely [1]
  pleasant [3] 57/13          142/22 150/9                188/12
   58/25 188/15               150/22 151/3               preface [1] 64/9
  pleasantries [1]            163/10 177/23              prefer [1] 189/12
   19/5                       187/5 188/4 188/6          prepare [1] 173/19
  please [70] 5/4             190/20                     prepared [1] 86/10
   13/8 18/22 19/6           pointed [1] 23/13           prerequisite [1]
   19/6 19/8 21/10           pointing [2] 20/9            37/7
   21/14 23/23 24/12          156/21                     present [10] 4/2
   24/16 24/22 25/8          police [2] 29/20             5/18 6/4 20/25
   34/22 35/18 36/22          29/22                       57/15 57/21 124/4
   37/15 38/11 38/25         Ponce [1] 1/23               188/17 188/25
   41/17 43/22 44/11         poor [3] 136/19              193/7
   47/5 50/6 50/17            138/21 138/21              presentations [1]
   51/19 54/5 55/23          pop [1] 118/20               10/24
   58/25 60/13 66/5          pop-up [1] 118/20           presented [3] 15/3
                             Port [1] 147/5               15/5 127/7
Case                          9/14Entered on FLSD Docket proposed
  P 9:18-cv-80176-BB Document 839                                    [1]24612/20
                                                         12/20/2021 Page    of 268
  presumably [1]             proceedings [19]           prospers [1] 55/4
   11/23                      8/15 11/21 21/11          protect [1] 10/25
  pretty [1] 67/2             21/23 22/10 41/5          prove [1] 15/7
  previewed [1]               76/1 138/8 149/2          provide [2] 125/16
   123/21                     149/8 163/5 168/14         191/19
  previous [2] 46/5           178/16 179/16             provided [10]
   54/20                      190/12 190/17              62/18 62/19 62/23
  Primarily [1]               191/5 192/20 193/8         63/8 67/24 103/25
   183/20                    process [1] 192/7           189/7 189/14
  printed [2] 52/3           produced [3]                189/23 190/4
   145/21                     180/11 180/13             providing [1]
  prior [13] 42/8             192/9                      104/3
   44/2 64/5 64/5            profane [1] 140/16         PTY [1] 104/23
   64/9 64/16 68/24          professional [1]           public [3] 13/17
   70/12 70/15 71/2           120/9                      14/7 14/11
   72/12 81/19 98/3          professionals [1]          publically [1]
  private [4] 162/10          9/14                       13/20
   162/14 162/16             profits [1] 154/21         publicity [1] 10/7
   162/23                    program [2] 185/24         publicized [1]
  probably [16]               186/11                     10/8
   26/12 57/6 66/12          programming [3]            publicly [6] 4/19
   110/8 110/15 112/6         29/11 52/17 186/4          12/13 13/19 13/25
   113/16 114/11             project [7] 43/11           15/11 15/12
   116/5 117/17 120/1         43/15 43/19 159/16        publish [14] 32/15
   120/19 131/12              160/3 164/4 187/23         32/20 35/25 51/16
   156/22 158/22             projects [6] 47/12          62/3 103/4 103/6
   187/18                     47/14 67/15 76/25          115/2 127/18 168/9
  probate [1] 35/23           78/12 78/13                168/11 168/13
  problem [7] 4/15           prompt [1] 18/24            172/4 173/3
   23/8 23/10 36/17          pronouncing [1]            published [6]
   102/25 104/14              68/15                      36/21 61/1 92/3
   190/21                    proper [2] 142/22           101/2 101/3 184/12
  problems [3] 29/16          173/15                    pull [5] 42/17
   136/6 186/15              properly [1]                130/4 190/24 191/3
  procedure [3]               177/13                     191/3
   27/16 72/21 173/15        properties [2]             pulled [3] 167/10
  procedures [1]              146/24 147/3               167/12 167/20
   25/12                     properties.' [1]           purchase [3] 11/13
  proceed [6] 6/11            145/10                     16/4 106/8
   17/23 18/4 18/16          property [9] 37/25         purchasing [1]
   59/5 188/14                40/3 70/8 70/17            106/6
  proceeding [1]              71/4 78/7 104/10          purport [1] 101/17
                              184/4 184/10              purpose [9] 15/6
Case                          76/23
  P 9:18-cv-80176-BB Document 839     77/10
                                  Entered      78/4
                                          on FLSD         74/10 88/1
                                                  Docket 12/20/2021 Page 247 of 268
  purpose... [8]     questioning [2]                     reaching [3] 63/14
   41/7 41/8 58/17    14/5 27/21                          73/11 103/21
   61/22 87/7 121/9  questions [39]                      react [1] 188/24
   128/24 177/22      11/23 25/18 25/22                  read [44] 16/15
  purposes [4] 14/18 25/24 26/7 34/7                      16/20 27/2 35/3
   93/15 169/18       39/15 60/21 60/23                   37/4 37/17 38/25
   169/23             61/3 61/11 61/24                    42/4 42/23 43/8
  pursuant [1] 38/4   64/4 64/16 65/3                     43/9 47/9 47/20
  pursue [1] 38/3     65/24 65/24 66/9                    52/7 52/8 55/13
  put [18] 18/12      66/14 73/13 74/11                   55/13 62/13 67/7
   33/9 38/14 47/4    74/17 74/21 89/16                   68/16 75/1 76/19
   89/7 97/5 97/11    90/7 94/13 94/14                    79/20 80/25 81/7
   97/20 98/5 117/12  94/17 102/10                        81/16 87/6 91/9
   118/19 130/6       102/14 103/21                       94/24 103/24 107/1
   130/13 139/20      104/2 105/10                        111/20 128/16
   162/21 168/1       135/21 135/23                       130/9 131/10
   171/25 190/13      149/3 160/18                        132/13 134/11
  putting [2] 95/24   162/21 185/20                       135/20 140/14
   120/6             quickly [4] 17/6                     144/8 144/11 147/2
                      22/3 44/22 77/11                    148/3 159/25
  Q                                                      reading [3] 40/20
                             R                            86/5 99/11
  qualification [1]
   162/20                    raise [6] 22/24             reads [1] 45/21
  qualified [1]               24/9 84/8 146/9            ready [14] 17/23
   37/21                      166/12 188/24               18/4 18/5 18/16
  quell [1] 15/19            raised [4] 22/14             20/3 20/15 20/16
  question [40] 17/4          22/23 84/9 181/24           21/4 21/8 21/10
   22/24 23/15 23/22         Ramona [2] 98/1              59/1 124/10 124/11
   26/14 48/17 48/18          98/8                        188/13
   49/2 49/3 64/9            ran [3] 43/11               real [1] 180/17
   65/5 66/16 67/4            43/24 92/14                reality [1] 174/13
   67/5 69/23 71/15          ranches [1] 147/4           realize [2] 22/3
   88/24 94/22 95/5          random [1] 176/16            22/12
   95/12 104/21 108/8        range [1] 157/10            really [11] 12/24
   121/2 136/17 146/9        rank [1] 31/1                23/9 23/10 52/11
   146/19 154/8 156/2        rapport [1] 97/18            58/5 59/11 77/11
   159/19 159/24             rather [1] 7/24              113/12 176/19
   160/1 162/20              raw [1] 117/18               176/25 177/13
   166/25 170/21             rcjbr.org [1]               reason [5] 13/18
   176/12 178/24              51/23                       112/19 113/8
   180/15 187/25             reach [2] 78/17              123/18 183/24
   189/15 190/1               128/8                      reasoning [1]
  questionable [3]           reached [3] 44/16            160/13
  R 9:18-cv-80176-BB Documentrecognized
Case                          839 Entered on[1]           49/10 49/16
                                             FLSD Docket 12/20/2021       77/4
                                                                    Page 248 of 268
  reasons [2] 14/19           84/18                       77/19 92/19 95/2
   17/17                     recollection [6]             97/8 115/11 115/12
  recall [14] 22/18           83/24 129/14                119/9 179/3 191/17
   31/17 91/5 110/25          164/13 177/13               192/4
   137/24 143/8               177/22 178/2               reflect [1] 176/7
   144/13 145/19             record [7] 5/4              reflected [2]
   150/15 152/15              17/17 22/17 24/7            158/20 159/13
   156/23 166/11              24/13 80/2 142/19          reflects [1] 102/2
   178/19 186/2              records [1] 156/18          reformat [1]
  receive [6] 37/25          recount [1] 143/10           182/25
   67/9 67/12 79/8           recover [2] 37/24           reformatted [1]
   88/4 100/6                 88/2                        157/21
  received [32] 6/8          recurring [1]               refresh [4] 83/24
   32/19 36/20 40/19          75/14                       129/13 138/1 178/2
   41/16 42/12 45/15         red [5] 7/9 7/12            refreshing [2]
   51/15 52/4 62/8            33/9 33/9 66/12             177/13 177/22
   63/6 65/7 73/22           redact [3] 7/16             regard [10] 4/21
   74/5 74/8 82/17            7/23 8/6                    7/20 14/6 14/17
   85/14 88/10 88/18         redaction [8] 8/1            17/14 99/16 109/16
   88/24 89/14 89/21          8/2 8/8 8/10 9/3            130/18 181/2 189/5
   90/3 90/7 90/18            9/4 9/9 11/9               regarding [12]
   94/5 108/16 127/15        redactions [5]               56/25 64/16 72/13
   133/23 138/14              6/20 6/21 8/19              88/11 89/22 90/9
   139/18 144/2               9/24 12/20                  91/21 101/19
  receiving [10]             redlined [1] 7/15            125/15 132/14
   42/8 44/2 64/5            refer [4] 9/15               142/4 143/6
   64/17 67/17 68/24          9/23 173/8 176/1           regardless [1]
   72/12 76/21 77/3          reference [10]               154/24
   92/17                      11/7 14/22 14/23           regards [1] 16/19
  recent [1] 191/18           48/10 72/6 78/11           Regina [3] 28/12
  recently [1] 104/8          87/3 91/17 107/6            28/13 35/6
  recess [8] 19/11            190/8                      registered [1]
   20/23 21/3 57/12          referenced [10]              71/10
   57/20 124/3 124/7          14/1 15/17 15/18           regularly [1]
   185/18                     49/8 65/22 65/23            87/11
  recesses [1] 18/25          82/19 87/22 105/1          Regulatory [1]
  recognize [14]              115/25                      11/21
   33/16 34/10 44/24         references [3]              rehabbing [1]
   44/25 50/22 51/25          16/17 30/7 63/23            30/22
   60/11 72/25 85/6          referred [3] 14/5           reinstate [2]
   93/16 96/19 98/20          32/9 175/3                  71/14 71/17
   138/6 139/24              referring [17] 7/4          reinstated [1]
                              47/14 47/15 48/6            71/24
  R 9:18-cv-80176-BB Documentremind
Case                          839 Entered   97/24
                                      [2]on FLSD         103/25 184/3
                                                 Docket 12/20/2021 Page 249 of 268
  relate [1] 14/25            103/9                      184/11
  related [14] 28/1          removal [1] 23/8           resident [1] 68/18
   28/5 40/3 61/11           remove [1] 154/10          residue [1] 39/2
   86/19 112/20              removed [3] 23/5           resignation [3]
   121/11 121/13              27/17 109/19               76/24 77/18 77/25
   121/15 124/25             reorient [1] 92/7          resigning [1]
   125/4 125/11              repeat [6] 69/16            77/21
   125/11 184/4               154/2 158/8 162/4         resolution [1]
  relates [1] 120/16          162/20 184/19              6/15
  relating [1] 62/1          rephrase [2] 50/6          resolves [1] 15/24
  relation [4] 62/15          108/10                    resort [1] 142/15
   97/17 126/14              replaced [1] 77/20         respect [2] 10/4
   181/10                    replacing [2]               12/22
  relationship [4]            69/21 77/22               respond [14] 42/14
   69/14 69/19 86/20         replied [1] 145/13          48/18 78/19 80/14
   153/24                    reported [1] 193/8          80/20 99/7 129/3
  release [2] 171/16         REPORTER [2] 2/7            130/2 146/6 146/9
   171/20                     193/5                      146/25 147/7 148/9
  released [2] 174/1         represent [1] 99/9          148/14
   185/8                     representative [11]        responding [5]
  relevance [1]                1/3 32/13 35/15           46/16 46/18 55/10
   101/8                      35/21 36/9 37/6            62/16 63/24
  relevant [2] 23/11          37/22 38/5 63/22          responds [3] 42/20
   23/13                      109/4 109/13               165/18 165/20
  relying [2] 107/9          representatives [2]        response [19] 47/1
   107/11                      35/7 35/9                 54/20 55/5 61/16
  remain [1] 30/16           represented [1]             73/5 78/25 79/8
  remainder [1] 39/2          34/19                      79/13 80/22 95/9
  remedy [1] 78/15           republish [1] 91/1          95/12 95/13 104/3
  remember [19]              request [14] 9/10           112/1 146/12
   53/12 53/14 92/12          58/1 58/5 62/17            146/13 146/22
   145/12 149/22              63/25 64/1 64/21           147/16 178/23
   151/24 155/16              65/15 68/22 103/19        responses [2]
   178/5 178/7 178/18         142/18 157/15              104/1 104/4
   181/7 181/8 183/13         163/3 169/9               responsibilities
   185/1 185/2 187/17        requested [2] 69/1          [1] 109/13
   187/17 187/19              104/1                     responsiveness [1]
   188/7                     require [1] 58/6            149/4
  remembering [1]            required [1] 6/15          rest [5] 7/15
   171/13                    requires [1] 23/19          12/19 39/2 43/1
  remembers [1]              research [10] 1/4           136/24
   177/14                     61/11 62/21 63/11         restrictions [1]
                              86/23 88/12 90/12          122/25
                              58/19
  R 9:18-cv-80176-BB Document 839
Case                                  58/22
                                  Entered      58/24
                                          on FLSD         175/14 176/2
                                                  Docket 12/20/2021 Page 250176/5
                                                                             of 268
  result [2] 30/14             59/14 60/4 61/6            176/11 176/16
   59/17                       65/5 65/22 67/3            178/18 178/21
  resumed [1] 31/8             68/15 83/22 86/17          179/1 179/3 180/14
  retrieve [1]                 89/5 97/4 106/2            180/18 181/21
   130/11                      108/23 111/5               181/22 182/9
  retrieved [2]                112/16 112/17              182/14 182/16
   113/10 119/14               113/5 113/11 114/8         182/17 182/21
  return [2] 100/5             114/18 115/5               182/25 183/2 183/8
   151/2                       115/25 116/14              186/1 186/5 186/7
  returned [3] 29/10           117/2 117/24 118/4         186/7 187/22 188/5
   30/25 123/5                 118/23 119/6 124/1         189/23 190/25
  reveal [1] 13/22             124/8 124/16               191/6 191/11
  revealing [7]                132/11 135/17              191/14 192/14
   60/12 61/9 98/22            139/17 140/2              risk [1] 87/9
   101/11 126/2 133/5          140/12 140/19             RIVERO [19] 1/20
   133/9                       149/13 149/22              1/20 3/10 4/23
  review [8] 6/10              149/25 150/3 151/6         5/17 6/7 8/18
   63/5 99/1 123/4             152/14 153/7 153/8         25/20 25/25 26/3
   123/15 123/17               153/14 153/21              26/7 26/15 27/20
   178/6 178/13                153/22 154/17              102/8 143/5 149/5
  reviewing [2] 63/1           156/20 156/25              151/15 185/17
   76/22                       157/3 157/21               191/20
  rich [3] 145/8               157/24 158/7 158/9        RMR [1] 193/17
   145/9 145/10                158/11 158/16             road [1] 30/6
  RICHARD [1] 2/3              159/8 159/22              ROCHE [4] 1/13
  right [188] 4/11             160/15 161/12              1/14 5/8 141/7
   6/3 6/5 6/16 7/25           161/13 161/20             role [3] 76/25
   8/5 9/11 9/18 9/20          162/3 162/7 162/24         77/24 109/4
   10/1 12/9 12/18             163/7 163/12              room [2] 2/8 165/7
   13/13 14/4 15/4             163/18 163/24             rough [1] 174/22
   15/24 16/11 17/11           164/3 164/12              routine [1] 133/9
   17/21 18/3 18/6             164/21 165/11             routinely [2]
   18/14 19/9 19/20            165/17 165/18              187/20 187/20
   19/20 19/25 20/4            166/2 166/7 166/10        RPR [1] 193/17
   20/21 21/9 21/12            166/16 166/22             rule [1] 26/10
   21/14 21/19 22/13           166/24 167/10             ruled [3] 99/10
   22/16 24/3 24/8             167/13 168/18              99/15 99/18
   24/9 25/3 27/6              169/5 169/6 170/2         ruled on [1] 99/18
   32/17 39/4 46/25            170/12 171/2 171/5        ruler [1] 119/18
   47/3 47/5 48/25             171/17 172/3              rules [2] 25/14
   49/15 54/7 57/10            173/13 174/2 174/4         172/17
   57/19 57/22 58/2            174/7 174/20              run [2] 95/4 157/2
                               174/25 175/4              running [2] 5/15
  R 9:18-cv-80176-BB DocumentSaigon
Case                          839 Entered   68/17
                                      [1]on FLSD         138/19 145/18
                                                 Docket 12/20/2021 Page 251 of 268
  running... [1]             sales [1] 29/12      146/16 146/22
   43/19                     Samantha [1] 17/25 147/10 148/11
  rush [3] 141/15            same [43] 7/1 9/15 148/19 151/4 162/9
   141/20 141/23              9/17 12/10 16/16    162/11 162/13
                              25/25 43/6 46/23    162/22 163/23
  S                           51/7 53/6 64/9      164/9 165/3 165/14
  safe [2] 121/20             64/9 64/13 64/13    165/15 166/4
   121/21                     64/16 67/7 72/21    166/15 166/18
  safety [1] 16/24            74/5 80/3 80/5      168/22 169/1 169/3
  said [84] 4/17              81/4 81/6 88/19     169/4 179/9 183/10
   4/18 6/18 6/19             88/24 89/16 89/21   183/16 184/2 184/2
   11/8 22/18 29/6            90/7 91/8 102/7     189/8 190/19
   36/18 39/8 41/20           103/11 106/9 116/5 190/22
   42/24 49/13 52/23          117/7 128/13 133/9 saying [24] 52/18
   54/16 55/18 59/13          134/4 143/17 149/4 53/9 53/16 77/25
   67/12 68/16 69/10          150/18 152/12       97/10 122/4 136/12
   70/24 72/4 72/5            175/2 183/24        144/13 145/13
   74/2 74/15 78/14           188/11              155/1 155/4 155/9
   91/9 97/23 100/7          satisfaction [1]     155/15 156/3 156/4
   102/5 105/8 111/4          70/8                160/2 169/5 175/23
   111/7 113/9 116/7         Satoshi [16] 48/3    176/25 178/5
   118/2 119/24               48/12 49/18 52/13   179/21 179/25
   120/13 122/9               52/23 53/1 55/4     181/19 191/9
   125/17 129/13              55/20 56/19 56/25 says [55] 7/14
   129/15 129/17              171/17 174/1        15/14 33/13 34/10
   145/4 145/8 145/9          174/13 183/24       34/24 43/21 43/24
   145/11 147/13              185/15 186/22       46/15 47/20 48/24
   150/19 153/20             saw [6] 150/6        48/24 53/12 62/22
   154/3 154/6 154/12         150/17 154/25       63/7 63/10 63/23
   154/15 155/2 155/5         185/24 186/11       67/8 70/6 71/10
   161/22 162/12              186/14              74/15 74/23 74/25
   164/4 165/15 167/9        say [63] 17/2 17/2 75/3 77/23 78/2
   167/21 170/16              23/4 23/23 24/12    81/13 86/17 91/10
   173/24 175/18              26/12 26/13 36/14   92/14 93/2 94/12
   177/8 177/14 179/4         48/11 48/14 48/25   94/24 95/14 96/25
   179/5 179/9 179/12         56/17 56/17 63/17   97/3 97/3 101/19
   179/21 180/3 180/8         74/18 77/3 77/9     105/8 105/12 106/5
   186/2 186/18               77/12 81/25 95/15   106/5 106/8 106/11
   186/19 186/20              105/5 106/5 106/12 107/15 117/15
   186/21 186/22              107/23 113/1        117/18 117/19
   186/24 187/1               119/12 125/15       117/24 118/20
   187/21 189/17              129/16 136/5        127/21 129/9
   189/18                     137/10 137/23       138/20 155/14
                              98/7Entered
  S 9:18-cv-80176-BB Document 839
Case                                105/1    114/14
                                          on FLSD         147/11 151/12
                                                  Docket 12/20/2021 Page 252 of 268
  says... [2] 165/23          118/25 171/25               151/16 152/4 152/8
   165/23                     172/11                      152/10 154/24
  schedule [1]               seconds [1] 8/14             159/11 168/6 168/7
   188/11                    secret [11] 43/12            188/15 191/10
  SCHILLER [1] 1/16           43/13 166/16                192/16 192/16
  school [2] 28/19            166/18 166/22              seeing [3] 124/10
   28/21                      167/3 169/1 169/3           150/13 186/2
  Schweinfurt [1]             169/4 170/12               seeking [4] 7/16
   28/23                      170/13                      15/19 114/19
  Scott [1] 21/10            secretive [5]                172/10
  scrap [2] 155/1             159/16 160/3 164/4         seem [1] 107/4
   159/12                     164/16 187/23              seems [2] 14/14
  screen [11] 26/25          section [1] 47/17            14/17
   27/3 46/25 62/10          Securities [2]              seen [14] 44/23
   73/24 89/8 89/19           104/7 105/9                 63/20 105/3 121/19
   118/20 143/21             security [5] 31/17           122/13 125/20
   144/12 168/12              31/20 86/19 160/7           150/14 150/23
  scribbled [1]               186/8                       155/4 155/9 155/11
   145/6                     security-related             155/23 157/12
  scroll [14] 44/21           [1] 86/19                   162/15
   46/4 50/20 60/8           see [76] 7/10               sell [2] 138/24
   72/22 85/4 93/13           18/23 19/2 19/3             138/25
   96/14 100/20 132/2         20/23 21/1 26/25           semicolon [1]
   133/10 134/1 138/4         32/23 33/13 34/8            37/19
   144/12                     34/11 41/21 41/23          send [2] 130/16
  scrolling [1]               42/21 42/24 43/2            131/11
   44/20                      43/25 46/12 46/23          sending [4] 60/21
  seal [2] 6/8 9/11           49/13 51/23 54/16           98/25 99/2 130/11
  sealed [1] 7/8              54/23 57/12 57/19          sends [1] 148/20
  search [1] 13/21            62/11 63/11 67/5           sense [1] 164/6
  searched [1] 185/3          70/10 72/7 76/5            sent [7] 43/4 66/9
  searching [1] 55/2          77/13 78/25 79/5            86/11 103/11
  seat [3] 4/4                81/8 89/4 91/10             103/22 107/8 140/9
   188/19 189/3               91/14 91/18 92/15          sentence [8] 35/4
  seated [4] 18/22            94/11 94/22 96/16           62/22 75/7 81/7
   21/15 58/25 124/17         97/6 103/19 105/21          81/20 147/23 148/2
  second [22] 7/12            105/22 107/20               156/12
   8/8 34/3 34/3              108/24 117/12              sentences [2]
   37/15 41/9 43/13           120/1 123/18 124/5          81/16 129/22
   46/10 47/9 49/7            129/10 130/14              separate [2]
   49/7 79/3 94/16            131/6 132/3 136/2           107/17 107/24
   94/18 94/22 97/3           136/23 137/11              September [1]
                              137/12 138/1                71/12
                              129/21
  S 9:18-cv-80176-BB Document 839
Case                                   130/1
                                  Entered on FLSD Docket shut
                                                         12/20/2021   12/21
                                                                [2] Page 253 of 268
  sequence [1] 14/6           130/14 130/16               12/23
  series [2] 25/18            130/18                     sic [1] 88/19
   65/24                     she'd [2] 129/15            side [1] 38/14
  serious [1] 152/19          129/20                     sidebar [3] 22/17
  serve [1] 29/4             she's [7] 17/25              24/2 61/18
  served [2] 28/25            17/25 18/1 98/25           sides [2] 10/15
   67/23                      98/25 99/14 125/21          123/4
  service [1] 110/11         sheriff's [6]               signal [2] 23/24
  services [1] 186/4          29/21 29/23 30/5            27/20
  set [6] 7/12 21/24          31/1 31/5 31/8             signature [18]
   87/7 87/9 118/9           shift [1] 32/4               33/14 33/16 33/17
   193/14                    shifted [1] 29/20            38/8 76/24 77/12
  sets [1] 37/7              short [1] 12/1               77/16 77/17 82/5
  settle [1] 142/16          short-circuit [1]            83/14 83/16 83/17
  settlement [4]              12/1                        83/18 84/1 84/9
   70/6 70/25 71/3           shorthand [2]                84/13 84/17 96/17
   78/17                      193/5 193/8                signed [3] 84/16
  several [4] 10/11          shortly [4] 84/16            101/22 107/4
   110/15 113/9               95/11 113/6 126/16         significant [1]
   134/19                    should [13] 10/21            11/4
  Shah [8] 5/18 6/2           12/3 14/21 23/17           silent [1] 145/16
   171/7 171/12               26/14 26/19 60/25          similar [2] 155/16
   171/25 172/7               74/21 101/2 105/9           179/12
   173/19 177/12              131/12 154/8               simple [3] 13/21
  shape [1] 164/10            188/25                      16/23 189/15
  share [6] 100/5            show [26] 15/10             simply [2] 142/15
   100/25 181/1 181/3         41/8 52/4 53/13             170/21
   181/4 181/6                53/22 54/19 61/24          since [8] 35/14
  shared [2] 104/11           68/8 88/7 89/10             66/23 68/8 76/21
   162/15                     131/16 143/14               77/3 81/22 178/5
  shares [7] 100/25           145/5 145/23 151/2          178/13
   104/9 104/13               151/23 163/10              single [5] 158/24
   104/22 106/6               167/20 172/6 173/2          159/12 159/12
   106/15 156/9               174/11 177/17               159/12 185/4
  she [24] 28/13              177/18 177/19              sir [51] 19/18
   28/14 69/11 69/21          177/21 185/2                24/10 25/3 25/10
   70/2 77/22 98/11          showed [3] 153/16            61/23 124/9 149/19
   98/13 98/14 118/10         170/6 171/5                 150/11 150/16
   128/20 128/21             showing [3] 41/11            151/4 151/25 153/5
   128/22 129/3 129/9         163/11 173/14               154/24 155/13
   129/15 129/16             shown [4] 101/4              156/2 157/12
   129/17 129/17              152/3 163/1 171/8           157/23 158/1
                             shows [1] 170/9              158/19 158/24
                              111/12
  S 9:18-cv-80176-BB Document 839
Case                                                      191/18 Page 254 of 268
                                  Entered on FLSD Docket 12/20/2021
  sir... [31] 159/3         smarter [1] 134/18         sometime [3] 76/14
   159/11 159/23            so [217]                    112/7 113/9
   159/24 160/17            software [7] 31/18         sometimes [1] 52/3
   160/24 161/14             78/8 81/12 184/14         somewhat [4] 12/24
   163/1 163/20              185/25 186/9               15/19 16/4 16/7
   166/25 167/8 168/5        186/12                    somewhere [2]
   170/2 170/14             sole [2] 7/20               131/6 147/12
   170/21 171/2              35/15                     Sommer [4] 73/12
   171/15 172/6             solely [1] 8/3              74/19 80/4 80/5
   173/13 173/24            some [44] 14/2             sorry [26] 4/10
   175/1 175/6 178/18        16/21 16/25 25/12          6/17 28/24 36/14
   179/3 179/25 185/2        25/14 30/21 31/17          52/20 68/6 74/16
   186/5 187/7 187/17        31/19 31/22 39/6           82/7 83/12 102/4
   187/25 189/6              39/15 47/11 52/10          102/23 103/5
  sisters [1] 28/7           52/11 52/18 55/25          107/22 111/18
  sit [5] 8/23 23/6          56/14 63/4 64/3            116/20 116/23
   27/17 125/10 189/9        65/24 66/11 72/4           118/17 126/4 133/6
  sites [1] 185/3            77/10 78/13 87/10          133/7 135/22
  sitting [6] 18/1           109/2 109/3 109/20         151/11 171/12
   113/14 119/23             110/12 110/21              172/9 182/12
   119/23 119/24             113/11 120/8               190/18
   136/18                    121/11 123/14             sort [8] 9/19
  situated [3] 4/7           134/18 136/14              64/18 97/17 109/16
   4/13 39/3                 136/14 143/5 145/8         109/23 116/9
  situation [1]              145/10 145/11              120/12 136/16
   142/16                    148/5 159/8 180/16        sought [2] 87/20
  sixth [1] 91/11           somebody [1]                99/5
  sized [1] 134/19           179/21                    sour [1] 97/18
  skills [2] 52/10          someone [2] 104/15         South [3] 1/15
   54/16                     130/11                     28/18 67/24
  skip [3] 10/17            something [30]             Southeast [1] 1/18
   77/23 103/23              17/12 23/9 27/3           SOUTHERN [3] 1/1
  skipped [1] 78/2           46/20 48/16 58/12          193/3 193/6
  skipping [2] 54/13         91/20 112/9 116/8         speak [6] 6/25
   103/24                    120/11 124/25              19/17 22/6 25/3
  Skype [3] 56/5             125/16 127/10              55/1 188/8
   56/9 56/10                136/19 145/3 145/5        speaking [4] 8/24
  Skypes [1] 56/14           145/9 152/13               102/7 110/18 178/7
  slave [1] 52/13            155/16 165/16             speaks [2] 86/24
  slow [1] 89/19             165/20 166/9               146/18
  slowly [1] 50/19           167/12 167/22             special [1] 31/18
  small [2] 77/2             178/8 179/4 179/9         specific [5] 7/4
                             179/12 182/11              7/4 161/20 162/19
                              43/1Entered
  S 9:18-cv-80176-BB Document 839
Case                                43/8on55/13         101/21 105/11
                                           FLSD Docket 12/20/2021 Page 255 of 268
  specific... [1]             75/4 76/3 76/19            105/15
   163/21                     107/1 140/14              stick [1] 164/20
  specifically [3]           starts [6] 8/8             still [10] 6/15
   161/17 176/3               45/24 45/25 54/20          28/9 28/13 114/8
   176/21                     103/18 140/16              117/17 131/13
  speculating [1]            state [7] 5/4 9/5           132/15 135/23
   53/20                      18/25 37/21 71/11          148/5 152/4
  speculation [3]             71/18 71/24               stipulate [3]
   92/21 147/19              stated [4] 17/17            15/16 16/9 16/12
   160/14                     18/6 19/10 97/4           stipulation [2]
  spell [1] 24/13            statement [13]              16/15 114/22
  spend [1] 30/21             61/14 61/15 67/23         stocks [3] 187/16
  spending [1] 76/22          68/1 81/20 82/1            187/17 187/21
  spent [1] 143/5             104/17 137/13             stole [4] 161/14
  split [2] 102/14            141/7 141/7 160/24         162/2 162/6 163/17
   154/21                     162/19 171/9              stolen [1] 161/23
  spoke [2] 149/19           statements [4]             stop [10] 20/11
   149/22                     99/23 141/3 141/4          20/19 58/16 75/3
  spoken [4] 177/7            173/17                     75/11 81/3 81/3
   178/3 178/23              states [9] 1/1              140/15 145/17
   178/24                     1/11 14/15 43/19           187/5
  spot [1] 185/20             87/7 129/24 131/16        stopped [2] 95/14
  ss [1] 193/2                193/1 193/6                95/15
  stamp [2] 45/18            stationed [1]              stopping [1] 188/3
   82/7                       28/22                     storage [1] 120/5
  stand [3] 21/8             statistical [1]            stored [2] 113/15
   21/21 24/9                 87/9                       121/20
  start [15] 25/4            stay [6] 31/9              storing [1] 134/24
   45/16 45/17 65/15          31/20 116/16              story [7] 118/18
   74/12 76/4 94/6            131/16 146/2 146/4         163/20 163/21
   103/16 113/10             staying [1] 182/12          163/22 164/20
   113/20 118/18             stealing [1]                175/10 186/17
   120/2 131/12 144/3         161/19                    straight [1] 80/2
   144/4                     STEARNS [1] 2/5            Street [2] 1/18
  started [13] 4/14          stenographic [1]            2/6
   4/25 27/5 29/10            193/11                    strenuous [1]
   97/18 101/13 113/6        step [2] 42/5 48/5          104/1
   116/5 122/17              STEPHEN [3] 1/17           stricken [1]
   144/22 144/24              88/12 89/23                142/19
   162/17 186/3              Steve [1] 5/11             strike [1] 53/19
  starting [12] 5/5          Steven [10] 35/6           string [1] 14/23
   13/15 37/17 41/9           37/5 37/21 39/1           strong [1] 54/23
                              86/16 89/23 90/11         struck [1] 29/13
  S 9:18-cv-80176-BB Documentsuit
Case                               [1] on
                              839 Entered 54/23          97/11 Page 256 of 268
                                            FLSD Docket 12/20/2021
  structured [2]            Suite [4] 1/15           switch [4] 27/23
   153/25 154/5              1/18 1/23 2/6            39/11 99/22 135/4
  stuff [10] 120/12         super [1] 145/10         Switching [1]
   120/16 120/17            supplying [2]             59/22
   120/17 120/21             160/12 160/14           sworn [2] 24/11
   122/5 131/17             suppose [2] 177/14        184/7
   145/11 145/20             184/8                   symbol [6] 75/9
   177/1                    supposed [2] 74/10        151/4 167/1 167/1
  Sturt [1] 87/12            164/4                    167/2 168/20
  subject [11] 51/7         supposedly [1]           sympathy [1] 23/9
   57/6 57/7 60/19           108/13                  system [5] 88/3
   61/10 85/7 85/25         Supreme [1] 67/24         88/11 118/16 174/7
   86/20 93/23 127/2        sure [37] 7/6             174/12
   151/2                     18/14 19/14 19/16       systematic [1]
  subjects [1] 43/7          25/14 29/18 53/25        81/8
  submit [1] 16/14           54/13 60/9 69/17        systems [2] 114/1
  submitted [2]              79/25 80/2 82/11         118/14
                             82/15 85/4 114/24
   122/24 156/8
                             116/21 117/20
                                                     T
  substantial [7]                                    Tab [1] 125/25
   175/14 175/17             117/21 123/25
                             123/25 130/25           take [50] 7/7 9/14
   175/21 177/9 178/4                                 19/11 20/11 20/23
   178/25 179/8              131/13 145/22
                             151/8 151/23             20/23 35/18 38/11
  substantively [1]                                   44/10 45/22 47/16
   12/10                     152/12 155/8
                             157/10 167/8 170/8       48/20 50/16 55/23
  successful [4]                                      57/12 71/7 77/2
   107/17 107/22             175/1 176/20
                             177/14 188/24            79/17 84/4 87/17
   107/23 144/24                                      95/21 97/14 98/18
  such [4] 76/24             189/22 191/17
                            surgery [1] 23/5          99/20 100/14
   81/11 155/12                                       106/18 110/16
   160/11                   surprise [7]
                             170/14 170/21            110/19 111/10
  suddenly [3] 22/12                                  112/7 120/23 122/2
   107/17 107/24             170/23 170/24
                             171/1 182/6 182/8        124/2 128/23
  sue [1] 37/24                                       130/21 131/21
  sued [1] 156/8            survivor [1] 35/6
                            suspicion [1]             131/23 131/24
  suggest [2] 11/3                                    132/1 132/19
   191/14                    112/19
                            sustained [13]            132/21 132/21
  suggested [3]                                       133/2 135/2 140/25
   125/3 128/22 162/1        26/13 50/5 54/1
                             56/22 58/8 87/1          146/8 147/23
  suggesting [1]                                      170/24 171/12
   11/3                      99/19 108/9 142/1
                             146/20 147/20            192/14
  suggests [3] 104/8                                 taken [9] 9/13
   124/25 162/5              154/9 160/21
                            sweat [2] 97/5            12/11 19/24 20/7
                              56/18
  T 9:18-cv-80176-BB Document 839
Case                              Entered on FLSD Docket testified    that
                                                         12/20/2021 Page     [1]
                                                                         257 of 268
  taken... [5] 66/17         tears [2] 97/5               157/20
   66/19 163/11               97/11                      testify [5] 19/24
   163/13 184/9              tech [2] 47/12               20/6 116/11 178/23
  takes [2] 6/19              47/14                       189/5
   31/11                     technician [2]              testifying [1]
  taking [2] 81/19            28/25 29/8                  18/7
   82/1                      technology [1]              testimony [28]
  talk [24] 10/11             31/16                       9/16 12/4 12/19
   27/23 39/12 43/7          telephone [3] 56/5           13/5 14/21 15/6
   47/23 59/22 60/1           56/10 180/2                 15/9 17/6 21/15
   84/22 90/20 90/23         tell [32] 7/18               26/19 26/22 58/6
   99/22 109/3 109/15         28/17 28/21 30/9            99/16 99/18 150/16
   112/22 114/10              31/14 36/8 42/11            151/2 154/24 155/2
   115/8 115/9 119/20         45/1 47/10 50/25            163/17 164/1
   135/6 152/16               71/23 74/20 105/4           164/17 172/25
   152/17 153/9 157/7         111/1 113/4 117/10          173/9 177/17 189/2
   191/23                     128/12 128/17               190/1 191/15
  talked [9] 48/23            128/21 132/24               191/15
   49/17 77/6 80/4            135/22 139/5               text [5] 159/12
   82/4 105/3 124/21          163/21 164/6                161/6 161/7 161/8
   151/5 166/6                170/12 170/13               175/20
  talking [29] 37/11          179/4 179/18 181/9         than [28] 8/5
   42/2 48/1 53/14            181/12 181/13               16/15 23/17 23/20
   55/18 67/9 70/23           190/2                       52/11 56/24 63/2
   75/12 75/13 77/15         telling [11] 52/17           65/6 77/24 79/25
   88/1 93/24 98/6            52/25 80/8 81/18            80/4 81/5 84/12
   103/20 107/24              81/23 107/9 128/25          84/17 100/10 109/9
   130/6 133/6 144/23         134/12 155/9 164/5          110/14 117/8 125/3
   144/24 145/17              183/14                      134/18 154/15
   147/15 156/2              tells [2] 141/18             164/1 166/9 167/22
   156/17 158/25              141/22                      174/9 174/12 175/9
   159/4 159/5 161/8         term [4] 59/24               177/7
   162/18 186/5               63/20 63/21 112/10         thank [68] 4/15
  talks [1] 86/13            terms [6] 8/6                5/1 7/14 17/15
  tax [7] 59/25               47/24 72/14 96/1            17/19 17/20 18/23
   64/18 74/6 74/23           96/1 159/14                 19/25 20/8 20/17
   79/23 80/1 103/10         terrible [1] 52/12           20/21 21/2 21/9
  Taxation [1] 62/14         testified [10]               21/19 22/9 24/15
  taxpayer [1] 64/7           25/10 37/9 124/24           25/1 25/2 25/4
  team [9] 4/23 5/13          157/20 157/21               32/21 35/1 36/6
   52/12 52/14 52/14          173/21 174/15               37/1 38/23 41/15
   52/23 52/24 55/3           174/18 174/20               41/18 42/18 44/12
                              179/1                       45/19 47/18 57/14
Case                          145/19
  T 9:18-cv-80176-BB Document 839      150/5
                                  Entered                 134/23 134/23
                                          on FLSD Docket 12/20/2021 Page 258 of 268
  thank... [37] 59/4 150/12 150/13                        134/24 136/14
   62/7 66/6 71/6     152/15 153/19                       140/19 147/3 154/6
   76/2 79/18 82/13   154/9 155/15                        156/5 158/25 160/8
   84/6 85/15 91/3    156/10 156/20                       179/5 179/8 182/6
   92/5 94/20 95/22   156/22 160/10                       187/19
   96/14 97/15 103/5  160/14 162/8                       theme [1] 75/14
   103/7 108/24 112/2 163/22 164/9                       themselves [1]
   115/5 124/6 124/14 164/13 164/16                       114/3
   130/22 135/13      165/22 166/11                      then [88] 7/14
   137/5 141/1 146/3  168/16 169/19                       7/15 9/23 12/21
   149/7 151/25       174/1 174/4 174/10                  13/1 14/5 14/14
   157/18 172/1 172/3 176/11 176/11                       15/24 16/11 17/16
   173/11 185/21      177/10 181/24                       18/12 18/18 19/20
   188/18 192/13      183/18 183/19                       23/25 24/1 25/20
   192/19             184/5 184/13                        26/3 30/24 31/11
  Thanksgiving [11]   185/15 186/7                        31/23 33/18 47/9
   143/8 144/16       189/15 192/9                        48/10 48/13 49/13
   149/24 152/17     theft [1] 152/22                     52/8 57/11 58/20
   163/20 163/23     their [11] 10/24                     60/1 67/7 68/17
   165/4 165/18       28/11 29/16 72/13                   74/25 75/3 75/6
   175/10 179/11      72/13 96/2 109/24                   75/10 78/11 78/14
   186/17             140/22 151/23                       81/25 83/3 86/17
  that [803]          160/8 171/9                         87/6 87/11 91/17
  that's [85] 8/13   them [63] 6/10 9/8                   93/2 95/17 97/3
   8/16 9/21 10/14    14/3 30/9 47/10                     103/23 104/5
   10/16 11/18 11/20  49/20 50/13 76/22                   105/12 106/5 107/1
   20/12 21/17 23/10  77/11 85/4 88/5                     107/13 108/25
   23/25 33/17 38/7   90/21 109/23 111/1                  110/1 110/3 113/14
   41/10 41/22 42/1   111/2 111/3 111/13                  117/18 117/24
   42/3 53/22 53/23   111/15 111/25                       118/2 118/11
   53/24 54/15 67/13  112/5 112/7 112/20                  120/17 123/3 124/2
   68/11 72/16 79/5   113/11 113/12                       129/16 130/2
   83/18 86/2 89/18   113/15 114/4 114/6                  135/21 142/9
   90/25 102/11       117/1 117/12                        144/12 145/4
   102/20 104/25      118/19 119/14                       145/11 147/7 148/2
   108/23 109/14      120/1 120/1 120/4                   148/14 157/23
   115/25 116/7       120/5 120/6 120/12                  165/23 173/17
   116/21 117/4 117/9 120/14 121/12                       176/10 178/6
   119/2 119/2 125/9  121/19 122/7                        178/13 179/2
   125/20 125/20      122/19 123/4                        179/12 180/2 186/8
   131/10 132/5       123/15 123/15                       188/6 190/8 191/18
   135/22 136/7       123/18 131/13                       191/19 192/8
                      131/15 134/23                      there [128] 4/10
Case                          155/14
  T 9:18-cv-80176-BB Document 839      155/24
                                  Entered                 110/1 111/7
                                          on FLSD Docket 12/20/2021       112/4
                                                                    Page 259 of 268
  there... [127]              156/4 159/3 160/6           112/4 112/20
   6/11 6/12 6/14             163/20 169/11               113/14 113/25
   6/21 9/15 13/25            169/19 172/13               114/3 119/13
   14/2 14/12 14/13           173/1 174/12                119/22 119/23
   16/3 16/21 17/13           179/25 183/12               119/24 121/20
   19/14 22/2 22/14           188/20 188/23               122/4 123/5 123/6
   26/6 26/25 29/25           191/18 192/11               123/8 123/8 123/11
   31/4 31/9 32/8            there's [21] 7/22            123/18 135/24
   33/9 33/13 33/23           15/8 16/18 25/12            138/25 140/18
   34/5 34/8 34/24            72/6 72/6 91/17             140/19 148/21
   35/20 40/5 40/19           94/17 102/11 108/8          151/24 151/24
   41/3 43/11 43/21           115/14 117/10               154/22 155/1 155/7
   43/24 43/24 45/12          125/4 125/10                155/24 158/17
   47/24 48/2 53/23           127/20 156/22               158/22 159/5 159/6
   53/23 54/11 56/14          176/3 189/2 189/8           160/3 160/7 160/8
   56/24 56/25 57/24          189/16 191/15               162/15 167/5 167/7
   62/11 63/25 64/25         therefore [1]                179/4 180/10
   64/25 65/7 72/4            37/20                       182/15 186/4
   75/14 76/7 76/22          these [38] 10/9             they're [4] 11/24
   77/15 79/22 81/3           15/7 29/15 33/9             21/10 33/10 60/21
   82/19 84/12 87/3           41/23 46/9 53/7            thing [26] 26/23
   87/5 87/20 91/13           55/25 65/24 67/24           46/23 49/7 49/7
   92/14 94/11 94/19          71/1 88/24 89/21            52/8 59/11 67/7
   97/17 97/20 101/15         90/7 99/15 103/1            74/8 75/13 77/18
   104/2 106/24               110/6 115/12                79/13 89/21 96/13
   109/18 110/11              115/14 117/10               109/15 109/24
   110/14 110/15              117/11 119/11               115/24 119/22
   111/11 112/23              134/14 134/16               119/25 129/9
   113/2 115/24               134/17 135/24               138/20 143/17
   116/16 117/1 119/5         136/13 136/18               145/15 146/17
   119/11 119/18              157/21 157/23               149/23 160/11
   120/21 121/3 121/7         158/1 158/3 158/5           171/13
   121/7 121/11               159/5 160/4 162/21         things [14] 6/20
   122/11 122/14              173/4 183/4                 10/11 26/12 47/23
   123/11 124/25             they [69] 14/23              59/23 69/25 80/1
   125/17 127/21              15/5 19/4 19/6              81/23 110/18
   128/17 129/21              19/8 29/11 29/14            112/14 113/11
   131/18 137/6 137/8         29/15 63/14 64/19           120/9 123/16 153/9
   137/19 137/21              65/23 67/9 75/16           think [91] 4/8
   138/11 138/22              81/6 81/15 88/4             8/13 11/12 11/18
   139/7 139/8 148/2          88/6 104/16 105/10          16/21 16/22 16/25
   152/7 154/4 155/5          106/2 107/3 107/7           18/10 18/12 20/16
                              109/19 109/23               23/10 23/11 23/12
                              47/23
  T 9:18-cv-80176-BB Document 839
Case                                  65/10
                                  Entered      66/8
                                          on FLSD         77/10 79/1
                                                  Docket 12/20/2021 Page 79/6
                                                                         260 of 268
  think... [78]               66/8 66/11 67/1             85/4 88/10 90/8
   23/16 23/16 29/3           68/2 72/9 72/13             93/13 95/25 113/17
   29/5 29/8 29/10            74/11 81/8 82/20            141/13 142/4 145/7
   29/18 29/20 30/2           82/20 84/4 86/16            148/13 154/19
   30/3 30/6 30/12            87/22 90/20 93/5            154/25 168/1
   31/3 31/10 31/11           98/15 110/14                184/11
   32/9 35/23 36/18           111/13 112/18              throughout [2]
   44/14 44/20 48/8           112/24 113/1                43/5 172/25
   48/15 53/4 53/23           113/22 113/25              thumb [4] 110/21
   54/4 58/14 59/13           114/1 114/8 115/10          111/12 112/16
   59/19 60/25 61/21          118/11 118/14               119/9
   63/20 64/22 67/13          119/8 120/2 122/2          till [1] 188/14
   69/9 72/16 79/22           122/10 122/16              time [123] 10/4
   80/9 85/3 85/18            122/25 123/1 123/3          11/14 11/18 12/7
   93/11 97/2 97/23           125/4 137/23                13/12 16/13 18/15
   101/2 110/20 111/4         139/10 158/6                20/22 21/20 23/6
   111/23 112/13              158/13 158/13               23/23 24/4 24/4
   113/9 113/15               159/8 176/19 179/9          24/8 27/12 27/15
   113/24 114/12              181/21 187/21               27/18 27/19 30/21
   114/13 118/6              though [2] 104/16            33/21 35/20 36/11
   123/10 124/24              165/23                      39/4 39/16 39/16
   129/25 130/24             thought [13] 54/22           39/19 39/23 40/1
   131/14 132/10              69/21 80/10 103/18          40/5 41/1 44/7
   144/14 144/15              114/20 116/7                45/10 46/20 48/23
   144/16 145/6               121/24 145/2                49/21 49/25 51/3
   148/12 163/15              145/16 170/18               51/11 56/16 56/24
   173/15 174/10              189/8 189/17                57/1 57/8 57/9
   177/13 177/14              189/18                      57/11 58/14 61/12
   177/18 181/11             three [12] 28/23             64/13 66/18 69/3
   182/5 185/19               29/5 31/10 83/7             76/14 76/22 82/2
   187/18 189/15              94/17 110/20 111/8          84/21 87/13 87/20
   190/2 190/3 192/7          111/9 113/22                88/14 93/21 96/22
  thinking [1] 185/1          117/14 157/11               97/17 97/20 97/25
  third [6] 33/5              174/12                      99/3 106/15 108/22
   34/2 37/18 51/18          through [42] 1/8             110/11 110/11
   62/14 122/16               8/9 12/18 15/3              112/23 113/7
  third-party [1]             15/5 17/5 25/13             113/11 114/19
   62/14                      37/17 39/12 41/23           116/5 118/6 119/25
  this [328]                  44/21 45/21 46/22           121/3 122/14
  those [57] 9/14             50/20 52/11 52/19           123/24 124/24
   12/12 14/25 15/3           54/9 55/25 55/25            126/14 127/24
   15/12 33/9 45/7            60/9 63/4 65/6              132/19 133/19
                              66/11 72/21 72/22           136/8 136/10
Case                          47/12
  T 9:18-cv-80176-BB Document 839     141/23
                                  Entered       184/2
                                          on FLSD         140/6 156/23
                                                  Docket 12/20/2021 Page 261 of 268
  time... [40]               told [45] 32/7              topic [6] 32/5
   136/16 137/19              47/12 70/13 70/15           90/22 123/21
   138/9 138/22               79/22 81/1 87/13            123/24 124/20
   139/13 142/7 143/5         100/4 100/7 100/8           129/14
   143/23 144/16              108/5 113/4 113/7          topics [7] 27/23
   145/19 146/8 149/4         119/23 122/11               39/11 59/22 99/22
   151/3 163/11               125/7 128/7 136/9           108/21 135/4 143/3
   164/23 170/18              144/14 145/1               total [5] 18/12
   172/10 175/3 176/8         154/14 154/22               85/18 106/11 147/4
   176/14 176/15              164/7 164/7 164/16          147/6
   178/6 178/13               166/9 168/20               touch [8] 97/20
   178/13 178/21              175/16 177/2 177/3          98/5 126/11 130/7
   180/16 184/17              178/3 178/24 179/7          130/13 140/15
   184/20 184/21              179/8 179/10                140/17 140/22
   184/23 184/24              179/12 180/22              touched [1] 113/12
   184/25 184/25              180/24 181/11              towards [1] 52/17
   185/1 185/18               181/15 181/16              track [1] 54/9
   187/24 188/6               181/19 183/7 183/7         trail [5] 73/9
   188/21 190/19              183/18                      73/10 74/2 74/13
   192/14                    tomorrow [6] 17/12           137/10
  time-wise [1]               155/18 188/11              transcript [4]
   126/14                     188/14 188/15               1/10 193/10 193/11
  timeline [9] 29/1           191/21                      193/12
   30/2 30/18 141/14         tonight [1] 17/11           transfer [8] 70/7
   142/21 148/20             too [7] 93/2 96/15           70/16 70/17 76/24
   171/5 171/8 174/15         97/5 97/11 99/1             78/2 81/9 100/4
  times [5] 26/6              104/1 112/10                108/17
   82/19 120/19              took [20] 77/21             transferred [3]
   125/21 150/14              110/24 111/13               13/6 71/4 78/7
  timing [1] 99/14            112/10 112/12              transmittal [1]
  tip [2] 187/10              112/18 115/15               102/12
   187/13                     116/18 116/19              treasure [1]
  tips [1] 187/20             119/16 122/7                183/12
  tiresome [1]                123/12 123/14              tremendous [1]
   190/20                     143/7 154/25                10/7
  today [13] 17/9             156/25 162/9               trial [6] 1/10
   17/10 18/7 18/24           162/13 162/23               10/8 22/25 27/5
   27/12 38/4 114/8           167/15                      27/15 58/5
   125/10 155/10             top [14] 7/13 7/25          tried [1] 142/15
   155/11 175/6               46/15 83/16 96/12          trillions [1]
   183/16 190/6               103/16 105/6                140/19
  together [4] 11/2           117/15 118/4 118/5         true [15] 47/12
                              118/22 118/22               80/10 81/20 82/1
                              101/14
  T 9:18-cv-80176-BB Document 839
Case                                   102/15
                                  Entered                 19/8 25/24
                                          on FLSD Docket 12/20/2021 Page 26/10
                                                                         262 of 268
  true... [11] 82/3           111/22 115/5        26/15 49/2 49/16
   84/10 104/17               117/12 129/21       52/25 54/25 55/17
   105/13 137/13              132/11 134/1 134/9 92/18 107/15
   154/12 161/4               138/24 143/20       128/18 135/23
   161/24 166/17              144/22 148/13       136/13 152/18
   186/11 193/10              157/9 157/10        153/1 153/11 155/8
  TrueCrypt [1]               157/21 158/25       156/3 159/19 160/1
   134/15                     159/5 176/23        167/8 170/8 175/7
  trust [4] 58/25             185/15              178/10
   103/25 131/13             two-page [1]        understanding [39]
   140/15                     101/14              10/12 10/14 35/8
  trusted [1] 43/10          type [6] 31/22       38/1 39/8 52/15
  trusts [5] 137/20           31/22 51/7 78/13    63/6 63/14 63/21
   137/20 137/22              98/11 123/12        69/13 69/19 69/24
   137/23 140/17             types [1] 110/18     75/7 75/12 80/7
  truth [8] 61/19            typo [1] 129/25      86/22 92/18 93/3
                                                  97/9 97/9 97/10
   79/25 99/6 101/19         U                    98/14 100/23
   103/1 104/17 127/8        U.S [1] 2/8
   189/21                                         108/12 121/9 122/4
                             Uh [9] 25/23 26/11 134/12 136/7
  try [6] 10/3 11/25          31/13 63/13 113/21 147/13 147/14
   88/2 101/10 114/2          131/7 165/8 167/11 147/18 147/22
   140/20                     175/8
  trying [9] 9/19                                 147/23 158/17
                             Uh-huh [9] 25/23     159/16 160/3 164/5
   58/11 59/19 78/17          26/11 31/13 63/13
   125/16 131/12                                  167/4 169/17
                              113/21 131/7 165/8 understood [9]
   160/2 160/16               167/11 175/8
   162/21                                         37/9 49/11 52/9
                             ultimately [2]       86/10 98/17 104/19
  Tuesday [1] 143/6           31/23 123/5
  turn [3] 122/19                                 108/13 109/12
                             uncover [1] 125/17 147/25
   152/5 179/22              under [14] 6/8
  turned [2] 122/15                              undertake [1]
                              9/11 10/9 19/7      87/25
   122/15                     24/10 25/25 37/21 undertook [1]
  Twitter [1] 187/18          47/22 150/16
  two [45] 4/21                                   109/16
                              153/23 153/25      undisclosed [2]
   12/12 14/19 18/11          154/3 172/17
   18/12 26/12 31/23                              107/20 108/4
                              178/21             UNITED [5] 1/1
   32/8 43/9 46/24           underdeveloped [1]
   47/23 47/24 49/18                              1/11 43/19 192/21
                              147/5               193/6
   53/7 54/3 59/22           undersigned [1]
   64/22 66/24 67/1                              University [1]
                              37/20               87/12
   72/6 72/6 81/16           understand [28]
   81/21 81/22 88/11                             unless [1] 9/16
                              12/13 16/10 19/6   unlike [1] 147/5
Case                          191/7
  U 9:18-cv-80176-BB Document 839                         128/12 128/20
                                  Entered on FLSD Docket 12/20/2021 Page 263 of 268
  unlucky [1] 80/18          update [1] 176/15            128/25 129/7
  unpack [1] 114/2           updated [1] 176/7            130/13
  until [8] 27/3             updating [1] 104/3          Uyen's [2] 76/25
   30/16 31/20 81/17         upon [2] 63/5                77/24
                              180/3
   81/21 101/2 113/14
                             urge [1] 13/8
                                                         V
   133/10                                                VA [1] 176/23
  unusual [1] 145/17         us [24] 4/9 5/18
                              6/4 18/8 23/24             vague [1] 166/4
  up [94] 12/21                                          value [11] 76/25
   12/23 18/10 21/24          31/11 43/11 43/15
                              44/4 44/23 46/21            78/3 78/6 107/18
   22/12 23/7 26/4                                        108/17 112/20
   28/17 31/3 34/4            49/22 50/20 62/18
                              62/23 72/24 76/14           124/25 125/4
   36/25 37/15 38/20                                      125/11 125/11
   40/13 40/14 41/17          81/19 104/3 125/7
                              131/16 133/11               135/24
   42/17 44/17 46/4                                      vantage [1] 10/24
   46/9 46/23 47/4            167/20 185/18
                             USA [1] 86/17               various [1] 31/16
   48/21 50/17 53/4                                      Vel [1] 5/6
   54/6 55/2 59/11           use [17] 11/7
                              14/10 14/10 17/6           Vela [34] 5/14
   60/5 65/1 72/17                                        34/2 34/23 35/25
   73/23 74/12 76/6           49/22 55/11 59/16
                              104/16 106/2 116/5          37/15 38/20 40/13
   79/9 80/17 81/17                                       41/18 42/18 44/10
   81/21 82/6 82/7            118/7 118/10 136/2
                              136/14 151/18               44/21 45/16 47/5
   83/20 84/22 85/16                                      47/17 48/21 50/16
   87/7 87/9 88/19            157/17 182/6
                             used [19] 10/19              50/19 60/5 60/8
   89/7 90/5 90/24                                        66/4 72/22 84/5
   91/25 93/8 94/8            10/22 11/5 13/10
                              31/18 34/14 48/3            85/4 85/16 87/18
   96/5 108/25 109/19                                     93/12 95/8 96/10
   110/12 110/13              52/1 55/11 135/25
                              136/5 147/12                103/3 103/15 115/6
   114/12 115/24                                          116/16 119/1 137/4
   118/9 118/14               149/16 158/1 181/9
                              181/13 181/17              vendetta [1] 75/14
   118/20 121/23                                         venture [4] 107/19
   125/25 126/17              185/15 186/9
                             using [7] 14/20              108/3 108/4 108/12
   129/5 130/4 130/23                                    verbal [8] 56/5
   131/5 131/21 132/2         49/18 112/10 120/2
                              120/5 151/20                56/11 73/5 147/16
   132/19 132/21                                          158/18 158/20
   134/1 135/7 136/19         172/24
                             UT [3] 127/21                158/22 158/25
   137/11 144/23                                         verified [1]
   145/3 146/14 147/4         127/22 128/2
                             Utz [2] 79/24 80/3           172/14
   147/11 148/17                                         versions [1]
   171/7 171/25              Uyen [16] 68/16
                              69/4 77/20 125/18           148/20
   174/21 176/11                                         versus [2] 22/20
   180/3 186/9 190/13         125/20 126/10
                              126/18 126/20               76/14
   190/24 191/3 191/3                                    very [29] 13/11
                              126/22 127/9 128/3
  V 9:18-cv-80176-BB DocumentWales
Case                                [1] on67/24
                              839 Entered  FLSD Docket Watts'     Page 99/10
                                                       12/20/2021[1]   264 of 268
  very... [28] 16/9          walk [1] 25/13             way [17] 15/10
   17/19 17/20 22/22         walked [1] 26/20            16/3 18/9 30/16
   47/13 58/4 58/12          wallet [2] 145/5            52/3 52/11 52/19
   59/13 76/8 93/6            145/23                     57/1 102/14 102/24
   93/18 94/6 112/2          wallets [2] 134/18          122/9 137/3 137/4
   126/16 132/8 140/6         183/8                      164/10 165/14
   149/22 150/12             want [57] 7/19              170/2 188/13
   152/14 159/16              10/11 12/23 12/24         ways [2] 55/1
   163/20 164/16              17/2 17/24 18/14           134/18
   166/1 166/4 179/12         19/10 19/14 20/11         we [216]
   184/17 184/20              27/23 32/4 37/3           we'd [3] 89/2
   192/13                     38/21 42/25 45/16          118/9 126/24
  via [7] 2/2 3/6             46/23 53/9 54/18          we'll [22] 4/13
   3/8 6/5 19/24 20/6         57/6 58/10 59/22           4/24 21/15 33/9
   47/11                      74/16 74/17 75/20          38/14 43/6 44/9
  video [10] 3/6 3/8          75/21 76/17 77/10          55/25 59/2 63/4
   19/24 20/1 20/6            82/6 82/10 86/13           65/6 65/22 69/8
   20/10 20/11 20/18          90/23 94/6 104/16          112/22 124/17
   21/8 21/16                 109/2 111/20               131/6 144/12
  videos [2] 18/11            116/20 124/9               152/16 157/7
   18/12                      130/25 135/4               188/14 191/20
  Vietnam [1] 68/17           141/13 144/19              191/20
  Vietnamese [1]              145/17 152/5 152/8        we're [39] 4/6
   77/21                      152/12 153/9 155/8         4/12 18/4 18/5
  view [3] 10/9 13/8          160/4 160/8 160/17         18/11 20/3 20/5
   184/9                      162/19 164/20              20/16 24/24 39/11
  visit [1] 121/10            168/7 173/3 173/8          39/11 39/12 40/8
  visiting [2]                189/9                      43/5 46/23 54/13
   131/15 144/15             wanted [8] 18/2             60/1 67/5 89/6
  visits [1] 110/14           20/12 21/6 22/23           94/8 103/24 108/21
  Vistomail [2] 49/9          90/21 121/12               116/15 117/6 123/7
   49/17                      145/24 155/1               128/13 132/2 135/8
  voice [2] 40/19            wants [5] 6/21              146/8 152/17
   42/12                      6/22 6/25 7/23             160/25 164/19
  volunteered [1]             58/13                      164/19 168/20
   164/15                    was [337]                   170/19 173/7 173/7
  vs [1] 1/6                 wash [1] 165/5              175/1 189/22
                             wasn't [5] 27/11           we've [10] 48/23
  W                           53/16 77/16 145/22         55/21 63/20 93/11
  wait [2] 26/9               174/24                     93/23 95/25 125/20
   179/25                    waste [1] 11/14             155/4 157/12
  waiting [2] 4/7            Watts [2] 98/1              175/10
   4/13                       98/10                     weakens [1] 15/8
Case                          28/11
  W 9:18-cv-80176-BB Document 839     29/14
                                  Entered      29/15
                                          on FLSD         160/6 163/1
                                                  Docket 12/20/2021       165/7
                                                                    Page 265 of 268
  WEAVER [1] 2/5               29/15 30/14 33/23          167/1 167/5 178/10
  web [1] 182/21               42/2 47/14 51/8            178/19 178/21
  website [2] 75/6             52/20 54/3 55/10           179/18 179/25
   182/20                      56/8 56/14 59/12           180/5
  websites [1]                 63/14 65/6 65/10          weren't [1] 113/25
   170/18                      66/8 66/8 66/18           WEST [2] 1/2 2/6
  weeks [3] 83/7               67/16 68/1 68/4           what [311]
   110/7 110/8                 68/23 72/4 72/9           what's [22] 22/21
  WEIL [1] 2/2                 75/15 75/16 77/15          23/3 25/13 39/8
  welcome [8] 21/4             77/19 77/24 78/3           42/11 51/3 73/24
   21/14 57/22 58/24           78/4 78/15 81/11           86/4 93/21 95/13
   124/8 124/16                81/14 81/14 81/15          100/23 107/6 115/9
   131/16 132/15               81/18 81/19 81/23          119/22 119/25
  well [47] 8/2 9/15           82/1 82/19 84/12           122/4 126/11 127/2
   12/23 15/16 16/2            86/23 87/22 91/8           127/3 158/4 169/2
   16/8 23/12 23/21            93/5 95/2 98/5             172/6
   25/1 26/23 37/3             100/7 100/8 102/15        whatever [7] 15/18
   39/16 41/20 45/25           104/10 104/17              100/7 134/22
   46/6 49/7 52/18             107/24 108/1 108/5         136/17 158/11
   54/11 63/1 82/24            108/13 111/7 112/4         159/11 175/6
   84/8 87/6 90/23             115/11 115/12             whatsoever [4]
   100/4 100/14                116/9 116/10 118/6         39/2 72/14 130/18
   103/23 111/1                118/18 119/8 119/9         164/1
   123/15 142/3                119/11 119/13             wheelchair [1]
   151/15 152/5 152/8          119/23 119/23              30/8
   156/19 157/20               119/24 121/7              when [72] 12/24
   165/16 166/1                121/19 121/20              13/2 13/2 17/5
   166/23 167/4 173/3          122/5 122/9 122/10         23/4 26/3 26/6
   178/13 180/9 185/2          122/11 122/15              27/16 29/9 34/15
   186/8 187/23                123/4 123/6 123/11         35/11 35/20 35/23
   189/12 190/3                123/18 130/6               37/9 40/8 43/14
   191/13                      135/24 136/25              44/23 49/16 53/1
  went [15] 11/11              137/21 140/8 141/3         55/18 58/12 63/5
   31/22 72/21 79/1            141/4 141/10               63/10 63/17 66/13
   109/23 110/5                141/19 144/15              69/13 69/17 72/24
   110/10 119/11               144/22 145/18              74/8 75/10 77/3
   123/13 131/5 142/4          145/20 146/4               78/14 95/16 95/18
   154/19 171/21               146/10 146/16              98/5 101/19 107/23
   174/7 182/12                146/17 147/3 148/1         109/21 109/23
  were [134] 9/6               148/21 149/12              110/10 111/13
   22/19 22/19 27/8            149/13 149/13              112/10 112/12
   27/10 28/1 28/5             154/4 154/22 155/7         112/18 113/4
                               156/24 159/3 159/5         115/11 116/4
Case                          123/11
  W 9:18-cv-80176-BB Document 839      138/24
                                  Entered                 132/3 139/20
                                          on FLSD Docket 12/20/2021 Page 266 of 268
  when... [25]                146/10 146/16               143/18 147/14
   119/11 120/11             which [45] 9/5               147/17 156/24
   121/7 121/17               11/9 13/16 15/11            164/24 165/16
   121/19 121/21              16/19 26/13 32/9            167/7 177/8 178/8
   122/12 123/8               33/5 38/21 39/3            who's [1] 183/4
   123/12 127/4               43/9 45/17 53/4            whole [4] 27/15
   139/20 141/10              54/20 56/8 64/22            52/8 63/5 96/13
   141/14 141/18              65/6 70/20 75/22           whom [10] 40/21
   141/22 142/11              82/8 83/20 86/7             60/15 65/12 67/21
   147/13 152/16              91/25 95/9 96/6             82/25 100/8 126/20
   156/8 159/5 163/16         98/6 102/12 102/18          126/22 133/16
   167/20 185/17              103/1 104/6 105/1           133/16
   187/11 187/21              106/18 118/4               whose [1] 68/9
  where [45] 27/16            124/20 132/1 134/9         why [39] 7/18 14/5
   28/17 31/17 37/18          135/8 135/15 139/2          14/6 15/9 16/22
   46/12 50/9 51/21           145/16 167/22               23/15 27/14 47/20
   56/24 57/1 63/23           172/1 173/5 189/14          48/13 52/8 53/22
   68/11 69/9 70/6            189/19                      55/10 55/10 62/13
   72/22 81/14 87/20         while [8] 8/24               63/14 78/3 84/17
   87/20 91/10 92/14          10/20 71/20 109/2           87/6 87/7 95/15
   97/17 97/20 105/6          113/5 162/2 162/6           102/11 103/23
   112/23 113/14              162/8                       107/15 107/16
   121/3 121/4 122/14        white [1] 24/5               107/23 128/20
   136/9 137/19              whitepaper [9]               130/6 134/11
   138/22 140/16              48/2 48/8 49/6              135/23 136/14
   144/14 145/19              50/2 171/16 171/20          142/14 148/3
   146/2 146/4 155/4          173/25 184/18               159/22 160/13
   155/14 155/24              184/22                      160/15 165/15
   156/4 162/17              who [54] 5/14 10/8           167/15 167/20
   175/16 177/2 180/3         13/3 16/17 19/23            176/11
   185/7 186/8                20/6 22/19 27/24           wife [8] 97/21
  Where's [1] 151/14          32/2 34/13 35/9             98/3 98/3 98/6
  whereas [2] 37/4            41/21 45/7 49/10            98/7 118/7 142/9
   37/5                       52/4 55/2 60/2              165/4
  WHEREOF [1] 193/14          63/6 63/7 68/19            wife's [1] 97/24
  wheresoever [1]             74/18 76/5 76/10           will [57] 10/3
   39/3                       80/3 85/19 86/15            12/21 13/10 13/22
  whether [17] 19/3           86/22 96/14 101/20          14/20 16/12 17/9
   26/14 49/3 50/10           103/9 104/15 105/4          17/10 19/11 19/24
   56/5 68/24 68/25           105/8 105/13 106/5          20/6 21/7 21/21
   69/24 74/21 74/21          116/18 119/16               23/22 24/4 33/2
   96/1 98/14 122/11          119/18 126/9 126/9          33/6 33/18 33/20
                              128/2 128/4 131/13          33/24 34/3 34/11
                              15/14
  W 9:18-cv-80176-BB Document 839
Case                                  16/17
                                  Entered      20/3
                                          on FLSD Docket work-related     [1]
                                                         12/20/2021 Page 267 of 268
  will... [35] 34/17          20/5 36/1 40/14             121/11
   39/8 41/23 41/25           44/18 50/17 58/6           worked [3] 31/16
   50/20 57/12 58/18          58/16 60/6 72/18            47/11 186/8
   62/5 70/7 79/25            84/25 90/24 93/9           working [10] 75/15
   83/24 84/18 99/9           100/15 101/4                75/16 75/17 144/14
   99/11 99/13 127/10         104/16 111/18               144/25 148/1
   127/14 129/24              111/19 133/7                148/21 167/5
   140/18 140/19              142/22 143/14               170/19 184/2
   147/11 151/2               155/19 155/21              working on [1]
   151/18 157/15              156/11 173/2                75/16
   163/7 176/1 176/4          173/16 173/20              world [3] 55/2
   176/5 176/7 176/14         173/20 174/14               134/20 140/18
   176/15 188/11              191/24 193/14              worse [1] 10/6
   188/12 192/1              witness's [1]               worth [4] 104/9
   192/10                     16/23                       104/12 104/12
  willing [2] 15/21          witnesses [7] 15/4           104/22
   15/23                      15/6 22/19 48/7            would [93] 7/25
  WILSON [2] 3/6              177/7 178/3 178/24          8/9 9/10 9/14
   19/23                     woman [1] 77/21              10/23 15/19 15/21
  Windows [7] 114/1          won't [1] 11/13              15/23 16/6 16/8
   117/13 117/13             wonder [2] 10/8              19/16 22/3 22/12
   118/2 118/2 118/14         123/23                      23/9 23/12 35/9
   118/15                    Wonderful [1]                36/12 41/1 45/10
  Windows 7 [1]               147/5                       47/12 48/15 50/5
   117/13                    wondering [2]                51/11 51/12 55/15
  Windows 8 [1]               131/14 145/20               55/18 57/9 58/5
   118/15                    word [10] 55/11              60/5 61/12 61/17
  wise [1] 126/14             65/19 107/11                61/18 62/16 63/23
  wish [1] 12/13              144/13 165/23               66/25 73/18 75/2
  withheld [1] 164/5          166/23 166/24               80/10 85/10 88/14
  within [2] 49/23            183/9 186/19                89/25 90/5 90/14
   188/9                      187/24                      93/12 94/2 96/13
  without [23] 11/7          words [5] 7/14               99/3 100/6 101/24
   36/13 36/14 36/18          136/2 144/22 179/9          103/18 107/15
   40/20 50/24 52/14          184/24                      107/16 107/23
   52/23 53/17 55/15         work [17] 16/13              111/21 114/11
   55/19 60/12 61/9           17/1 17/6 17/11             114/22 117/6 117/8
   80/1 90/1 98/22            59/1 81/1 120/8             123/24 128/3
   101/7 101/11 126/2         121/11 121/13               130/12 131/14
   133/5 133/9 134/20         121/13 122/5                131/20 132/15
   143/25                     123/12 145/8                132/17 133/19
  witness [34] 14/18          166/15 182/4                138/9 138/24
                              182/11 182/21               139/13 143/23
                              28/25
  W 9:18-cv-80176-BB Document 839
Case                                  30/3
                                  Entered    30/10
                                          on FLSD         71/21 77/9
                                                  Docket 12/20/2021 Page 85/4
                                                                         268 of 268
  would... [23]               37/1 41/13 43/4             107/9 117/21
   144/5 164/6 168/5          44/25 52/1 53/16            132/13 144/22
   170/14 170/21              60/21 69/21 74/23           152/9 152/10 155/1
   170/24 171/25              75/2 91/16 110/8            155/4 155/8 155/15
   172/7 173/5 177/8          111/3 111/8 112/9           156/4 156/17
   177/18 177/25              113/8 113/13 116/8          156/21 169/5 179/3
   179/2 180/13               117/20 117/22               179/21 179/25
   181/21 181/22              120/19 123/14               180/6 182/9 182/23
   181/22 182/6 185/4         123/25 127/12               183/4 186/5 188/7
   188/12 188/23              130/1 135/5 136/24          191/19
   191/14 191/17              147/25 152/1               you've [9] 44/23
  wouldn't [5]                152/16 156/14               72/24 82/19 99/14
   151/20 170/23              159/7 160/12 162/5          113/10 158/1
   171/1 182/6 182/8          167/18 175/12               160/14 175/6 184/7
  wrap [1] 108/25             176/3 176/10               young [2] 77/20
  WRIGHT [194]                177/18 177/24               125/18
  Wright's [9] 25/21          179/2 183/16 185/6         your [367]
   46/18 95/9 97/24           187/15 187/19              yours [4] 46/25
   98/3 98/6 122/20          year [5] 29/1                55/1 55/3 134/17
   134/24 141/8               30/11 30/19 139/21         yourself [10]
  write [5] 54/10             164/24                      24/22 25/8 38/16
   54/22 54/25 95/11         years [11] 28/23             38/16 47/7 64/6
   128/12                     29/5 29/18 31/10            64/9 64/10 64/13
  writes [1] 49/8             88/1 142/12 176/5           166/21
  writing [10] 47/21          176/23 178/6 186/3         yvette [6] 2/7 2/9
   48/1 75/8 132/13           186/7                       193/5 193/17
   134/12 154/20             Yep [1] 192/6                193/17 193/19
                             yes [353]
   158/20 158/23
                             yesterday [12] 6/7
                                                         Z
   184/18 184/21                                         ZACK [2] 1/17 5/11
  written [6] 43/2            22/15 22/22 23/16
                              27/10 31/25 31/25          ZALMAN [2] 1/22
   153/16 158/14                                          5/23
   159/13 181/1 181/4         41/11 121/4 174/15
                              174/18 190/6               zone [1] 96/22
  wrong [2] 103/5                                        zoom [6] 2/2 4/17
   171/13                    yet [5] 93/11
                              99/14 139/3 140/17          4/21 4/22 6/5
  wrote [8] 46/17                                         140/5
   48/3 75/10 76/13           172/9
                             you [1127]                  Zuckerberg [1]
   79/13 79/14 151/24                                     165/16
   167/25                    you'd [1] 173/1
                             you'll [1] 72/24
  Y                          you're [37] 4/8
  yahoo.com [1]               9/19 14/14 15/18
   41/21                      19/16 19/18 37/10
  yeah [49] 18/9              47/25 48/6 60/9
